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       corporation
10
                                UNITED STATES DISTRICT COURT
11
                 CENTRAL DISTRICT OF CALIFORNIA—SOUTHERN DIVISION
12
13     LDR INTERNATIONAL LIMITED, a           )   Case No. 8:23−cv−00257−DOC (JDEx)
       British Virgin Island corporation;     )
14                                            )   PLAINTIFF’S APPENDIX OF
                   Plaintiff,                 )   EVIDENCE IN SUPPORT OF
15                                            )   MOTION FOR SUMMARY
            v.                                )   JUDGMENT AGAINST
16                                            )   DEFENDANTS SARA JACQUELINE
       SARA JACQUELINE KING, an               )   KING AND KING FAMILY
17     individual, and KING FAMILY            )   LENDING LLC
       LENDING LLC, a California limited      )
18     liability company;                     )   (FED. R. CIV. P. 56; CENTRAL DISTRICT
                                              )   LOCAL RULE 56-1)
19                 Defendants.                )
                                              )   (Filed concurrently with: 1) Notice of
20                                            )   Motion and Motion for Summary
                                              )   Judgment; 2) Memorandum of Points and
21                                            )   Authorities; 3) Statement of
                                              )   Uncontroverted Facts and Conclusions of
22                                            )   Law; and 4) Notice of Lodging Proposed
                                              )   Judgment)
23                                            )
                                              )   Date:             October 16, 2023
24                                            )   Time:             8:30 a.m.
                                              )   Courtroom:        10A
25                                            )   Judge:            Judge David O. Carter
                                              )
26                                            )   Trial Date:       January 30, 2024
                                              )
27                                            )
                                              )
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           Plaintiff’s Appendix of Evidence in Support of Motion for Summary Judgment
                                        Against Defendants
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 1           Pursuant to Rule 56-1 of the United States District Court, Central District of
 2     California, Local Rules, Plaintiff LDR INTERNATIONAL LIMITED (“Plaintiff” or
 3     “LDR”) hereby submits this Appendix of Evidence in support of its Motion for
 4     Summary Judgment against Defendants SARA JACQUELINE KING (“Sara King”) and
 5     KING FAMILY LENDING LLC (“King Lending,” collectively “Defendants”).
 6              • Declaration of Laurent Reiss
 7              • Declaration of Ronald Richards
 8              • Exhibit “A”— Complaint filed February 11, 2023
 9              • Exhibit “B”— Default by Clerk F.R.Civ.P. 55(a) against King Lending
10                 issued April 4, 2023
11              • Exhibit “C”— Answer by Sara King filed March 28, 2023
12              • Exhibit “D”— Information filed against Sara King in the action entitled
13                 United States of America v. Sara Jacqueline King, United States District
14                 Court, Central District of California, Southern Div., Case No. 8:23-cr-
15                 00079-DOC (“Criminal Action”)
16              • Exhibit “E”— Plea Agreement by Sara King in the Criminal Action filed
17                 June 12, 2023 (“Plea Agreement”)
18              • Exhibit “F”— Reporter’s Transcript of Proceedings in the Criminal Action,
19                 July 24, 2023
20              • Exhibit “G”— King Lending Promissory Note to Plaintiff dated January
21                 14, 2022, in the amount of $195,000
22              • Exhibit “H” — King Lending Promissory Note to Plaintiff dated April 27,
23                 2022, in the amount of $200,000
24              • Exhibit “I” — King Lending Promissory Note to Plaintiff dated May 16,
25                 2022, in the amount of $500,000
26              • Exhibit “J” — King Lending Promissory Note to Plaintiff dated June 20,
27                 2022, in the amount of $150,000
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           Plaintiff’s Appendix of Evidence in Support of Motion for Summary Judgment
                                        Against Defendants
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 1             • Exhibit “K” — King Lending Promissory Note to Plaintiff dated August
 2                18, 2022, in the amount of $300,000
 3             • Exhibit “L”— spreadsheet itemizing 97 loans from Plaintiff to King
 4                Lending
 5             • Exhibit “M”— fraudulent/fabricated loan documents between King
 6                Lending and purported third-party borrower for King Lending Promissory
 7                Note to Plaintiff dated January 14, 2022, in the amount of $195,000
 8             • Exhibit “N”— fraudulent/fabricated loan documents between King
 9                Lending and purported third-party borrower for King Lending Promissory
10                Note to Plaintiff dated April 27, 2022, in the amount of $200,000
11             • Exhibit “O”— fraudulent/fabricated loan documents between King
12                Lending and purported third-party borrower for King Lending Promissory
13                Note to Plaintiff dated June 20, 2022, in the amount of $150,000
14             • Exhibit “P” — fraudulent/fabricated loan documents between King
15                Lending and purported third-party borrower for King Lending Promissory
16                Note to Plaintiff dated July 7, 2022, in the amount of $400,000
17             • Exhibit “Q” — fraudulent/fabricated loan documents between King
18                Lending and purported third-party borrower for King Lending Promissory
19                Note to Plaintiff dated August 23, 2022, in the amount of $175,000
20             • Exhibit “R”— fraudulent/fabricated collateral documents in connection
21                with January 14, 2022 loan in the amount of $195,000
22             • Exhibit “S”— fraudulent/fabricated collateral documents in connection
23                with April 1, 2022 loan in the amount of $150,000
24             • Exhibit “T” — fraudulent/fabricated collateral documents in connection
25                with April 5, 2022 loan in the amount of $95,000
26             • Exhibit “U”— fraudulent/fabricated collateral documents in connection
27                with January 28, 2022 loan in the amount of $175,000
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           Plaintiff’s Appendix of Evidence in Support of Motion for Summary Judgment
                                        Against Defendants
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 1             • Exhibit “V” — fraudulent/fabricated collateral documents in connection
 2                with March 4, 2022 loan in the amount of $150,000
 3             • Exhibit “W”— fraudulent/fabricated NFL Player Contract
 4             • Exhibit “X”— Cashier’s Check dated 1/14/2022 for $193,000 as purported
 5                proof of funding document in connection with January 14, 2022 loan in the
 6                amount of $195,000
 7             • Exhibit “Y”— Cashier’s Check dated 3/28/2022 for $120,000 as purported
 8                proof of funding document in connection with March 28, 2022 loan in the
 9                amount of $120,000
10             • Exhibit “Z”— Cashier’s Check dated 7/22/2022 for $150,000 as purported
11                proof of funding document in connection with July 28, 2022 loan in the
12                amount of $150,000
13             • Exhibit “AA”— email sent to Plaintiff by Sara King on March 27, 2022, in
14                connection with Loan 10
15             • Exhibit “BB”— email sent to Plaintiff by Sara King on March 30, 2022, in
16                connection with Loan 11
17             • Exhibit “CC”— email sent to Plaintiff by Sara King on January 27, 2022,
18                in connection with Loan 03
19             • Exhibit “DD”— email sent to Plaintiff by Sara King on May 25, 2022, in
20                connection with Loan 28
21             • Exhibit “EE”— email sent to Plaintiff by Sara King on January 14, 2022,
22                in connection with Loan 01
23             • Exhibit “FF”— Ocrolus premier document fraud analysis of Chase Bank
24                statements February through June 2022
25             • Exhibit “GG”— JPMorgan Chase Bank, N.A. document production for
26                King Lending account and custodian of records declaration
27             • Exhibit “HH”— JPMorgan Chase Bank, N.A. document production for
28                  Sara King account and custodian of records declaration
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           Plaintiff’s Appendix of Evidence in Support of Motion for Summary Judgment
                                        Against Defendants
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 1     DATED: September 11, 2023            LAW OFFICES OF RONALD RICHARDS &
                                            ASSOCIATES, A.P.C.
 2
 3
                                            By:    / s / Ronald N. Richards
 4                                                Ronald N. Richards
                                            Attorneys for Plaintiff LDR
 5                                          INTERNATIONAL LIMITED
 6
       DATED: September 11, 2023            LAW OFFICES OF GEOFFREY LONG,
 7                                          A.P.C.
 8
 9                                          By:    / s / Geoffrey S. Long
                                                  Geoffrey S. Long
10                                          Attorneys for Plaintiff LDR
                                            INTERNATIONAL LIMITED
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           Plaintiff’s Appendix of Evidence in Support of Motion for Summary Judgment
                                        Against Defendants
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   1                        DECLARATION OF LAURENT REISS
   2         I, Laurent Reiss, declare and state as follows:
   3         1)     At all times relevant hereto, I have been the President/CEO of
   4   Plaintiff LDR International Limited (“Plaintiff” or “LDR”). In this capacity, I
   5   have personal knowledge of the facts set forth in this declaration, and if called as a
   6   witness for this purpose, I could and would testify competently under oath to them.
   7         2)     I make this declaration in support of Plaintiff’s Motion for Summary
   8   Judgment (“Motion”) against Defendants Sara Jacqueline King (“Sara King”) and
   9   King Family Lending LLC (“King Lending,” collectively “Defendants”).
  10         3)     I was personally involved with each of the loan transactions between
  11   Plaintiff and King Lending that are the subject matter of this lawsuit and all of the
  12   related communications with and misrepresentations by Sara King. I was a party
  13   to and the representative for Plaintiff with respect to all of the communications,
  14   written and verbal, between King Lending and Sara King, on the one hand, and
  15   Plaintiff, on the other hand, regarding the loans that are the subject matter of this
  16   lawsuit.
  17         4)     Beginning in January 2022 through October 2022, Plaintiff began
  18   extending a series of loans to King Lending. In total there were ninety-seven (97)
  19   loans from Plaintiff to King Lending. All of the loans from Plaintiff to King
  20   Lending were for a similar purpose and took a similar form, specifically Plaintiff
  21   would loan King Lending moneys which King Lending and Sara King represented
  22   to me, both in writing and verbally, that King Lending was using to loan the same
  23   funds to third-party borrowers. Sara King and King Lending represented to me, in
  24   writing and verbally, that the purported loans from King Lending to the third-party
  25   borrowers were secured by various forms of valuable collateral, including but not
  26   limited to luxury automobiles, boats, yachts, jewelry, watches, precious metal
  27   coins, and the earnings from guaranteed professional sports contracts. The loans
  28   from Plaintiff to King Lending would in turn be secured by the same collateral


                                L. REISS DECL. IN SUPPORT OF MSJ
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   1   which purportedly secured the loans from King Lending to the third-party
   2   borrowers.
   3         5)     Each of the ninety-seven loans from Plaintiff to King Lending was
   4   evidenced by a Promissory Note, prepared by Sara King, payable by King
   5   Lending, as maker, to Plaintiff, as payee. In each of said Promissory Notes, Sara
   6   King and King Lending expressly represented that the loan from Plaintiff to King
   7   Lending was for purpose of making the third-party loan as follows: “Maker is a
   8   California Finance Lender and is using all monies to fund a loan. Collateral for
   9   said loan is: [collateral identified].” Attached hereto as Exhibits “G” through “K”
  10   are five promissory notes, out of the ninety-seven, including the Promissory Note
  11   dated January 14, 2022, for $195,000 which was the first loan and promissory note
  12   from Plaintiff to King Lending, and four others which are all identical other than
  13   the date, dollar amount, and collateral identified in paragraph 7. The attached
  14   promissory notes were selected from the ninety-seven promissory notes because
  15   they show the various forms of collateral promised by King Lending to Plaintiff to
  16   secure each of the loans. I have in my possession, custody, and control all ninety-
  17   seven promissory notes that are signed by Sara King as the manager for King
  18   Lending and payable to Plaintiff.
  19         6)     Each of the Promissory Notes from King Lending as maker to
  20   Plaintiff as payee contains an attorneys’ fee clause, at paragraph 11, in the event
  21   collection on the note is required, governing law provision applying California law,
  22   and default provisions. See Exhibits “G” through “K” at ¶ 11.
  23         7)     In total, Plaintiff extended ninety-seven (97) loans to King Lending in
  24   the total principal amount of $10,258,500 which were purportedly secured by
  25   luxury cars, jewelry, watches, antique precious metal coins, designer handbags,
  26   boats, yachts, and earnings from guaranteed sports contracts with representations
  27   regarding salary and bonus amounts of those sports contracts. In connection with
  28   each of the 97 loans from Plaintiff to King Lending, Sara King made numerous

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                                L. REISS DECL. IN SUPPORT OF MSJ
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   1   intentionally false written representations regarding the third-party loans, collateral
   2   for the third-party loans, and funding of the third-party loans. Attached hereto as
   3   Exhibit “L” is a true, correct, and accurate copy of a spreadsheet that accurately
   4   itemizes and contains all material information for each of the 97 loans, including
   5   but not limited to the loan number, amount, collateral, date funded, duration, and
   6   maturity/due date. Exhibit “L” was prepared by me and at my direction in the
   7   regular course of business and was continually updated for each new loan at or
   8   near the time of the loan funding based on the information contained in each
   9   promissory note and in Plaintiff’s bank records. For each of the 97 loans identified
  10   in Exhibit “L” there is a corresponding promissory note from King Lending as
  11   maker to Plaintiff as payee and there is corresponding third-party loan documents
  12   that were provided to me by Sara King and King Lending, as discussed below.
  13         8)     In connection with the purported third-party loans which the moneys
  14   loaned by Plaintiff to King Lending were purportedly being used to fund, Sara
  15   King and King Lending provided me and Plaintiff with false and fabricated loan
  16   documents between King Lending and the purported third-party borrowers, which
  17   typically included a Secured Promissory Note and Security Agreement with the
  18   name and other identifying information of the third-party borrower redacted by
  19   Defendants. Sara King and King Lending represented to me when these purported
  20   third-party loan documents were provided to me by Defendants that these were the
  21   actual loan documents between King Lending and its third-party borrowers.
  22   Attached hereto as Exhibits “M” through “Q” are five such purported third-party
  23   loan documents that were provided to me by King Lending and Sara King at or
  24   about the time that the corresponding loan was made by Plaintiff to King Lending.
  25   There are similar loan documents that were provided to me by Sara King and King
  26   Lending for all of the other loans that are in my custody, control, and possession.
  27   These purported third-party loan documents that were provided to me by
  28

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                                L. REISS DECL. IN SUPPORT OF MSJ
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   1   Defendants are false and fabricated because there were no such third-party loans
   2   by King Lending to any third-party.
   3          9)    In connection with many of the purported third-party loans which the
   4   moneys loaned by Plaintiff to King Lending were purportedly being used to fund,
   5   Sara King and King Lending provided me with false and fabricated documents
   6   regarding the collateral purportedly securing said loans, including but not limited
   7   to title documents for automobiles and boats, appraisals, and photographs, with
   8   name and other identifying information of the third-party borrower redacted by
   9   Sara King which Defendants represented to me was the collateral securing the
  10   third-party loans. Attached hereto as Exhibits “R” through “V” are five such
  11   purported third-party collateral documents that were provided to me by King
  12   Lending and Sara King at or about the time that the corresponding loan was made
  13   by Plaintiff to King Lending. Additional similar documents are in my custody,
  14   control, and possession.
  15          10)   In connection with the purported third-party loans which the moneys
  16   loaned by Plaintiff to King Lending were purportedly being used to fund and
  17   which were secured by guaranteed professional sports contracts, Sara King and
  18   King Lending provided me with information regarding the alleged guaranteed
  19   sports contracts, including salary and bonus information and an NFL Player
  20   Contract, with name and other identifying information of the third-party borrower
  21   and financial information redacted, which Sara King represented to me was one of
  22   the guaranteed contracts that secured one of King Lending’s third-party loans. A
  23   true and correct copy of said NFL Player Contract is attached hereto as Exhibit
  24   “W.”
  25          11)   In connection with many of the purported third-party loans which the
  26   moneys loaned by Plaintiff to King Lending were purportedly being used to fund,
  27   Sara King and King Lending provided me with purported proof of funding
  28   documents which typically consisted of a cashier’s check from King Lending with

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    1   the purported third-party borrower’s name redacted which Sara King and King
    2   Lending represented to me were proof of the funding of the third-party loans by
    3   King Lending. Because the payee names were redacted, I could never verify that
    4   the funds were actually loaned to the third-party borrowers. These “proof of
    5   funds” documents do not evidence payment to any third-party borrowers and Sara
    6   King and King Lending intentionally provided me with these false and
    7   mispresented documents. True and correct copies of three of the Cashier’s Checks
    8   provided to me by Sara King and King Lending as purported proof of funding of
    9   the third-party loans are attached here as Exhibit “X” through “Z,” and there are
   10   more.
   11           12)   Sara King and King Lending also falsely represented to me, in writing
   12   and verbally, that the amount of $6,331,580 received by King Lending in loan
   13   repayments from third-party borrowers had been “redeployed” to fund purported
   14   additional loans between King Lending and third-party borrowers, instead of being
   15   repaid to Plaintiff. In fact, there were no payments made by the any third-party
   16   borrowers because there were no third-party borrowers or loans to third-party
   17   borrowers.
   18           13)   Sara King and King Lending engaged in a massive fraud on Plaintiff.
   19   There were no third-party loans from King Lending to any third-party borrowers.
   20           14)   Sara King and King Lending falsified and fabricated each of the
   21   purported third-party loans and all of the documents regarding those loans, funding
   22   of the third-party loans, and collateral for those loans, including but not limited to
   23   Exhibits “M” through “Z.”
   24           15)   Attached hereto as Exhibit “AA” is a true and correct copy of an
   25   email sent to me by Sara King on March 27, 2022, regarding Loan 10 on Exhibit
   26   “L” and attaching to it purported third-party borrower documents between King
   27   Lending and the purported third-party borrower.
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    1         16)   Attached hereto as Exhibit “BB” is a true and correct copy of an email
    2   sent to me by Sara King on March 30, 2022, regarding Loan 11 on Exhibit “L” and
    3   attaching to it purported third-party borrower documents between King Lending
    4   and the purported third-party borrower.
    5         17)   Attached hereto as Exhibit “CC” is a true and correct copy of an email
    6   sent to me by Sara King on January 27, 2022, regarding Loan 03 on Exhibit “L”
    7   and attaching to it purported third-party borrower documents between King
    8   Lending and the purported third-party borrower.
    9         18)   Attached hereto as Exhibit “DD” is a true and correct copy of an
   10   email sent to me by Sara King on May 25, 2022, regarding Loan 28 on Exhibit “L”
   11   and attaching to it purported third-party borrower documents between King
   12   Lending and the purported third-party borrower.
   13         19)   Attached hereto as Exhibit “EE” is a true and correct copy of an email
   14   sent to me by Sara King on January 14, 2022, regarding Loan 01 on Exhibit “L”
   15   and attaching to it purported third-party borrower documents between King
   16   Lending and the purported third-party borrower.
   17         20)   I utilized Ocrolus premier document fraud detection solution and
   18   analysis on some of the bank statements that were provided to me by Sara King
   19   regarding the loans from LDR and the purported loans by King Lending. Ocrolus
   20   is an online software service that analyzes bank statements and other documents to
   21   detect fraud and alterations of original bank documents. The Court can learn more
   22   about the Ocrolus at its website https://www.ocrolus.com/product/detect. The
   23   following is a description of the Ocrolus premier document detection solution
   24   service/software from its website:
   25                “Ocrolus’ premier document fraud detection solution helps
                     you uncover more fraud than ever before. Our algorithms
   26                have been trained on more than 100 million pages of
                     documents from thousands of financial institutions, providing
   27                you with only the highest quality data for decision making.”
                     “Detect evaluates a document’s origin and inspects it for
   28                signs of tampering after creation. Detailed signals outline
                                                  6
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    1               exactly what has been changed on the document allowing
                    you to make more informed decisions, avoid costly losses
    2               and streamline application review.”
    3               “Clear visualizations illustrate exactly where document
                    tampering has occurred on a file, bringing over 4x more fraud
    4               to your attention than other solutions. Effortlessly uncover
                    what fraudsters have tried to conceal and save your teams
    5               countless hours of manual inspection.”

    6         21)   Attached hereto as Exhibit “FF” is a true and correct copy of the
    7   Ocrolus report for the February 2022, March 2022, April 2022, May 2022, and
    8   June 2022 Chase Bank statements provided to me by Sara King regarding the
    9   funds loaned to King Lending by LDR and the purported third-party loans from
   10   King Lending which have been analyzed by the Ocrolus premier fraud detection
   11   software. The red highlights are from Ocrolus and show entries on the bank
   12   statements that have been altered from the original bank statements. At the end of
   13   each monthly statement there is a summary provided by Ocrolus of the number of
   14   types of entries that have been altered by Sara King and King Lending.
   15         22)   Plaintiff only made the loans to King Lending because of the
   16   representations made by Sara King and third-party loan documents that I was
   17   provided by King Lending and Sara King. Plaintiff would not have made any
   18   loans to King Lending but for the representations by Sara King and third-party loan
   19   documents which ended up being fabricated, including but not limited to the third-
   20   party promissory notes, documents regarding collateral, and proof of fundings
   21   documents, that I was provided by King Lending and Sara King.
   22         23)   In reliance on the representations made by Sara King and King
   23   Lending to me and Plaintiff, including the false and fabricated documents provided
   24   to me, emails from Sara King, and phone calls with Sara King, Plaintiff did fund
   25   ninety-seven (97) loan to King Lending. Those loans are itemized and accounted
   26   for on Exhibit “L” hereto. The total amount of principal loaned by Plaintiff to
   27   King Lending is $10,258,500.
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                                L. REISS DECL. IN SUPPORT OF MSJ
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    1         24)    All of the ninety-seven (97) loans from Plaintiff to King Lending have
    2   matured, are unpaid by King Lending, and are in default. Total unpaid principal
    3   owed by King Lending to Plaintiff in connection with the loans is $10,258,500.
    4         25)    In connection with Plaintiff’s demands for payment prior to filing this
    5   action, King Lending paid Plaintiff $2,000,000 against the interest owed to
    6   Plaintiff on the loans.
    7         26)    Unpaid prejudgment interest pursuant to the Promissory Notes on the
    8   ninety-seven (97) loans, from the dates of funding through September 30, 2023, in
    9   the amount of $1,900,000 is owed by King Lending to Plaintiff.
   10         I declare under penalty of perjury pursuant to the laws of the United States
   11   of America that the foregoing is true and correct.
   12         Executed September 10, 2023
   13                                    _____________________________
   14
                                                   Laurent Reiss

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                                  L. REISS DECL. IN SUPPORT OF MSJ
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    1                     DECLARATION OF RONALD RICHARDS
    2         I, Ronald Richards, declare and state as follows:
    3         1)     I am an attorney at law duly licensed to practice before all courts of
    4   the State of California and the United States District Courts in California, including
    5   the Central District of California. I am the principal of the Law Offices of Ronald
    6   Richards & Associates, A.P.C., one of the counsel of record for Plaintiff LDR
    7   International Limited (“Plaintiff” or “LDR”) in the above-captioned action. The
    8   following facts are personally known to me, and if called as a witness, I could and
    9   would competently testify thereto.
   10         2)     I make this declaration in support of Plaintiff’s Motion for Summary
   11   Judgment (“Motion”) against Defendants Sara Jacqueline King (“Sara King”) and
   12   King Family Lending LLC (“King Lending,” collectively “Defendants”).
   13         3)     I subpoenaed documents (bank records and account statements) from
   14   JPMorgan Chase Bank, N.A. (“Chase Bank”) for both Sara King and King
   15   Lending during the relevant time period during which LDR was making loans to
   16   King Lending—January 2022 through November 2022.
   17         4)     Attached hereto as Exhibit “GG” is a true and correct copy of a
   18   portion of the document production made by Chase Bank for the document
   19   subpoena requesting bank records and account statements for King Lending’s
   20   accounts. Exhibit “GG” includes the Chase Bank custodian of records declaration
   21   and bank statements for January through April 2022.
   22         5)     Exhibit “GG” shows extensive ATM and debit card withdrawals at the
   23   Pechanga, Aria Resort, and Wynn casinos from the King Lending bank account for
   24   hundreds of thousands dollars. Some of these transactions have been highlighted
   25   for the Court’s convenience.
   26         6)     Attached hereto as Exhibit “HH” is a true and correct copy of a
   27   portion of the document production made by Chase Bank for the document
   28   subpoena requesting bank records and account statements for Sara King’s


                                    R. RICHARDS DECL. IN SUPPORT OF MSJ
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    1   accounts. Exhibit “HH” includes the Chase Bank custodian of records declaration
    2   and bank statements for January through May 9, 2022.
    3         7)     Exhibit “HH” shows extensive ATM and debit card withdrawals at the
    4   Pechanga, Aria Resort, and Wynn casinos from Sara King’s personal account for
    5   hundreds of thousands dollars. Some of these transactions have been highlighted
    6   for the Court’s convenience.
    7         8)     Exhibit “HH” also shows numerous transfers from King Lending’s
    8   Chase Bank account into Sara King’s Chase Bank account for hundreds of
    9   thousands of dollars. Some of these transactions have been highlighted for the
   10   Court’s convenience.
   11         9)     On page 3 of Exhibit “GG” there is a $230,000 withdrawal from King
   12   Lending’s account on January 18, 2023. That withdrawal matches the $230,000
   13   deposit into Sara King’s Chase Bank account on that same date shown on pages 10
   14   and 19 of Exhibit “HH.” These transactions have been highlighted for the
   15   convenience of the Court.
   16         I declare under penalty of perjury pursuant to the laws of the United States
   17   of America that the foregoing is true and correct.
   18         Executed September 10, 2023.
   19

   20                                    _____________________________
   21
                                              Ronald Richards, Esq.

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9
     Attorneys for Plaintiff LDR INTERNATIONAL LIMITED, a British Virgin Island
10   corporation
11
12                             UNITED STATES DISTRICT COURT
13              CENTRAL DISTRICT OF CALIFORNIA—SOUTHERN DIVISION
14
15   LDR INTERNATIONAL LIMITED, a                  ) Case No.
     British Virgin Island corporation;            )
16                                                 ) COMPLAINT FOR:
                  Plaintiff,                       )
17                                                 )   (1) BREACH OF WRITTEN CONTRACTS
           v.                                      )
18                                                 )   (2) FRAUD
     SARA JACQUELINE KING, an                      )
19   individual, and KING FAMILY                   )   (3) CIVIL THEFT (CAL. PENAL CODE §
     LENDING LLC, a California limited             )       496)
20   liability company;                            )
                                                   )   (4) ACCOUNT STATED
21                Defendants.                      )
                                                   ) DEMAND FOR JURY
22                                                 )
                                                   )
23
24         Plaintiff LDR INTERNATIONAL LIMITED (“Plaintiff”) alleges as follows:
25                                        THE PARTIES
26         1.     Plaintiff is a business entity incorporated in the British Virgin Islands with
27   its principal place of business in the British Virgin Islands.
28         2.     Defendant Sara Jacqueline King (“King”) is an individual residing in

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1    Orange County, California. King is an attorney licensed to practice law in the State of
2    California, State Bar Number 299115, and is a partner at the law firm King Reuben,
3    P.C., 220 Newport Center Dr., 11-240, Newport Beach, CA 92660.
4          3.      Defendant King Family Lending LLC (“King Lending”) is a California
5    limited liability company formed on February 7, 2020, with its principal place of
6    business in Orange County, California. King is the manager, president, and, upon
7    information and belief, the sole member of King Lending. King Lending’s agent for
8    service of process, Attorneys Corporation Service, Inc., filed a Resignation of Agent for
9    Service of Process with the California Secretary of State on July 25, 2022, and King
10   Lending has no agent for service of process.
11         4.      King Lending was previously licensed as a finance lender by the California
12   Department of Financial Protection & Innovation (“DFPI”) under license number
13   60DBO-126664, but its license status became inactive under that license number on
14   November 17, 2020. King Lending then became licensed as a finance lender by the
15   DFPI under license number 60DBO-111951 effective November 17, 2020, and its
16   license status became inactive under that license number on April 19, 2022.
17         5.      Plaintiff is informed and believes, and thereon alleges, that at all times
18   mentioned in this Complaint, Defendants, and each of them, were the partners, joint
19   venturers, agents, employees, alter egos, and representatives of each other in doing the
20   things herein alleged and, in doing so, were acting within the scope of their respective
21   authorities as agents, employees and representatives, and are jointly and severally liable
22   to Plaintiff. Plaintiff is informed and believes, and thereon allege, that King and King
23   Lending are alter egos of each other and that King Lending is so organized and
24   controlled by King and its affairs and business are so conducted as to make it a mere
25   instrumentality and alter ego of King. Plaintiff is informed and believe that King
26   Lending:
27              a. has commingled funds and other assets with King,
28              b. has failed to segregate funds,

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1                c. that there have been unauthorized diversion of corporate/business funds
2                   and assets to other than corporate/business uses,
3                d. that King has treated the assets of King Lending as her own,
4                e. that there has been a failure to maintain minutes and adequate corporate
5                   records,
6                f. that King Lending has been used as a mere shell, instrumentality or conduit
7                   for King,
8                g. there has been a disregard of legal formalities and the failure to maintain
9                   arm’s length relationship between King Lending and King,
10               h. there has been a use of the corporate entity as a shield against personal
11                  liability of King, and
12               i. there has been the use of the corporate entity as a subterfuge for illegal
13                  transactions, including those at issue in this action.
14                                 JURISDICTION AND VENUE
15          6.      This Court has original subject matter jurisdiction over this action pursuant
16   to 18 U.S.C. Section 1332 in that the amount in controversy exceeds $75,000, exclusive
17   of interest, Plaintiff is a citizen of the British Virgin Islands, and Defendants are
18   citizens/residents of the State of California.
19          7.      Venue is proper in this Court on the ground that Defendants reside in this
20   judicial district.
21                              GENERAL FACTUAL ALLEGATIONS
22          8.      Beginning in January 2022 and through October 2022, Plaintiff began
23   extending a series of loans to King Lending. All of the loans from Plaintiff to King
24   Lending were for a similar purpose and took a similar form: Plaintiff would loan King
25   Lending funds which King Lending and King represented to Plaintiff that King Lending
26   was using to loan the same funds to third-party borrowers. The purported loans from
27   King Lending to the third-party borrowers were purportedly secured by various forms of
28   collateral, including but not limited to luxury automobiles, boats, yachts, jewelry,

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1    watches, precious metal coins, and the earnings from guaranteed professional sports
2    contracts. The loans from Plaintiff to King Lending would in turn be secured by the
3    same collateral which purportedly secured the loans from King Lending to the third-
4    party borrowers.
5          9.      Each of the loans from Plaintiff to King Lending was evidenced by a
6    Promissory Note payable by King Lending, as maker, to Plaintiff, as payee. In each of
7    said Promissory Notes, King and King Lending expressly represented that the purpose
8    of the loan from Plaintiff to King Lending was for purposes of making the third-party
9    loan as follows: “Maker is a California Finance Lender and is using all monies to fund a
10   loan. Collateral for said loan is: [collateral identified].”
11          10.    In fact, King Lending’s finance lender license status was ineffective as of
12   April 19, 2022.
13          11.    Each of the Promissory Notes from King Lending as maker to Plaintiff as
14   payee contains an attorneys’ fee clause in the event collection on the note is required,
15   governing law provision applying California law, and default provisions.
16          12.    In total, Plaintiff extended ninety-seven (97) loans to King Lending in the
17   total principal amount of $10,258,500 which were purportedly secured by luxury cars,
18   jewelry, watches, antique precious metal coins, designer handbags, boats, yachts, and
19   earnings from guaranteed sports contracts with representations regarding salary and
20   bonus amounts. In connection with each of the 97 loans from Plaintiff to King Lending,
21   King made various intentionally false written representations regarding the third-party
22   loans, collateral for the third-party loans, and funding of the third-party loans, as
23   detailed herein.
24          13.    Attached hereto as Exhibit “A” is a list of all 97 loans from Plaintiff to
25   King Lending which is incorporated by reference here in full. Each of the 97 loans from
26   Plaintiff to King Lending is identified in this Complaint by reference to the loan number
27   in the first column of the attached Exhibit “A.” For example, “Loan 01” refers to the
28   loan from Plaintiff to King Lending in the amount of $195,000 funded on January 14,

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1    2022, that matured on May 31, 2022, which was purportedly secured by three
2    watches—Audemars Piguet 41mm Royal Oak chronograph watch, rose gold with black
3    dial with rose gold band; Audemars Piguet 41mm Royal Oak chronograph watch, rose
4    gold with white dial with rose gold band; and Richard Mille RM 030 titanium watch,
5    with light blue rubber band.
6              14.    In connection with each of the purported third-party loans which the funds
7    loaned by Plaintiff to King Lending were purportedly being used to fund, King and
8    King Lending provided Plaintiff and its agent and representative, Laurent R. 1 (“L.R.”),
9    with false and fabricated loan documents between King Lending and the purported
10   third-party borrowers, including “Secured Promissory Note,” with name and other
11   identifying information of the third-party borrower redacted.
12             15.    In connection with most of the purported third-party loans which the funds
13   loaned by Plaintiff to King Lending were purportedly being used to fund, King and
14   King Lending provided Plaintiff and L.R. with false and fabricated documents regarding
15   the collateral purportedly securing said loans, including but not limited to title
16   documents, appraisals, and photographs, with name and other identifying information of
17   the third-party borrower redacted.
18             16.    In connection with the purported third-party loans which the funds loaned
19   by Plaintiff to King Lending were purportedly being used to fund and which were
20   secured by guaranteed professional sports contracts, King and King Lending provided
21   Plaintiff and L.R. with false and fabricated copies of the guaranteed professional sports
22   contracts of the third-party borrowers, with name and other identifying information of
23   the third-party borrower and financial information redacted.
24             17.    In connection with many of the purported third-party loans which the funds
25   loaned by Plaintiff to King Lending were purportedly being used to fund, King and
26   King Lending provided Plaintiff and L.R. with purported proof of funding documents
27   which typically consisted of a cashier’s check from King Lending with the purported
28   1
         The full last name of Laurent R. is not included to protect financial and other privacy rights.
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1    third-party borrower’s name redacted. Because the payee name was redacted, Plaintiff
2    could never verify that the funds were actually loaned to the third-party borrower.
3    Plaintiff is informed and believes that these “proof of funds” do not evidence payment
4    to any third-party borrowers and that King and King Lending intentionally provided
5    Plaintiff with these false and mispresented documents.
6          18.    Because King Lending’s finance lender license with the DFPI became
7    inactive April 19, 2022, it was not licensed during the majority of the time that it was a
8    borrower from Plaintiff and purportedly engaging in the third-party loans it falsely
9    represented to Plaintiff.
10         19.    King falsely represented to Plaintiff that King Lending’s finance lender
11   license with the DFPI was only inactive because of an “administrative problem,”
12   however, Plaintiff is informed and believes that it was rendered inactive for other
13   reasons and that King’s statement was an intentional misrepresentation.
14         20.    In total, Plaintiff loaned King Lending the principal amount of
15   $10,258,500.
16         21.    King and King Lending also falsely represented to Plaintiff that the amount
17   of $6,331,580 received by King Lending in loan repayments from third-party borrowers
18   had been “redeployed” to fund purported additional loans between King Lending and
19   third-party borrowers, instead of being repaid to Plaintiff. In fact, as alleged herein,
20   there were no payments made by the any third-party borrowers because there were no
21   third-party borrowers or loans to third-party borrowers.
22         22.    Plaintiff is informed and believes that King and King Lending engaged in a
23   massive fraud on Plaintiff. Plaintiff is informed and believes, and thereon alleges, that
24   there were no third-party loans from King Lending to any third-party borrowers.
25         23.    Plaintiff is informed and believes, and thereon alleges, that King and King
26   Lending fabricated each of the purported third-party loans and all of the documents
27   regarding those loans, funding of the third-party loans, and collateral for those loans.
28         24.    Plaintiff is informed and believes, and thereon alleges, that King spent the

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1    majority of the funds loaned by Plaintiff to King Lending to gamble in Las Vegas, fund
2    an extravagant lifestyle, and for other personal uses by King. Plaintiff is informed and
3    believes that King moved into the Wynn Las Vegas resort and hotel, lived there for six
4    months, and gambled 24/7.
5          25.    King’s ex-husband, Kamran Pahlavi (“Pahlavi”), who has since fled to
6    Morocco, has substantiated Plaintiff’s belief that King engaged in a massive fraud
7    against Plaintiff as alleged herein.
8          26.    The following photographs were sent by King to L.R. and Plaintiff as part
9    of an effort by King to increase Plaintiff’s trust and confidence in King in terms of her
10   connections, lifestyle, and connections to high-profile athletes as part of her fraud and
11   scheme. They are on various pages that are inserted into this Complaint. They show the
12   lavish lifestyle she was living, jewelry, cars, and image she was trying to portray, as well
13   as been a successful California licensed attorney. The photos are four different pictures
14   of King. Moreover, King has recently provided evidence she only has $11.98 to her
15   name. She provided a bank screen shot which is also included in these serious of
16   photographs. King in an email sent on February 9, 2023, is still asking Plaintiff and its
17   principal for more money so she can try and make back the money she has stolen. As of
18   February 9, 2023, King also is still sending fake deals to the Plaintiff and or its agents.
19   King claims she has spent all of the funds and has no money left to her name. King also
20   is crossing state lines to engage in further frauds.
21
22
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1
2
3                                  FIRST CAUSE OF ACTION
4                         (Breach of Contracts Against All Defendants)
5          27.    Plaintiff realleges and incorporates by reference the allegations contained
6    in paragraphs 1 through 26, inclusive, of this Complaint as though fully set forth at
7    length.
8          28.    Except as prevented or excused by the acts or omissions of King and King
9    Lending, Plaintiff has performed all obligations required of it in connection with each of
10   the ninety-seven (97) loans from Plaintiff to King Lending, as identified in Exhibit “A”
11   hereto, and evidenced by the promissory notes from King Lending as maker to Plaintiff
12   as payee.
13         29.    All of the ninety-seven (97) loans from Plaintiff to King Lending have
14   matured, are unpaid by King Lending, and are in default.
15         30.    In total, Plaintiff loaned King Lending the principal amount of $10,258,500
16   as evidenced by the Promissory Notes from King Lending to Plaintiff.
17         31.    King and King Lending falsely represented to Plaintiff that $6,331,580 in
18   loans had been repaid by the third-party borrowers and that money had been
19   “redeployed” to fund additional loans. In fact, there were no loans to any third-party
20   and, therefore, no repayment of any loans to third-parties. King falsely represented to
21   Plaintiff that a total of $19,370,000 had been loaned to third-party borrowers.
22         32.    In connection with Plaintiff’s demands for payment prior to filing this
23   action, King Lending paid Plaintiff $2,000,000 against the interest owed to Plaintiff on
24   the loans.
25         33.    Defendants are in breach of all ninety-seven (97) of their Promissory Notes
26   to Plaintiff by failing to pay all principal and interest due thereon to Plaintiff by the
27   maturity dates and by failing to pay default interest, costs and attorneys’ fees thereafter.
28         34.    As a direct and proximate result of the acts, omissions, and breaches of the

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1    promissory notes by Defendants, as alleged herein, Plaintiff has suffered damages in a
2    specific amount to be determined at trial, but in the amount of at least $10,258,500, plus
3    prejudgment interest at the legal or contract rate.
4          35.    Plaintiff is also entitled to recover attorneys’ fees pursuant to contract.
5                                SECOND CAUSE OF ACTION
6                                (Fraud Against All Defendants)
7          36.    Plaintiff realleges and incorporates by reference the allegations contained
8    in paragraphs 1 through 26, inclusive, of this Complaint as though fully set forth at
9    length.
10         37.    Prior to most of the ninety-seven (97) loans identified in Exhibit “A”
11   hereto, King would send an email to L.R. requesting the loan and regarding the
12   purported details of the loan from King Lending to the third-party borrower and from
13   Plaintiff to King Lending. Those emails would include information, and frequently
14   would include false and fabricated documentation, regarding the purported third-party
15   borrower and the purported collateral. The following are some, but not all, of the email
16   communications from King to L.R. regarding the purported loans:
17                A. Email sent by King to L.R. on January 13, 2022, regarding Loan 01
18                   stating: “Please see attached:
19                   -Security Agreement
20                   -Secured Promissory Note
21                   -Confession of Judgment
22                   -PG
23                   These are the agreements between the lending company and borrower.
24                   Because the borrower is an individual who signed a Confession of
25                   Judgment and the loan is collateralized on the assets, I don't see the
26                   need for a personal guarantee, but will prepare one to be signed just to
27                   be safe. The PG attached is a sample document I'm preparing for
28                   signature tomorrow.”

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1              B. Email sent by King to L.R. on January 18, 2022, regarding Loan 02
2                  stating: “Hi Laurent,
3                  Attached please find the funding confirmation form and copy of the
4                  check remitted to the borrower. We held $5,000 in fees and costs and
5                  upon maturity of your loan, will be settled out 60/40.
6                  I am working on the master agreement and should have the draft sent to
7                  you by tomorrow.
8                  Again, thank you for funding this loan, and will send you an email
9                  tomorrow with the draft agreement.”
10
               C. Email sent by King to L.R. on January 28, 2022, regarding Loan 03
11
                  stating: “Attached please find:
12
                  1. Borrower Docs: Secured Promissory Note, Security Agreement, and
13
                  COJ.
14
                  2. Appraisals: vehicle appraisal and purchase agreement. The watch
15
                  appraisal and boat appraisal are in hard copy received at my office
16
                  yesterday; I will be there later this morning and will send you a copy.
17
                  3. Titles. The only missing title is the Maybach62 (I supplemented it
18
                  with a photo taken by me) - however, the title was dropped off to my
19
                  office yesterday – so I will send you a copy when I get there later this
20
                   morning.
21
                   This morning I will resend a complete packet to you after meeting with
22
                   the borrower for final signatures and funding.
23
                   Solomon is interested in scaling this business, first in New York
24
                  followed by Florida. We had a great conversation and were able to
25
                  identify some key hurdles to scaling, however not insurmountable. Will
26
                  take some planning, but I do think we can take this nationwide.
27
                  Between Kamran and I, you, and Solomon, we may be able to really
28

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1                  take over the industry. Exciting stuff!”
2
               D. Email sent by King to L.R. on February 21, 2022, regarding Loan 04
3
                   and Loan 05 stating: “Hi Laurent, [¶] Attached please find the Funding
4
                   Confirmations and the Proof of Funding for the two loans funded.”
5
6              E. Email sent by King to L.R. on March 14, 2022, regarding Loan 08
7                  stating: “It was such a pleasure meeting you this past week. When you
8                  have a chance, please send over the spreadsheet you created - I'd love to
9                  tinker around with it a bit to learn more.
10                 If you recall when we met, I got a loan request on a Tiffany stamped
11                 Patek. I got the details including confirmation of authenticity, along
12                 with the current market value estimate and appraisal from my appraiser.
13                 Being that it has the Tiffany stamp, I was told the value can increase 4x.
14                 I requested a very conservative value.
15                 The guy is looking to borrow $350k by Tuesday, March 15 (I’m
16                 assuming it has something to do with tax season!). I have him locked in
17                 for $250k (less than requested) at 8% but it's contingent on funding by
18                 Tuesday. Oftentimes I will come back at the amount they originally
19                 requested and add more interest. ;) But in this case, he is okay with
20                 $250k.
21                 Attached is the request along with a photo and a video of the watch so
22                 that you can also confirm the value.”
23
               F. Email sent by King to L.R. on March 20, 2022, regarding Loan 11
24
                   stating: “I have one last loan for the month – it’s one I first sent to you
25
                   in the very beginning, a coin collection. The borrower paid back the
26
                   funds, and now needs them again. History on this guy is that he makes
27
                   a lot of money, owns a drywall company, and uses cash for
28

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1                  ‘extracurricular’ activities that he doesn’t want his company books to
2                  show (ha). I have known him for a few years and he was a law client of
3                  mine - borrowers often, and has always paid. [¶] He needs the money
4                  tomorrow (3/31) and he agreed to 10% (which is more than the last loan
5                  funded) for a period of 3 months. LTV is =8%. If you're interested, we
6                  would need to fund him by tomorrow, which means you would have to
7                  fund today. If this is too quick for you - no problem! [¶] I likely will not
8                  be looking at any deals next week due to a law conference I am
9                  speaking at, so thought you may like this one. :)”
10
               G. Email sent by King to L.R. on April 7, 2022, regarding Loan 13 stating:
11
                   “Hi Laurent,
12
                   There’s one that cleared due diligence today. It’s small, but pretty good.
13
                   Collateral is a G wagon (photos attached) my guys cleared it this
14
                   morning. I don’t know why someone would pick this color, haha.
15
                   Collateral Value: $300k
16
                   Fire Sale: $220k
17
                   Amount: $65k
18
                   Term: 2 months
19
                   Rate: 15% (so you make 9% on the deal)
20
                   It’s a higher rate because the term is shorter. The borrower is actually a
21
                   friend of mine who is waiting on purchase orders and needs to fund
22
                   payroll. So, he’s not looking to take full equity out, just enough to get
23
                   him by. He has payroll due tomorrow (Friday). So we would need to
24
                   fund immediately. I am gathering the docs, and can send them to you by
25
                   this evening so we can fund in the morning- it’s a good one especially if
26
                   he defaults! The LTV is 30%!”
27
28             H. Email sent by King to L.R. on April 18, 2022, regarding Loan 17 and

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1                  Loan 18 stating: “These two cleared with appraisers - they are smaller
2                  than normal, but still good for the portfolio. Funding requested for
3                  today, but I have already prepared them for Tuesday funding. I do not
4                  have a back story on the borrowers, these are referral from my mentor.
5                  [¶] 1. 1902 37.5 Ruble Gold Coin Sev-578 PCGS AU Condition,
6                  Market Value: $65k; Firesale: $35k; Loan Request: $30k… [¶] 2. The
7                  Avengers #1 (Marvel, 1963) CGC NM-9.2 Off-white to white pages,
8                  Comic Book, Market Value: $50k; Firesale: $27k; Loan Request:
9                  $25k…”
10
               I. Email sent by King to L.R. on May 14, 2022, regarding Loan 25 stating:
11
                   “Finally, my favorite and the most secure type of loan deal has finally
12
                   arrived! Lending against guaranteed sports contracts. There is a
13
                   professional hockey player (NHL) who has a guaranteed contract for
14
                   $3m a year. He wants to borrow $500k for 6 months. Because it’s a
15
                   major sports contract our maximum rate we can charge is 6%. Happy to
16
                   offer you 4% (as opposed to 3.6%) of the money so it’s lucrative for
17
                   you.
18
                   How it works is the sports team pays an escrow account monthly and
19
                   we get payment before the player does; thus, because it’s a guaranteed
20
                   contract (doesn’t matter if player gets injured), and because we get paid
21
                   first by the league, it is very secure collateral and no chance for default.
22
                   These are the loans I have been waiting for from mentor.
23
                   Amount: $500k
24
                   Term: 6 months
25
                   Rate: 6%
26
                   Collateral: guaranteed sports contract
27
                   Funding date: Monday, May 16
28

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1                  Because you have money with KFL for lending you would need to send
2                  only $255k to fund this one. It’s really my goal type of loan because we
3                  eliminate security issues and resale issues. So if we get this one done,
4                  the league will have us approved to lend to other players. So, it’s a big
5                  deal. And, professional sports lending is really easy to scale! I’m not
6                  allowed to send the actual contract to anyone - but I can send the
7                  agreement that is to be signed by player and the league.
8                  This one makes me very happy and excited. Been working hard to get
9                  to these loans - and finally it’s paying off!”
10
               J. Email sent by King to L.R. on May 23, 2022, regarding Loan 30 stating:
11
                   “I have a request for another one - The borrower is requesting $300k.
12
                   This deal is a different league (MLB). I'm simply notifying you because
13
                   I promised I would. [¶] Please make it clear whether you want to do any
14
                   deals today/tomorrow or hold off until you receive all photos. I cannot
15
                   lose the sports contract deals - they have been my goal for a long time,
16
                   so if you are not funding at this time, need to know asap to make sure I
17
                   can get the deals done with other people.”
18
19             K. Email sent by King to L.R. on May 26, 2022, regarding Loan 28 stating:
20                 “Hi Laurent,
21                 Both checked out. Ideally, she would like funding by tomorrow, as
22                 you’ll see below, if by tomorrow she’s willing to pay a higher interest
23                 rate.
24                 Attached are photos as you requested- up close for inspection! Watch
25                 value at $50k. Box included, she has the Rolex card she’s trying to find
26                 but value contemplates no card.
27                 The Rolls Ghost is at the shop and valued at $230k.
28                 Loan amount: $150k

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1                  Term: 4 months
2                  Rate: 10% if funded tomorrow (Thursday); 8% if Friday.
3                  LTV: 53%
4                  She is a friend of mine and a famous hair extension person for the stars.
5                  Her biggest clients are the Kardashians. She wants to expand the
6                  business and didn’t like the potential investors. She makes good money;
7                  I was her lawyer for a period of time and had access to her books.
8                  Tomorrow we receive $10,500 in interest payments so the amount to
9                  fund is $139,500.00. Sending promissory note in a separate email if
10                 you are able to fund tomorrow morning!”
11
               L. Email sent by King to L.R. on February 17, 2022, regarding Loan 07
12
                   requesting a loan in the amount of $200,000 to be secured by a
13
                   Chevrolet Truck valued at $300,000, Chevrolet Cheville valued at
14
                   $295,000, and Ford Roadster valued at $75,000.
15
16             M. Email sent by King to L.R. on February 17, 2022, regarding Loan 04
17                 requesting a loan in the amount of $400,000 to be secured by a Tiara
18                 F44 boat valued at $900,000.
19
               N. Email sent by King to L.R. on March 27, 2022, regarding Loan 09
20
                   stating: “Attached are the unsigned borrower docs for the $75,000.00
21
                   loan. On Monday, the borrower will sign prior to funding. I will send
22
                   you proof of funding on Monday once completed.”
23
24             O. Email sent by King to L.R. on March 27, 2022, regarding Loan 10
25                 stating: “Attached are the unsigned borrower docs for the $120,000.00
26                 loan. On Monday, the borrower will sign prior to funding. I will send
27                 you proof of funding on Monday.”
28

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1              P. Email sent by King to L.R. on June 14, 2022, regarding Loan 36 stating:
2                  “Attached are photos of collateral for a deal that needs funding by
3                  tomorrow morning. (Wednesday)
4                  Amount: $100,000
5                  Term: 2 months
6                  Rate: 10%
7                  Collateral: AP watch, Rolex watch
8                  The guy is one of my mentor’s referrals- he needs money by tomorrow.
9                  I have the watches and they have been verified.
10                 Funding to send this morning: $87,700
11                 Currently, we have $12,300 in account. We have loan payoffs that are
12                 incoming, but funds won’t be available until Friday. The good news is
13                 that I’ve pushed the other deals I will be sending until Monday/Tuesday,
14                 so you won’t need to send any to fund the next set of deals.”
15
               Q. Email sent by King to L.R. on May11, 2022, regarding Loan 23 stating:
16
                   “This one checked out. With papers; no box. Guy looking for $65k for 3
17
                   months at 8% (I’ll still give you 6%). He’s looking for funding by
18
                   tomorrow. If you like it, I can send you total for tomorrow. Let me
19
                   know what you think.”
20
21             R. Email sent by King to L.R. on June 27, 2022, regarding Loan 35, Loan
22                 41, and Loan 46 stating: “All docs will be there by evening tomorrow
23                 for you! Finally got things handled - including the sports contract.
24                 Finally got approval on the redacted version. I’ll be on my computer
25                 later to finish and share the drive with you. No sense in sending you the
26                 link partially done, you will just get constant emails about updates.
27                 We have 3 loans on deck that requested funding this past Friday, but I
28                 held them off to tomorrow/today (Monday) because you’ll have funds

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1                  in!
2                  Deals:
3                  1. Loan 35 requested another loan.
4                  Amount: $150k
5                  Term: 7 days
6                  Rate: 15%
7                  Collateral: AP white ceramic
8                  Funding: today.
9                  2. NHL contract
10                 Amount: $250k
11                 Term: 5 months
12                 Rate: 7%
13                 Player newly drafted, first year, 21 years old, guaranteed contract 2
14                 year; bonus is in November for $500k Funding immediately (Monday)
15                 3. AP Royal Oak Chronograph, gold with blue face. (See photos
16                 attached)
17                 …
18                 I will fund them this morning.”
19
               S. Email sent by King to L.R. on July 10, 2022, regarding Loan 44, Loan
20
                   54, and Loan 59 A stating: “Current Deals
21
                   Deal 1:
22
                   Loan 44 (the short-term watch) want to renew again - love this one!
23
                   Amount: $150,000
24
                   Deal 2:
25
                   Loan 1 wants to do another loan; however, with the following terms:
26
                   Amount: $195,000
27
                   Term: 3 months
28

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1                  Rate: 10%
2                  Deal 3:
3                  Amount: $25,000
4                  Term: 6 months
5                  Rate: 7%
6                  Collateral: NBA Contract guaranteed 4.5m for 3 years, 21 years old,
7                  Toronto Raptors player. I happened to be at the NBA summer league
8                  games and got this one! Bonus is in January for $500k.
9                  We have a few more I need to review - but these two need funding by
10                 today (Monday). I have about 6 for review for Tuesday funding! Five of
11                 which come from my mentor.
12                 As of tomorrow morning we will have $149,200.00 to use for funding.
13                 Spreadsheet to follow. Deals 1 & 3 are the most urgent for Monday
14                 morning funding as I am still at the NBA summer league games and I'd
15                 like to be able to complete the loan in front of other players ;). Deal 2
16                is urgent, but if you'd like me to push it off until we collect more funds,
17                 I am happy to do so.
18                 Let me know if you are interested and I'll send the amount to fund for
19                 today (Monday) funding.
20                 AMOUNT TO FUND:
21                 Deal 2 & 3 TOTAL TO FUND: $250,800.00
22                 Deal 1, 2 and 3 TOTAL TO FUND: $445,800.00”
23
               T. Email sent by King to L.R. on June 3, 2022, regarding Loan 32 stating:
24
                   “This borrower has an urgent need to be funded tomorrow (today),
25
                   Friday.
26
                   Collateral:
27
                   2019 Porsche Panamera GTS (Firesale: $90k) AP Chrono (pics
28

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1                    attached) (Firesale: $45k)
2                    Amount: $65,000
3                    Term: 2 months
4                    Rate: 12%
5                    Borrower is waiting for a purchase order to be paid and has payroll due
6                    today.
7                    If you’re able to fund this would be great. He needs it today to pay
8                    employees. All items checked out. Watch has no box, but papers.”
9          38.    The information contained in the emails from King to Plaintiff, identified
10   and quoted in paragraph 37, above, among others, was false. The representations by
11   King to Plaintiff contained in the emails identified and quoted in paragraph 37, above,
12   regarding the existence of the third-party loans, collateral for the loans, funding of the
13   third-party loans, and descriptions of the third-party borrowers were false.
14         39.    King made the representations to Plaintiff contained in the emails identified
15   and quoted in paragraph 37, above, among others, with knowledge of their falsity.
16         40.    King made the representations to Plaintiff contained in the emails identified
17   and quoted in paragraph 37, above, among others, with the intent to deceive and defraud
18   Plaintiff and to cause Plaintiff to loan King Lending and King over $10,000,000 in
19   principal.
20         41.    Plaintiff justifiably relied on the representations made by King to Plaintiff
21   contained in the emails identified and quoted in paragraph 37, above, among others, by
22   loaning Defendants $10,258,500 in principal.
23         42.    King intentionally misrepresented to Plaintiff that $6,331,580 in loans had
24   been repaid by the third-party borrowers and that money had been “redeployed” to fund
25   additional loans. King made this false and fraudulent representation knowing it was
26   false and with intent to induce reliance by Plaintiff and to cause Plaintiff to continue
27   funding additional loans and refrain from pursuing legal action. Plaintiff justifiably
28   relied on this false representation by continuing to fund additional loans.

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1          43.      In addition, on or about the following dates, in addition to at other times,
2    King intentionally misrepresented to Plaintiff that payments had been made by third-
3    party borrowers on the purported third-party loans by providing Plaintiff and LR with
4    fraudulent, falsified, and altered King Lending bank statements: on July 2, 2022, with
5    the April 2022 bank statement; on July 6, 2022 with June 2022 bank statement; and on
6    September 8, 2022 with August 2022 bank statements. King uploaded fraudulent and
7    falsified bank statements where she altered the bank statements to show deposits/
8    payments by third-party borrowers that were in fact never made. King would upload
9    these fraudulent, falsified, and altered bank statements into a Google drive shared with
10   Plaintiff and LR and notify Plaintiff and LR that she had loaded the bank statements to
11   show purported payments by third-party borrowers.
12         44.      King and King Lending made the misrepresentations to Plaintiff identified
13   in paragraph 43, above, with knowledge of their falsity and with intent to induce
14   reliance by Plaintiff and to cause Plaintiff to continue funding additional loans and
15   refrain from pursuing legal action. Plaintiff justifiably relied on this false representation
16   by continuing to fund additional loans.
17         45.      As a direct and proximate result of Defendants’ fraud and tortious conduct,
18   Plaintiff has been damaged in an amount to be proven at trial, but in the amount of at
19   least $10,258,500.
20         46.      In doing the things herein alleged, Defendants acted willfully, maliciously,
21   and with the intent to cause injury and harm to Plaintiff. Defendants are therefore guilty
22   of malice and/or fraud in conscious disregard of Plaintiff’s rights, thereby warranting an
23   assessment of punitive and exemplary damages in an amount appropriate to punish
24   Defendants, and each of them, and deter them and others from engaging in similar
25   misconduct.
26                                  THIRD CAUSE OF ACTION
27               (Civil Theft, Cal. Penal Code Section 496 Against All Defendants)
28         47.         Plaintiff realleges and incorporates by reference the allegations

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1    contained in paragraphs 1 through 46, inclusive, of this Complaint as though fully set
2    forth at length.
3          48.          As a result of King and King Lending’s conduct as alleged herein, they
4    have violated California Penal Code, section 496 (“Section 496”).
5          49.          Section 496, provides, “(a) [e]very person who buys or receives any
6    property that has been stolen or that has been obtained in any manner constituting theft
7    or extortion, knowing the property to be so stolen or obtained, or who conceals, sells,
8    withholds, or aids in concealing, selling, or withholding any property from the owner,
9    knowing the property to be so stolen or obtained, shall be punished by imprisonment in
10   a county jail for not more than one year, or imprisonment pursuant to subdivision (h) of
11   Section 1170.... [¶] (c) Any person who has been injured by a violation of subdivision
12   (a) or (b) may bring an action for three times the amount of actual damages, if any,
13   sustained by the plaintiff, costs of suit, and reasonable attorney’s fees.”
14         50.          King and King Lending have obtained and received property from
15   Plaintiff, the $10,258,500, in a manner constituting “theft,” as that term is defined in
16   California Penal Code, section 484(a), and case law interpreting same. California Penal
17   Code, section 484(a), provides: “[e]very person who shall feloniously steal, take, carry,
18   lead, or drive away the personal property of another, or who shall fraudulently
19   appropriate property which has been entrusted to him or her, or who shall knowingly
20   and designedly, by any false or fraudulently representation or pretense, defraud any
21   other person of money, labor or real or personal property, or who causes or procures
22   others to report falsely of his or her wealth or mercantile character and by thus imposing
23   upon any person, obtains credit and thereby fraudulentlyly gets or obtains possession of
24   money, or property or obtains the labor or service of another, is guilty of theft.”
25         51.          As a direct and proximate result of Defendants’ civil theft, Plaintiff has
26   been damaged in an amount to be proven at trial, but at least $10,258,500.
27         52.          Pursuant to California Penal Code, section 496(c), Plaintiff is also
28   entitled to recover treble damages from Defendants.

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1          53.          Pursuant to California Penal Code, section 496(c), Plaintiff is also
2    entitled to recover attorneys’ fees from Defendants.
3          54.          In doing the things herein alleged, Defendants acted willfully,
4    maliciously, and with the intent to cause injury and harm to Plaintiff. Defendants are
5    therefore guilty of malice and/or fraud in conscious disregard of Plaintiff’s rights,
6    thereby warranting an assessment of punitive and exemplary damages in an amount
7    appropriate to punish Defendants, and each of them, and deter them and others from
8    engaging in similar misconduct.
9                                  FOURTH CAUSE OF ACTION
10                            (Account Stated Against All Defendants)
11         55.          Plaintiff realleges and incorporates by reference the allegations
12   contained in paragraphs 1 through 26, inclusive, of this Complaint as though fully set
13   forth at length.
14         56.          King and King Lending owe Plaintiff at least $10,258,500 from the
15   ninety-seven (97) loans made by Plaintiff to King Lending.
16         57.          Plaintiff and Defendants, by both words and conduct, have agreed that
17   the amount that Plaintiff alleges to be due from Defendants to Plaintiff, $10,258,500
18   plus interest, is the correct amount owed.
19         58.          Defendants, by words and conduct, have promised to pay $10,258,500,
20   plus interest and other amounts due, to Plaintiff.
21         59.          Defendants have not paid Plaintiff the $10,258,500, plus interest and
22   other amounts, owed under this account.
23         60.          Defendants owe Plaintiff the amount of $10,258,500, plus interest.
24                                     PRAYER FOR RELIEF
25         WHEREFORE, Plaintiff prays for judgment against Defendants, jointly and
26   severally, as follows:
27         1.     For damages in the amount to be proven at trial, but in the amount of at
28   least $10,258,500;

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1          2.     For pre-judgment interest at the legal rate or the rate set forth in the
2    contracts;
3          3.     For post-judgment interest at the legal rate;
4          4.     For treble damages pursuant to California Penal Code, section 496(c);
5          5.     For attorneys’ fees pursuant to contract;
6          6.     For attorneys’ fees pursuant to California Penal Code, section 496(c);
7          7.     For punitive damages;
8          8.     For court costs; and
9          9.     For such other and further relief as the Court deems just and proper.
10
     DATED: February 10, 2023                   LAW OFFICES OF RONALD RICHARDS &
11                                              ASSOCIATES, A.P.C.
12
13                                              By:    / s / Ronald N. Richards
                                                      Ronald N. Richards
14                                              Attorneys for Plaintiff LDR
                                                INTERNATIONAL LIMITED
15
16   DATED: February 10, 2023                   LAW OFFICES OF GEOFFREY LONG,
                                                A.P.C.
17
18
                                                By:    / s / Geoffrey S. Long
19                                                    Geoffrey S. Long
                                                Attorneys for Plaintiff LDR
20                                              INTERNATIONAL LIMITED
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1                                         JURY DEMAND
2          Plaintiff LDR INTERNATIONAL LIMITED hereby demands trial by jury on all
3    causes of action as to which it is entitled to jury.
4
     DATED: February 10, 2023                     LAW OFFICES OF RONALD RICHARDS &
5                                                 ASSOCIATES, A.P.C.
6
7                                                 By:    / s / Ronald N. Richards
                                                        Ronald N. Richards
8                                                 Attorneys for Plaintiff LDR
                                                  INTERNATIONAL LIMITED
9
10   DATED: February 10, 2023                     LAW OFFICES OF GEOFFREY LONG,
                                                  A.P.C.
11
12
                                                  By:    / s / Geoffrey S. Long
13                                                      Geoffrey S. Long
                                                  Attorneys for Plaintiff LDR
14                                                INTERNATIONAL LIMITED
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                                                                                            Page ID
                                                  #:254           DURATION
Loan No.             Purported Collateral            AMOUNT                     DATE FUNDED    MATURITY DATE
                                                                                   (MONTHS)
          AP Royal Oak Watch Gold /Black Index
Loan 01   AP Royal Oak Chronograph Rose Gold White Index        $     195,000         4       01/14/2022   05/31/2022
          Richard Mille RM 030
          1979 Ferrari 308 GTS
          1896 Ferrari 328 GTB
          2003 Chevrolet Corvette
Loan 02                                                         $     235,000         6       01/18/2022   07/18/2022
          2010 Rolls Royce Ghost
          2014 Aston Martin Vanquish
          2020 Porsche Taycan 4S
          2006 SeaRay
Loan 03   Two-Tone Date Just                                    $     175,000         4       01/31/2022   05/31/2022
          2007 Maybach
Loan 04   2017 Tiara F44                                        $     400,000         4       02/18/2022   06/18/2022
Loan 05   Cartier Jewelry Lot                                   $     150,000         3       02/18/2022   05/18/2022
          Hermès Birkin Bag 35; White Himalayan
Loan 06                                                         $     100,000         4       03/04/2022   07/04/2022
          Rolex Daytona Rose Gold
          1956 Chevrolet Truck
Loan 07                                                         $     150,000         3       03/04/2022   06/04/2022
          1971 Chevrolet Cheville
Loan 08   Patek Phillipe Nautilus, Rose Gold, Tiffany Stamp     $     350,000         3       03/15/2022   06/14/2022
          2021 MBZ S580
Loan 09                                                         $         75,000      3       03/28/2022   06/29/2022
          Rolex Yacht Master Yellow Gold
          Rolex Oyster Perp, Stainless Steel
Loan 10   Diamond Ring, Pear, 5.02k                             $     120,000         4       03/28/2022   07/28/2022
          Diamond Ring, Yellow Diamond, 8.74k
Loan 11   Coins                                                 $     150,000         3       04/01/2022   07/01/2022
          Chanel Classic Bag (Beige)
          Chanel Classic Bag (Black)
          Chanel Rocket Bag
          Cartier Monsieur Watch, Rose Gold, Cartier Tank
          Francaise, Rose Gold, Cartier Juste Un Clous
Loan 12                                                         $         95,000      4       04/06/2022   08/06/2022
          Bracelet, Rose Gold w/ Diamonds, Cartier Love
          Bracelet, Rose Gold w/ Diamonds, Cartier Love Ring,
          White Gold w/ Diamonds
          Cartier Trinity Ring, w/ Diamonds, Cartier Trinity
          Bracelet, w/Diamonds
Loan 13   Mercedes Benz G Class, 63 AMG                         $         65,000      2       04/08/2022   06/08/2022
Loan 14   2019 Rolls Royce Dawn                                 $     100,000         3       04/11/2022   07/11/2022
Loan 15   Patek Phillipe Nautilus Watch, Platinum and Ruby      $     150,000         4       04/11/2022   08/11/2022
Loan 16   Ruby Ring w/ Diamonds, 10.04k                         $         80,000      2       04/15/2022   06/15/2022
Loan 17   Avengers Comic Book                                   $         25,000      3       04/19/2022   07/19/2022
Loan 18   1902 Ruble Gold Coin                                  $         30,000      3       04/19/2022   07/19/2022
Loan 19   Van Cleef & Arpels Ruby/Diamond Bracelet              $         75,000      3       04/26/2022   07/26/2022
Loan 20   Rolex Daytona, Platinum Ice Blue Face                 $     100,000         4       04/26/2022   08/26/2022
Loan 21   Lamborghini Aventador                                 $     200,000         3       04/27/2022   07/27/2022
          Audemars Piguet Royal Oak, Extra Thin, Black
Loan 22                                                         $     150,000         3       05/04/2022   08/05/2022
          Ceramic
Loan 23   Rolex Rainbow Watch                                   $         55,000      3       05/12/2022   08/12/2022
          Audemars Piguet Royal Oak Offshore Chronograph
Loan 24   Titanium                                              $         40,000      3       05/12/2022   08/12/2022
          Audemars Piguet Royal Oak Offshore Ghost
Loan 25   NHL Sports Contract                                   $     500,000         6       05/16/2022   10/17/2022
Loan 26   NHL Sports Contract                                   $     200,000         4       05/24/2022   09/25/2022
Loan 27   MLB Sports Contract                                   $     250,000         6       05/24/2022   10/25/2022
          Rolex Day Date II Rose Gold 41mm, Diamond Dial
Loan 28                                                         $     150,000         4       05/26/2022   09/25/2022
          2018 Rolls Royce Ghost
          2016 Aston Martin Vanquish (Silver)
Loan 29                                                         $     100,000         5       05/31/2022   10/31/2022
          AP Rose Gold Chronograph Watch
Loan 30   MLB Sports Contract                                   $     300,000         3       05/31/2022   08/31/2022
Loan 31   NHL Contract                                          $     100,000         4       06/01/2022   10/01/2022

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          AP Steel Royal Oak Chronograph Watch         #:255
 Loan 32                                              $       65,000      2         06/03/2022     08/03/2022
            2020 Porsche Panamera GTS
 Loan 33    NHL Contract                                     $     500,000          4        06/10/2022   10/10/2022
 Loan 34    2022 Porsche Taycan 4s                           $         75,000       6        06/10/2022   12/10/2022
 Loan 35    AP Royal Oak White Ceramic 1st                   $     150,000      0 (7 days)   06/13/2022   06/21/2022
 Loan 36    Rolex Rose Gold Day Date II                      $     100,000          2        06/15/2022   08/16/2022
 Loan 37    MBZ G 63 (Matte Black) 2021                      $     100,000          4        06/20/2022   10/21/2022
            Hermes Birkin, So Matte, Alligator
 Loan 38                                                     $     150,000          4        06/20/2022   10/21/2022
            Piaget Limelight Diamond Watch
 Loan 39    MBZ G 63 (Red)                                   $     100,000          4        06/20/2022   10/21/2022
 Loan 40    NHL Sports Contract                              $     200,000          4        06/20/2022   10/21/2022
 Loan 41    MLSoccer Sports Contract                         $     500,000          6        06/22/2022   12/21/2022
 Loan 42    Patek 5711 Jumbo Rose Gold/Brown dial            $     100,000          3        06/24/2022   09/24/2022
 Loan 43    AP Royal Oak White Gold Frosted/Purple Dial      $         75,000       2        06/24/2022   08/24/2022
 Loan 44    AP Royal Oak White Ceramic 2nd                   $     150,000      0 (7 days)   06/27/2022   07/05/2022
 Loan 45    NFL Contract                                     $     250,000          5        06/27/2022   11/27/2022
 Loan 46    AP Royal Oak Chronograph Gold, with Blue dial    $         75,000       3        06/27/2022   09/27/2022
 Loan 47    2017 Tiara F44                                   $     400,000          4        07/07/2022   11/07/2022
            2021 MBZ S580
 Loan 48                                                     $         75,000       3        07/07/2022   10/06/2022
            Rolex Yacht Master Yellow Gold
 Loan 49    Richard Mille Watch                              $     100,000          2        07/07/2022   09/07/2022
 Loan 50    NBA Sports Contract                              $     350,000          5        07/08/2022   12/08/2022
 Loan 51    2005 Ford GT                                     $     200,000          3        07/08/2022   10/08/2022
 Loan 52    AP Royal Oak White Ceramic 3rd                   $     150,000      0 (7 days)   07/11/2022   07/19/2022
 Laon 53    NBA Contract                                     $     250,000          6        07/13/2022   01/13/2023
            AP Royal Oak Watch Gold /Black Index
 Loan 54    AP Royal Oak Chronograph Rose Gold White Index   $     195,000          3        07/16/2022   10/16/2022
            Richard Mille RM 030
 Loan 55    NBA Sports Contract 45901                        $     200,000          6        07/16/2022   01/16/2023
            Hermès Birkin Bag 35; White Himalayan
 Loan 56                                                     $     100,000          4        07/22/2022   11/22/2022
            Rolex Daytona Rose Gold
 Loan 57    2019 Rolls Royce Dawn                            $     100,000          3        07/22/2022   10/22/2022
 Loan 58    2019 Ferrari 488 Spider                          $     150,000          3        07/22/2022   10/22/2022
Loan 59 A   NBA Contract: 45992                              $     250,000          6        07/22/2022   01/22/2023
Loan 59 B   NBA Contract 45919(b)                            $     200,000          6        07/22/2022   01/22/2023
 Loan 60    NFL Contract 900173                              $     350,000          5        07/22/2022   12/22/2022
 Loan 61    NBA Contract 647007                              $     250,000          5        07/25/2022   12/28/2022
 Loan 62    NFL Contract: 900173                             $     350,000          5        07/28/2022   12/28/2022
 Loan 63    NBA Contract: 647007                             $     200,000          5        07/28/2022   12/28/2022
 Loan 64    AP Royal Oak White Ceramic 4rth                  $     150,000       10 days     07/28/2022   08/05/2022
 Loan 65    Lamborghini Aventador                            $     200,000          3        07/28/2022   10/28/2022
 Loan 66    NBA Contract: 647972                             $     250,000          5        08/03/2022   01/03/2023
 Loan 67    Rolls Royce Cullinan                             $     150,000          3        08/03/2022   11/03/2022
 Loan 68    Rolex Daytona [White Dial/Black Chronograph]     $         50,000       3        08/04/2022   11/04/2022
 Loan 69    AP Royal Oak [Gold Frosted]                      $         50,000    14 days     08/10/2022   08/24/2022
 Loan 70    NBA Contract                                     $     300,000          5        08/10/2022   01/10/2023
 Loan 71    NBA Contract                                     $     250,000          5        08/12/2022   01/10/2023
            Audemars Piguet Royal Oak Tourbillon
 Loan 72                                                     $     150,000          2        08/16/2022   10/16/2022
            [Extra Thin, Black Ceramic]
            Audemars Piguet Royal Oak Tourbillon
 Loan 73                                                     $     150,000       10 days     08/16/2022   08/23/2022
            [White Ceramic]
 Loan 74    MLB Contract 7NN1C3                              $     300,000          4        08/16/2022   12/16/2022
 Loan 75    NFL Contract: 944301                             $     250,000          5        08/16/2022   01/16/2023
            Tiffany's Diamond Engagement Ring
 Loan 76                                                     $     300,000          3        08/18/2022   11/18/2022
            [8.4 carats, D Color, Flawless]
 Loan 77    2018 Rolls Royce Phantom                         $     175,000          3        08/23/2022   11/23/2022
 Loan 78    NBA Contract 788634                              $     250,000          4        08/23/2022   12/23/2022

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Loan 79    MLS Contract LA GALAXY 629           $#:256 250,000      5         08/23/2022     01/23/2023
Loan 80    1979 Ferrari 308 GTS                                  $     110,000          3         08/29/2022   11/29/2022
Loan 81    2021 BMW M6 Convertible                               $      50,000          3         08/29/2022   11/29/2022
Loan 82    NBA Contract                                          $     250,000          4         08/29/2022   12/29/2022
           Patek Philippe Nautilus (Blue Dial) Rolex Rose Gold
Loan 83                                                          $     100,000          2         08/29/2022   10/29/2022
           Day Date II
Loan 84    NFL Sports Contract                                   $     350,000          4         09/09/2022   01/09/2022
Loan 85    Aston Martin DBS                                      $     150,000          4         09/09/2022   01/09/2022
Loan 86    Patek Philipe Nautilus Watch, Platinum Ruby (2nd)     $     200,000          3         09/12/2022   12/12/2022
Loan 87    Audemars Piguet Royal Oak Tourbillon                  $     150,000      0 (14 days)   09/15/2022   09/30/2022
Loan 88    MLS Sports Contract ID: 607                           $     250,000          5         09/19/2022   02/19/2023
Loan 89    Bentley Batayaga                                      $     150,000          3         09/20/2022   12/20/2022
Loan 90    NBA Clippers Contract                                 $     500,000          4         10/05/2022   02/05/2023
Loan 91    Commercial Building                                   $     350,000          3         10/05/2022   01/05/2023
Loan 92    Aston Martin DB4 1961                                 $     450,000          3         10/05/2022   01/05/2023
Loan 93    Audemars Piguet Royal Oak Double Balance Gold         $         80,000       3         10/07/2022   01/07/2023
Loan 94    Patek 5711 Jumbo Rose Gold/Brown dial                 $         80,000       3         10/07/2022   01/07/2023
Loan 95    NFL Sport Contract                                    $     500,000          4         10/12/2022   2/12/2023
Loan 96    NBA Sport Contract                                    $     350,000          4         10/12/2022   2/12/2023
Loan 97    MLB Sport Contract                                    $     750,000          4         10/12/2022   2/12/2023




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                                   UNITED STATES DISTRICT COURT
                                  CENTRAL DISTRICT OF CALIFORNIA

                                                           CASE NUMBER:

  LDR INTERNATIONAL LIMITED
                                                              8:23−cv−00257−DOC−JDE
                                       PLAINTIFF(S)

                            v.

  SARA JACQUELINE KING, et al.

                                                                          DEFAULT BY CLERK
                                                                            F.R.Civ.P. 55(a)
                                    DEFENDANT(S).




       It appearing from the records in the above−entitled action that summons has been served upon the
  defendant(s) named below, and it further appearing from the affidavit of counsel for Plaintiff, and other
  evidence as required by F.R.Civ.P. 55(a), that each of the below defendants have failed to plead or otherwise
  defend in said action as directed in said Summons and as provided in the Federal Rules of Civil Procedure:

       Now, therefore, on request of counsel, the DEFAULT of each of the following named defendant(s) is
  hereby entered:

   KING FAMILY LENDING LLC, a California limited liability company




                                                         Clerk, U.S. District Court

    April 4, 2023                                        By /s/ Trina DeBose
  Date                                                   Deputy Clerk

  CV−37 (10/01)                           DEFAULT BY CLERK F.R.Civ.P. 55(a)
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   1   SARA J. KING (Cal. State Bar No. 299115)
       PRO PER
   2   Email: sarakingproper@gmail.com
   3   P.O. Box 8114
       Rancho Santa Fe, California 92067
   4   Tel: (949) 220-3666

   5

   6   In Pro Per for Defendant SARA J. KING,

   7

   8                               UNITED STATES DISTRICT COURT

   9                CENTRAL DISTRICT OF CALIFORNIA – SOUTHERN DIVISION

  10

  11    LDR INTERNATIONAL LIMITED, a                   Case No.: 8:23-CV-00257-DOC-JD(Ex)
        British Virgin Island corporation;
  12
                          Plaintiff,                 DEFENDANT SARA JACQUELINE KING’S ANSWER
  13                                                 AND DEFENSES TO PLAINTIFF’S COMPLAINT
               v.
  14                                                  [FILED CONCURRENTLY WITH:
        SARA JACQUELINE KING, an
  15    individual, and KING FAMILY LENDING           1) KING FAMILY LENDING LLC’S ANSWER TO
        LLC, a California limited liability              COMPLAINT; AND
  16    company;                                      2) CROSSCLAIM AGAINST KAMRAN ABBAS-
                                                         VAHID
  17                      Defendants.

  18                                                  Assigned For All Purposes:
                                                      Hon. David O. Carter
  19    SARA JACQUELINE KING, an
        individual, and KING FAMILY LENDING
  20    LLC;

  21                      Cross-Claimant,

  22           v.

  23    KAMRAN ABBAS-VAHID, an
        individual; and DOES 1 to 20, inclusive.
  24
                          Cross-Defendants.
  25
              Defendant Sara Jacqueline King (“KING”), in pro per hereby files her Answer and
  26
       Defenses to the Complaint filed by LDR International LDR (“Plaintiff”) as follows:
  27

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   1
                                            PRELIMINARY STATEMENT
   2
               In answering the Complaint, KING states that she is responding to allegations on behalf of
   3
       herself only, even where the allegations pertain to alleged conduct by all Defendants. KING
   4
       denies any and all allegations in the headings and/or unnumbered paragraphs in the Complaint.
   5

   6

   7                DEFENDANT SARA JACQUELINE KING’S ANSWER AND DEFENSES TO
                                  PLAINTIFF’S COMPLAINT
   8

   9
                                                      THE PARTIES
  10
               In response to the specific allegations in the enumerated paragraphs in the Complaint,
  11
       KING responds as follows:
  12
               1.       KING is without knowledge or information sufficient to form a belief as to the
  13
       truth of the allegations in Paragraph 1.
  14
               2.       KING admits that she is an attorney licensed to practice law in the State of
  15
       California, State Bar Number 299115. KING is without knowledge or information sufficient to
  16
       form a belief as to the truth of the remaining allegations in Paragraph 2
  17
               3.       KING admits that she filed for a California limited liability company called King
  18
       Family Lending LLC on or about February 7, 2020, with its principal place of business in Orange
  19
       County, California. KING admits that she is the manager of King Family Lending LLC. KING is
  20
       without knowledge or information sufficient to form a belief as to the truth of the remaining
  21
       allegations in Paragraph 3.
  22
               4.       KING admits that she obtained a finance lender’s license by the DFPI under
  23
       license number 60-DBO-111951 effective November 17, 2020. KING is without knowledge or
  24
       sufficient information to form a belief as to the truth of the remaining allegations in Paragraph 4.
  25
               5.       KING denies the allegations in Paragraph 5 and Paragraph 5 subsections a, b, c, d,
  26
       e, f, g, h, and i.
  27

  28
       ANSWER TO COMPLAINT                                 2
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   1
                                        JURISDICTION AND VENUE
   2
              6.      To the extent Plaintiff has properly alleged the claims, KING admits that this
   3
       Court has jurisdiction as to KING. KING denies Plaintiff’s entitlement to any relief. KING is
   4
       without knowledge or information sufficient to form a belief as to the truth of the remaining
   5
       allegations in Paragraph 6.
   6
              7.      To the extent Plaintiff has properly alleged the claims, KING admits that this
   7
       venue is proper as to KING. KING denies Plaintiff’s entitlement to any relief.
   8

   9
                                     GENERAL FACTUAL ALLEGATIONS
  10
              8.      KING is without knowledge or information sufficient to form a belief as to the
  11
       truth of the allegations in Paragraph 8.
  12
              9.      KING is without knowledge or information sufficient to form a belief as to the
  13
       truth of the allegations in Paragraph 9.
  14
              10.     KING is without knowledge or information sufficient to form a belief as to the
  15
       truth of the allegations in Paragraph 10.
  16
              11.     KING is without knowledge or information sufficient to form a belief as to the
  17
       truth of the allegations in Paragraph 11.
  18
              12.     KING is without knowledge or information sufficient to form a belief as to the
  19
       truth of the allegations in Paragraph 12.
  20
              13.     KING is without knowledge or information sufficient to form a belief as to the
  21
       truth of the allegations in Paragraph 13.
  22
              14.     KING admits that any borrower documents sent to Plaintiff had borrower’s
  23
       identity redacted to protect identities of borrowers. KING is without knowledge or information
  24
       sufficient to form a belief as to the truth of the remaining allegations in Paragraph 14.
  25
              15.     KING is without knowledge or information sufficient to form a belief as to the
  26
       truth of the allegations in Paragraph 15.
  27
              16.     KING is without knowledge or information sufficient to form a belief as to the
  28
       ANSWER TO COMPLAINT                                3
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   1
       truth of the allegations in Paragraph 16.
   2
              17.     KING admits that she redacted borrowers’ identities to protect identities of
   3
       borrowers. KING is without knowledge or information sufficient to form a belief as to the truth of
   4
       the allegations in remaining allegations in Paragraph 17.
   5
              18.     KING is without knowledge or information sufficient to form a belief as to the
   6
       truth of the allegations in Paragraph 18.
   7
              19.     KING denies misrepresentation to Plaintiff regarding the status of her lending
   8
       license. KING is without knowledge or information sufficient to form a belief as to the truth of
   9
       the remaining allegations in Paragraph 19.
  10
              20.     KING is without knowledge or information sufficient to form a belief as to the
  11
       truth of the allegations in Paragraph 20.
  12
              21.     KING denies that there were no third-party borrowers or loans to third-parties.
  13
       KING is without knowledge or information sufficient form a belief as to the truth of the
  14
       remaining allegations in Paragraph 21.
  15
              22.     KING denies the allegations in Paragraph 22.
  16
              23.     KING denies the allegations in Paragraph 23.
  17
              24.     KING denies the allegations in Paragraph 24.
  18
              25.     KING is without knowledge or information sufficient to form a belief as to the
  19
       truth of the allegations in Paragraph 25.
  20
              26.     KING denies the allegations in allegations in Paragraph 26.
  21

  22                                     FIRST CAUSE OF ACTION
                                            (Breach of Contract)
  23

  24          27.     KING reasserts and re-alleges her responses and defenses as set forth above in
  25   Paragraphs 1 through 26.
  26          28.     KING is without knowledge or information sufficient to form a belief as to the
  27   truth of the allegations in Paragraph 27.
  28
       ANSWER TO COMPLAINT                               4
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   1
              29.     KING is without knowledge or information sufficient to form a belief as to the
   2
       truth of the allegations in Paragraph 28.
   3
              30.     KING is without knowledge or information sufficient to form a belief as to the
   4
       truth of the allegations in Paragraph 29.
   5
              31.     KING is without knowledge or information sufficient to form a belief as to the
   6
       truth of the allegations in Paragraph 30.
   7
              32.     KING is without knowledge or information sufficient to form a belief as to the
   8
       truth of the allegations in Paragraph 31.
   9
              33.     KING is without knowledge or information sufficient to form a belief as to the
  10
       truth of the allegations in Paragraph 32.
  11
              34.     KING is without knowledge or information sufficient to form a belief as to the
  12
       truth of the allegations in Paragraph 33.
  13
              35.     KING is without knowledge or information sufficient to form a belief as to the
  14
       truth of the allegations in Paragraph 34.
  15
              36.     KING is without knowledge or information sufficient to form a belief as to the
  16
       truth of the allegations in Paragraph 35.
  17

  18                                    SECOND CAUSE OF ACTION
                                                (Fraud)
  19
              37.     KING reasserts and re-alleges her responses and defenses as set forth above in
  20
       Paragraphs 1-36.
  21
              38.     KING is without knowledge or information sufficient to form a belief as to the
  22
       truth of the allegations in Paragraph 36.
  23
              39.     KING denies making false representations to Plaintiff. KING is without
  24
       knowledge or information sufficient to form a belief as to the truth of the remaining allegations in
  25
       Paragraph 37, and including Paragraph 37 subparagraphs A, B, C, D, E, F, G, H, I, J, K, L, M, N,
  26
       O, P, Q, R, S, and T.
  27
              40.     KING is without knowledge or information sufficient to form a belief as to the
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   1
       truth of the allegations in Paragraph 38.
   2
              41.     KING is without knowledge or information sufficient to form a belief as to the
   3
       truth of the allegations in Paragraph 39.
   4
              42.     KING is without knowledge or information sufficient to form a belief as to the
   5
       truth of the allegations in Paragraph 40.
   6
              43.     KING is without knowledge or information sufficient to form a belief as to the
   7
       truth of the allegations in Paragraph 41.
   8
              44.     KING is without knowledge or information sufficient to form a belief as to the
   9
       truth of the allegations in Paragraph 42.
  10
              45.     KING is without knowledge or information sufficient to form a belief as to the
  11
       truth of the allegations in Paragraph 43.
  12
              46.     KING denies she acted willfully, maliciously and with the intent to cause injury
  13
       and harm to Plaintiff. KING is without knowledge or information sufficient to form a belief as to
  14
       the truth of the remaining allegations in Paragraph 44.
  15
              47.     KING is without knowledge or information sufficient to form a belief as to the
  16
       truth of the allegations in Paragraph 45.
  17
              48.     KING is without knowledge or information sufficient to form a belief as to the
  18
       truth of the allegations in Paragraph 46.
  19

  20                                    THIRD CAUSE OF ACTION
                                  (Civil Theft, Cal. Penal Code Section 496)
  21
              49.     KING reasserts and re-alleges its responses and defenses as set forth above in
  22
       Paragraphs 1-48.
  23
              50.     KING is without knowledge or information sufficient to form a belief as to the
  24
       truth of the allegations in Paragraph 47.
  25
              51.     KING is without knowledge or information sufficient to form a belief as to the
  26
       truth of the allegations in Paragraph 48.
  27
              52.     KING is without knowledge or information sufficient to form a belief as to the
  28
       ANSWER TO COMPLAINT                               6
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   1
       truth of the allegations in Paragraph 49.
   2
              53.     KING is without knowledge or information sufficient to form a belief as to the
   3
       truth of the allegations in Paragraph 50.
   4
              54.     KING is without knowledge or information sufficient to form a belief as to the
   5
       truth of the allegations in Paragraph 51.
   6
              55.     KING is without knowledge or information sufficient to form a belief as to the
   7
       truth of the allegations in Paragraph 52.
   8
              56.     KING is without knowledge or information sufficient to form a belief as to the
   9
       truth of the allegations in Paragraph 53.
  10
              57.     KING is without knowledge or information sufficient to form a belief as to the
  11
       truth of the allegations in Paragraph 54.
  12

  13                                   FOURTH CAUSE OF ACTION
                                            (Account Stated)
  14
              58.     KING reasserts and re-alleges its responses and defenses as set forth above in
  15
       Paragraphs 1-57.
  16
              59.     KING is without knowledge or information sufficient to form a belief as to the
  17
       truth of the allegations in Paragraph 55.
  18
              60.     KING is without knowledge or information sufficient to form a belief as to the
  19
       truth of the allegations in Paragraph 56.
  20
              61.     KING is without knowledge or information sufficient to form a belief as to the
  21
       truth of the allegations in Paragraph 57.
  22
              62.     KING is without knowledge or information sufficient to form a belief as to the
  23
       truth of the allegations in Paragraph 58.
  24
              63.     KING is without knowledge or information sufficient to form a belief as to the
  25
       truth of the allegations in Paragraph 59.
  26
              64.     KING is without knowledge or information sufficient to form a belief as to the
  27
       truth of the allegations in Paragraph 60.
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   2
                                    RESPONSE TO PRAYER FOR RELIEF
   3

   4
              65.     KING denies that the Plaintiff is entitled to the relief numerated in Paragraph 1.
   5
              66.     KING denies that the Plaintiff is entitled to the relief numerated in Paragraph 2.
   6
              67.     KING denies that the Plaintiff is entitled to the relief numerated in Paragraph 3.
   7
              68.     KING denies that the Plaintiff is entitled to the relief numerated in Paragraph 4.
   8
              69.     KING denies that the Plaintiff is entitled to the relief numerated in Paragraph 5.
   9
              70.     KING denies that the Plaintiff is entitled to the relief numerated in Paragraph 6.
  10
              71.     KING denies that the Plaintiff is entitled to the relief numerated in Paragraph 7.
  11
              72.     KING denies that the Plaintiff is entitled to the relief numerated in Paragraph 8.
  12

  13
                                  RESPONSE TO DEMAND FOR JURY TRIAL
  14
              KING admits that the Plaintiff has demanded a trial by jury on all issues so triable. Any
  15
       allegation in Plaintiff’s Complaint not heretofore specifically responded to is hereby denied.
  16

  17
                                               FIRST DEFENSE
  18
              Plaintiff’s Complaint fails to state a claim against KING upon which relief can be granted.
  19

  20
                                              SECOND DEFENSE
  21
              KING asserts that it acted in good faith without intent to harm Plaintiff.
  22

  23
                                               THIRD DEFENSE
  24
              At all relevant times herein, the Plaintiff’s alleged damages, which KING denies exist,
  25
       were aggravated by the failure of the Plaintiff to use reasonable diligence to mitigate the same.
  26
       Therefore, Plaintiff’s recovery, if any, should be barred or decreased by reason of its failure to
  27
       mitigate alleged losses.
  28
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   2
                                              FOURTH DEFENSE
   3
               Plaintiff’s damages, if any, were not caused by KING, but by another person or entity for
   4
       whom or for which KING is not responsible.
   5

   6
                                                 FIFTH DEFENSE
   7
               King asserts that there is no contractual relationship or agreement between Plaintiff and
   8
       KING.
   9

  10
                                                 SIXTH DEFENSE
  11
               KING asserts that Plaintiff has through representations or actions waived its right to sue,
  12
       and therefore cannot sustain this action.
  13

  14
                                             SEVENTH DEFENSE
  15
               KING asserts that Plaintiff has committed a wrongdoing, and this lawsuit is attempting to
  16
       benefit from this wrongdoing.
  17

  18
                                              EIGHTH DEFENSE
  19
               KING asserts that Plaintiff obtained KING’s cooperation for any and all transactions
  20
       through misrepresentation by Plaintiff.
  21

  22
                                                 NINTH DEFENSE
  23
               Plaintiff cannot meet the requirements of Cal. Pen. Code § 496 and therefore not entitled
  24
       to punitive or statutory damages.
  25
                                           RESERVATION OF DEFENSES
  26
                      KING hereby reserves the right to amend her defenses to Plaintiff’s Complaint,
  27
       including, but not limited to, those defenses specifically set forth in Federal Rule of Civil
  28
       ANSWER TO COMPLAINT                                9
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    1
        Procedure 8(c), and as otherwise permitted by law if investigation discovery, and further
    2
        information should warrant such amendment. KING further reserves the right to request leave to
    3
        join other parties as necessary.
    4

    5
               WHEREFORE, having fully answered or otherwise responded to the allegations in
    6
        Plaintiff’s complaint, KING prays that:
    7

    8
               (1)     Plaintiff’s Complaint be dismissed in its entirety with prejudice, with all costs
    9
        taxed against Plaintiff;
   10
               (2)     KING be dismissed as a party to this action;
   11
               (3)     KING recover such other and additional relief as the Court deems just and
   12
        appropriate.
   13

   14
               Respectfully submitted March 28, 2023.
   15

   16

   17
               DATED: March, 28, 2023                 SARA JACQUELINE KING
   18

   19
                                                       / s / Sara J. King
                                                      _________________________________
   20                                                 Sara Jacqueline King
                                                      In Pro Per
   21

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        ANSWER TO COMPLAINT                               10
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 8                           UNITED STATES DISTRICT COURT

 9                     FOR THE CENTRAL DISTRICT OF CALIFORNIA

10                                 SOUTHERN DIVISION

11

12    UNITED STATES OF AMERICA,               No. 8:23-cr-00079-DOC

13               Plaintiff,                   I N F O R M A T I O N

14                     v.                     [18 U.S.C. § 1343: Wire Fraud;
                                              18 U.S.C. § 1957: Money
15    SARA JACQUELINE KING,                   Laundering; 18 U.S.C. § 982:
                                              Criminal Forfeiture]
16               Defendant.

17

18

19

20          The United States Attorney charges:
21                                      COUNT ONE
22                                 [18 U.S.C. § 1343]
23    A.    INTRODUCTORY ALLEGATIONS
24          At times relevant to this Information:
25          1.    Defendant SARA JACQUELINE KING, an attorney licensed
26    to practice law in California, operated King Family Lending LLC
27    (“King Lending”) in Newport Beach, California.
28
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 1          2.    King Lending purportedly provided short-term, high-

 2    interest loans to celebrities, professional athletes, and other

 3    high-net-worth individuals secured by the borrower’s own assets,

 4    including designer handbags, watches, luxury automobiles,

 5    yachts, and earnings from guaranteed professional sports

 6    contracts (collectively the “loans”).

 7    B.    THE SCHEME TO DEFRAUD

 8          3.    Beginning in or around January 2022 and continuing
 9    until at least in or around January 11, 2023, in Orange County,
10    within the Central District of California, and elsewhere,
11    defendant KING, knowingly and with intent to defraud, devised,
12    participated in, and executed a scheme to obtain money and
13    property from investors of King Lending by means of material
14    false and fraudulent pretenses, representations, and promises,
15    and the concealment of material facts.
16          4.    The fraudulent scheme operated, in substance, as
17    follows:
18                a.    Defendant KING, through King Lending, recruited
19    investors to purportedly fund the loans.
20                b.    Defendant KING told investors that their
21    investments were secured by the same collateral as the loans.
22                c.    Defendant KING promised that she would retain
23    possession of the collateral, and in the event a borrower
24    defaulted, defendant KING would sell the collateral and pay the
25    investor in full.
26                d.    Defendant KING represented that she would keep a
27    percentage of the interest earned from the loan for herself and
28


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 1    would pass along a percentage of the interest to the investor,

 2    along with the investor’s initial investment.

 3                e.    In reality, during this time period, defendant

 4    KING never initiated nor funded any loan.           Instead of using the

 5    investor funds for loans, defendant KING used the funds to

 6    gamble at Las Vegas casinos and support her lavish lifestyle.

 7          5.   Based on the fraudulent scheme above, defendant KING

 8    caused five investors to lose more than $8 million.

 9    B.    THE USE OF AN INTERSTATE WIRE

10          6.   On or about August 4, 2022, in Orange County, within
11    the Central District of California, and elsewhere, for the
12    purpose of executing the above-described scheme to defraud,
13    defendant KING caused the transmission of $99,980 from investor
14    L.R. through the Clearing House Interbank Payments System to
15    King Lending’s JP Morgan bank account located in Newport Beach,
16    California to fund a purported loan.
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 1                                      COUNT TWO

 2                                 [18 U.S.C. § 1957]

 3          7.    On or about June 27, 2022, in Orange County, within

 4    the Central District of California, and elsewhere, defendant

 5    SARA JACQUELINE KING knowingly engaged in a monetary transaction

 6    of a value greater than $10,000, involving funds that she knew

 7    to be criminally derived property, and which property, in fact,

 8    was derived from specified unlawful activity, that is, wire

 9    fraud, in violation of Title 18, United States Code, Section

10    1343, specifically, a $132,156.09 withdrawal from King Lending’s

11    JP Morgan bank account to purchase a Porsche Taycan.

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 1                            FORFEITURE ALLEGATION ONE

 2                                 [18 U.S.C. § 982]

 3          1.    Pursuant to Rule 32.2(a) of the Federal Rules of

 4    Criminal Procedure, notice is hereby given that the United

 5    States of America will seek forfeiture as part of any sentence,

 6    pursuant to Title 18, United States Code, Section 982(a)(2), in

 7    the event of the defendant’s conviction of the offense set forth

 8    in Count One of this Information.

 9          2.    The defendant, if so convicted, shall forfeit to the

10    United States of America the following:

11                (a) All right, title and interest in any and all

12    property, real or personal, constituting, or derived from, any

13    proceeds obtained, directly or indirectly, as a result of the

14    offense; and

15                (b) To the extent such property is not available for

16    forfeiture, a sum of money equal to the total value of the

17    property described in subparagraph (a).

18          3.    Pursuant to Title 21, United States Code, Section

19    853(p), as incorporated by Title 18, United States Code, Section

20    982(b), the defendant, if so convicted, shall forfeit substitute

21    property, up to the total value of the property described in the

22    preceding paragraph if, as the result of any act or omission of

23    the defendant, the property described in the preceding

24    paragraph, or any portion thereof: (a) cannot be located upon

25    the exercise of due diligence; (b) has been transferred, sold to

26    or deposited with a third party; (c) has been placed beyond the

27    jurisdiction of the court; (d) has been substantially diminished

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 1    in value; or (e) has been commingled with other property that

 2    cannot be divided without difficulty.

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 1                            FORFEITURE ALLEGATION TWO

 2                                 [18 U.S.C. § 982]

 3          1.    Pursuant to Rule 32.2(a) of the Federal Rules of

 4    Criminal Procedure, notice is hereby given that the United

 5    States will seek forfeiture as part of any sentence, pursuant to

 6    Title 18, United States Code, Section 982(a)(1), in the event of

 7    the defendant’s conviction of the offense set forth in Count Two

 8    of this Information.

 9          2.    The defendant, if so convicted, shall forfeit to the

10    United States of America the following:

11                (a)   Any property, real or personal, involved in such

12    offense, and any property traceable to such property; and

13                (b)   To the extent such property is not available for

14    forfeiture, a sum of money equal to the total value of the

15    property described in subparagraph (a).

16          3.    Pursuant to Title 21, United States Code, Section

17    853(p), as incorporated by Title 18, United States Code, Section

18    982(b)(1), and Title 18, United States Code, Section 982(b)(2),

19    the defendant, if so convicted, shall forfeit substitute

20    property, if, by any act or omission of the defendant, the

21    property described in the preceding paragraph, or any portion

22    thereof: (a) cannot be located upon the exercise of due

23    diligence; (b) has been transferred, sold to, or deposited with

24    a third party; (c) has been placed beyond the jurisdiction of

25    the court; (d) has been substantially diminished in value; or

26    (e) has been commingled with other property that cannot be

27    divided without difficulty. Substitution of assets shall not be

28    ordered, however, where the convicted defendant acted merely as


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 1    an intermediary who handled but did not retain the property in

 2    the course of the money laundering offense unless the defendant,

 3    in committing the offense or offenses giving rise to the

 4    forfeiture, conducted three or more separate transactions

 5    involving a total of $100,000 or more in any twelve-month

 6    period.

 7

 8                                     E. MARTIN ESTRADA
                                       United States Attorney
 9

10

11                                     MACK E. JENKINS
                                       Assistant United States Attorney
12                                     Chief, Criminal Division

13                                     BENJAMIN R. BARRON
                                       Assistant United States Attorney
14                                     Chief, Santa Ana Branch Office

15                                     JENNIFER L. WAIER
                                       Assistant United States Attorney
16                                     Deputy Chief, Santa Ana Branch Office

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  4                        UNITED STATES DISTRICT COURT

  5                       CENTRAL DISTRICT OF CALIFORNIA

  6                                SOUTHERN DIVISION

  7                                      - - -

  8            THE HONORABLE DAVID O. CARTER, JUDGE PRESIDING

  9
                 UNITED STATES OF AMERICA,   ) CERTIFIED TRANSCRIPT
 10                              Plaintiff,  )
                    vs.                      )
 11                                          )   SACR-23-00079-DOC
                 SARA JACQUELINE KING,       )
 12                              Defendant. )
                 ----------------------------)
 13

 14

 15                REPORTER'S TRANSCRIPT OF PROCEEDINGS

 16                         Santa Ana, California

 17                             July 24, 2023

 18

 19                               SHARON A. SEFFENS, RPR
                                  United States Courthouse
 20                               411 West 4th Street, Suite 1-1053
                                  Santa Ana, CA 92701
 21                               (612) 804-8655

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  1    APPEARANCES OF COUNSEL:

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  7

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       (714) 338-4500
 12

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12:21     1    SANTA ANA, CALIFORNIA; MONDAY, JULY 24, 2023; 12:21 P.M.

12:21     2               THE COURT:    In the matter of SACR-23-00079-DOC,

12:21     3    United States of America versus Sara Jacqueline King, if you

12:21     4    just remain seated, would you make your appearance on behalf

12:21     5    of the government.

12:21     6               MS. WAIER:    Good afternoon, Your Honor.      Jennifer

12:21     7    Waier on behalf of the United States.

12:22     8               MR. CROSS:    Good afternoon, Your Honor.      Sam Cross

12:22     9    for Ms. King, who is present out of custody.

12:22    10               THE COURT:    Ms. King, would you raise your right

12:22    11    hand?

12:22    12               (Defendant sworn)

12:22    13               THE COURT:    First of all, let me begin by

12:22    14    introducing myself to you.      I'm Judge Carter, and I will be

12:22    15    taking the plea today.

12:22    16               Do you understand that you are now under oath, and

12:22    17    that if you answer any of my questions falsely, your answers

12:22    18    could later be used in a prosecution for perjury or making a

12:22    19    false statement?

12:22    20               THE DEFENDANT:    Yes.

12:22    21               THE COURT:    What's your full name?

12:22    22               THE DEFENDANT:    Sara Jacqueline King.

12:22    23               THE COURT:    I go through the plea sequentially, so

12:22    24    it states on the bottom of the first page that you are going

12:22    25    to plead guilty to a two-count Information charging you with

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12:22     1    wire fraud, in violation of 18 USC Section 1343, and money

12:22     2    laundering, in violation of 18 USC Section 1957.         And you

12:22     3    are agreeing not to contest the facts, that you will abide

12:22     4    by all agreements, make all of your court appearances,

12:22     5    commit no further crimes, be truthful at all times in this

12:23     6    process, and pay the special assessment at or before the

12:23     7    time of sentencing.

12:23     8                Is that your understanding?

12:23     9                THE DEFENDANT:   Yes.

12:23    10                THE COURT:   Now, the government has also obligated

12:23    11    themselves.    They are agreeing not to contest the facts, to

12:23    12    abide by all agreements, and at the time of sentencing,

12:23    13    provided that you demonstrate an acceptance of

12:23    14    responsibility, they will recommend a two-level decrease in

12:23    15    the sentencing guideline offense level pursuant to 3E1.1 and

12:23    16    also an additional one level if it's available.         And they

12:23    17    will recommend a sentence to a term imprisonment no higher

12:23    18    than the low end of the applicable sentencing guideline

12:23    19    range provided that the offense level used by the Court to

12:23    20    determine that range is 23 or higher (or 21 or higher if the

12:23    21    prospective Guideline Section 4C1.1 for zero-point offenders

12:23    22    is applicable), and provided that the Court does not depart

12:23    23    downward in offense level or criminal history category.

12:23    24                Do you understand everything I have read to you

12:23    25    thus far?

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12:23     1               THE DEFENDANT:    Yes.

12:23     2               THE COURT:    Now, concerning the offense itself,

12:23     3    for you to be guilty of the offense, elements apply to each

12:24     4    of these counts, and each of these elements must be proven,

12:24     5    and they must be proven beyond a reasonable doubt.         In Count

12:24     6    One, wire fraud, in violation of Title 18, United States

12:24     7    Code, Section 1343, the following must be true:         (1) that

12:24     8    you knowingly participated in, devised, or intended to

12:24     9    devise a scheme or plan to defraud, or a scheme or plan for

12:24    10    obtaining money or property by means of false or fraudulent

12:24    11    pretenses, representations, or promises; and (2) that the

12:24    12    statements made or facts omitted as part of the scheme were

12:24    13    material; that is, they have a natural tendency to

12:24    14    influence, or were capable of influencing, a person to part

12:24    15    with money or property; and (3) that you acted with the

12:24    16    intent to defraud; that is, the intent to deceive and cheat;

12:24    17    and (4) that you used, or caused to be used, a wire

12:24    18    communication to carry out or attempt to carry out an

12:24    19    essential part of the scheme.

12:24    20               And for you to be guilty of the crime charges in

12:24    21    Count Two, that is, money laundering, in violation of 18 USC

12:25    22    Section 1957 the following must be true: (1) that you

12:25    23    knowingly engaged or attempted to engage in a monetary

12:25    24    transaction; (2) that you knew the transaction involved

12:25    25    criminally derived property; (3) that the property had a

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12:25     1    value greater than $10,000; (4) that the property was in

12:25     2    fact derived from wire fraud; and (5) that the transaction

12:25     3    occurred in the United States.

12:25     4               Do you understand the elements of the offense?

12:25     5               THE DEFENDANT:    Yes.

12:25     6               THE COURT:    You understand that the potential

12:25     7    penalties for a violation of Title 18, United States Code,

12:25     8    Section 1343 is:    20' years imprisonment; a three-year

12:25     9    period of supervised release; a fine of $250,000 or twice

12:25    10    the gross gain or gross loss resulting from the offense,

12:25    11    whichever is greatest; and a mandatory special assessment of

12:25    12    $100.

12:25    13               You understand that the statutory maximum sentence

12:25    14    that the Court can impose for a violation of Title 18,

12:25    15    United States Section 1957, is:       10 year's imprisonment; a

12:25    16    three-year period of supervised release; a fine of $250,000

12:26    17    or twice the gross gain or loss resulting from the offense,

12:26    18    whichever is greatest; and a mandatory special assessment of

12:26    19    $100.

12:26    20               You understand, therefore, the total maximum

12:26    21    sentence for all offenses to which you are pleading guilty

12:26    22    is:   30 year's imprisonment; a three-year period of

12:26    23    supervised release; a fine of $500,000 or twice the gross

12:26    24    gain or gross loss resulting from the offenses, whichever is

12:26    25    greatest; and a mandatory special assessment of $200.

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12:26     1               You understand that supervised release is that

12:26     2    period of time during which you are subject to various

12:26     3    restrictions and requirements.      If you violate any one or

12:26     4    more of those, you could serve a term greater than the

12:26     5    statutory maximum term I have just stated to you.

12:26     6               By pleading guilty, you will be required to pay

12:26     7    full restitution to the victims of the offense, but the

12:26     8    parties agree in this matter and believe that the applicable

12:26     9    amount of restitution is approximately $8,785,045 but

12:26    10    recognize that this could change depending upon the facts

12:26    11    that come to the attention of the parties prior to

12:26    12    sentencing.

12:26    13               By pleading guilty, you are giving up valuable

12:27    14    government benefits and civic rights, such as the right to

12:27    15    vote, the right to possess a firearm, the right to hold

12:27    16    office, and the right to serve on a jury.        And once the

12:27    17    Court accepts your guilty plea, it would be a federal felony

12:27    18    for you to possess a firearm or ammunition.

12:27    19               You understand that a conviction in this case

12:27    20    could subject you to various other collateral consequences,

12:27    21    including but not limited to, revocation of probation,

12:27    22    parole, or supervised release in another case and suspension

12:27    23    or revocation of a professional license.        And you understand

12:27    24    that there can even be unanticipated collateral consequences

12:27    25    that will not serve as a grounds to withdraw your guilty

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12:27      1   plea.

12:27      2               Also, if you are not a citizen of the United

12:27      3   States, a conviction in this case may subject you to:

12:27      4   removal, also known as deportation, which may, under some

12:27      5   circumstances, be mandatory; denial of citizenship; and

12:27      6   denial of admission to the United States in the future.             The

12:27      7   Court cannot, and defendant's attorney also may not be able

12:27      8   to, advise defendant fully regarding the immigration

12:27      9   consequences of the felony convictions in this case.          You

12:27    10    understand that unexpected immigration consequences will not

12:28    11    serve as grounds to withdraw your guilty plea.

12:28    12                Is that all true?

12:28    13                THE DEFENDANT:    Yes.

12:28    14                THE COURT:   Do you have any questions of me or

12:28    15    your counsel thus far?

12:28    16                THE DEFENDANT:    No.

12:28    17                THE COURT:   Counsel, would you state the factual

12:28    18    basis and all the supplemental?

12:28    19                MS. WAIER:   Defendant, an attorney licensed to

12:28    20    practice law in California, operated King Family Lending,

12:28    21    LLC, in Newport Beach, California.       King Lending purportedly

12:28    22    provided short-term, high interest loans to celebrities,

12:28    23    professional athletes, and other high net worth individuals

12:28    24    secured by the borrower's own assets, including designer

12:28    25    handbags, watches, luxury automobiles, yachts, and earnings

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12:28      1   from guaranteed professional sports contracts.

12:28      2               Beginning in or around January 2022 and continuing

12:28      3   until at least in or around January 11, 2023, in Orange

12:29      4   County, within the Central District of California, and

12:29      5   elsewhere, defendant, knowingly and with intent to defraud,

12:29      6   devised, participated in, and executed a scheme to obtain

12:29      7   money and property from investors of King Lending by means

12:29      8   of material false and fraudulent pretenses, representations,

12:29      9   and promises, and the concealment of material facts.

12:29    10                Defendant, through King Lending, recruited

12:29    11    investors to purportedly fund the business's loans.

12:29    12    Defendant told investors that their investments were secured

12:29    13    by the same collateral as the loans.        Defendant promised

12:29    14    that she would retain possession of the collateral and that

12:29    15    in the event a borrower defaulted, defendant would sell the

12:29    16    collateral to pay the investor in full.

12:29    17                Defendant was to keep a percentage of the interest

12:29    18    earned from the loans for herself and was to pass along a

12:29    19    percentage of the interest to the investor, along with the

12:30    20    investor's initial investment.

12:30    21                In reality, during this time period, defendant

12:30    22    never initiated or funded any loan.        Instead of using the

12:30    23    investor funds for loans, defendant used the funds to gamble

12:30    24    at Las Vegas casinos and support her lavish lifetime.

12:30    25                Based on the fraudulent scheme, defendant caused

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12:30      1   five investors to lose more than $8 million.

12:30      2               In furtherance of the scheme, on or about

12:30      3   August 4, 2022, defendant caused the transmission of $99,980

12:30      4   from investor L.R. through the Clearing House Interbank

12:30      5   Payments System to King Lending's JP Morgan bank account

12:30      6   located in Newport Beach, California, to fund a purportedly

12:30      7   loan.

12:30      8               In addition, on or about June 27, 2022, defendant

12:30      9   knowingly engaged in a monetary transaction of a value

12:31    10    greater than $10,000, involving funds that she knew to be

12:31    11    criminally derived property, and which property, in fact,

12:31    12    was derived from specified unlawful activity, that is, wire

12:31    13    fraud, in violation of Title 18, United States Code,

12:31    14    Section 1343, specifically a $132,156.09 withdrawal from

12:31    15    King Lending's JP Morgan bank account to purchase a Porsche

12:31    16    Taycan.

12:31    17                THE COURT:   Do you want to handle the supplemental

12:31    18    at this time or later?

12:31    19                MS. WAIER:   We'll do it later.

12:31    20                THE COURT:   Is this a correct factual statement

12:31    21    that was jurt read to you?       Is this what in fact occurred?

12:31    22                THE DEFENDANT:    Yes.

12:31    23                THE COURT:   Counsel, do you join in the factual

12:31    24    statement?

12:31    25                MR. CROSS:   I do.

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12:31      1               THE COURT:   I will accept this as your factual

12:31      2   statement.

12:31      3               Therefore, on page 8 involving your sentencing

12:31      4   factors in paragraph 14, all that really says is that these

12:32      5   guidelines used to be mandatory.       They are no longer

12:32      6   mandatory, but they must be taken into account, and they

12:32      7   must at least be considered along with a number of other

12:32      8   factors in Code Section 3553(a).

12:32      9               That calculation takes place in paragraph 15 with

12:32    10    a base offense level of 7 as agreed to by the parties.          A

12:32    11    loss being more than $3.5 million adds 18 levels.          Money

12:32    12    laundering adds a level.      Acceptance of responsibility

12:32    13    reduces this three levels.      An anticipated offense level of

12:32    14    23.

12:32    15                The government will agree to a two-level downward

12:32    16    adjustment for acceptance of responsibility, and an

12:32    17    additional one level if it's available in the conditions set

12:32    18    forth in paragraph 2 are met.       Notwithstanding, it states

12:32    19    that you would certainly like to argue for a two-level

12:32    20    downward adjustment to a pending amendment to the Sentencing

12:32    21    Guidelines, which is 4C1.1, which is why we talked about a

12:33    22    level 21 and a level 23.

12:33    23                If the amendment is effective at the time of

12:33    24    sentencing, you're going to be allowed to argue for that.

12:33    25    And you understand that the government, the Probation

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12:33      1   Office, and the Court may not apply such an adjustment.            And

12:33      2   you further agree that this or any other pending amendment

12:33      3   to the guidelines will not serve as a grounds to withdraw

12:33      4   your guilty plea, such as in the event of any unanticipated

12:33      5   change to the availability of an amendment to the Court's

12:33      6   decision on whether to impose such an adjustment.

12:33      7               And this states that there is no agreement as to

12:33      8   your criminal history or criminal history category, and the

12:33      9   parties reserve the right to argue for a sentence outside

12:33    10    the sentencing range established by the Sentencing

12:33    11    Guidelines based on the factors set forth in 18 USC Section

12:33    12    3553(a).

12:33    13                Now, let me stop.    That's a lot of information.

12:33    14    Do you have any questions of your counsel or any questions

12:33    15    of me?

12:33    16                THE DEFENDANT:    No.

12:33    17                THE COURT:   Paragraph 19 simply states that you

12:33    18    understand that waiving and giving up your constitutional

12:34    19    rights so that you can enter a plea of guilty.         You have the

12:34    20    right to persist in a plea of not guilty; the right to a

12:34    21    speedy and public trial by a jury; the right to be

12:34    22    represented by counsel -- and if necessary have the Court

12:34    23    appoint counsel -- at trial.        You understand, however, that

12:34    24    you do retain the right to be represented by counsel -- and

12:34    25    if necessary have the Court appoint counsel -- at every

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12:34      1   other stage of the proceedings.

12:34      2               You have right to be presumed innocent and to have

12:34      3   the burden of proof placed on the government to prove you

12:34      4   are guilty beyond a reasonable doubt.

12:34      5               You have the right to confront and cross-examine

12:34      6   witnesses who are called against you.

12:34      7               You have the right to testify and to present

12:34      8   evidence in opposition to these charges, including the right

12:34      9   to compel the attendance of witnesses to testify.

12:34    10                You have the right not to be compelled to testify,

12:34    11    and if you chose not to testify or present evidence to have

12:34    12    that choice not be used against you.

12:34    13                And any and all rights to pursue any affirmative

12:34    14    defense, Fourth Amendment or Fifth Amendment claims, and

12:34    15    other pretrial motions that have been filed or could be

12:34    16    filed.

12:34    17                Do you understand each of those individual rights?

12:35    18                THE DEFENDANT:    Yes.

12:35    19                THE COURT:   Do you waive and give up each of those

12:35    20    individual rights so you may enter a plea of guilty?

12:35    21                THE DEFENDANT:    Yes.

12:35    22                THE COURT:   Then paragraph 20 simply says that

12:35    23    with the exception of an appeal based on a claim that your

12:35    24    guilty pleas are involuntary, by pleading guilty, you are

12:35    25    waiving and giving up any right to appeal your conviction on

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12:35      1   the offenses to which you are pleading guilty.         This waiver

12:35      2   includes, but is not limited to, arguments that the statutes

12:35      3   to which you are pleading guilty are unconstitutional, and

12:35      4   any and all claims that the statement of facts provided

12:35      5   herein is insufficient to support your guilty plea.

12:35      6               Do you understand that?

12:35      7               THE DEFENDANT:    Yes.

12:35      8               THE COURT:   Now I'm going to start summarizing.

12:35      9   On page 11, look at paragraph 21.       It has a heading "Limited

12:35    10    Mutual Waiver Of An Appeal Of Sentence."        If you would turn

12:35    11    the page, you will see paragraph 22.

12:35    12                Then it has a heading on paragraph 23, "Result Of

12:35    13    Withdrawal Of Guilty Plea," and what would happen in

12:35    14    paragraph 23.

12:35    15                And if you turn the page, you see paragraph 24,

12:35    16    all part of that same subdivision.

12:35    17                And the "Effective Date Of Agreement," paragraph

12:36    18    25, and what would occur.

12:36    19                "Breach Of Agreement," paragraph 26 and paragraph

12:36    20    27.

12:36    21                Turn the page again, and you will see another

12:36    22    heading, "Court And United States Probation And Pretrial

12:36    23    Services Office Not Parties," paragraphs 28, 29, and 30.

12:36    24                And then turn the page again, and you will see "No

12:36    25    Additional Agreements," paragraph 31.

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12:36      1               Have you read all these paragraphs?

12:36      2               THE DEFENDANT:    Yes.

12:36      3               THE COURT:   Have you read this entire plea

12:36      4   agreement?

12:36      5               THE DEFENDANT:    Yes.

12:36      6               THE COURT:   Have you had sufficient time to fairly

12:36      7   and thoughtfully discuss this plea agreement with your

12:36      8   counsel?

12:36      9               THE DEFENDANT:    Yes.

12:36    10                THE COURT:   Counsel, have you had the same

12:36    11    opportunity to discuss this plea agreement with your client?

12:36    12                MR. CROSS:   I have.

12:36    13                THE COURT:   Is this your signature then on

12:36    14    page 17?    It would be at line 12.

12:37    15                THE DEFENDANT:    Yes.

12:37    16                THE COURT:   There is a certification on page 19.

12:37    17    It reads:    "I have read this agreement in its entirety.          I

12:37    18    have had enough time to review and consider this agreement,

12:37    19    and I have carefully and thoroughly discussed every part of

12:37    20    it with my attorney.     I understand the terms of this

12:37    21    agreement, and I voluntarily agree to those terms.          I have

12:37    22    discussed the evidence with my attorney, and my attorney has

12:37    23    advised me of my rights, of possible pretrial motions that

12:37    24    might be filed, of possible defenses that might be asserted

12:37    25    either prior to or at trial, of the sentencing factors set

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12:37      1   forth in 18 USC Section 3553(a, of relevant Sentencing

12:37      2   Guideline provisions, and of the consequences of entering

12:37      3   into this agreement.     No promises, inducements, or

12:37      4   representations of any kind have been made to me other than

12:37      5   those contained in this agreement.       No one has threatened or

12:37      6   forced me in any way to enter into this agreement.          I am

12:37      7   satisfied with the representation of my attorney in this

12:37      8   matter, and I am pleading guilty because I am guilty of the

12:38      9   charges and wish to take advantage of the promises set forth

12:38    10    in this agreement and not for any other reason.

12:38    11                Is that all true?

12:38    12                THE DEFENDANT:    Yes.

12:38    13                THE COURT:   Now, counsel, have I misstated any

12:38    14    portion?    If you need a correction on my part, please call

12:38    15    that defect to my attention or if I just summarized too

12:38    16    much, and there is a different portion you would like me to

12:38    17    go over with the defendant.

12:38    18                MR. CROSS:   Nothing from the defense, Your Honor/

12:38    19                THE COURT:   The same to the government?

12:38    20                MS. WAIER:   No, Your Honor.

12:38    21                I would just the Court to inquire if she has read

12:38    22    the supplement, understands the supplement, and if she has

12:38    23    any questions of the Court or her attorney.

12:38    24                THE COURT:   Why don't you ask her those questions.

12:38    25                MS. WAIER:   Ms. King, have you read the

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                                                                             17


12:38      1   supplement?

12:38      2               THE DEFENDANT:    Yes.

12:38      3               MS. WAIER:   Do you understand everything that is

12:38      4   in the supplement?

12:38      5               THE DEFENDANT:    Yes.

12:38      6               THE COURT:   Did you go over that with your

12:38      7   attorney?

12:38      8               THE DEFENDANT:    I did.

12:38      9               THE COURT:   Do you have any questions of the

12:38    10    Court, your counsel, or myself at this time?

12:38    11                THE DEFENDANT:    No.

12:38    12                MS. WAIER:   Thank you.

12:38    13                THE COURT:   So I will incorporate the supplement.

12:38    14                MS. WAIER:   Yes, please.

12:38    15                THE COURT:   All right, I will incorporate the

12:39    16    supplement.

12:39    17                How do you plead to the first count in the Count

12:39    18    Two Information, which is a violation of 18 USC Section

12:39    19    1343, wire fraud?     Guilty or not guilty.

12:39    20                THE DEFENDANT:    Guilty.

12:39    21                THE COURT:   Counsel, do you join?

12:39    22                MR. CROSS:   I do

12:39    23                THE COURT:   As to the second count, which is 18

12:39    24    USC Section 1957, money laundering, how do you plead?

12:39    25    Guilty or not guilty?

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                                                                             18


12:39      1               THE DEFENDANT:    Guilty.

12:39      2               THE COURT:   Counsel, do you join?

12:39      3               MR. CROSS:   I do.

12:39      4               THE COURT:   The Court finds that there is a

12:39      5   knowing and intelligent waiver of your rights, that you

12:39      6   understand the nature and consequences of your plea, that

12:39      7   your plea is freely and voluntarily entered into, and that

12:39      8   there is a sufficient factual basis for this plea.

12:39      9               I accept this plea.     And I will set this on a date

12:39    10    convenient for you, your counsel, and the government.

12:39    11                MS. WAIER:   January 8, 2024, at 1:30 p.m.

12:39    12                THE COURT:   January 8, 2024, at 1:30.

12:39    13                The bail and bond conditions remain the same.

12:39    14                Counsel, thank you very much.

12:39    15                MS. WAIER:   Thank you.

12:39    16                MR. CROSS:   Thank you.

12:39    17                (Whereupon, the proceedings were concluded.)

12:39    18                                   *    *   *

12:39    19

12:39    20

12:39    21

12:39    22

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12:39    24

12:39    25

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                                                                             19


12:39      1

12:39      2

12:39      3

12:39      4                               CERTIFICATE

12:39      5

12:39      6               I hereby certify that pursuant to Section 753,

12:39      7   Title 28, United States Code, the foregoing is a true and

12:39      8   correct transcript of the stenographically reported

12:39      9   proceedings held in the above-entitled matter and that the

12:39    10    transcript page format is in conformance with the

12:39    11    regulations of the Judicial Conference of the United States.

12:39    12

12:39    13    Date:   August 13, 2023

12:39    14

12:39    15
12:39                                   /s/   Sharon A. Seffens 8/13/23
12:39    16                             _________________________________
12:39                                   SHARON A. SEFFENS, U.S. COURT REPORTER
12:39    17

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                             EXHIBIT “G”
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                                            PROMISSORY NOTE



   $195,000.00                                                                      January 14, 2022
                                                                            Orange County, California

           FOR VALUE RECEIVED, KING FAMILY LENDING LLC, a California limited
  liability company, whose address is 110 Newport Center Drive, Suite 277, Newport Beach,
  California 92660 (“Maker”), promises to pay to the order of LDR INTERNATIONAL LIMITED,
  with an address of 3rd Floor, Yamraj Building Market Square, P.O. Box 3175 Road Town, Tortola,
  British Virgin Islands (“Payee”), at such other place as the Payee may from time to time designate
  in writing, the principal sum of ONE HUNDRED NINETY-FIVE THOUSAND DOLLARS
  ($195,000.00), with interest thereon as provided in this Promissory Note (this “Note”).

          1.     Certain Definitions. For the purposes hereof, the terms set forth below shall have
  the following meanings:

                  (a)     “Applicable Law” shall mean (i) the laws of the United States of America
  applicable to contracts made or performed in the State of California, now or at any time hereafter
  prescribing or eliminating maximum rates of interest on loans and extensions of credit, (ii) the
  laws of the State of California now or at any time hereafter prescribing or eliminating maximum
  rates of interest on loans and extensions of credit, and (iii) any other laws at any time applicable
  to contracts made or performed in the State of California which permit a higher interest rate ceiling
  hereunder.

                  (b)  “Business Day” shall mean any day other than a Saturday, Sunday or any
  other day on which commercial banks are authorized or permitted to be closed for business in the
  State of California.

                  (c)    “Highest Lawful Rate” shall mean at the time in question the maximum rate
  of interest which, under Applicable Law, Payee is then permitted to charge Maker in regard to the
  loan evidenced by this Note. If the maximum rate of interest which, under Applicable Law, Payee
  is permitted to charge Maker in regard to the loan evidenced by this Note shall change after the
  date hereof, the Highest Lawful Rate shall be automatically increased or decreased, as the case
  may be, from time to time as of the effective date of each change in the Highest Lawful Rate
  without notice to Maker. For purposes of determining the Highest Lawful Rate under the
  Applicable Law, all fees and other charges contracted for, charged or received by Payee in
  connection with the loan evidenced by this Note which are either deemed interest under Applicable
  Law or required under Applicable Law to be deducted from the principal balance hereof to
  determine the rate of interest charged on this Note shall be taken into account.

                     (d)       “Interest Rate” shall mean sixty percent (60%) per annum.




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                 (e)      “Maturity Date” shall mean the date which is four months after the date of
  this Note, subject to acceleration as provided herein.

                (f)     “Unpaid Principal Balance” shall mean, at any time, the original stated
  amount of principal of this Note, less any amounts of principal repaid.

         2.      Payment of Principal and Interest.

                (a)    Interest shall be paid on a monthly basis to Payee beginning on February
  14, 2022 and every 30 days thereafter until the Maturity Date.

                 (b)    The Unpaid Principal Balance and all accrued interest due on this Note shall
  be paid on the Maturity Date.

                 (c)    Subject to the provisions of Section 6 below, interest on the Unpaid
  Principal Balance shall be computed at a rate equal to the Interest Rate. Interest shall accrue on the
  Unpaid Principal Balance from the date that the proceeds of the loan secured hereby are funded by
  Payee to Maker (not from the date of this Note).

                (d)    This Note is payable in lawful money of the United States, without prior
  notice or demand, and without offset or deduction of any nature.

          3.       Prepayment. The Unpaid Principal Balance (and all accrued interest) may be
  prepaid in whole or in part, at any time, without penalty or prepayment premium. The total amount
  of Interest for four months is guaranteed regardless of prepayment of the Principal Balance.

          4.      Waivers. Maker and all sureties, endorsers, accommodation parties, guarantors and
  other parties now or hereafter liable for the payment of this Note, in whole or in part, hereby
  severally (a) waive demand, notice of demand, presentment for payment, notice of nonpayment,
  notice of default, protest, notice of protest, notice of intent to accelerate, notice of acceleration,
  notice of dishonor and all other notices, and further waive diligence in collecting this Note, in
  taking action to collect this Note, in bringing suit to collect this Note, or in enforcing this Note or
  any of the security for this Note; (b) agree to any substitution, subordination, exchange or release
  of any security for this Note or the release of any person primarily or secondarily liable for the
  payment of this Note; (c) agree that Payee shall not be required to first institute suit or exhaust its
  remedies hereon against Maker or others liable or to become liable for the payment of this Note or
  to enforce its rights against any security for the payment of this Note; and (d) consent to any
  extension of time for the payment of this Note, made by agreement by Payee with any person now
  or hereafter liable for the payment of this Note, even if Maker is not a party to such agreement.

         5.      Events of Default.

                 (a)    Upon the happening of any of the following events (each an “Event of
  Default”), Payee may, at its option, by notice to Maker, declare immediately due and payable the
  entire Unpaid Principal Balance, together with all accrued interest thereon:




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                          (i)   If Maker fails to pay the entire Unpaid Principal Balance (plus all
                  accrued but unpaid interest) in full on the Maturity Date, without any notice or cure
                  period;

                          (ii)    If Maker shall: (i) apply for or consent to the appointment of a
                  receiver, trustee or liquidator for any material part of Maker’s property, (ii) admit
                  in writing Maker’s inability to pay its debts as they mature, (iii) make a general
                  assignment for the benefit of creditors, (iv) be adjudicated bankrupt or insolvent,
                  (v) file a voluntary petition in bankruptcy, or a petition or an answer seeking an
                  arrangement with creditors or taking advantage of any bankruptcy, insolvency,
                  readjustment of debt, dissolution or liquidation law, or filing an answer admitting
                  the material allegations of a petition filed against Maker in any proceeding under
                  any such law, (vi) suffer the appointment of a trustee or receiver to take possession
                  of all or any substantial part of Maker’s assets, or (vii) take any action for the
                  purpose of effectuating any of the foregoing.

                 (b)     The failure of Payee to exercise the foregoing option of acceleration upon
  the occurrence of an Event of Default shall not constitute a waiver of the right to exercise the same
  or any other option of acceleration at any subsequent time.

          6.     Default Interest. If upon the occurrence of an Event of Default, the Unpaid
  Principal Balance of this Note shall bear interest at a rate equal to the lesser of (a) the Highest
  Lawful Rate or (b) the Interest Rate plus five percent (5%) per annum (the “Default Rate”). The
  collection by Payee of interest at the Default Rate shall not cure an Event of Default.

         7.      Collateral. Maker is a California Finance Lender and is using all monies to fund a
  loan. Collateral for said loan is 3 watches: Audemars Piguet Rose Gold Royal Oak Chronograph
  Black Index; Audemars Piguet Rose Gold Royal Oak Chronograph White Index; Richard Mille
  RM 030.

           Upon the occurrence of a Default, Payee has the immediate right to: a) collect collateral
 from Payee in lieu of payment under this Note and become the owner of the Collateral with full right
 and title to the Collateral, b) to demand Maker to sell the collateral to a third party (see Exhibit A),
 or, c) to accelerate this Note and demand immediate full payment. Should Maker sell the Collateral
 in connection with repayment of this Note, Maker hereby agrees to pay Payee all amounts due and
 owing hereunder, and in addition, should Maker sell the Collateral for more than what is due and
 owing under this Note, Maker agrees to pay Payee SIXTY PERCENT (60%) of the additional
 amount received and Maker will retain FORTY PERCENT (40%).

          8.      Fees, Costs, and Interest for Underlying Collateralized Loan. The Principal
  Amount is being used by Payee to fund an underlying loan. It is agreed between Maker and Payee
  that interest and fees earned on that note shall be shared, 60% to Payee and 40% to Maker. The
  Interest paid to Payee under this Note reflects the same and is included in this Paragraph 8.

          9.      Notices. Any notices required under this Note shall be given in the manner set forth
  in the Security Agreement.

          10.     Compliance with Law. All agreements between Maker and Payee, whether now
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  existing or hereafter arising and whether written or oral, are hereby limited so that in no
  contingency, whether by reason of demand or acceleration of the Maturity Date or otherwise, shall
  the interest contracted for, charged, received, paid or agreed to be paid to Payee in regard to the
  loan evidenced by this Note exceed the maximum amount permissible under Applicable Law. If,
  from any circumstance whatsoever, interest would otherwise be payable to Payee in excess of the
  maximum amount permissible under Applicable Law, the interest payable to Payee shall be
  reduced to the maximum amount permissible under Applicable Law; and if from any circumstance
  Payee shall ever receive anything of value deemed interest by Applicable Law in excess of the
  maximum amount permissible under Applicable Law, an amount equal to the excessive interest
  shall be applied to the reduction of the principal hereof and not to the payment of interest, or if
  such excessive amount of interest exceeds the Unpaid Principal Balance hereof, such excess shall
  be refunded to Maker. All interest paid or agreed to be paid to Payee shall, to the extent permitted
  by Applicable Law, be amortized, prorated, allocated, and spread throughout the full period
  (including any renewal or extension) until payment in full of the principal so that the interest
  hereon for such full period shall not exceed the maximum amount permissible under Applicable
  Law. Payee expressly disavows any intent to contract for, charge or receive interest in an amount
  which exceeds the maximum amount permissible under Applicable Law. This section shall control
  all agreements between Maker and Payee relating to this Note.

          11.     Attorneys’ Fees and Costs. In the event that this Note is placed in the hands of an
  attorney for collection, or in the event this Note is collected in whole or in part through legal
  proceedings of any nature, then and in any such case Maker promises to pay on demand by Payee,
  and, to the extent unpaid upon such demand, there shall be added to the Unpaid Principal Balance,
  all reasonable costs of collection, including, but not limited to, reasonable attorneys’ fees and costs
  incurred by Payee on account of such collection, whether or not suit is filed (including attorneys'
  fees incurred in connection with any bankruptcy proceeding (including stay litigation) and on
  appeal).

          12.    Cumulative Rights. The rights and remedies of Payee under this Note are
  cumulative and in addition to all other rights and remedies which Payee may have at law or in
  equity. No delay on the Payee in the exercise of any power or right under this Note shall operate
  as a waiver thereof, nor shall a single or partial exercise of any power or right preclude other or
  further exercise thereof or the exercise of any other power or right.

         13.     Headings. The section headings used in this Note are for convenience of reference
  only and shall not affect the meaning or interpretation of this Note.

      14.  Governing Law. THIS NOTE SHALL BE GOVERNED BY AND
  CONSTRUED IN ACCORDANCE WITH THE LAWS OF THE STATE OF CALIFORNIA
  WITHOUT REGARD TO SUCH STATE’S CONFLICT OF INTEREST LAWS.

          15.    Successors and Assigns. The term “Payee” shall include Payee’s successors and
  assigns, to whom the benefits of this Note shall inure. This Note shall bind Maker and Maker’s
  heirs, successors and permitted assigns (but no assignment or delegation of this Note by Maker
  shall release Maker from liability hereunder).


                                     [Signature on following page]
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 This Note is EXECUTED as of the first date set forth above.




           KING FAMILY LENDING LLC, a California
           limited liability company




          By:
          Name: Sara J. King
          Its: Manager




                                          EXHIBIT A




                                                5
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                             EXHIBIT “H”
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                                    #:326
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                                    #:328
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       9.       Notices. Any notices required under this Note shall be given in the manner set
      forth in the Security Agreement.

       10.     Compliance with Law. All agreements between Maker and Payee, whether now
      existing or hereafter arising and whether written or oral, are hereby limited so that in no
      contingency, whether by reason of demand or acceleration of the Maturity Date or
      otherwise, shall the interest contracted for, charged, received, paid or agreed to be paid to
      Payee in regard to the loan evidenced by this Note exceed the maximum amount
      permissible under Applicable Law. If, from any circumstance whatsoever, interest would
      otherwise be payable to Payee in excess of the maximum amount permissible under
      Applicable Law, the interest payable to Payee shall be reduced to the maximum amount
      permissible under Applicable Law; and if from any circumstance Payee shall ever receive
      anything of value deemed interest by Applicable Law in excess of the maximum amount
      permissible under Applicable Law, an amount equal to the excessive interest shall be
      applied to the reduction of the principal hereof and not to the payment of interest, or if
      such excessive amount of interest exceeds the Unpaid Principal Balance hereof, such
      excess shall be refunded to Maker. All interest paid or agreed to be paid to Payee shall, to
      the extent permitted by Applicable Law, be amortized, prorated, allocated, and spread
      throughout the full period (including any renewal or extension) until payment in full of the
      principal so that the interest hereon for such full period shall not exceed the maximum
      amount permissible under Applicable Law. Payee expressly disavows any intent to
      contract for, charge or receive interest in an amount which exceeds the maximum amount
      permissible under Applicable Law. This section shall control all agreements between Maker
      and Payee relating to this Note.

       11.     Attorneys’ Fees and Costs. In the event that this Note is placed in the hands of an
      attorney for collection, or in the event this Note is collected in whole or in part through
      legal proceedings of any nature, then and in any such case Maker promises to pay on
      demand by Payee, and, to the extent unpaid upon such demand, there shall be added to the
      Unpaid Principal Balance, all reasonable costs of collection, including, but not limited to,
      reasonable attorneys’ fees and costs incurred by Payee on account of such collection,
      whether or not suit is filed (including attorneys' fees incurred in connection with any
      bankruptcy proceeding (including stay litigation) and on appeal).

       12.     Cumulative Rights. The rights and remedies of Payee under this Note are
      cumulative and in addition to all other rights and remedies which Payee may have at law
      or in equity. No delay on the Payee in the exercise of any power or right under this Note
      shall operate as a waiver thereof, nor shall a single or partial exercise of any power or right
      preclude other or further exercise thereof or the exercise of any other power or right.

       13.    Headings. The section headings used in this Note are for convenience of reference
      only and shall not affect the meaning or interpretation of this Note.

       14.     Governing Law. THIS NOTE SHALL BE GOVERNED BY AND
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      CONSTRUED IN ACCORDANCE WITH THE LAWS OF THE STATE OF
      CALIFORNIA WITHOUT REGARD TO SUCH STATE’S CONFLICT OF
      INTEREST LAWS.

       15.     Successors and Assigns. The term “Payee” shall include Payee’s successors and
      assigns, to whom the benefits of this Note shall inure. This Note shall bind Maker and
      Maker’s heirs, successors and permitted assigns (but no assignment or delegation of this
      Note by Maker shall release Maker from liability hereunder).




                                [Signature on following page]




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 This Note is EXECUTED as of the first date set forth above.


   KING FAMILY LENDING LLC, a
   California limited liability company




   By:
   Name: Sara J. King
   Its: Manager




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                                  EXHIBIT A




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                                    #:333
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                                    #:334




                              EXHIBIT “I”
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                                    #:335


                                    PROMISSORY NOTE




       1.      Certain Definitions. For the purposes hereof, the terms set forth below shall have
      the following meanings:

                (a)      “Applicable Law” shall mean (i) the laws of the United States of America
      applicable to contracts made or performed in the State of California, now or at any time
      hereafter prescribing or eliminating maximum rates of interest on loans and extensions of
      credit, (ii) the laws of the State of California now or at any time hereafter prescribing or
      eliminating maximum rates of interest on loans and extensions of credit, and (iii) any other
      laws at any time applicable to contracts made or performed in the State of California which
      permit a higher interest rate ceiling hereunder.

               (b)     “Business Day” shall mean any day other than a Saturday, Sunday or any
      other day on which commercial banks are authorized or permitted to be closed for business
      in the State of California.

               (c)     “Highest Lawful Rate” shall mean at the time in question the maximum rate
      of interest which, under Applicable Law, Payee is then permitted to charge Maker in regard
      to the loan evidenced by this Note. If the maximum rate of interest which, under
      Applicable Law, Payee is permitted to charge Maker in regard to the loan evidenced by this
      Note shall change after the date hereof, the Highest Lawful Rate shall be automatically
      increased or decreased, as the case may be, from time to time as of the effective date of
      each change in the Highest Lawful Rate without notice to Maker. For purposes of
      determining the Highest Lawful Rate under the Applicable Law, all fees and other charges
      contracted for, charged or received by Payee in connection with the loan evidenced by this
      Note which are either deemed interest under Applicable Law or required under Applicable
      Law to be deducted from the principal balance hereof to determine the rate of interest
      charged on this Note shall be taken into account.

                (d)    “Interest Rate” shall mean forty eight percent (48%) per annum.
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       2.      Payment of Principal and Interest.

              (a)    Interest shall be paid on a monthly basis to Payee beginning on June 30,
      2022 and every 30 days thereafter until the Maturity Date.

               (b)    The Unpaid Principal Balance and all accrued interest due on this Note shall
      be paid on the Maturity Date.

               (c)    Subject to the provisions of Section 6 below, interest on the Unpaid
      Principal Balance shall be computed at a rate equal to the Interest Rate. Interest shall
      accrue on the Unpaid Principal Balance from the date that the proceeds of the loan secured
      hereby are funded by Payee to Maker (not from the date of this Note).

               (d)   This Note is payable in lawful money of the United States, without prior
      notice or demand, and without offset or deduction of any nature.

       3.      Prepayment. The Unpaid Principal Balance (and all accrued interest) may be
      prepaid in whole or in part, at any time, without penalty or prepayment premium. The total
      amount of Interest for four months is guaranteed regardless of prepayment of the Principal
      Balance.

        4.     Waivers. Maker and all sureties, endorsers, accommodation parties, guarantors
      and other parties now or hereafter liable for the payment of this Note, in whole or in part,
      hereby severally (a) waive demand, notice of demand, presentment for payment, notice of
      nonpayment, notice of default, protest, notice of protest, notice of intent to accelerate,
      notice of acceleration, notice of dishonor and all other notices, and further waive diligence
      in collecting this Note, in taking action to collect this Note, in bringing suit to collect this
      Note, or in enforcing this Note or any of the security for this Note; (b) agree to any
      substitution, subordination, exchange or release of any security for this Note or the release
      of any person primarily or secondarily liable for the payment of this Note; (c) agree that
      Payee shall not be required to first institute suit or exhaust its remedies hereon against
      Maker or others liable or to become liable for the payment of this Note or to enforce its
      rights against any security for the payment of this Note; and (d) consent to any extension
      of time for the payment of this Note, made by agreement by Payee with any person now or
      hereafter liable for the payment of this Note, even if Maker is not a party to such
      agreement.

       5.      Events of Default.

              (a)    Upon the happening of any of the following events (each an “Event of
      Default”), Payee may, at its option, by2 notice to Maker, declare immediately due and
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      payable the entire Unpaid Principal Balance, together with all accrued interest thereon. If
      Maker fails to pay the entire Unpaid Principal Balance (plus all accrued but unpaid interest)
      in full on the Maturity Date, without any notice or cure period;

                      (i)     If Maker shall: (i) apply for or consent to the appointment of a
              receiver, trustee or liquidator for any material part of Maker’s property, (ii) admit
              in writing Maker’s inability to pay its debts as they mature, (iii) make a general
              assignment for the benefit of creditors, (iv) be adjudicated bankrupt or insolvent,
              (v) file a voluntary petition in bankruptcy, or a petition or an answer seeking an
              arrangement with creditors or taking advantage of any bankruptcy, insolvency,
              readjustment of debt, dissolution or liquidation law, or filing an answer admitting
              the material allegations of a petition filed against Maker in any proceeding under
              any such law, (vi) suffer the appointment of a trustee or receiver to take possession
              of all or any substantial part of Maker’s assets, or (vii) take any action for the
              purpose of effectuating any of the foregoing.

              (b)     The failure of Payee to exercise the foregoing option of acceleration upon




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       9.       Notices. Any notices required under this Note shall be given in the manner set
      forth in the Security Agreement.

       10.     Compliance with Law. All agreements between Maker and Payee, whether now
      existing or hereafter arising and whether written or oral, are hereby limited so that in no
      contingency, whether by reason of demand or acceleration of the Maturity Date or
      otherwise, shall the interest contracted for, charged, received, paid or agreed to be paid to
      Payee in regard to the loan evidenced by this Note exceed the maximum amount
      permissible under Applicable Law. If, from any circumstance whatsoever, interest would
      otherwise be payable to Payee in excess of the maximum amount permissible under
      Applicable Law, the interest payable to Payee shall be reduced to the maximum amount
      permissible under Applicable Law; and if from any circumstance Payee shall ever receive
      anything of value deemed interest by Applicable Law in excess of the maximum amount
      permissible under Applicable Law, an amount equal to the excessive interest shall be
      applied to the reduction of the principal hereof and not to the payment of interest, or if
      such excessive amount of interest exceeds the Unpaid Principal Balance hereof, such
      excess shall be refunded to Maker. All interest paid or agreed to be paid to Payee shall, to
      the extent permitted by Applicable Law, be amortized, prorated, allocated, and spread
      throughout the full period (including any renewal or extension) until payment in full of the
      principal so that the interest hereon for such full period shall not exceed the maximum
      amount permissible under Applicable Law. Payee expressly disavows any intent to
      contract for, charge or receive interest in an amount which exceeds the maximum amount
      permissible under Applicable Law. This section shall control all agreements between Maker
      and Payee relating to this Note.

       11.     Attorneys’ Fees and Costs. In the event that this Note is placed in the hands of an
      attorney for collection, or in the event this Note is collected in whole or in part through
      legal proceedings of any nature, then and in any such case Maker promises to pay on
      demand by Payee, and, to the extent unpaid upon such demand, there shall be added to the
      Unpaid Principal Balance, all reasonable costs of collection, including, but not limited to,
      reasonable attorneys’ fees and costs incurred by Payee on account of such collection,
      whether or not suit is filed (including attorneys' fees incurred in connection with any
      bankruptcy proceeding (including stay litigation) and on appeal).

       12.     Cumulative Rights. The rights and remedies of Payee under this Note are
      cumulative and in addition to all other rights and remedies which Payee may have at law
      or in equity. No delay on the Payee in the exercise of any power or right under this Note
      shall operate as a waiver thereof, nor shall a single or partial exercise of any power or right
      preclude other or further exercise thereof or the exercise of any other power or right.

       13.    Headings. The section headings used in this Note are for convenience of reference
      only and shall not affect the meaning or interpretation of this Note.

       14.     Governing Law. THIS NOTE SHALL BE GOVERNED BY AND
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      CONSTRUED IN ACCORDANCE WITH THE LAWS OF THE STATE OF
      CALIFORNIA WITHOUT REGARD TO SUCH STATE’S CONFLICT OF
      INTEREST LAWS.

       15.     Successors and Assigns. The term “Payee” shall include Payee’s successors and
      assigns, to whom the benefits of this Note shall inure. This Note shall bind Maker and
      Maker’s heirs, successors and permitted assigns (but no assignment or delegation of this
      Note by Maker shall release Maker from liability hereunder).




                                [Signature on following page]




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 This Note is EXECUTED as of the first date set forth above.


   KING FAMILY LENDING LLC, a
   California limited liability company




   By:
   Name: Sara J. King
   Its: Manager




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                                  EXHIBIT A




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                                    PERSONAL GUARANTEE

THIS GUARANTEE (the "Guarantee") dated this 16th day of May 16, 2022


BETWEEN:                                    SARA J. KING



                                          (the "Guarantor")
                                                                              OF THE FIRST PART


                                               - AND -

                                  LDR INTERNATIONAL LIMITED
                                            (the "Lender")


                                                                           OF THE SECOND PART


                                               - AND -
                  KING FAMILY LENDING LLC, A CALIFORNIA LIMITED
                               LIABILITY COMPANY
                                            (the "Debtor")
                                                                             OF THE THIRD PART

IN CONSIDERATION OF good and valuable consideration, and any future credit that the Lender
may extend from time to time to the Debtor, the receipt and sufficiency of which is hereby
acknowledged, the Guarantor personally guarantees the prompt, full and complete performance of any
and all existing duties and obligations of the Debtor to the Lender and the payment of any and all
indebtedness due to the Lender by the Debtor, up to a limit of $500,000.00, under the terms of certain
debt agreements (the "Agreement"), and the following terms and conditions:


1.    Subject to the above limit, the Guarantor guarantees that the Debtor will promptly pay the full
      amount of principal and interest of the debt under the Agreement (the "Debt") as and when the
      same will in any manner be or become due, either according to the terms and conditions
      provided by the Agreement or upon acceleration of the payment under the Agreement by reason
      of a default.



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Personal/Corporate Guarantee                                           Page 2 of 5


2.    The Guarantor agrees not to pledge, hypothecate, mortgage, sell or otherwise transfer any of the
      Guarantor's assets without the prior written consent of the Lender.


3.    To the extent permitted by law, the Guarantor waives all defenses, counterclaims or offsets that
      are legally available to the Guarantor with respect to the payment of the Debt of the Debtor.


4.    The Lender is hereby authorized at any time, in its sole discretion and without notice, to take,
      change, release or in any way deal with any security securing the Debt without in any way
      impairing the obligation of the Guarantor.


5.    The Lender will be under no obligation to collect or to protect any such security or the Debt, and
      its neglect or failure to collect or protect the security or the Debt is excused. Acceptance of the
      Guarantee is waived.


6.    The Lender may grant extensions of time or other indulgences and otherwise deal with the
      Debtor and with other parties and securities as the Lender may see fit without in any way
      limiting or lessening the liability of the Guarantor under this Agreement.


7.    Any impairment of the security, which the Lender may from time to time hold as security for the
      Debt, will in no way operate to discharge the Guarantor in whole or in part, it being specifically
      agreed that the Lender is not required to exercise diligence to enforce its rights against the
      Debtor.


8.    The Lender may release, surrender, exchange, modify, impair or extend the periods of duration
      or the time for performance or payment of any collateral securing the obligations of the Debtor
      to the Lender, and may also settle or compromise any claim of the Lender against the Debtor or
      against any other person or corporation whose obligation is held by the Lender as collateral
      security for any obligation of the Debtor or the Lender.


9.    This Guarantee is for the use and benefit of the Lender, and will also be for the use and benefit
      of any subsequent Lender to whom the Lender may assign this Guarantee.


10.   The liability of the Guarantor will continue until payment is made of every obligation of the
      Debtor now or later incurred in connection with the Debt and until payment is made of any loss
      or damage incurred by the Lender with respect to any matter covered by this Guarantee or any of
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Personal/Corporate Guarantee                                           Page 3 of 5


      the Agreement.


11.   The Guarantor further waives all rights, by statute or otherwise, to require the Lender to institute
      suit against the Debtor, and to exercise diligence in enforcing this Guarantee or any other
      instrument.


12.   Any and all present and future debts and liabilities of the Debtor to the Guarantor are postponed
      in favor of and subordinated to the full payment and performance of all present and future debts
      and obligations of the Debtor to the Lender. Upon any default by the Debtor under the
      Agreement, all present and future indebtedness of the Debtor to the Guarantor is hereby assigned
      to the Lender and any monies thereafter received by the Guarantor from the Debtor will be
      received in trust for the Lender and upon receipt are to be paid over to the Lender until such time
      as the Debt owed by the Debtor has been fully paid and satisfied.


13.   The Guarantor represents that at the time of the execution and delivery of this Guarantee nothing
      exists to impair the effectiveness of this Guarantee.


14.   All of the Lender's rights, powers and remedies available under this Guarantee and under any
      other agreement in force now or anytime later between the Lender and the Guarantor will be
      cumulative and not alternative, and will be in addition to all rights, powers and remedies given to
      the Lender by law or in equity.


15.   The Lender may, at its option, proceed in the first instance against the Guarantor to collect the
      obligations covered by this Guarantee without first proceeding against any other person, firm or
      corporation and without resorting to any property held by the Lender as collateral security.


16.   All pronouns will include masculine, feminine and/or neuter gender, single or plural number, as
      the context of this Guarantee may require.


17.   This Guarantee is made pursuant to the laws of the State of California. In the event that this
      Guarantee must be enforced by the Lender, all reasonable costs and expenses, including
      attorney's fees, incurred by the Lender will be paid by the Guarantor.


18.   The invalidity or unenforceability of any one or more phrases, sentences, clauses or sections in
      this Guarantee will not affect the validity or enforceability of the remaining portions of this
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Personal/Corporate Guarantee                                           Page 4 of 5


      Guarantee or any part of this Guarantee.
19.   No alteration or waiver of this Guarantee or of any of its terms, provisions or conditions will be
      binding upon the Lender unless made in writing over the signature of the Lender or its
      representative.


20.   Words of "Guarantee" contained in this Guarantee in no way diminish or impair the absolute
      liability created in this Guarantee.


21.   Any notice to be given to the Guarantor may be sent by mail, telephone, email or otherwise
      delivered to the address provided below.
      SARA J KING
      8500 SUNSET BLVD, STE. 304
      LOS ANGELES, CALIFORNIA 90036
      (949) 220-3666
      SARAJKING@GMAIL.COM
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Personal/Corporate Guarantee                                           Page 5 of 5



IN WITNESS WHEREOF the Guarantor has duly affixed their signature under hand and seal,
this 16th day of May, 2022.




                                               ______________________________________
                                               SARA J KING
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                              EXHIBIT “J”
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                                           PROMISSORY NOTE



        $150,000.00                                                                 June 20, 2022
                                                                         Orange County, California

           FOR VALUE RECEIVED, KING FAMILY LENDING LLC, a California limited
  liability company, whose address is 110 Newport Center Drive, Suite 277, Newport Beach,
  California 92660 (“Maker”), promises to pay to the order of LDR INTERNATIONAL
  LIMITED, with an address of 3rd Floor, Yamraj Building Market Square, P.O. Box 3175 Road
  Town, Tortola, British Virgin Islands (“Payee”), at such other place as the Payee may from time
  to time designate in writing, the principal sum of ONE HUNDRED FIFTY THOUSAND
  DOLLARS ($150,000.00), with interest thereon as provided in this Promissory Note (this
  “Note”).

           1.      Certain Definitions. For the purposes hereof, the terms set forth below shall have
          the following meanings:

                    (a)      “Applicable Law” shall mean (i) the laws of the United States of America
          applicable to contracts made or performed in the State of California, now or at any time
          hereafter prescribing or eliminating maximum rates of interest on loans and extensions of
          credit, (ii) the laws of the State of California now or at any time hereafter prescribing or
          eliminating maximum rates of interest on loans and extensions of credit, and (iii) any other
          laws at any time applicable to contracts made or performed in the State of California which
          permit a higher interest rate ceiling hereunder.

                   (b)     “Business Day” shall mean any day other than a Saturday, Sunday or any
          other day on which commercial banks are authorized or permitted to be closed for business
          in the State of California.

                   (c)     “Highest Lawful Rate” shall mean at the time in question the maximum rate
          of interest which, under Applicable Law, Payee is then permitted to charge Maker in regard
          to the loan evidenced by this Note. If the maximum rate of interest which, under
          Applicable Law, Payee is permitted to charge Maker in regard to the loan evidenced by this
          Note shall change after the date hereof, the Highest Lawful Rate shall be automatically
          increased or decreased, as the case may be, from time to time as of the effective date of
          each change in the Highest Lawful Rate without notice to Maker. For purposes of
          determining the Highest Lawful Rate under the Applicable Law, all fees and other charges
          contracted for, charged or received by Payee in connection with the loan evidenced by this
          Note which are either deemed interest under Applicable Law or required under Applicable
          Law to be deducted from the principal balance hereof to determine the rate of interest
          charged on this Note shall be taken into account.

                     (d)       “Interest Rate” shall mean SIXTY PERCENT (60%) per annum.

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               (e)     “Maturity Date” shall mean the date which is 4 months after the date of
      this Note, subject to acceleration as provided herein.

              (f)    “Unpaid Principal Balance” shall mean, at any time, the original stated
      amount of principal of this Note, less any amounts of principal repaid.

       2.      Payment of Principal and Interest.

              (a)    Interest shall be paid on a monthly basis to Payee beginning on July 20,
      2022 and every 30 days thereafter until the Maturity Date.

               (b)    The Unpaid Principal Balance and all accrued interest due on this Note shall
      be paid on the Maturity Date.

               (c)    Subject to the provisions of Section 6 below, interest on the Unpaid
      Principal Balance shall be computed at a rate equal to the Interest Rate. Interest shall
      accrue on the Unpaid Principal Balance from the date that the proceeds of the loan secured
      hereby are funded by Payee to Maker (not from the date of this Note).

               (d)   This Note is payable in lawful money of the United States, without prior
      notice or demand, and without offset or deduction of any nature.

       3.      Prepayment. The Unpaid Principal Balance (and all accrued interest) may be
      prepaid in whole or in part, at any time, without penalty or prepayment premium. The total
      amount of Interest for four months is guaranteed regardless of prepayment of the Principal
      Balance.

        4.     Waivers. Maker and all sureties, endorsers, accommodation parties, guarantors
      and other parties now or hereafter liable for the payment of this Note, in whole or in part,
      hereby severally (a) waive demand, notice of demand, presentment for payment, notice of
      nonpayment, notice of default, protest, notice of protest, notice of intent to accelerate,
      notice of acceleration, notice of dishonor and all other notices, and further waive diligence
      in collecting this Note, in taking action to collect this Note, in bringing suit to collect this
      Note, or in enforcing this Note or any of the security for this Note; (b) agree to any
      substitution, subordination, exchange or release of any security for this Note or the release
      of any person primarily or secondarily liable for the payment of this Note; (c) agree that
      Payee shall not be required to first institute suit or exhaust its remedies hereon against
      Maker or others liable or to become liable for the payment of this Note or to enforce its
      rights against any security for the payment of this Note; and (d) consent to any extension
      of time for the payment of this Note, made by agreement by Payee with any person now or
      hereafter liable for the payment of this Note, even if Maker is not a party to such
      agreement.

       5.      Events of Default.

              (a)    Upon the happening of any of the following events (each an “Event of
      Default”), Payee may, at its option, by2 notice to Maker, declare immediately due and
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      payable the entire Unpaid Principal Balance, together with all accrued interest thereon. If
      Maker fails to pay the entire Unpaid Principal Balance (plus all accrued but unpaid interest)
      in full on the Maturity Date, without any notice or cure period;

                       (i)     If Maker shall: (i) apply for or consent to the appointment of a
               receiver, trustee or liquidator for any material part of Maker’s property, (ii) admit
               in writing Maker’s inability to pay its debts as they mature, (iii) make a general
               assignment for the benefit of creditors, (iv) be adjudicated bankrupt or insolvent,
               (v) file a voluntary petition in bankruptcy, or a petition or an answer seeking an
               arrangement with creditors or taking advantage of any bankruptcy, insolvency,
               readjustment of debt, dissolution or liquidation law, or filing an answer admitting
               the material allegations of a petition filed against Maker in any proceeding under
               any such law, (vi) suffer the appointment of a trustee or receiver to take possession
               of all or any substantial part of Maker’s assets, or (vii) take any action for the
               purpose of effectuating any of the foregoing.

              (b)     The failure of Payee to exercise the foregoing option of acceleration upon
      the occurrence of an Event of Default shall not constitute a waiver of the right to exercise
      the same or any other option of acceleration at any subsequent time.

       6.      Default Interest. If upon the occurrence of an Event of Default, the Unpaid
      Principal Balance of this Note shall bear interest at a rate equal to the lesser of (a) the
      Highest Lawful Rate or (b) the Interest Rate plus five percent (5%) per annum (the
      “Default Rate”). The collection by Payee of interest at the Default Rate shall not cure an
      Event of Default.

       7.     Collateral. Maker is a California Finance Lender and is using all monies to fund a
      loan. Collateral for said loan is:

                 (i)     2017 Hermes Birkin 35cm Black Alligator
                 (ii)    Piaget Limelight Diamond Watch


                Upon the occurrence of a Default, Payee has the immediate right to: a) collect
       collateral from Payee in lieu of payment under this Note and become the owner of the
       Collateral with full right and title to the Collateral, b) to demand Maker to sell the
       collateral to a third party, or, c) to accelerate this Note and demand immediate full
       payment. Should Maker sell the Collateral in connection with repayment of this Note,
       Maker hereby agrees to pay Payee all amounts due and owing hereunder, and in addition,
       should Maker sell the Collateral for more than what is due and owing under this Note,
       Maker agrees to pay Payee SIXTY PERCENT (60%) of the additional amount received
       and Maker will retain FORTY PERCENT (40%).

         8.    Costs, and Interest for Underlying Collateralized Loan. The Principal Amount
      is being used by Payee to fund an underlying loan. It is agreed between Maker and Payee
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      that interest and fees earned on that note shall be shared, 60% to Payee and 40% to Maker.
      The Interest paid to Payee under this Note reflects the same and is included in this
      Paragraph 8.

       9.       Notices. Any notices required under this Note shall be given in the manner set
      forth in the Security Agreement.

       10.     Compliance with Law. All agreements between Maker and Payee, whether now
      existing or hereafter arising and whether written or oral, are hereby limited so that in no
      contingency, whether by reason of demand or acceleration of the Maturity Date or
      otherwise, shall the interest contracted for, charged, received, paid or agreed to be paid to
      Payee in regard to the loan evidenced by this Note exceed the maximum amount
      permissible under Applicable Law. If, from any circumstance whatsoever, interest would
      otherwise be payable to Payee in excess of the maximum amount permissible under
      Applicable Law, the interest payable to Payee shall be reduced to the maximum amount
      permissible under Applicable Law; and if from any circumstance Payee shall ever receive
      anything of value deemed interest by Applicable Law in excess of the maximum amount
      permissible under Applicable Law, an amount equal to the excessive interest shall be
      applied to the reduction of the principal hereof and not to the payment of interest, or if
      such excessive amount of interest exceeds the Unpaid Principal Balance hereof, such
      excess shall be refunded to Maker. All interest paid or agreed to be paid to Payee shall, to
      the extent permitted by Applicable Law, be amortized, prorated, allocated, and spread
      throughout the full period (including any renewal or extension) until payment in full of the
      principal so that the interest hereon for such full period shall not exceed the maximum
      amount permissible under Applicable Law. Payee expressly disavows any intent to
      contract for, charge or receive interest in an amount which exceeds the maximum amount
      permissible under Applicable Law. This section shall control all agreements between Maker
      and Payee relating to this Note.

       11.     Attorneys’ Fees and Costs. In the event that this Note is placed in the hands of an
      attorney for collection, or in the event this Note is collected in whole or in part through
      legal proceedings of any nature, then and in any such case Maker promises to pay on
      demand by Payee, and, to the extent unpaid upon such demand, there shall be added to the
      Unpaid Principal Balance, all reasonable costs of collection, including, but not limited to,
      reasonable attorneys’ fees and costs incurred by Payee on account of such collection,
      whether or not suit is filed (including attorneys' fees incurred in connection with any
      bankruptcy proceeding (including stay litigation) and on appeal).

       12.     Cumulative Rights. The rights and remedies of Payee under this Note are
      cumulative and in addition to all other rights and remedies which Payee may have at law
      or in equity. No delay on the Payee in the exercise of any power or right under this Note
      shall operate as a waiver thereof, nor shall a single or partial exercise of any power or right
      preclude other or further exercise thereof or the exercise of any other power or right.

       13.     Headings. The section headings used in this Note are for convenience of reference
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      only and shall not affect the meaning or interpretation of this Note.

       14.  Governing Law. THIS NOTE SHALL BE GOVERNED BY AND
      CONSTRUED IN ACCORDANCE WITH THE LAWS OF THE STATE OF
      CALIFORNIA WITHOUT REGARD TO SUCH STATE’S CONFLICT OF
      INTEREST LAWS.

       15.     Successors and Assigns. The term “Payee” shall include Payee’s successors and
      assigns, to whom the benefits of this Note shall inure. This Note shall bind Maker and
      Maker’s heirs, successors and permitted assigns (but no assignment or delegation of this
      Note by Maker shall release Maker from liability hereunder).




                                  [Signature on following page]




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 This Note is EXECUTED as of the first date set forth above.


   KING FAMILY LENDING LLC, a
   California limited liability company




   By:
   Name: Sara J. King
   Its: Manager




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                              EXHIBIT “K”
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                                      PROMISSORY NOTE



       $300,000.00



           FOR VALUE RECEIVED, KING FAMILY LENDING LLC, a California limited
  liability company, whose address is 110 Newport Center Drive, Suite 277, Newport Beach,
  California 92660 (“Maker”), promises to pay to the order of LDR INTERNATIONAL
  LIMITED, with an address of 3rd Floor, Yamraj Building Market Square, P.O. Box 3175 Road
  Town, Tortola, British Virgin Islands (“Payee”), at such other place as the Payee may from time
  to time designate in writing, the principal sum of THREE HUNDRED THOUSAND
  DOLLARS ($300,000.00), with interest thereon as provided in this Promissory Note (this
  “Note”).

         1.      Certain Definitions. For the purposes hereof, the terms set forth below shall have
        the following meanings:

                  (a)      “Applicable Law” shall mean (i) the laws of the United States of America
        applicable to contracts made or performed in the State of California, now or at any time
        hereafter prescribing or eliminating maximum rates of interest on loans and extensions of
        credit, (ii) the laws of the State of California now or at any time hereafter prescribing or
        eliminating maximum rates of interest on loans and extensions of credit, and (iii) any other
        laws at any time applicable to contracts made or performed in the State of California which
        permit a higher interest rate ceiling hereunder.

                 (b)     “Business Day” shall mean any day other than a Saturday, Sunday or any
        other day on which commercial banks are authorized or permitted to be closed for business
        in the State of California.

                 (c)     “Highest Lawful Rate” shall mean at the time in question the maximum rate
        of interest which, under Applicable Law, Payee is then permitted to charge Maker in regard
        to the loan evidenced by this Note. If the maximum rate of interest which, under
        Applicable Law, Payee is permitted to charge Maker in regard to the loan evidenced by this
        Note shall change after the date hereof, the Highest Lawful Rate shall be automatically
        increased or decreased, as the case may be, from time to time as of the effective date of
        each change in the Highest Lawful Rate without notice to Maker. For purposes of
        determining the Highest Lawful Rate under the Applicable Law, all fees and other charges
        contracted for, charged or received by Payee in connection with the loan evidenced by this
        Note which are either deemed interest under Applicable Law or required under Applicable
        Law to be deducted from the principal balance hereof to determine the rate of interest
        charged on this Note shall be taken into account.

                (d)    “Interest Rate” shall mean FIFTY SEVEN AND SIX TENTHS (57.6%) per
                annum.
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       2.     Payment of Principal and Interest.

              (a)    Interest shall be paid on a monthly basis to Payee beginning on September 18,




       5.     Events of Default.

              (a)    Upon the happening of any of the following events (each an “Event of
      Default”), Payee may, at its option, by2 notice to Maker, declare immediately due and
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      payable the entire Unpaid Principal Balance, together with all accrued interest thereon. If
      Maker fails to pay the entire Unpaid Principal Balance (plus all accrued but unpaid interest)
      in full on the Maturity Date, without any notice or cure period;

                       (i)     If Maker shall: (i) apply for or consent to the appointment of a
               receiver, trustee or liquidator for any material part of Maker’s property, (ii) admit
               in writing Maker’s inability to pay its debts as they mature, (iii) make a general
               assignment for the benefit of creditors, (iv) be adjudicated bankrupt or insolvent,
               (v) file a voluntary petition in bankruptcy, or a petition or an answer seeking an
               arrangement with creditors or taking advantage of any bankruptcy, insolvency,
               readjustment of debt, dissolution or liquidation law, or filing an answer admitting
               the material allegations of a petition filed against Maker in any proceeding under
               any such law, (vi) suffer the appointment of a trustee or receiver to take possession
               of all or any substantial part of Maker’s assets, or (vii) take any action for the
               purpose of effectuating any of the foregoing.

              (b)     The failure of Payee to exercise the foregoing option of acceleration upon
      the occurrence of an Event of Default shall not constitute a waiver of the right to exercise
      the same or any other option of acceleration at any subsequent time.

       6.      Default Interest. If upon the occurrence of an Event of Default, the Unpaid
      Principal Balance of this Note shall bear interest at a rate equal to the lesser of (a) the
      Highest Lawful Rate or (b) the Interest Rate plus five percent (5%) per annum (the
      “Default Rate”). The collection by Payee of interest at the Default Rate shall not cure an
      Event of Default.

       7.     Collateral. Maker is a California Finance Lender and is using all monies to fund a
      loan. Collateral for said loan is:

      (i)    One Tiffany's Diamond Engagement Ring, 8.4 carat; round brilliant; color D;
      flawless

                Upon the occurrence of a Default, Payee has the immediate right to: a) collect
       collateral from Payee in lieu of payment under this Note and become the owner of the
       Collateral with full right and title to the Collateral, b) to demand Maker to sell the
       collateral to a third party, or, c) to accelerate this Note and demand immediate full
       payment. Should Maker sell the Collateral in connection with repayment of this Note,
       Maker hereby agrees to pay Payee all amounts due and owing hereunder, and in addition,
       should Maker sell the Collateral for more than what is due and owing under this Note,
       Maker agrees to pay Payee SIXTY PERCENT (60%) of the additional amount received
       and Maker will retain FORTY PERCENT (40%).

         8.     Costs, and Interest for Underlying Collateralized Loan. The Principal Amount
      is being used by Payee to fund an underlying loan. It is agreed between Maker and Payee
      that interest and fees earned on that note shall be shared, 60% to Payee and 40% to Maker.
      The Interest paid to Payee under this Note 3     reflects the same and is included in this
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      Paragraph 8.

       9.       Notices. Any notices required under this Note shall be given in the manner set
      forth in the Security Agreement.

       10.     Compliance with Law. All agreements between Maker and Payee, whether now
      existing or hereafter arising and whether written or oral, are hereby limited so that in no
      contingency, whether by reason of demand or acceleration of the Maturity Date or
      otherwise, shall the interest contracted for, charged, received, paid or agreed to be paid to
      Payee in regard to the loan evidenced by this Note exceed the maximum amount
      permissible under Applicable Law. If, from any circumstance whatsoever, interest would
      otherwise be payable to Payee in excess of the maximum amount permissible under
      Applicable Law, the interest payable to Payee shall be reduced to the maximum amount
      permissible under Applicable Law; and if from any circumstance Payee shall ever receive
      anything of value deemed interest by Applicable Law in excess of the maximum amount
      permissible under Applicable Law, an amount equal to the excessive interest shall be
      applied to the reduction of the principal hereof and not to the payment of interest, or if
      such excessive amount of interest exceeds the Unpaid Principal Balance hereof, such
      excess shall be refunded to Maker. All interest paid or agreed to be paid to Payee shall, to
      the extent permitted by Applicable Law, be amortized, prorated, allocated, and spread
      throughout the full period (including any renewal or extension) until payment in full of the
      principal so that the interest hereon for such full period shall not exceed the maximum
      amount permissible under Applicable Law. Payee expressly disavows any intent to
      contract for, charge or receive interest in an amount which exceeds the maximum amount
      permissible under Applicable Law. This section shall control all agreements between Maker
      and Payee relating to this Note.

       11.     Attorneys’ Fees and Costs. In the event that this Note is placed in the hands of an
      attorney for collection, or in the event this Note is collected in whole or in part through
      legal proceedings of any nature, then and in any such case Maker promises to pay on
      demand by Payee, and, to the extent unpaid upon such demand, there shall be added to the
      Unpaid Principal Balance, all reasonable costs of collection, including, but not limited to,
      reasonable attorneys’ fees and costs incurred by Payee on account of such collection,
      whether or not suit is filed (including attorneys' fees incurred in connection with any
      bankruptcy proceeding (including stay litigation) and on appeal).

       12.     Cumulative Rights. The rights and remedies of Payee under this Note are
      cumulative and in addition to all other rights and remedies which Payee may have at law
      or in equity. No delay on the Payee in the exercise of any power or right under this Note
      shall operate as a waiver thereof, nor shall a single or partial exercise of any power or right
      preclude other or further exercise thereof or the exercise of any other power or right.

       13.    Headings. The section headings used in this Note are for convenience of reference
      only and shall not affect the meaning or interpretation of this Note.

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       14.  Governing Law. THIS NOTE SHALL BE GOVERNED BY AND
      CONSTRUED IN ACCORDANCE WITH THE LAWS OF THE STATE OF
      CALIFORNIA WITHOUT REGARD TO SUCH STATE’S CONFLICT OF
      INTEREST LAWS.

       15.     Successors and Assigns. The term “Payee” shall include Payee’s successors and
      assigns, to whom the benefits of this Note shall inure. This Note shall bind Maker and
      Maker’s heirs, successors and permitted assigns (but no assignment or delegation of this
      Note by Maker shall release Maker from liability hereunder).




                                [Signature on following page]




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 This Note is EXECUTED as of the first date set forth above.


   KING FAMILY LENDING LLC, a
   California limited liability company




   By:
   Name: Sara J. King
   Its: Manager




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                                                                                   Page
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                                                                                              Page ID
                                                   #:362           DURATION
Loan No.             Purported Collateral             AMOUNT                      DATE FUNDED    MATURITY DATE
                                                                                   (MONTHS)
          AP Royal Oak Watch Gold /Black Index
Loan 01   AP Royal Oak Chronograph Rose Gold White Index        $     195,000         4       01/14/2022   05/31/2022
          Richard Mille RM 030
          1979 Ferrari 308 GTS
          1896 Ferrari 328 GTB
          2003 Chevrolet Corvette
Loan 02                                                         $     235,000         6       01/18/2022   07/18/2022
          2010 Rolls Royce Ghost
          2014 Aston Martin Vanquish
          2020 Porsche Taycan 4S
          2006 SeaRay
Loan 03   Two-Tone Date Just                                    $     175,000         4       01/31/2022   05/31/2022
          2007 Maybach
Loan 04   2017 Tiara F44                                        $     400,000         4       02/18/2022   06/18/2022
Loan 05   Cartier Jewelry Lot                                   $     150,000         3       02/18/2022   05/18/2022
          Hermès Birkin Bag 35; White Himalayan
Loan 06                                                         $     100,000         4       03/04/2022   07/04/2022
          Rolex Daytona Rose Gold
          1956 Chevrolet Truck
Loan 07                                                         $     150,000         3       03/04/2022   06/04/2022
          1971 Chevrolet Cheville
Loan 08   Patek Phillipe Nautilus, Rose Gold, Tiffany Stamp     $     350,000         3       03/15/2022   06/14/2022
          2021 MBZ S580
Loan 09                                                         $         75,000      3       03/28/2022   06/29/2022
          Rolex Yacht Master Yellow Gold
          Rolex Oyster Perp, Stainless Steel
Loan 10   Diamond Ring, Pear, 5.02k                             $     120,000         4       03/28/2022   07/28/2022
          Diamond Ring, Yellow Diamond, 8.74k
Loan 11   Coins                                                 $     150,000         3       04/01/2022   07/01/2022
          Chanel Classic Bag (Beige)
          Chanel Classic Bag (Black)
          Chanel Rocket Bag
          Cartier Monsieur Watch, Rose Gold, Cartier Tank
          Francaise, Rose Gold, Cartier Juste Un Clous
Loan 12                                                         $         95,000      4       04/06/2022   08/06/2022
          Bracelet, Rose Gold w/ Diamonds, Cartier Love
          Bracelet, Rose Gold w/ Diamonds, Cartier Love Ring,
          White Gold w/ Diamonds
          Cartier Trinity Ring, w/ Diamonds, Cartier Trinity
          Bracelet, w/Diamonds
Loan 13   Mercedes Benz G Class, 63 AMG                         $         65,000      2       04/08/2022   06/08/2022
Loan 14   2019 Rolls Royce Dawn                                 $     100,000         3       04/11/2022   07/11/2022
Loan 15   Patek Phillipe Nautilus Watch, Platinum and Ruby      $     150,000         4       04/11/2022   08/11/2022
Loan 16   Ruby Ring w/ Diamonds, 10.04k                         $         80,000      2       04/15/2022   06/15/2022
Loan 17   Avengers Comic Book                                   $         25,000      3       04/19/2022   07/19/2022
Loan 18   1902 Ruble Gold Coin                                  $         30,000      3       04/19/2022   07/19/2022
Loan 19   Van Cleef & Arpels Ruby/Diamond Bracelet              $         75,000      3       04/26/2022   07/26/2022
Loan 20   Rolex Daytona, Platinum Ice Blue Face                 $     100,000         4       04/26/2022   08/26/2022
Loan 21   Lamborghini Aventador                                 $     200,000         3       04/27/2022   07/27/2022
          Audemars Piguet Royal Oak, Extra Thin, Black
Loan 22                                                         $     150,000         3       05/04/2022   08/05/2022
          Ceramic
Loan 23   Rolex Rainbow Watch                                   $         55,000      3       05/12/2022   08/12/2022
          Audemars Piguet Royal Oak Offshore Chronograph
Loan 24   Titanium                                              $         40,000      3       05/12/2022   08/12/2022
          Audemars Piguet Royal Oak Offshore Ghost
Loan 25   NHL Sports Contract                                   $     500,000         6       05/16/2022   10/17/2022
Loan 26   NHL Sports Contract                                   $     200,000         4       05/24/2022   09/25/2022
Loan 27   MLB Sports Contract                                   $     250,000         6       05/24/2022   10/25/2022
          Rolex Day Date II Rose Gold 41mm, Diamond Dial
Loan 28                                                         $     150,000         4       05/26/2022   09/25/2022
          2018 Rolls Royce Ghost
          2016 Aston Martin Vanquish (Silver)
Loan 29                                                         $     100,000         5       05/31/2022   10/31/2022
          AP Rose Gold Chronograph Watch
Loan 30   MLB Sports Contract                                   $     300,000         3       05/31/2022   08/31/2022
Loan 31   NHL Contract                                          $     100,000         4       06/01/2022   10/01/2022

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          AP Steel Royal Oak Chronograph Watch          #:363
 Loan 32                                                $      65,000      2          06/03/2022     08/03/2022
            2020 Porsche Panamera GTS
 Loan 33    NHL Contract                                     $     500,000          4        06/10/2022   10/10/2022
 Loan 34    2022 Porsche Taycan 4s                           $         75,000       6        06/10/2022   12/10/2022
 Loan 35    AP Royal Oak White Ceramic 1st                   $     150,000      0 (7 days)   06/13/2022   06/21/2022
 Loan 36    Rolex Rose Gold Day Date II                      $     100,000          2        06/15/2022   08/16/2022
 Loan 37    MBZ G 63 (Matte Black) 2021                      $     100,000          4        06/20/2022   10/21/2022
            Hermes Birkin, So Matte, Alligator
 Loan 38                                                     $     150,000          4        06/20/2022   10/21/2022
            Piaget Limelight Diamond Watch
 Loan 39    MBZ G 63 (Red)                                   $     100,000          4        06/20/2022   10/21/2022
 Loan 40    NHL Sports Contract                              $     200,000          4        06/20/2022   10/21/2022
 Loan 41    MLSoccer Sports Contract                         $     500,000          6        06/22/2022   12/21/2022
 Loan 42    Patek 5711 Jumbo Rose Gold/Brown dial            $     100,000          3        06/24/2022   09/24/2022
 Loan 43    AP Royal Oak White Gold Frosted/Purple Dial      $         75,000       2        06/24/2022   08/24/2022
 Loan 44    AP Royal Oak White Ceramic 2nd                   $     150,000      0 (7 days)   06/27/2022   07/05/2022
 Loan 45    NFL Contract                                     $     250,000          5        06/27/2022   11/27/2022
 Loan 46    AP Royal Oak Chronograph Gold, with Blue dial    $         75,000       3        06/27/2022   09/27/2022
 Loan 47    2017 Tiara F44                                   $     400,000          4        07/07/2022   11/07/2022
            2021 MBZ S580
 Loan 48                                                     $         75,000       3        07/07/2022   10/06/2022
            Rolex Yacht Master Yellow Gold
 Loan 49    Richard Mille Watch                              $     100,000          2        07/07/2022   09/07/2022
 Loan 50    NBA Sports Contract                              $     350,000          5        07/08/2022   12/08/2022
 Loan 51    2005 Ford GT                                     $     200,000          3        07/08/2022   10/08/2022
 Loan 52    AP Royal Oak White Ceramic 3rd                   $     150,000      0 (7 days)   07/11/2022   07/19/2022
 Laon 53    NBA Contract                                     $     250,000          6        07/13/2022   01/13/2023
            AP Royal Oak Watch Gold /Black Index
 Loan 54    AP Royal Oak Chronograph Rose Gold White Index   $     195,000          3        07/16/2022   10/16/2022
            Richard Mille RM 030
 Loan 55    NBA Sports Contract 45901                        $     200,000          6        07/16/2022   01/16/2023
            Hermès Birkin Bag 35; White Himalayan
 Loan 56                                                     $     100,000          4        07/22/2022   11/22/2022
            Rolex Daytona Rose Gold
 Loan 57    2019 Rolls Royce Dawn                            $     100,000          3        07/22/2022   10/22/2022
 Loan 58    2019 Ferrari 488 Spider                          $     150,000          3        07/22/2022   10/22/2022
Loan 59 A   NBA Contract: 45992                              $     250,000          6        07/22/2022   01/22/2023
Loan 59 B   NBA Contract 45919(b)                            $     200,000          6        07/22/2022   01/22/2023
 Loan 60    NFL Contract 900173                              $     350,000          5        07/22/2022   12/22/2022
 Loan 61    NBA Contract 647007                              $     250,000          5        07/25/2022   12/28/2022
 Loan 62    NFL Contract: 900173                             $     350,000          5        07/28/2022   12/28/2022
 Loan 63    NBA Contract: 647007                             $     200,000          5        07/28/2022   12/28/2022
 Loan 64    AP Royal Oak White Ceramic 4rth                  $     150,000       10 days     07/28/2022   08/05/2022
 Loan 65    Lamborghini Aventador                            $     200,000          3        07/28/2022   10/28/2022
 Loan 66    NBA Contract: 647972                             $     250,000          5        08/03/2022   01/03/2023
 Loan 67    Rolls Royce Cullinan                             $     150,000          3        08/03/2022   11/03/2022
 Loan 68    Rolex Daytona [White Dial/Black Chronograph]     $         50,000       3        08/04/2022   11/04/2022
 Loan 69    AP Royal Oak [Gold Frosted]                      $         50,000    14 days     08/10/2022   08/24/2022
 Loan 70    NBA Contract                                     $     300,000          5        08/10/2022   01/10/2023
 Loan 71    NBA Contract                                     $     250,000          5        08/12/2022   01/10/2023
            Audemars Piguet Royal Oak Tourbillon
 Loan 72                                                     $     150,000          2        08/16/2022   10/16/2022
            [Extra Thin, Black Ceramic]
            Audemars Piguet Royal Oak Tourbillon
 Loan 73                                                     $     150,000       10 days     08/16/2022   08/23/2022
            [White Ceramic]
 Loan 74    MLB Contract 7NN1C3                              $     300,000          4        08/16/2022   12/16/2022
 Loan 75    NFL Contract: 944301                             $     250,000          5        08/16/2022   01/16/2023
            Tiffany's Diamond Engagement Ring
 Loan 76                                                     $     300,000          3        08/18/2022   11/18/2022
            [8.4 carats, D Color, Flawless]
 Loan 77    2018 Rolls Royce Phantom                         $     175,000          3        08/23/2022   11/23/2022
 Loan 78    NBA Contract 788634                              $     250,000          4        08/23/2022   12/23/2022

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Loan 79 MLS Contract LA GALAXY 629            $#:364 250,000       5          08/23/2022     01/23/2023
Loan 80   1979 Ferrari 308 GTS                                  $     110,000          3         08/29/2022   11/29/2022
Loan 81   2021 BMW M6 Convertible                               $      50,000          3         08/29/2022   11/29/2022
Loan 82   NBA Contract                                          $     250,000          4         08/29/2022   12/29/2022
          Patek Philippe Nautilus (Blue Dial) Rolex Rose Gold
Loan 83                                                         $     100,000          2         08/29/2022   10/29/2022
          Day Date II
Loan 84   NFL Sports Contract                                   $     350,000          4         09/09/2022   01/09/2022
Loan 85   Aston Martin DBS                                      $     150,000          4         09/09/2022   01/09/2022
Loan 86   Patek Philipe Nautilus Watch, Platinum Ruby (2nd)     $     200,000          3         09/12/2022   12/12/2022
Loan 87   Audemars Piguet Royal Oak Tourbillon                  $     150,000      0 (14 days)   09/15/2022   09/30/2022
Loan 88   MLS Sports Contract ID: 607                           $     250,000          5         09/19/2022   02/19/2023
Loan 89   Bentley Batayaga                                      $     150,000          3         09/20/2022   12/20/2022
Loan 90   NBA Clippers Contract                                 $     500,000          4         10/05/2022   02/05/2023
Loan 91   Commercial Building                                   $     350,000          3         10/05/2022   01/05/2023
Loan 92   Aston Martin DB4 1961                                 $     450,000          3         10/05/2022   01/05/2023
Loan 93   Audemars Piguet Royal Oak Double Balance Gold         $         80,000       3         10/07/2022   01/07/2023
Loan 94   Patek 5711 Jumbo Rose Gold/Brown dial                 $         80,000       3         10/07/2022   01/07/2023
Loan 95   NFL Sport Contract                                    $     500,000          4         10/12/2022   2/12/2023
Loan 96   NBA Sport Contract                                    $     350,000          4         10/12/2022   2/12/2023
Loan 97   MLB Sport Contract                                    $     750,000          4         10/12/2022   2/12/2023




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                             EXHIBIT “M”
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                                      SECURED PROMISSORY NOTE
                                             Orange County,
                                               California

     Amount: $195,000.00                                                         Date: January ___, 2022

             FOR VALUE RECEIVED, the receipt and adequacy of which is hereby acknowledged by
                 , an individual (hereinafter referred to as “Borrower”), promises to pay to the order of
     KING FAMILY LENDING LLC, a California Limited Liability Company (hereinafter referred to as
     “Lender”), in accordance with this Secured Promissory Note (hereinafter referred to as the “Note”), and
     Security Agreement dated January ___, 2022 attached and incorporated hereto, at such place as the
     Lender hereof may hereafter designate in writing), in immediately available funds and lawful money of
     the United States of America, without right to set-off or counterclaim.

           1.     Interest. Interest shall accrue on the outstanding unpaid principal balance from the date
     hereof at the rate of NINETY SIX PERCENT (96%) per annum, subject to increase upon default as
     hereinafter provided. Interest accruing hereunder shall be payable monthly commencing on February
     ___, 2022 and continuing on the first day of each consecutive month thereafter, with time being of the
     essence. Interest accruing and payable under this Note shall be computed and applied on the basis of a
     365-day year, actual days elapsed, with time being of the essence. Interest that is not received by Lender
     on the date such interest is due shall, at the sole discretion of Lender, be added to the principal balance
     and shall from that date due bear interest at the rate provided in this Note.

            2. Late Charges. If any payment provided for in this Note is not paid when due, it would be
     impracticable or extremely difficult to fix the actual damages resulting to Lender. Therefore, if any
     payment provided for in this Note is not paid when due Borrower agrees to pay to Lender a sum equal
     to TEN PERCENT (10%) of the payment as liquidated damages and not as a penalty, to compensate
     Lender for the expenses of administering the default. Only one late charge will be collected for each
     late payment, regardless of the period during which it remains in default.

            3. Fees, Costs, and Expenses. Lender has waived all commitment/origination fees, costs, and
     expenses, including without limitation attorneys, administrative, insurance fees, incurred in connection
     with the investigation, negotiation, arrangement, and making of this Note and related loan documents.

            4. Payments. Payments shall be applied first to fees, costs, expenses and sums other than
     principal and interest due to Lender, then to accrued and unpaid interest hereon, and the balance
     thereof, if any, to the outstanding principal balance hereof. The amounts borrowed may be prepaid at
     any time provided written notice of prepayment is received by Lender concurrently therewith.

             5. Maximum Legal Rate - No Usury. Notwithstanding any provision to the contrary contained
     in this Note, it is expressly provided that in no case or event shall the aggregate of: a) all interest on
     the unpaid balance of this Note, accrued or paid from the date hereof and b) the aggregate of any other
     amounts accrued or paid pursuant to this Note, which under applicable laws are or may be deemed to
     constitute interest upon the indebtedness evidenced by this Note from the date hereof, ever exceed the
     maximum nonusurious rate of interest permitted on the execution date hereof by whichever of
     applicable California or United States laws permit the higher maximum nonusurious interest rate
     (“highest lawful rate”). In this connection, it is expressly understood and agreed that it is the intent of

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     the Borrower and the Lender to contract in strict compliance with the applicable usury laws of the State
     of California and of the United States, whichever from time to time permit the higher rate of interest.
     In furtherance thereof, none of the terms of this Note shall ever be construed to create a contract to
     pay, as consideration for the use, forbearance or detention of money, interest at a rate in excess of the
     highest lawful rate. The Borrower or other parties now or hereafter becoming liable for payment of the
     indebtedness evidenced by this Note shall never be liable for Interest in excess of the highest lawful
     rate. I f, for any reason whatever, the interest paid or received on this Note during its full term produces
     a rate which exceeds the highest lawful rate, the Lender of this Note shall refund to the payor or at the
     Lender's option, credit against the principal of this Note such portion of said interest as shall be
     necessary to cause the interest paid on this Note to produce a rate equal to the highest lawful rate.

           6.    Default/Acceleration. Borrower shall be in default under this Note upon the occurrence of
     any of the following events, which shall be referred to in this Note as an “Event of Default”:

                     (a)     There is a failure to make any payment when due under this Note.
                     (b)     Borrower fails to perform any covenant or observe any condition contained in
                             this Note or Borrower's breach of any covenant, term or condition of this Note.
                      (c)    Borrower is subject to or affected by:
                             1.     the appointment of a receiver, liquidator, or trustee;
                             2.      the filing of any voluntary or involuntary petition for bankruptcy
                                     or reorganization;
                             3.       the inability of any such person to pay his or her debts when
                                     due or the admission in writing by any such person that his or her debts
                                     cannot be paid when due;
                             4.      the dissolution, termination of existence, insolvency or business failure
                                     of any such person;
                             5.      any assignment for the benefit of creditors;
                             6.      the making or suffering of a fraudulent transfer under applicable federal
                                     or state law; or
                             7.      the concealment of any of his or her property in fraud.

            In an Event of Default by Borrower, the entire principal sum, with accrued interest thereon and
     all other sums due under this Note, shall at the option of Lender, become immediately due and payable,
     and at the option of the Lender, the rate of interest provided for under this Note shall, without notice, be
     increased to an amount TEN PERCENT (10%) PER YEAR over and above the rate of interest set forth
     in Paragraph 1 of this Note under the section entitled• interest”. Lender shall be entitled to collect all
     such amounts and to enforce any and all remedies available to it, and Borrower's default shall constitute
     the requisite showing under California Code of Civil Procedure, Section 1281.8, and any similar
     provision in any other jurisdiction, that any award Lender may receive in accordance with the terms of
     this Note may be rendered ineffectual without provisional relief.

            7.     Guaranty Agreement and Security Agreements. This Note and any past, present, or future
     liabilities of Borrower to Lender, regardless of how acquired by lender, are being secured by the
     execution by a Personal Guaranty Agreement, and execution of a Security Agreement, attached hereto
     and incorporated herein. To secure the payment of this Note, this Note and any past, present, or future
     liabilities of Borrower to Lender, regardless of how acquired by Lender, Borrower grants to Lender a

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     first priority security interest in and lien upon all of the following property of Borrower, whether now
     owned or hereafter acquired by Borrower, whether now existing or hereafter arising, whether fixed or
     contingent, and wherever located, and all supporting obligations relating to said property, and all
     proceeds thereof (collectively, “Collateral”):

                     (a) Three watches (as further described in Exhibit A)
                               1. Audemars Piguet 41mm Royal Oak chronograph watch, rose gold
                                   with black dial with rose gold band;
                               2. Audemars Piguet 41mm Royal Oak chronograph watch, rose gold
                                   with white dial with rose gold band; and
                               3. Richard Mille RM 030 titanium watch, with light blue rubber band.

                     (b) all proceeds (including, without limitation, insurance proceeds), and rights of
                     Borrower to receive payments in respect of and from such interests and related rights,
                     goods, instruments, inventory, investment property, rents, letters of credit, letter-of-
                     credit rights, payment intangibles, money, and all books and records pertaining to the
                     foregoing property and related rights from the above-described property.

             Borrower shall execute and deliver to Lender, and to any and all third parties as Lender shall
     require, all such notices, additional security agreements, assignments, pledge agreements, and
     amendments thereof, as and when Lender shall require in order to perfect and maintain Lender's rights
     and security interests under this Note. Borrower hereby irrevocably appoints Lender as the attorney in
     fact for Borrower, with power of substitution which may be exercised by Lender in its discretion, to
     execute and deliver any and all such notices, additional security agreements, assignments, pledge
     agreements, and amendments, if and only if there is an Event of Default. Said power of attorney is
     deemed coupled with an interest and irrevocable. Lender shall have all of the rights and shall be entitled
     to exercise and enforce all remedies and powers of a secured party as provided in the California Uniform
     Commercial Code (“CUCC”) and as otherwise provided by law. The security interest herein granted
     shall be in addition to any and all other security interests previously or hereafter granted by Borrower
     to Lender, and is and shall remain perfected, in part, by one or more existing financing statements of
     record in favor of Lender. Each term used in this Note to describe the Collateral, if defined in the
     CUCC, shall have the meaning assigned to such term under the CUCC as the same is amended from
     time to time.

            8. Disposition of Collateral on Default. Any collateral given to the Lender at any time will be
     deemed security for the payment of this Note and any other liabilities of the Borrower to the Lender.
     In case of default in payment of this Note or any other notes of the Borrower, whether as maker, co-
     maker, surety, guarantor, or endorser, held by the Lender, or in case the collateral declines in value or
     otherwise becomes unsatisfactory to the Lender, the Lender is authorized to dispose of all or any part
     of the collateral security property at public or private sale, without advertisement, or notice to the
     Borrower, which rights are expressly waived. At such a sale, the Lender may purchase any or all of the
     property free of any claim or right of redemption of the Borrower, which rights are expressly waived
     except as provided by law. Neither the sale of the collateral nor the application of its proceeds will
     prejudice any other rights of the Lender against the Borrower.

          9.      Lender, Borrower, Use of Loan Proceeds, Successors and Assigns.
     Lender is a licensed California Finance Lender. Borrower warrants and represents that the funds being

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     loaned in accordance with the terms of this Note are being used exclusively for commercial purposes
     and none of the funds being loaned in accordance with the terms of this Note are being used for
     personal, family, or household purposes.

     Subject to the prohibition against Borrower's assignment herein, this Note and all the covenants and
     agreements contained herein shall inure to the benefit of Lender and bind Borrower and all of their
     respective successors, estates, heirs, personal representatives and assigns. Without limiting the
     generality of the foregoing, Lender may assign or grant participation in any of Lender's rights under
     this Note in whole or in part to any person, without notice and without affecting Borrower's liability
     hereunder.

            10. Arbitration. Any dispute, claim or controversy of any kind, whether in contract or in tort,
     legal or equitable, now existing or hereafter arising, relating to or in any way arising out of this Note
     or any related agreements, or any past, present, or future loans, services, agreements, relationships,
     incidents or injuries of any kind whatsoever relating to or involving Borrower, and anyone who signs,
     guarantees or endorses this Note and Lender, shall be resolved by binding arbitration before ADR
     Services, Inc. (hereinafter “ADR”) in accordance with its Commercial Arbitration Rule. Judgment on
     the award rendered by the arbitrator(s) may be entered in any court having jurisdiction. Any party who
     fails to submit to binding arbitration following a lawful demand to do so shall bear all costs and
     expenses incurred by the demanding party in compelling arbitration of the dispute. To the maximum
     extent practicable, ADR, the arbitrator(s), and the parties shall act to assure that any arbitration
     proceeding shall be concluded within 180 days of the filing of the dispute with ADR. The hearing on
     the matter to be arbitrated shall take place in Los Angeles, California. The prevailing party shall recover
     the costs of the arbitration, including, but not limited to, filing, administrative, and arbitrator(s) fees.

            11. Costs of Collection. Borrower promises to pay all costs, expenses and attorneys' fees
     incurred by Lender in the exercise of any remedy (with or without litigation), in any proceeding for the
     collection of this Note, or in any litigation or controversy arising from or connected with this Note.
     Such proceedings shall include, without limitation, any probate, bankruptcy, receivership, injunction,
     arbitration, mediation or other proceeding, or any appeal from or petition for review of any of the
     foregoing, in which Lender appears to enforce this Note. Borrower shall also pay all of Lender's costs
     and attorneys' fees incurred in connection with any demand, workout, settlement compromise or other
     activity in which Lender engages to collect any portion of this Note not paid when due or as a result of
     any default of Borrower.

            12. Waivers. Borrower and all sureties, guarantors, and endorsers of this Note hereby waive
     notice of intent to accelerate and notice of acceleration, notice of protest and notice of dishonor, notice
     of non-payment, demand. presentment for payment, protest, any notices ln connection with the delivery,
     presentment, acceptance, performance, default, or enforcement of this Note, diligence in collecting and
     the filing of suit for the purpose of fixing liability and any and all other notices and demands
     whatsoever, and consent to any extensions or postponements of time or other indulgence, including
     time for payment, renewals, releases of liens, waivers, or modifications that may be made by Payee to
     any party to this Note.


             No extension of time for payment of any amount owing on this Note will affect the liability of
     Borrower or any surety, guarantor, or endorser of this Note. No delay by the Lender or holder in
     exercising any right under this Note will operate as a waiver of that right; nor will any single or partial

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     exercise of any right preclude other or further exercise of the right, or the exercise of any other right
     under this Note or otherwise as permitted by law.

              No covenant, condition, right or remedy in this Note may be waived or modified orally, by
     course of conduct or previous acceptance or otherwise unless such waiver or modification is specifically
     agreed to in a writing executed by Lender. Any waiver or modification will be valid only to the extent
     set forth in the writing. Without limiting the foregoing, no previous waiver and no failure or delay by
     Lender in acting pursuant to the terms of this Note shall constitute a waiver of any breach, default or
     failure of a condition under this Note or any obligations contained therein. Borrower further waives
     exhaustion of legal remedies and the right to plead any and all statutes of limitation as a defense to any
     demand on this Note, or to any agreement to pay the same.

            13. Governing Law. This Note shall be governed by and construed in accordance with the laws
     of the State of California. Orange County, California shall be proper place of venue for suit hereon.
     The Borrower and any and all co-makers, endorsers, guarantors and sureties irrevocably agree that any
     legal proceeding in respect of this Note shall be brought in the Central District of the Superior Court of
     Orange County or if applicable the United States District Court for the Central District of California.

          14. Records of Payments. The records of the Lender shall, absent manifest error, be binding
     and conclusive evidence of the amounts owing on this Note. The failure of Lender to record any
     payment or expenses shall not limit or otherwise affect the obligations of Borrower under this Note.

            15. Partial Invalidity. If any section or provision of this Note is declared invalid or
     unenforceable by a court competent jurisdiction, such section or provision shall be enforceable to the
     fullest extent permitted by law, and such a determination shall not affect the validity or enforceability
     of the remaining terms hereof; by way of example and not limitation, if any fee exceeds the maximum
     such fee permitted by law, such fee shall be reduced so as to equal the maximum permitted by law, or
     if any time period is shorter than required by law, such time period shall be deemed increased to the
     minimum time period permitted by law. No such determination in one jurisdiction shall affect any
     provision of this Note to the extent it is otherwise enforceable under the laws of any other applicable
     jurisdiction.

           16. Full Power and Authority. Borrower and each individual executing this Note
     on behalf of any Borrower have the full power and authority to execute and deliver this Note, and this
     Note constitutes the valid and binding obligation of Borrower and is enforceable in accordance with its
     terms.

            17. Captions/Terms. The various captions and headings contained in this Note are for reference
     only and shall not be considered or referred to in resolving questions of interpretation of this Note. No
     provision in this Note is to be interpreted for or against any party because that party or that party's legal
     representative drafted such provision, it being recognized that all parties have contributed substantially
     and materially to the preparation of this Note. As used in this Note, the term “including” means
     “including but not limited to” unless otherwise specified; the word “or” means “and/or” the word
     “person” means and refers to any individual, corporation, trust, estate, partnership, joint venture,
     government or governmental authority or other entity and the word “affiliate means and refers to any
     entity that directly, or indirectly through one or more intermediaries, controls, is controlled by, or is
     under common control with, another entity. All pronouns and any variations thereof, shall be deemed

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     to refer to the masculine, feminine. neuter, singular or plural as the identity of the person, persons,
     entity or entities may require. Whenever in this Note locative adverbs such as “herein and “hereunder”
     are used, the same shall be made in reference to this Note in its entirety and not any specific article,
     section, subsection, subpart, paragraph or subparagraph.

            18. Entire Agreement. This Note and the Security Agreement executed in connection herewith,
     embody the entire agreement and understanding between Lender and Borrower with respect to this
     Note and supersede all prior conflicting or inconsistent agreements, consents and understandings
     relating to such subject matter. Borrower acknowledges and agrees that there are no oral agreements
     between the Borrower and the Lender which have not been incorporated in this Note. No waiver,
     modification, change, or amendment to any provision of these documents shall be effective unless
     specifically made in writing and signed by Lender and Borrower.



                           BORROWER:


                           By:

                           Date:




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                                         SECURITY AGREEMENT



            THIS SECURITY AGREEMENT (the "Agreement") is entered into on January ___, 2022 by
       and between                             , with an address of a                , Newport Beach,
       California, 92660 ("Debtor"), and King Family Lending LLC ("Secured Party"), as follows:


               1.      Secured Obligations. Debtor has executed and delivered to Secured Party that certain
      Secured Promissory Note dated as of January ___, 2022 (the “Note”) in the principal amount of ONE
      HUNDRED NINETY FIVE THOUSAND US DOLLARS ($195,000.00) plus interest and has agreed
      to pay all indebtedness under the Note and all such legal expenses and obligations thereunder and any
      past, present, or future liabilities of Debtor to Secured Party, regardless of how acquired by Secured
      Party (hereinafter sometimes referred to collectively as the "Secured Obligations"). Debtor has derived
      and will continue to derive a material financial benefit from the Note and, in order to induce Secured
      Party to agree to the terms of the Note, Debtor has agreed to execute and deliver this Agreement to and
      for the benefit of Secured Party.

              2.       Security Interest. To secure the full and timely payment and performance of the
      Secured Obligations, Debtor hereby grants to Secured Party a first priority security interest in and lien
      upon all of the following property of Debtor, wherever located (collectively, the “Collateral”). Debtor
      hereby understands and agrees that the Collateral shall be held by Secured Party until the earlier of: a)
      the term of the Note; or b) Debtor has paid to Secured Part all monies owed under the Note.

                    a. Three (3) Watches (identified in detail by Exhibit A attached hereto and
                       incorporated herewith):
                            § Audemars Piguet 41mm Royal Oak chronograph watch, rose gold
                                with black dial with rose gold band;
                            § Audemars Piguet 41mm Royal Oak chronograph watch, rose gold
                                with white dial with rose gold band; and
                            § Richard Mille RM 030 titanium watch, with light blue rubber band.

            Debtor shall execute and deliver to Lender, and to any and all third parties as Lender shall
     require, all such notices, additional security agreements, assignments, pledge agreements, and
     amendments thereof, as and when Lender shall require in order to perfect and maintain Lender's rights
     and security interests under this Note. Debtor hereby irrevocably appoints Lender as the attorney in
     fact for Debtor, with power of substitution which may be exercised by Lender in its discretion, to
     execute and deliver any and all such notices, additional security agreements, assignments, pledge
     agreements, and amendments, if and only if there is an Event of Default. Said power of attorney is
     deemed coupled with an interest and irrevocable. Lender shall have all of the rights and shall be
     entitled to exercise and enforce all remedies and powers of a secured party as provided in the California
     Uniform Commercial Code ("CUCC") and as otherwise provided by law. The security interest herein
     granted shall be in addition to any and all other security interests previously or hereafter granted by
     Debtor to Lender, and is and shall remain perfected, in part, by one or more existing financing
     statements of record in favor of Lender. Each term used in this Note to describe the Collateral, if
     defined in the CUCC, shall have the meaning assigned to such term under the CUCC as the same is
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     amended from time to time.

             Secured Party shall have all of the rights and shall be entitled to exercise and enforce all
     remedies and powers of a secured party as provided in the California Uniform Commercial Code
     (“CUCC") and as otherwise provided by law. The security interest herein granted shall be in addition
     to any and all other security interests previously or hereafter granted by Debtor to Secured Party, and
     is and shall remain perfected, in part, by one or more existing financing statements of record in favor
     of Secured Party. Each term used in this Agreement to describe the Collateral, if defined in the CUCC,
     shall have the meaning assigned to such term under the CUCC as the same is amended from time to
     time.

            3.       Default. The occurrence of any of the following events or conditions shall constitute
     and shall be referred to in this Agreement as an "Event of Default":

                    a.      Breach or default in the payment or performance of any of the Secured
     Obligations, or under any instrument or agreement evidencing or securing the Secured Obligations;

                    b.     Breach or default by Debtor in the performance of any obligations of Debtor
     under this Security Agreement;

                    c.     Any warranty, representation, or statement made or furnished to Secured Party
     by or on behalf of Debtor proves to have been false in any material respect when made or furnished;

                d.      The dissolution, termination of existence, insolvency, business failure, or the
     commencement of any proceeding under any bankruptcy or insolvency law by or against Debtor; and

                     e.       If Debtor shall apply for or consent to the appointment of a receiver, trustee or
     liquidator for any material part of Maker’s property, (ii) admit in writing Maker’s inability to pay its
     debts as they mature, (iii) make a general assignment for the benefit of creditors, (iv) be adjudicated
     bankrupt or insolvent, (v) file a voluntary petition in bankruptcy, or a petition or an answer seeking
     an arrangement with creditors or taking advantage of any bankruptcy, insolvency, readjustment of
     debt, dissolution or liquidation law, or filing an answer admitting the material allegations of a petition
     filed against Maker in any proceeding under any such law, (vi) suffer the appointment of a trustee or
     receiver to take possession of all or any substantial part of Maker’s assets, or (vii) take any action for
     the purpose of effectuating any of the foregoing.

            4.    Rights and Remedies. During the continuance of an Event of Default and if the
     Secured Obligations have been accelerated as a result thereof, Secured Party, without notice or
     demand, may do any one or more of the following, all of which are authorized by Debtor:

                     a.     Assume ownership of the Collateral;

                   b.     Settle or adjust disputes and claims directly with account Debtors for amounts
     and upon terms which Secured Party considers advisable, and in such cases, Secured Party will credit
     the Secured Obligations with only the net amounts received by Secured Party in payment of such
     disputed accounts after deducting all reasonable costs and expenses incurred or expended in
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     connection therewith including, without limitation, all reasonable attorneys' fees and related legal
     expenses;

                      c.      Without notice to or demand upon Debtor or any other obligor, make such
     payments and do such acts as Secured Party considers necessary or reasonable to protect its security
     interests in the Collateral. Debtor agrees to assemble the Collateral if Secured Party so requires, and
     to make the Collateral available to Secured Party as Secured Party may designate. Debtor authorities
     Secured Party to enter the premises where the Collateral is located, to take and maintain possession of
     the Collateral, or any part of it, and to pay, purchase, contest, or compromise any encumbrance, charge,
     security interest, or lien that in Secured Party's determination appears to conflict with its security
     interests and to pay all expenses incurred in connection therewith. With respect to any of Debtor's
     owned or leased premises, Debtor hereby grants Secured Party a license to enter into possession of
     such premises and to occupy the same, without charge, for up to 120 days in order to exercise any of
     Secured Party's rights or remedies provided herein, at law, in equity, or otherwise;

                      d.     Without notice to Debtor (such notice being expressly waived), and without
     constituting a retention of any collateral in satisfaction of an obligation (within the meaning of Section
     9620 of the CUCC), set off and apply to the Secured Obligations any and all indebtedness at any time
     owing to or for the credit or the account of Debtor held by Secured Party;

                     e.      Secured Party is hereby granted a license or other right to use, without charge,
     Debtor's copyrights, rights of use of any name, trade secrets, trade names, trademarks, service marks,
     and advertising matter, or any property of a similar nature, as it pertains to the Collateral; and Debtor's
     rights under all licenses and all franchise agreements shall inure to Secured Party's benefit;

                     f.      Sell, lease, license or otherwise dispose of the Collateral, including at either a
     public or private sale, or both, by way of one or more contracts or transactions, for cash or on terms,
     in such manner and at such places (including Debtor's premises) as Secured Party determines is
     commercially reasonable, and Debtor agrees that neither the Collateral nor evidence thereof need be
     present at the location of such sale or other disposition;

                      g.      Secured Party shall give notice of the sale or other disposition of the Collateral
      as follows:
                             (i) Secured Party shall give Debtor and each holder of a security interest in
      the Collateral who has filed with Secured Party a written request for notice, a notice in writing of the
      time and place of public sale or other disposition, or, if the sale or other disposition is a private sale
      or disposition other than a public sale or disposition, then the time after which such private sale or
      other disposition is to be made;

                             (ii) The notice shall be personally delivered or mailed, postage prepaid, to
     Debtor as provided in the Agreement, at least ten (10) days before the date fixed for any public sale
     or other disposition of the Collateral, or at least ten (10) days before the date on or after which the
     private sale or other disposition is to be made; no notice needs to be given prior to the disposition of
     any portion of the Collateral that threatens to decline speedily in value or that is of a type customarily
     sold on a recognized market. Notice to persons other than Debtor claiming an interest in the Collateral
     shall be sent to such addresses as they have furnished to Secured Party;
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                              (iii) If the sale is to be a public sale, Secured Party also shall give notice of the
     time and place in any manner determined by Secured Party to be commercially reasonable, and In
     any event at least ten (10) days before the date of the sale;

                    h.        Secured Party may credit bid and purchase at any public sale or other
     disposition; and

                     i.      Any credit extended by Secured Party to any person acquiring title or
     possession of the Collateral upon any sale, lease, license or other disposition thereof shall not be
     credited to the Debtor.

              Upon the exercise by Secured Party of any power, right, privilege, or remedy pursuant to this
      Agreement which requires any consent, approval, registration, qualification, or authorization of any
      governmental authority, Debtor agrees to execute and deliver, or will cause the execution and delivery
      of, all applications, certificates, instruments, assignments, and other documents and papers that
      Secured Party or any purchaser of the Collateral may be required to obtain for such governmental
      consent, approval, registration, qualification, or authorization.

            Debtor hereby irrevocably stipulates and agrees that Secured Party has the right under this
     Agreement, upon the occurrence of an Event of Default, to seek the appointment of a receiver, trustee,
     or similar official over Debtor to effect the transactions contemplated by this Agreement. Debtor
     hereby irrevocably agrees not to object to such appointment on any grounds.

             The rights and remedies of Secured Party under this Agreement and all other agreements
     contemplated hereby and thereby shall be cumulative. Secured Party shall have all other rights and
     remedies not inconsistent herewith as provided under the CUCC, by law, or in equity. No exercise by
     Secured Party of any one right or remedy shall be deemed an election of remedies, and no waiver by
     Secured Party of any Event of Default shall be deemed a continuing waiver of any other or further
     Event of Default. No delay by Secured Party shall constitute a waiver, election or acquiescence with
     respect to any right or remedy.

              5.      Waivers. In consideration of the Note, Debtor agrees as follows:

                      a.      At any time and in any manner, upon such terms and at such times as it
      considers best and with or without notice to Debtor, the Secured Party may alter, compromise,
      accelerate, extend, or change the time or manner for payment of the Secured Obligations, increase or
      reduce the rate of interest thereon, release or add any one or more obligors, Debtors, pledgors, or
      endorsers of the Secured Obligations, accept additional or substituted security therefor, or release or
      subordinate any security therefor, without in any way affecting the security interest created by the
      Security Agreements, or any covenant of Debtor.

                      b.      Debtor waives any right to require the Secured Party to proceed against any
      other person, firm or corporation at any time or to pursue any other remedy in its power, and Debtor
      agrees that the Secured Party shall not be obligated to resort to any other security with any priority, in
      any particular order, or at all, even if such action, or lack thereof, destroys, alters or otherwise impairs
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      subrogation rights of Debtor to proceed against any other person, firm or corporation for
      reimbursement, or both.

                   c.            Debtor waives and agrees not to assert or take advantage of:

                          (i)       The defense of any statute of limitations in any action hereunder or for
      the collection or performance of any Secured Obligations;

                          (ii)        Any defense that may arise by reason of the incapacity, lack of
      authority, death or disability of any other person, or the failure of the Secured Party to file or enforce
      a claim against the estate (whether in administration, bankruptcy or other proceedings) of any other
      person;

                          (iii)      Any defense or right based upon election of remedies by the Secured
      Party, including. without limitation, an election to proceed by nonjudicial rather than judicial
      foreclosure, even if such election destroys, alters or otherwise impairs subrogation rights of Debtor
      or the right of Debtor to proceed against any other person for reimbursement, or both;

                         (iv)        Any defense or right based upon the acceptance by Secured Party or an
     affiliate of Secured Party of a transfer in lieu of foreclosure, without extinguishing the debt, even if
     such acceptance destroys, alters or otherwise impairs subrogation rights of Debtor or the right of
     Debtor to proceed against any other person for reimbursement, or both; and

                          (v)      Any defense that may arise by reason of any other defense any co-
     maker, endorser, or pledgor, or by reason of the cessation from any cause whatsoever of the liability
     of any successors of any endorser, co-maker or pledger.

                     d.      Debtor, by execution hereof, represent& to the Secured Party that the
     relationship between Debtor and any endorser, co-maker, pledger, or other person is such that Debtor
     has access to all relevant facts and information concerning the Secured Obligations, and that Secured
     Party can rely upon Debtor having such access. Debtor waives and agrees not to assert any duty on
     the part of the Secured Party to disclose to Debtor any facts that the Secured Party may now or
     hereafter know about any endorser. co-maker, pledgor, or other person regardless of whether the
     Secured Party has reason to believe that any such facts materially increase the risk beyond that which
     Debtor intends to assume or has reason to believe that such facts are unknown to Debtor or has a
     reasonable opportunity to communicate such facts to Debtor. Debtor is fully responsible for being and
     keeping informed of the financial condition and operations of any endorser, co-maker, pledgor, or
     other person and all circumstances bearing on the risk of nonpayment of any Secured Obligations.

                     e.      Debtor waives demand, protest and notice of any kind, including, without
      limiting the generality of the foregoing, notice of the existence, creation or incurring of new or
      additional Secured Obligations or of any action or non-action on the part of any endorser, co-maker,
      pledger, or other person, the Secured Party, any endorser, any creditor of any endorser, co-maker,
      pledgor, or other person under the Security Agreements or any other instrument or any other person
      whosoever, in connection with any Secured Obligations held by the Secured Party as collateral or in
      connection with any Secured Obligations.
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                     f.      Debtor waives all rights and defenses arising out of an election of remedies by
      the Secured Party, even though that election of remedies, such as a nonjudicial foreclosure with respect
      to security for a guaranteed obligation, has destroyed Debtor's rights of subrogation and
      reimbursement against any endorser, co- maker, pledgor, or other person, or any other obligor, by
      operation of any applicable law or otherwise. Without limiting the foregoing waivers. in accordance
      with Section 2856 of the California Civil Code, Debtor waives any and all rights and defenses
      available to Debtor by reason of Sections 2787 lo 2855, inclusive, 2899 and 3433 of the California
      Civil Code.

             6.     No Waiver by Secured Party. Secured Party's acceptance of partial or delinquent
     payment, or the failure of Secured Party to exercise any right or remedy will not be a waiver of any
     of the Secured Obligations or any right of Secured Party, will not be a modification of this Agreement
     or any of Debtor's obligations under this Agreement. and will not constitute a waiver of any other
     Event of Default that occurs later.

             7.      Attorneys' Fees. If any litigation is begun between the parties to this Agreement
     concerning the Collateral, this Agreement, or the rights and duties of either party in relation to them,
     the prevailing party will be entitled to a reasonable sum as reimbursement for its attorneys' fees and
     legal expenses.

               8.      Notices. Except as otherwise expressly provided in this Agreement or by law, any
     notice or other communication required or permitted by this Agreement or by law to be served on,
     given to, or delivered to either party to this Agreement by the other party will be in writing and will
     be considered served, given, delivered, and received when personally delivered to the party to whom
     it is directed or, in lieu of personal delivery, when it is deposited in the United States mail, first-class
     postage prepaid, or delivered by overnight courier, addressed to Debtor at 1101 California Street,
     Redlands, California 92374 and to Secured Party at 23 Corporate Plaza Drive 150 Newport Beach,
     CA 92660. Either party, Debtor or Secured Party, may change its address for the purpose of this
     paragraph by giving written notice of the change to the other party in the manner provided in this
     paragraph.

              9.     Time of Essence. Time is expressly declared to be of the essence of this Agreement.

             10.    Governing Law. This Agreement has been entered into in the State of California and
     will be construed in accordance with the CUCC and all other internal laws of the State of California,
     without application of conflicts of laws principles.

              11.     Arbitration. Any dispute, claim or controversy of any kind, whether in contract or in
     tort, legal or equitable, now existing or hereafter arising, relating to or in any way arising out of this or
     any related agreements, or any past, present, or future loans, services, agreements, relationships,
     incidents or injuries of any kind whatsoever relating to or involving Debtor, shall be resolved by
     binding arbitration before ADR Services, Inc. (hereinafter "ADR") in accordance with its Commercial
     Arbitration Rules. Judgment on the award rendered by the arbitrator(s) may be entered in any court
     having jurisdiction. Any party who fails to submit to binding arbitration following a lawful demand to
     do so shall bear all costs and expenses incurred by the demanding party in compelling arbitration of
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     the dispute. To the maximum extent practicable, ADR, the arbitrator(s), and the parties shall act to
     assure that any arbitration proceeding shall be concluded within 180 days of the filing of the dispute
     with ADR. The hearing on the matter to be arbitrated shall take place in Los Angeles. California. The
     prevailing party shall recover the costs of the arbitration, including, but not limited to, filing,
     administrative, and arbitrator(s) fees.

             12.      Validity and Construction. If one or more of the provisions contained in this
     Agreement for any reason is held invalid, illegal, or unenforceable, the invalidity, illegality, or
     unenforceability of that provision will not affect any other provision of this Agreement; and this
     Agreement will be construed as if the invalid, illegal, or unenforceable provision had never been
     contained in it.

              13.    Integration. This Agreement, including the other documents referred to herein which
     form a part hereof, contains the entire understanding of the parties hereto with respect to the security
     interest granted by Debtor to Secured Party for the Secured Obligations. There are no restrictions,
     promises, warranties, covenants, or undertakings, other than those expressly provided for herein. This
     Agreement supersedes all prior agreements and undertakings between the parties with respect to such
     subject matter. No waiver and no modification or amendment of any provision of this Agreement shall
     be effective unless specifically made in writing and duly signed by the party to be bound thereby.

             14.     Effect on Heirs and Assigns. This Agreement and each of its provisions will be binding
     on and inure to the benefit of the heirs, executors, administrators, legal representatives, successors, and
     assigns of each of the parties to this Agreement.

             15.     Execution and Delivery of Agreement. This Agreement may be executed and
     delivered by facsimile transmission and in any number of counterparts, each of which, when executed
     and delivered, shall be original, an all of them together shall constitute the same Agreement. Delivery
     of this Agreement shall be deemed effective if made to Secured Party. Each Party who delivers a
     counterpart of this Agreement to Secured Party shall deliver the original signed counterpart to Secured
     Party within five (5) days following delivery by facsimile, but any failure by any such Party to deliver
     the original signed counterpart shall not render execution and delivery by facsimile invalid or
     ineffective.



      IN WITNESS WHEREOF, this Note has been executed by Debtor hereto on the day and year first
      above written.

                             THIS AGREEMENT MAY BE EXECUTED IN COUNTERPARTS.



                                          [Signatures on pages to follow]
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                            SIGNATURE PAGE TO SECURITY AGREEMENT



         DEBTOR:


        By: _______________________

        Name:
        Date: January ___, 2022




        SECURED PARTY: KING FAMILY LENDING LLC


        By: _______________________
        Name: Sara J. King
        Title: Manager
        Date: January ___, 2022
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                                    #:380



                                    PERSONAL GUARANTEE

THIS GUARANTEE date this
By:
To: Luxury Asset Lending, LLC, of 23 Corporate Drive, Newport Beach, California 92660 (the
“Lender”)
Re:                         (the “Debtor”)

    IN CONSIDERATION OF Lender extending a loan of
               to the Debtor plus other valuable consideration, the receipt and sufficiency of which is
hereby acknowledged, the Guarantor personally guarantees the prompt, full and complete performance
of any and all present and future duties, obligations and indebtedness (the “Debt”) due to the Lender
by the Debtor, under the terms of the Secured Promissory Note and Security Agreement dated June
20, 2019, signed by the Debtor (the “Agreement”) and under the following terms and conditions:

1. The Guarantor guarantees that Debtor will promptly pay the full amount of principal and interest of
   the Debt as and when the same will, in any manner, be or become due, either according to the
   terms and conditions provided by the Agreement or upon acceleration of the payment under the
   Agreement by reason of a default;

2. The Guarantor agrees not to pledge, hypothecate, mortgage, sell or otherwise transfer all or
   substantially all of Guarantor’s assets without the prior written consent of the Lender;

3. To the extent permitted by law, the Guarantor waives all defenses, counterclaims or offsets that are
   legally available to the Guarantor with respect to the payment of the Debt of Debtor; and

4. The Guarantor does hereby authorize and empower any attorney of any court of record of the state
   of California or elsewhere to appear for and to enter judgment against us, or any of us, in favor of
   Luxury Asset Lending, LLC, for any sums due under the Agreement plus interest with costs of suit,
   release of errors, without stay of execution, and reasonable attorney's fees, and the Guarantor
   hereby waives and releases all benefit and relief from any and all appraisement, stay or exemption
   laws of any state now in force or hereafter to be passed.



     IN WITNESS WHEREOF, this personal guaranty is entered into this day o

         _________________________________                          ____________________
            Signature                                                  Date




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 1   King Reuben, PC
     220 Newport Center Drive
 2   Suite 240
     Newport Beach, CA 92660
 3   sking@kinglawapc.com

 4

 5

 6

 7
                                      Superior Court of the State of California
 8
                                             For the County of Orange
 9

10
     In re the matter of the Confession of Judgment by )   Case No.
11                                                     )
                                                       )   VERIFIED STATEMENT OF DEFENDANT
12   Defendant,                                        )   CONFESSING JUDGMENT
                                                       )
13   In Favor of                                       )
                                                       )
14   King Family Lending LLC,                          )
     Plaintiff.                                        )
15                                                     )
                                                       )
16                                                     )
                                                       )
17                                                     )
                                                       )
18                                                     )
                                                       )
19

20          BLUE F44 LLC, hereby confess judgment in the above-entitled cause in favor of Plaintiff,
21   KING FAMIL LENDING LLC, in the sum of $195,000.00 and authorize entry of judgment against
22
     me for that sum.
23
            This confession of judgment is for a debt justly due or to become due, arising out of the
24

25
     following factual situation: DEFENDANT BORROWED THE SUM OF ONE HUNDRED

26   NINETY FIVE THOUSAND                DOLLARS           ($195,000.00)   FROM   PLAINTIFF       IN

27   THAT CERTAIN NOTE
28


                                                       - 1 -
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                             EXHIBIT “N”
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                                         SECURITY AGREEMENT




          THIS SECURITY AGREEMENT (the "Agreement") is entered into on April 27, 2022 by and
      between                                 AS LENDING PARTNER ("Debtor"), and King Family
      Lending LLC ("Secured Party"), as follows:


               1.     Secured Obligations. Debtor has executed and delivered to Secured Party that certain
      Secured Promissory Note dated as of concurrently with this Agreement (the “Note”) in the principal
      amount of TWO HUNDRED THOUSAND DOLLARS (200,000.00) plus interest and has agreed to
      pay all indebtedness under the Note and all such legal expenses and obligations thereunder and any
      past, present, or future liabilities of Debtor to Secured Party, regardless of how acquired by Secured
      Party (hereinafter sometimes referred to collectively as the "Secured Obligations") after a period of 90
      days. Debtor has derived and will continue to derive a material financial benefit from the Note and, in
      order to induce Secured Party to agree to the terms of the Note, Debtor has agreed to execute and deliver
      this Agreement to and for the benefit of Secured Party.

              2.       Security Interest. To secure the full and timely payment and performance of the
      Secured Obligations, Debtor hereby grants to Secured Party a first priority security interest in and lien
      upon all of the following property of Debtor, wherever located (collectively, the “Collateral”). Debtor
      hereby understands and agrees that the Collateral shall be held by Secured Party until the earlier of: a)
      the term of the Note; or b) Debtor has paid to Secured Part all monies owed under the Note.

                    a. (1) 2021 LAMBORGHINI AVENTADOR SVJ, GRAY COLOR.


           Debtor shall execute and deliver to Lender, and to any and all third parties as Lender shall
    require, all such notices, additional security agreements, assignments, pledge agreements, and
    amendments thereof, as and when Lender shall require in order to perfect and maintain Lender's rights
    and security interests under this Note. Debtor hereby irrevocably appoints Lender as the attorney in
    fact for Debtor, with power of substitution which may be exercised by Lender in its discretion, to
    execute and deliver any and all such notices, additional security agreements, assignments, pledge
    agreements, and amendments, if and only if there is an Event of Default. Said power of attorney is
    deemed coupled with an interest and irrevocable. Lender shall have all of the rights and shall be
    entitled to exercise and enforce all remedies and powers of a secured party as provided in the California
    Uniform Commercial Code ("CUCC") and as otherwise provided by law. The security interest herein
    granted shall be in addition to any and all other security interests previously or hereafter granted by
    Debtor to Lender, and is and shall remain perfected, in part, by one or more existing financing
    statements of record in favor of Lender. Each term used in this Note to describe the Collateral, if
    defined in the CUCC, shall have the meaning assigned to such term under the CUCC as the same is
    amended from time to time.

           Secured Party shall have all of the rights and shall be entitled to exercise and enforce all
    remedies and powers of a secured party as provided in the California Uniform Commercial Code
    (“CUCC") and as otherwise provided by law. The security interest herein granted shall be in addition
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    to any and all other security interests previously or hereafter granted by Debtor to Secured Party, and
    is and shall remain perfected, in part, by one or more existing financing statements of record in favor
    of Secured Party. Each term used in this Agreement to describe the Collateral, if defined in the CUCC,
    shall have the meaning assigned to such term under the CUCC as the same is amended from time to
    time.

           3.       Default. The occurrence of any of the following events or conditions shall constitute
    and shall be referred to in this Agreement as an "Event of Default":

              a. Breach or default in the payment or performance of any of the Secured Obligations, or
              under any instrument or agreement evidencing or securing the Secured Obligations;

              b. Breach or default by Debtor in the performance of any obligations of Debtor under this
              Security Agreement;

              c. Any warranty, representation, or statement made or furnished to Secured Party by or on
              behalf of Debtor proves to have been false in any material respect when made or furnished;

              d. The dissolution, termination of existence, insolvency, business failure, or the
              commencement of any proceeding under any bankruptcy or insolvency law by or against
              Debtor; and

              e. If Debtor shall apply for or consent to the appointment of a receiver, trustee or liquidator
              for any material part of Maker’s property, (ii) admit in writing Maker’s inability to pay its
              debts as they mature, (iii) make a general assignment for the benefit of creditors, (iv) be
              adjudicated bankrupt or insolvent, (v) file a voluntary petition in bankruptcy, or a petition or
              an answer seeking an arrangement with creditors or taking advantage of any bankruptcy,
              insolvency, readjustment of debt, dissolution or liquidation law, or filing an answer admitting
              the material allegations of a petition filed against Maker in any proceeding under any such
              law, (vi) suffer the appointment of a trustee or receiver to take possession of all or any
              substantial part of Maker’s assets, or (vii) take any action for the purpose of effectuating any
              of the foregoing.

            4.    Rights and Remedies. During the continuance of an Event of Default and if the
     Secured Obligations have been accelerated as a result thereof, Secured Party, without notice or
     demand, may do any one or more of the following, all of which are authorized by Debtor:

              a. Assume ownership of the Collateral;

              b. Settle or adjust disputes and claims directly with account Debtors for amounts and upon
              terms which Secured Party considers advisable, and in such cases, Secured Party will credit
              the Secured Obligations with only the net amounts received by Secured Party in payment of
              such disputed accounts after deducting all reasonable costs and expenses incurred or expended
              in connection therewith including, without limitation, all reasonable attorneys' fees and related
              legal expenses;

              c. Without notice to or demand upon Debtor or any other obligor, make such payments and
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              do such acts as Secured Party considers necessary or reasonable to protect its security interests
              in the Collateral. Debtor agrees to assemble the Collateral if Secured Party so requires, and to
              make the Collateral available to Secured Party as Secured Party may designate. Debtor
              authorities Secured Party to enter the premises where the Collateral is located, to take and
              maintain possession of the Collateral, or any part of it, and to pay, purchase, contest, or
              compromise any encumbrance, charge, security interest, or lien that in Secured Party's
              determination appears to conflict with its security interests and to pay all expenses incurred in
              connection therewith. With respect to any of Debtor's owned or leased premises, Debtor
              hereby grants Secured Party a license to enter into possession of such premises and to occupy
              the same, without charge, for up to 120 days in order to exercise any of Secured Party's rights
              or remedies provided herein, at law, in equity, or otherwise;

              d. Without notice to Debtor (such notice being expressly waived), and without constituting
              a retention of any collateral in satisfaction of an obligation (within the meaning of Section
              9620 of the CUCC), set off and apply to the Secured Obligations any and all indebtedness at
              any time owing to or for the credit or the account of Debtor held by Secured Party;

              e. Secured Party is hereby granted a license or other right to use, without charge, Debtor's
              copyrights, rights of use of any name, trade secrets, trade names, trademarks, service marks,
              and advertising matter, or any property of a similar nature, as it pertains to the Collateral; and
              Debtor's rights under all licenses and all franchise agreements shall inure to Secured Party's
              benefit;

              f. Sell, lease, license or otherwise dispose of the Collateral, including at either a public or
              private sale, or both, by way of one or more contracts or transactions, for cash or on terms, in
              such manner and at such places (including Debtor's premises) as Secured Party determines is
              commercially reasonable, and Debtor agrees that neither the Collateral nor evidence thereof
              need be present at the location of such sale or other disposition;

              g. Secured Party shall give notice of the sale or other disposition of the Collateral as follows:
              (i) Secured Party shall give Debtor and each holder of a security interest in the Collateral who
              has filed with Secured Party a written request for notice, a notice in writing of the time and
              place of public sale or other disposition, or, if the sale or other disposition is a private sale or
              disposition other than a public sale or disposition, then the time after which such private sale
              or other disposition is to be made; (ii) The notice shall be personally delivered or mailed,
              postage prepaid, to Debtor as provided in the Agreement, at least ten (10) days before the date
              fixed for any public sale or other disposition of the Collateral, or at least ten (10) days before
              the date on or after which the private sale or other disposition is to be made; no notice needs
              to be given prior to the disposition of any portion of the Collateral that threatens to decline
              speedily in value or that is of a type customarily sold on a recognized market. Notice to persons
              other than Debtor claiming an interest in the Collateral shall be sent to such addresses as they
              have furnished to Secured Party; (iii) If the sale is to be a public sale, Secured Party also shall
              give notice of the time and place in any manner determined by Secured Party to be
              commercially reasonable, and in any event at least ten (10) days before the date of the sale;

              h. Secured Party may credit bid and purchase at any public sale or other disposition; and
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              i. Any credit extended by Secured Party to any person acquiring title or possession of the
              Collateral upon any sale, lease, license or other disposition thereof shall not be credited to the
              Debtor.

             Upon the exercise by Secured Party of any power, right, privilege, or remedy pursuant to this
     Agreement which requires any consent, approval, registration, qualification, or authorization of any
     governmental authority, Debtor agrees to execute and deliver, or will cause the execution and delivery
     of, all applications, certificates, instruments, assignments, and other documents and papers that
     Secured Party or any purchaser of the Collateral may be required to obtain for such governmental
     consent, approval, registration, qualification, or authorization.

            Debtor hereby irrevocably stipulates and agrees that Secured Party has the right under this
     Agreement, upon the occurrence of an Event of Default, to seek the appointment of a receiver, trustee,
     or similar official over Debtor to effect the transactions contemplated by this Agreement. Debtor
     hereby irrevocably agrees not to object to such appointment on any grounds.

             The rights and remedies of Secured Party under this Agreement and all other agreements
     contemplated hereby and thereby shall be cumulative. Secured Party shall have all other rights and
     remedies not inconsistent herewith as provided under the CUCC, by law, or in equity. No exercise by
     Secured Party of any one right or remedy shall be deemed an election of remedies, and no waiver by
     Secured Party of any Event of Default shall be deemed a continuing waiver of any other or further
     Event of Default. No delay by Secured Party shall constitute a waiver, election or acquiescence with
     respect to any right or remedy.

              5.       Waivers. In consideration of the Note, Debtor agrees as follows:

              a. At any time and in any manner, upon such terms and at such times as it considers best and
              with or without notice to Debtor, the Secured Party may alter, compromise, accelerate, extend,
              or change the time or manner for payment of the Secured Obligations, increase or reduce the
              rate of interest thereon, release or add any one or more obligors, Debtors, pledgors, or endorsers
              of the Secured Obligations, accept additional or substituted security therefor, or release or
              subordinate any security therefor, without in any way affecting the security interest created by
              the Security Agreements, or any covenant of Debtor.

              b. Debtor waives any right to require the Secured Party to proceed against any other person,
              firm or corporation at any time or to pursue any other remedy in its power, and Debtor agrees
              that the Secured Party shall not be obligated to resort to any other security with any priority,
              in any particular order, or at all, even if such action, or lack thereof, destroys, alters or otherwise
              impairs subrogation rights of Debtor to proceed against any other person, firm or corporation
              for reimbursement, or both.

              c. Debtor waives and agrees not to assert or take advantage of: (i) The defense of any statute
              of limitations in any action hereunder or for the collection or performance of any Secured
              Obligations; (ii) Any defense that may arise by reason of the incapacity, lack of authority, death
              or disability of any other person, or the failure of the Secured Party to file or enforce a claim
              against the estate (whether in administration, bankruptcy or other proceedings) of any other
              person; (iii) Any defense or right based upon election of remedies by the Secured Party,
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              including. without limitation, an election to proceed by nonjudicial rather than judicial
              foreclosure, even if such election destroys, alters or otherwise impairs subrogation rights of
              Debtor or the right of Debtor to proceed against any other person for reimbursement, or both;
              (iv) Any defense or right based upon the acceptance by Secured Party or an affiliate of Secured
              Party of a transfer in lieu of foreclosure, without extinguishing the debt, even if such
              acceptance destroys, alters or otherwise impairs subrogation rights of Debtor or the right of
              Debtor to proceed against any other person for reimbursement, or both; and (v) Any defense
              that may arise by reason of any other defense any co-maker, endorser, or pledgor, or by reason
              of the cessation from any cause whatsoever of the liability of any successors of any endorser,
              co-maker or pledger.

              d. Debtor, by execution hereof, represent& to the Secured Party that the relationship between
              Debtor and any endorser, co-maker, pledger, or other person is such that Debtor has access to
              all relevant facts and information concerning the Secured Obligations, and that Secured Party
              can rely upon Debtor having such access. Debtor waives and agrees not to assert any duty on
              the part of the Secured Party to disclose to Debtor any facts that the Secured Party may now
              or hereafter know about any endorser. co-maker, pledgor, or other person regardless of
              whether the Secured Party has reason to believe that any such facts materially increase the risk
              beyond that which Debtor intends to assume or has reason to believe that such facts are
              unknown to Debtor or has a reasonable opportunity to communicate such facts to Debtor.
              Debtor is fully responsible for being and keeping informed of the financial condition and
              operations of any endorser, co-maker, pledgor, or other person and all circumstances bearing
              on the risk of nonpayment of any Secured Obligations.

              e. Debtor waives demand, protest and notice of any kind, including, without limiting the
              generality of the foregoing, notice of the existence, creation or incurring of new or additional
              Secured Obligations or of any action or non-action on the part of any endorser, co-maker,
              pledger, or other person, the Secured Party, any endorser, any creditor of any endorser, co-
              maker, pledgor, or other person under the Security Agreements or any other instrument or any
              other person whosoever, in connection with any Secured Obligations held by the Secured Party
              as collateral or in connection with any Secured Obligations.

              f. Debtor waives all rights and defenses arising out of an election of remedies by the Secured
              Party, even though that election of remedies, such as a nonjudicial foreclosure with respect to
              security for a guaranteed obligation, has destroyed Debtor's rights of subrogation and
              reimbursement against any endorser, co- maker, pledgor, or other person, or any other obligor,
              by operation of any applicable law or otherwise. Without limiting the foregoing waivers. in
              accordance with Section 2856 of the California Civil Code, Debtor waives any and all rights
              and defenses available to Debtor by reason of Sections 2787 to 2855, inclusive, 2899 and 3433
              of the California Civil Code.

             6.     No Waiver by Secured Party. Secured Party's acceptance of partial or delinquent
     payment, or the failure of Secured Party to exercise any right or remedy will not be a waiver of any
     of the Secured Obligations or any right of Secured Party, will not be a modification of this Agreement
     or any of Debtor's obligations under this Agreement. and will not constitute a waiver of any other
     Event of Default that occurs later.
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             7.      Attorneys' Fees. If any litigation is begun between the parties to this Agreement
     concerning the Collateral, this Agreement, or the rights and duties of either party in relation to them,
     the prevailing party will be entitled to a reasonable sum as reimbursement for its attorneys' fees and
     legal expenses.

               8.      Notices. Except as otherwise expressly provided in this Agreement or by law, any
     notice or other communication required or permitted by this Agreement or by law to be served on,
     given to, or delivered to either party to this Agreement by the other party will be in writing and will
     be considered served, given, delivered, and received when personally delivered to the party to whom
     it is directed or, in lieu of personal delivery, when it is deposited in the United States mail, first-class
     postage prepaid, or delivered by overnight courier, addressed to Debtor at the address above and to
     Secured Party at 23 Corporate Plaza Drive 150 Newport Beach, CA 92660. Either party, Debtor or
     Secured Party, may change its address for the purpose of this paragraph by giving written notice of
     the change to the other party in the manner provided in this paragraph.

              9.     Time of Essence. Time is expressly declared to be of the essence of this Agreement.

             10.    Governing Law. This Agreement has been entered into in the State of California and
     will be construed in accordance with the CUCC and all other internal laws of the State of California,
     without application of conflicts of laws principles.

              11.     Arbitration. Any dispute, claim or controversy of any kind, whether in contract or in
     tort, legal or equitable, now existing or hereafter arising, relating to or in any way arising out of this or
     any related agreements, or any past, present, or future loans, services, agreements, relationships,
     incidents or injuries of any kind whatsoever relating to or involving Debtor, shall be resolved by
     binding arbitration before ADR Services, Inc. (hereinafter "ADR") in accordance with its Commercial
     Arbitration Rules. Judgment on the award rendered by the arbitrator(s) may be entered in any court
     having jurisdiction. Any party who fails to submit to binding arbitration following a lawful demand to
     do so shall bear all costs and expenses incurred by the demanding party in compelling arbitration of
     the dispute. To the maximum extent practicable, ADR, the arbitrator(s), and the parties shall act to
     assure that any arbitration proceeding shall be concluded within 180 days of the filing of the dispute
     with ADR. The hearing on the matter to be arbitrated shall take place in Los Angeles. California. The
     prevailing party shall recover the costs of the arbitration, including, but not limited to, filing,
     administrative, and arbitrator(s) fees.

            12.      Validity and Construction. If one or more of the provisions contained in this
    Agreement for any reason is held invalid, illegal, or unenforceable, the invalidity, illegality, or
    unenforceability of that provision will not affect any other provision of this Agreement; and this
    Agreement will be construed as if the invalid, illegal, or unenforceable provision had never been
    contained in it.

             13.    Integration. This Agreement, including the other documents referred to herein which
    form a part hereof, contains the entire understanding of the parties hereto with respect to the security
    interest granted by Debtor to Secured Party for the Secured Obligations. There are no restrictions,
    promises, warranties, covenants, or undertakings, other than those expressly provided for herein. This
    Agreement supersedes all prior agreements and undertakings between the parties with respect to such
    subject matter. No waiver and no modification or amendment of any provision of this Agreement shall
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    be effective unless specifically made in writing and duly signed by the party to be bound thereby.

            14.     Effect on Heirs and Assigns. This Agreement and each of its provisions will be binding
    on and inure to the benefit of the heirs, executors, administrators, legal representatives, successors, and
    assigns of each of the parties to this Agreement.

            15.     Execution and Delivery of Agreement. This Agreement may be executed and
    delivered by facsimile transmission and in any number of counterparts, each of which, when executed
    and delivered, shall be original, an all of them together shall constitute the same Agreement. Delivery
    of this Agreement shall be deemed effective if made to Secured Party. Each Party who delivers a
    counterpart of this Agreement to Secured Party shall deliver the original signed counterpart to Secured
    Party within five (5) days following delivery by facsimile, but any failure by any such Party to deliver
    the original signed counterpart shall not render execution and delivery by facsimile invalid or
    ineffective.



     IN WITNESS WHEREOF, this Note has been executed by Debtor hereto on the day and year first
     above written.

                            THIS AGREEMENT MAY BE EXECUTED IN COUNTERPARTS.



                                         [Signatures on pages to follow]
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                              SIGNATURE PAGE TO SECURITY AGREEMENT



        DEBTOR:




       By: _______________________

       Name:
       Title:
       Date: April 27, 2022




       SECURED PARTY: KING FAMILY LENDING LLC


       By: _______________________
       Name: Sara J. King
       Title: Manager
       Date:




Additional Documents Attached and Included:
Secured Promissory Note
Confession of Judgment
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                                  EXHIBIT A
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                                        SECURED PROMISSORY
                                               NOTE
                                         Orange County, California



   Principal Amount: $ 200,000                                                  Date: April 27, 2022


   FOR VALUE RECEIVED, the receipt and adequacy of which is hereby acknowledged by
                                          AS LENDING PARTNER (hereinafter referred to as
   "Borrower"), promises to pay to the order of KING FAMILY LENDING LLC, a California
   Limited Liability Company (hereinafter referred to as "Lender"), with an address of 110
   Newport Center Drive, Ste. 277, Newport Beach, California 92660, in accordance with this
   Secured Promissory Note (hereinafter referred to as the "Note"), and Security Agreement dated
   concurrently with this Note, attached and incorporated hereto, at such place as the Lender hereof
   may hereafter designate in writing), the principal sum of TWO HUNDRED THOUSAND
   DOLLARS ($200,000.00) (the “Loan Amount”) in immediately available funds and lawful
   money of the United States of America, without right to set-off or counterclaim together with
   Interest, as described below, on or before August 25, 2022, a total loan term of 90 days.


           1.   Maturity Date. The maturity date of this Secured Promissory Note shall mean the
          date which is 90 days after the date of this Note.

            2.   Interest. Interest shall accrue on the principal balance from the date hereof at the
          rate of ONE HUNDRED TWENTY PERCENT (120%) per annum (“Interest”),
          subject to increase upon default as hereinafter provided. Interest accruing hereunder shall
          be payable monthly commencing on the date of this Note and continuing on the first day
          of each consecutive month thereafter, with time being of the essence. Interest accruing
          and payable under this Note shall be computed and applied on the basis of a 365-day year,
          actual days elapsed, with time being of the essence. Interest hat is not received by Lender
          on the date such interest is due shall, at the sole discretion of Lender, be added to the
          Principal balance and shall from that date due bear interest at the rate provided in this
          Note.

                 Late Charges. If any payment provided for in this Note is not paid when due, it
                3.
         would be impracticable or extremely difficult to fix the actual damages resulting to Lender.
         Therefore, if any payment provided for in this Note is not paid when due Borrower agrees
         to pay to Lender a sum equal to TEN PERCENT (10%) of the payment as liquidated
         damages and not as a penalty, to compensate Lender for the expenses of administering the
         default. Only one late charge will be collected for each late payment, regardless of the
         period during which it remains in default.

                4.   Fees. Costs. and Expenses. Lender has waived all commitment/origination fees,
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         costs, and expenses, including without limitation attorneys, administrative, insurance fees,
         incurred in connection with the investigation, negotiation, arrangement, and making of
         this Note and related loan documents.

                 Payments. Payments shall be applied first to fees, costs, expenses and sums
                5.
         other than principal and interest due to Lender, then to accrued and unpaid interest
         hereon, and the balance thereof, if any, to the outstanding principal balance hereof. The
         amounts borrowed may be prepaid at any time provided written notice of prepayment is
         received by Lender concurrently therewith.

                6.Maximum Legal Rate- No Usury. Notwithstanding any provision to the contrary
         contained in this Note, it is expressly provided that in no case or event shall the aggregate
         of: a) all interest on the unpaid balance of this Note, accrued or paid from the date hereof
         and b) the aggregate of any other amounts accrued or paid pursuant to this Note, which
         under applicable laws are or may be deemed to constitute interest upon the indebtedness
         evidenced by this Note from the date hereof, ever exceed the maximum nonusurous rate of
         interest permitted on the execution date hereof by whichever of applicable California or
         United States laws permit the higher maximum nonusurous interest rate (“highest lawful
         rate”). In this connection, it is expressly understood and agreed that it is the intent of the
         Borrower and the Lender to contract in strict compliance with the applicable usury laws of
         the State of California and of the United States, whichever from time to time permit the
         higher rate of interest. In furtherance thereof, none of the terms of this Note shall ever be
         construed to create a contract to pay, as consideration for the use, forbearance or detention
         of money, interest at a rate in excess of the highest lawful rate. The Borrower or other
         parties now or hereafter becoming liable for payment of the indebtedness evidenced by
         this Note shall never be liable for Interest in excess of the highest lawful rate. I f, for any
         reason whatever, the interest paid or received on this Note during its full term produces a
         rate which exceeds the highest lawful rate, the Lender of this Note shall refund to the
         payor or at the Lender's option, credit against the principal of this Note such portion of
         said interest as shall be necessary to cause the interest paid on this Note to produce a rate
         equal to the highest lawful rate.

                Default/Acceleration. Borrower shall be in default under this Note upon the
                7.
         occurrence of any of the following events, which shall be referred to in this Note as an
         “Event of Default”:

                     (a)    There is a failure to make any payment when due under this Note.
                     (b)    Borrower fails to perform any covenant or observe any condition
                            contained in this Note or Borrower's breach of any covenant, term or
                            condition of this Note.
                     (c)    Borrower is subject to or affected by:
                            1.     the appointment of a receiver, liquidator, or trustee;
                            2.     the filing of any voluntary or involuntary petition for

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                                  bankruptcy or reorganization;
                            3.    the inability of any such person to pay his or her debts when
                                  due or the admission in writing by any such person that his or her
                                  debts cannot be paid when due;
                            4.    the dissolution, termination of existence, insolvency or business
                                  failure of any such person;
                           5.      any assignment for the benefit of creditors;
                            6.    the making or suffering of a fraudulent transfer under applicable
                                  federal or state law; or
                           7.     the concealment of any of his or her property in fraud.

                  In an Event of Default by Borrower, the entire principal sum, with accrued interest
          thereon and all other sums due under this Note, shall at the option of Lender, become
          immediately due and payable, and at the option of the Lender, the rate of interest provided
          for under this Note shall, without notice, be increased to an amount TEN PERCENT
          (10%) PER YEAR over and above the rate of interest set forth in Paragraph 1 of this Note
          under the section entitled• interest”. Lender shall be entitled to collect all such amounts
          and to enforce any and all remedies available to it, and Borrower's default shall constitute
          the requisite showing under California Code of Civil Procedure, Section 1281.8, and any
          similar provision in any other jurisdiction, that any award Lender may receive in
          accordance with the terms of this Note may be rendered ineffectual without provisional
          relief.

             8. Guaranty Agreement and Security Agreements. This Note and any past, present,
          or future liabilities of Borrower to Lender, regardless of how acquired by lender, are being
          secured by the execution by a Personal Guaranty Agreement, and execution of a Security
          Agreement, attached hereto and incorporated herein. To secure the payment of this Note,
          this Note and any past, present, or future liabilities of Borrower to Lender, regardless of
          how acquired by Lender, Borrower grants to Lender a first priority security interest in and
          lien upon all of the following property of Borrower, whether now owned or hereafter
          acquired by Borrower, whether now existing or hereafter arising, whether fixed or
          contingent, and wherever located, and all supporting obligations relating to said property,
          and all proceeds thereof (collectively, “Collateral”):

                     (a) As described in the Security Agreement dated herewith.

                     (b) all proceeds (including, without limitation, insurance proceeds), and
                     rights of Borrower to receive payments in respect of and from such interests
                     and related rights, goods, instruments, inventory, investment property, rents,
                     letters of credit, letter-of- credit rights, payment intangibles, money, and all
                     books and records pertaining to the foregoing property and related rights
                     from the above-described property.


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                 Borrower shall execute and deliver to Lender, and to any and all third parties as
          Lender shall require, all such notices, additional security agreements, assignments, pledge
          agreements, and amendments thereof, as and when Lender shall require in order to
          perfect and maintain Lender's rights and security interests under this Note. Borrower
          hereby irrevocably appoints Lender as the attorney in fact for Borrower, with power of
          substitution which may be exercised by Lender in its discretion, to execute and deliver
          any and all such notices, additional security agreements, assignments, pledge agreements,
          and amendments, if and only if there is an Event of Default. Said power of attorney is
          deemed coupled with an interest and irrevocable. Lender shall have all of the rights and
          shall be entitled to exercise and enforce all remedies and powers of a secured party as
          provided in the California Uniform Commercial Code (“CUCC”) and as otherwise
          provided by law. The security interest herein granted shall be in addition to any and all
          other security interests previously or hereafter granted by Borrower to Lender, and is and
          shall remain perfected, in part, by one or more existing financing statements of record in
          favor of Lender. Each term used in this Note to describe the Collateral, if defined in the
          CUCC, shall have the meaning assigned to such term under the CUCC as the same is
          amended from time to time.

            8. Disposition of Collateral on Default. Any collateral given to the Lender at any
         time will be deemed security for the payment of this Note and any other liabilities of the
         Borrower to the Lender. In case of default in payment of this Note or any other notes of
         the Borrower, whether as maker, co- maker, surety, guarantor, or endorser, held by the
         Lender, or in case the collateral declines in value or otherwise becomes unsatisfactory to
         the Lender, the Lender is authorized to dispose of all or any part of the collateral security
         property at public or private sale, without advertisement, or notice to the Borrower, which
         rights are expressly waived. At such a sale, the Lender may purchase any or all of the
         property free of any claim or right of redemption of the Borrower, which rights are
         expressly waived except as provided by law. Neither the sale of the collateral nor the
         application of its proceeds will prejudice any other rights of the Lender against the
         Borrower.
                9.   Lender, Borrower, Use of Loan Proceeds, Successors and Assigns.
         Lender is a licensed California Finance Lender. Borrower warrants and represents that the
         funds being loaned in accordance with the terms of this Note are being used exclusively
         for commercial purposes and none of the funds being loaned in accordance with the terms
         of this Note are being used for personal, family, or household purposes.

         Subject to the prohibition against Borrower's assignment herein, this Note and all the
         covenants and agreements contained herein shall inure to the benefit of Lender and bind
         Borrower and all of their respective successors, estates, heirs, personal representatives and
         assigns. Without limiting the generality of the foregoing, Lender may assign or grant
         participation in any of Lender's rights under this Note in whole or in part to any person,
         without notice and without affecting Borrower's liability hereunder.

            10.      Arbitration. Any dispute, claim or controversy of any kind, whether in contract
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           or in tort, legal or equitable, now existing or hereafter arising, relating to or in any way
           arising out of this Note or any related agreements, or any past, present, or future loans,
           services, agreements, relationships, incidents or injuries of any kind whatsoever relating
           to or involving Borrower, and anyone who signs, guarantees or endorses this Note and
           Lender, shall be resolved by binding arbitration before ADR Services, Inc. (hereinafter
           “ADR”) in accordance with its Commercial Arbitration Rule. Judgment on the award
           rendered by the arbitrator(s) may be entered in any court having jurisdiction. Any party
           who fails to submit to binding arbitration following a lawful demand to do so shall bear
           all costs and expenses incurred by the demanding party in compelling arbitration of the
           dispute. To the maximum extent practicable, ADR, the arbitrator(s), and the parties shall
           act to assure that any arbitration proceeding shall be concluded within 180 days of the
           filing of the dispute with ADR. The hearing on the matter to be arbitrated shall take place
           in Los Angeles, California. The prevailing party shall recover the costs of the arbitration,
           including, but not limited to, filing, administrative, and arbitrator(s) fees.

             11. Costs of Collection. Borrower promises to pay all costs, expenses and attorneys'
           fees incurred by Lender in the exercise of any remedy (with or without litigation), in any
           proceeding for the collection of this Note, or in any litigation or controversy arising from
           or connected with this Note. Such proceedings shall include, without limitation, any
           probate, bankruptcy, receivership, injunction, arbitration, mediation or other proceeding,
           or any appeal from or petition for review of any of the foregoing, in which Lender
           appears to enforce this Note. Borrower shall also pay all of Lender's costs and attorneys'
           fees incurred in connection with any demand, workout, settlement compromise or other
           activity in which Lender engages to collect any portion of this Note not paid when due or
           as a result of any default of Borrower.

             12. Waivers. Borrower and all sureties, guarantors, and endorsers of this Note hereby
           waive notice of intent to accelerate and notice of acceleration, notice of protest and
           notice of dishonor, notice of non-payment, demand. presentment for payment, protest,
           any notices in connection with the delivery, presentment, acceptance, performance,
           default, or enforcement of this Note, diligence in collecting and the filing of suit for the
           purpose of fixing liability and any and all other notices and demands whatsoever, and
           consent to any extensions or postponements of time or other indulgence, including time
           for payment, renewals, releases of liens, waivers, or modifications that may be made by
           Payee to any party to this Note. No extension of time for payment of any amount owing
           on this Note will affect the liability of Borrower or any surety, guarantor, or endorser of
           this Note. No delay by the Lender or holder in exercising any right under this Note will
           operate as a waiver of that right; nor will any single or partial exercise of any right
           preclude other or further exercise of the right, or the exercise of any other right under this
           Note or otherwise as permitted by law.

                  No covenant, condition, right or remedy in this Note may be waived or modified
          orally, by course of conduct or previous acceptance or otherwise unless such waiver or
          modification is specifically agreed to in a writing executed by Lender. Any waiver or
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          modification will be valid only to the extent set forth in the writing. Without limiting the
          foregoing, no previous waiver and no failure or delay by Lender in acting pursuant to the
          terms of this Note shall constitute a waiver of any breach, default or failure of a condition
          under this Note or any obligations contained therein. Borrower further waives exhaustion
          of legal remedies and the right to plead any and all statutes of limitation as a defense to
          any demand on this Note, or to any agreement to pay the same.

             13. Governing Law. This Note shall be governed by and construed in accordance
           with the laws of the State of California. Orange County, California shall be proper place
           of venue for suit hereon. The Borrower and any and all co-makers, endorsers, guarantors
           and sureties irrevocably agree that any legal proceeding in respect of this Note shall be
           brought in the Central District of the Superior Court of Orange County or if applicable
           the United States District Court for the Central District of California.

            14. Records of Payments. The records of the Lender shall, absent manifest error, be
           binding and conclusive evidence of the amounts owing on this Note. The failure of
           Lender to record any payment or expenses shall not limit or otherwise affect the
           obligations of Borrower under this Note.

             15. Partial Invalidity. If any section or provision of this Note is declared invalid or
           unenforceable by a court competent jurisdiction, such section or provision shall be
           enforceable to the fullest extent permitted by law, and such a determination shall not
           affect the validity or enforceability of the remaining terms hereof; by way of example
           and not limitation, if any fee exceeds the maximum such fee permitted by law, such fee
           shall be reduced so as to equal the maximum permitted by law, or if any time period is
           shorter than required by law, such time period shall be deemed increased to the minimum
           time period permitted by law. No such determination in one jurisdiction shall affect any
           provision of this Note to the extent it is otherwise enforceable under the laws of any
           other applicable jurisdiction.

            16. Full Power and Authority. Borrower and each individual executing this Note on
           behalf of any Borrower have the full power and authority to execute and deliver this
           Note, and this Note constitutes the valid and binding obligation of Borrower and is
           enforceable in accordance with its terms.

             17. Captions/Terms. The various captions and headings contained in this Note are
           for reference only and shall not be considered or referred to in resolving questions of
           interpretation of this Note. No provision in this Note is to be interpreted for or against
           any party because that party or that party's legal representative drafted such provision, it
           being recognized that all parties have contributed substantially and materially to the
           preparation of this Note. As used in this Note, the term “including” means “including but
           not limited to” unless otherwise specified; the word “or” means “and/or” the word
           “person” means and refers to any individual, corporation, trust, estate, partnership, joint
           venture, government or governmental authority or other entity and the word "affiliate
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           means and refers to any entity that directly, or indirectly through one or more
           intermediaries, controls, is controlled by, or is under common control with, another
           entity. All pronouns and any validations thereof, shall be deemed to refer to the
           masculine, feminine. neuter singular or plural as the identity of the person, persons,
           entity or entities may require. Whenever in this Note locative adverbs such as "herein and
           "hereunder" are used, the same shall be made in reference to this Note in its entirety and
           not any specific article, section, subsection, subpart, paragraph or subparagraph.

            18. Entire Agreement. This Note and the Security Agreement executed in connection
          herewith embody the entire agreement and understanding between Lender and Borrower
          with respect to this Note and supersede all prior conflicting or inconsistent agreements,
          consents and understandings relating to such subject matter. Borrower acknowledges and
          agrees that there are no oral agreements between the Borrower and the Lender which
          have not been incorporated in this Note. No waiver, modification, change, or amendment
          to any provision of these documents shall be effective unless specifically made in writing
          and signed by both Lender and Borrower.


    BORROWER:


    By:__________________________


    Title
    (if applicable):_________________


    Date: 4-27-22




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                             EXHIBIT “O”
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                                         SECURITY AGREEMENT




           THIS SECURITY AGREEMENT (the "Agreement") is entered into on June 20, 2022 by and
      between REBECCA TAYLOR ("Debtor"), and King Family Lending LLC ("Secured Party"), as
      follows:


              1.     Secured Obligations. Debtor has executed and delivered to Secured Party that certain
      Secured Promissory Note dated as of concurrently with this Agreement (the “Note”) in the principal
      amount of ONE HUNDRED FIFTY THOUSAND DOLLARS ($150,000.00) plus interest and has
      agreed to pay all indebtedness under the Note and all such legal expenses and obligations thereunder
      and any past, present, or future liabilities of Debtor to Secured Party, regardless of how acquired by
      Secured Party (hereinafter sometimes referred to collectively as the "Secured Obligations") after a
      period of 120 days. Debtor has derived and will continue to derive a material financial benefit from the
      Note and, in order to induce Secured Party to agree to the terms of the Note, Debtor has agreed to
      execute and deliver this Agreement to and for the benefit of Secured Party.

              2.       Security Interest. To secure the full and timely payment and performance of the
      Secured Obligations, Debtor hereby grants to Secured Party a first priority security interest in and lien
      upon all of the following property of Debtor, wherever located (collectively, the “Collateral”). Debtor
      hereby understands and agrees that the Collateral shall be held by Secured Party until the earlier of: a)
      the term of the Note; or b) Debtor has paid to Secured Part all monies owed under the Note.

                    a. (1) HERMES BIRKIN HANDBAG SIZE 30, MATTE BLACK
                       ALLIGATOR, PVD HARDWARE 2011;
                    b. (1) PIAGET LIMELIGHT AURA DIAMOND WATCH.

           Debtor shall execute and deliver to Lender, and to any and all third parties as Lender shall
    require, all such notices, additional security agreements, assignments, pledge agreements, and
    amendments thereof, as and when Lender shall require in order to perfect and maintain Lender's rights
    and security interests under this Note. Debtor hereby irrevocably appoints Lender as the attorney in
    fact for Debtor, with power of substitution which may be exercised by Lender in its discretion, to
    execute and deliver any and all such notices, additional security agreements, assignments, pledge
    agreements, and amendments, if and only if there is an Event of Default. Said power of attorney is
    deemed coupled with an interest and irrevocable. Lender shall have all of the rights and shall be
    entitled to exercise and enforce all remedies and powers of a secured party as provided in the California
    Uniform Commercial Code ("CUCC") and as otherwise provided by law. The security interest herein
    granted shall be in addition to any and all other security interests previously or hereafter granted by
    Debtor to Lender, and is and shall remain perfected, in part, by one or more existing financing
    statements of record in favor of Lender. Each term used in this Note to describe the Collateral, if
    defined in the CUCC, shall have the meaning assigned to such term under the CUCC as the same is
    amended from time to time.

           Secured Party shall have all of the rights and shall be entitled to exercise and enforce all
    remedies and powers of a secured party as provided in the California Uniform Commercial Code
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    (“CUCC") and as otherwise provided by law. The security interest herein granted shall be in addition
    to any and all other security interests previously or hereafter granted by Debtor to Secured Party, and
    is and shall remain perfected, in part, by one or more existing financing statements of record in favor
    of Secured Party. Each term used in this Agreement to describe the Collateral, if defined in the CUCC,
    shall have the meaning assigned to such term under the CUCC as the same is amended from time to
    time.

           3.       Default. The occurrence of any of the following events or conditions shall constitute
    and shall be referred to in this Agreement as an "Event of Default":

              a. Breach or default in the payment or performance of any of the Secured Obligations, or
              under any instrument or agreement evidencing or securing the Secured Obligations;

              b. Breach or default by Debtor in the performance of any obligations of Debtor under this
              Security Agreement;

              c. Any warranty, representation, or statement made or furnished to Secured Party by or on
              behalf of Debtor proves to have been false in any material respect when made or furnished;

              d. The dissolution, termination of existence, insolvency, business failure, or the
              commencement of any proceeding under any bankruptcy or insolvency law by or against
              Debtor; and

              e. If Debtor shall apply for or consent to the appointment of a receiver, trustee or liquidator
              for any material part of Maker’s property, (ii) admit in writing Maker’s inability to pay its
              debts as they mature, (iii) make a general assignment for the benefit of creditors, (iv) be
              adjudicated bankrupt or insolvent, (v) file a voluntary petition in bankruptcy, or a petition or
              an answer seeking an arrangement with creditors or taking advantage of any bankruptcy,
              insolvency, readjustment of debt, dissolution or liquidation law, or filing an answer admitting
              the material allegations of a petition filed against Maker in any proceeding under any such
              law, (vi) suffer the appointment of a trustee or receiver to take possession of all or any
              substantial part of Maker’s assets, or (vii) take any action for the purpose of effectuating any
              of the foregoing.

            4.    Rights and Remedies. During the continuance of an Event of Default and if the
     Secured Obligations have been accelerated as a result thereof, Secured Party, without notice or
     demand, may do any one or more of the following, all of which are authorized by Debtor:

              a. Assume ownership of the Collateral;

              b. Settle or adjust disputes and claims directly with account Debtors for amounts and upon
              terms which Secured Party considers advisable, and in such cases, Secured Party will credit
              the Secured Obligations with only the net amounts received by Secured Party in payment of
              such disputed accounts after deducting all reasonable costs and expenses incurred or expended
              in connection therewith including, without limitation, all reasonable attorneys' fees and related
              legal expenses;
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              c. Without notice to or demand upon Debtor or any other obligor, make such payments and
              do such acts as Secured Party considers necessary or reasonable to protect its security interests
              in the Collateral. Debtor agrees to assemble the Collateral if Secured Party so requires, and to
              make the Collateral available to Secured Party as Secured Party may designate. Debtor
              authorities Secured Party to enter the premises where the Collateral is located, to take and
              maintain possession of the Collateral, or any part of it, and to pay, purchase, contest, or
              compromise any encumbrance, charge, security interest, or lien that in Secured Party's
              determination appears to conflict with its security interests and to pay all expenses incurred in
              connection therewith. With respect to any of Debtor's owned or leased premises, Debtor
              hereby grants Secured Party a license to enter into possession of such premises and to occupy
              the same, without charge, for up to 120 days in order to exercise any of Secured Party's rights
              or remedies provided herein, at law, in equity, or otherwise;

              d. Without notice to Debtor (such notice being expressly waived), and without constituting
              a retention of any collateral in satisfaction of an obligation (within the meaning of Section
              9620 of the CUCC), set off and apply to the Secured Obligations any and all indebtedness at
              any time owing to or for the credit or the account of Debtor held by Secured Party;

              e. Secured Party is hereby granted a license or other right to use, without charge, Debtor's
              copyrights, rights of use of any name, trade secrets, trade names, trademarks, service marks,
              and advertising matter, or any property of a similar nature, as it pertains to the Collateral; and
              Debtor's rights under all licenses and all franchise agreements shall inure to Secured Party's
              benefit;

              f. Sell, lease, license or otherwise dispose of the Collateral, including at either a public or
              private sale, or both, by way of one or more contracts or transactions, for cash or on terms, in
              such manner and at such places (including Debtor's premises) as Secured Party determines is
              commercially reasonable, and Debtor agrees that neither the Collateral nor evidence thereof
              need be present at the location of such sale or other disposition;

              g. Secured Party shall give notice of the sale or other disposition of the Collateral as follows:
              (i) Secured Party shall give Debtor and each holder of a security interest in the Collateral who
              has filed with Secured Party a written request for notice, a notice in writing of the time and
              place of public sale or other disposition, or, if the sale or other disposition is a private sale or
              disposition other than a public sale or disposition, then the time after which such private sale
              or other disposition is to be made; (ii) The notice shall be personally delivered or mailed,
              postage prepaid, to Debtor as provided in the Agreement, at least ten (10) days before the date
              fixed for any public sale or other disposition of the Collateral, or at least ten (10) days before
              the date on or after which the private sale or other disposition is to be made; no notice needs
              to be given prior to the disposition of any portion of the Collateral that threatens to decline
              speedily in value or that is of a type customarily sold on a recognized market. Notice to persons
              other than Debtor claiming an interest in the Collateral shall be sent to such addresses as they
              have furnished to Secured Party; (iii) If the sale is to be a public sale, Secured Party also shall
              give notice of the time and place in any manner determined by Secured Party to be
              commercially reasonable, and in any event at least ten (10) days before the date of the sale;

              h. Secured Party may credit bid and purchase at any public sale or other disposition; and
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              i. Any credit extended by Secured Party to any person acquiring title or possession of the
              Collateral upon any sale, lease, license or other disposition thereof shall not be credited to the
              Debtor.

             Upon the exercise by Secured Party of any power, right, privilege, or remedy pursuant to this
     Agreement which requires any consent, approval, registration, qualification, or authorization of any
     governmental authority, Debtor agrees to execute and deliver, or will cause the execution and delivery
     of, all applications, certificates, instruments, assignments, and other documents and papers that
     Secured Party or any purchaser of the Collateral may be required to obtain for such governmental
     consent, approval, registration, qualification, or authorization.

            Debtor hereby irrevocably stipulates and agrees that Secured Party has the right under this
     Agreement, upon the occurrence of an Event of Default, to seek the appointment of a receiver, trustee,
     or similar official over Debtor to effect the transactions contemplated by this Agreement. Debtor
     hereby irrevocably agrees not to object to such appointment on any grounds.

             The rights and remedies of Secured Party under this Agreement and all other agreements
     contemplated hereby and thereby shall be cumulative. Secured Party shall have all other rights and
     remedies not inconsistent herewith as provided under the CUCC, by law, or in equity. No exercise by
     Secured Party of any one right or remedy shall be deemed an election of remedies, and no waiver by
     Secured Party of any Event of Default shall be deemed a continuing waiver of any other or further
     Event of Default. No delay by Secured Party shall constitute a waiver, election or acquiescence with
     respect to any right or remedy.

              5.       Waivers. In consideration of the Note, Debtor agrees as follows:

              a. At any time and in any manner, upon such terms and at such times as it considers best and
              with or without notice to Debtor, the Secured Party may alter, compromise, accelerate, extend,
              or change the time or manner for payment of the Secured Obligations, increase or reduce the
              rate of interest thereon, release or add any one or more obligors, Debtors, pledgors, or endorsers
              of the Secured Obligations, accept additional or substituted security therefor, or release or
              subordinate any security therefor, without in any way affecting the security interest created by
              the Security Agreements, or any covenant of Debtor.

              b. Debtor waives any right to require the Secured Party to proceed against any other person,
              firm or corporation at any time or to pursue any other remedy in its power, and Debtor agrees
              that the Secured Party shall not be obligated to resort to any other security with any priority,
              in any particular order, or at all, even if such action, or lack thereof, destroys, alters or otherwise
              impairs subrogation rights of Debtor to proceed against any other person, firm or corporation
              for reimbursement, or both.

              c. Debtor waives and agrees not to assert or take advantage of: (i) The defense of any statute
              of limitations in any action hereunder or for the collection or performance of any Secured
              Obligations; (ii) Any defense that may arise by reason of the incapacity, lack of authority, death
              or disability of any other person, or the failure of the Secured Party to file or enforce a claim
              against the estate (whether in administration, bankruptcy or other proceedings) of any other
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              person; (iii) Any defense or right based upon election of remedies by the Secured Party,
              including. without limitation, an election to proceed by nonjudicial rather than judicial
              foreclosure, even if such election destroys, alters or otherwise impairs subrogation rights of
              Debtor or the right of Debtor to proceed against any other person for reimbursement, or both;
              (iv) Any defense or right based upon the acceptance by Secured Party or an affiliate of Secured
              Party of a transfer in lieu of foreclosure, without extinguishing the debt, even if such
              acceptance destroys, alters or otherwise impairs subrogation rights of Debtor or the right of
              Debtor to proceed against any other person for reimbursement, or both; and (v) Any defense
              that may arise by reason of any other defense any co-maker, endorser, or pledgor, or by reason
              of the cessation from any cause whatsoever of the liability of any successors of any endorser,
              co-maker or pledger.

              d. Debtor, by execution hereof, represent& to the Secured Party that the relationship between
              Debtor and any endorser, co-maker, pledger, or other person is such that Debtor has access to
              all relevant facts and information concerning the Secured Obligations, and that Secured Party
              can rely upon Debtor having such access. Debtor waives and agrees not to assert any duty on
              the part of the Secured Party to disclose to Debtor any facts that the Secured Party may now
              or hereafter know about any endorser. co-maker, pledgor, or other person regardless of
              whether the Secured Party has reason to believe that any such facts materially increase the risk
              beyond that which Debtor intends to assume or has reason to believe that such facts are
              unknown to Debtor or has a reasonable opportunity to communicate such facts to Debtor.
              Debtor is fully responsible for being and keeping informed of the financial condition and
              operations of any endorser, co-maker, pledgor, or other person and all circumstances bearing
              on the risk of nonpayment of any Secured Obligations.

              e. Debtor waives demand, protest and notice of any kind, including, without limiting the
              generality of the foregoing, notice of the existence, creation or incurring of new or additional
              Secured Obligations or of any action or non-action on the part of any endorser, co-maker,
              pledger, or other person, the Secured Party, any endorser, any creditor of any endorser, co-
              maker, pledgor, or other person under the Security Agreements or any other instrument or any
              other person whosoever, in connection with any Secured Obligations held by the Secured Party
              as collateral or in connection with any Secured Obligations.

              f. Debtor waives all rights and defenses arising out of an election of remedies by the Secured
              Party, even though that election of remedies, such as a nonjudicial foreclosure with respect to
              security for a guaranteed obligation, has destroyed Debtor's rights of subrogation and
              reimbursement against any endorser, co- maker, pledgor, or other person, or any other obligor,
              by operation of any applicable law or otherwise. Without limiting the foregoing waivers. in
              accordance with Section 2856 of the California Civil Code, Debtor waives any and all rights
              and defenses available to Debtor by reason of Sections 2787 to 2855, inclusive, 2899 and 3433
              of the California Civil Code.

             6.     No Waiver by Secured Party. Secured Party's acceptance of partial or delinquent
     payment, or the failure of Secured Party to exercise any right or remedy will not be a waiver of any
     of the Secured Obligations or any right of Secured Party, will not be a modification of this Agreement
     or any of Debtor's obligations under this Agreement. and will not constitute a waiver of any other
     Event of Default that occurs later.
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             7.      Attorneys' Fees. If any litigation is begun between the parties to this Agreement
     concerning the Collateral, this Agreement, or the rights and duties of either party in relation to them,
     the prevailing party will be entitled to a reasonable sum as reimbursement for its attorneys' fees and
     legal expenses.

               8.      Notices. Except as otherwise expressly provided in this Agreement or by law, any
     notice or other communication required or permitted by this Agreement or by law to be served on,
     given to, or delivered to either party to this Agreement by the other party will be in writing and will
     be considered served, given, delivered, and received when personally delivered to the party to whom
     it is directed or, in lieu of personal delivery, when it is deposited in the United States mail, first-class
     postage prepaid, or delivered by overnight courier, addressed to Debtor at the address above and to
     Secured Party at 23 Corporate Plaza Drive 150 Newport Beach, CA 92660. Either party, Debtor or
     Secured Party, may change its address for the purpose of this paragraph by giving written notice of
     the change to the other party in the manner provided in this paragraph.

              9.     Time of Essence. Time is expressly declared to be of the essence of this Agreement.

             10.    Governing Law. This Agreement has been entered into in the State of California and
     will be construed in accordance with the CUCC and all other internal laws of the State of California,
     without application of conflicts of laws principles.

              11.     Arbitration. Any dispute, claim or controversy of any kind, whether in contract or in
     tort, legal or equitable, now existing or hereafter arising, relating to or in any way arising out of this or
     any related agreements, or any past, present, or future loans, services, agreements, relationships,
     incidents or injuries of any kind whatsoever relating to or involving Debtor, shall be resolved by
     binding arbitration before ADR Services, Inc. (hereinafter "ADR") in accordance with its Commercial
     Arbitration Rules. Judgment on the award rendered by the arbitrator(s) may be entered in any court
     having jurisdiction. Any party who fails to submit to binding arbitration following a lawful demand to
     do so shall bear all costs and expenses incurred by the demanding party in compelling arbitration of
     the dispute. To the maximum extent practicable, ADR, the arbitrator(s), and the parties shall act to
     assure that any arbitration proceeding shall be concluded within 180 days of the filing of the dispute
     with ADR. The hearing on the matter to be arbitrated shall take place in Los Angeles. California. The
     prevailing party shall recover the costs of the arbitration, including, but not limited to, filing,
     administrative, and arbitrator(s) fees.

            12.      Validity and Construction. If one or more of the provisions contained in this
    Agreement for any reason is held invalid, illegal, or unenforceable, the invalidity, illegality, or
    unenforceability of that provision will not affect any other provision of this Agreement; and this
    Agreement will be construed as if the invalid, illegal, or unenforceable provision had never been
    contained in it.

             13.    Integration. This Agreement, including the other documents referred to herein which
    form a part hereof, contains the entire understanding of the parties hereto with respect to the security
    interest granted by Debtor to Secured Party for the Secured Obligations. There are no restrictions,
    promises, warranties, covenants, or undertakings, other than those expressly provided for herein. This
    Agreement supersedes all prior agreements and undertakings between the parties with respect to such
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    subject matter. No waiver and no modification or amendment of any provision of this Agreement shall
    be effective unless specifically made in writing and duly signed by the party to be bound thereby.

            14.     Effect on Heirs and Assigns. This Agreement and each of its provisions will be binding
    on and inure to the benefit of the heirs, executors, administrators, legal representatives, successors, and
    assigns of each of the parties to this Agreement.

            15.     Execution and Delivery of Agreement. This Agreement may be executed and
    delivered by facsimile transmission and in any number of counterparts, each of which, when executed
    and delivered, shall be original, an all of them together shall constitute the same Agreement. Delivery
    of this Agreement shall be deemed effective if made to Secured Party. Each Party who delivers a
    counterpart of this Agreement to Secured Party shall deliver the original signed counterpart to Secured
    Party within five (5) days following delivery by facsimile, but any failure by any such Party to deliver
    the original signed counterpart shall not render execution and delivery by facsimile invalid or
    ineffective.



     IN WITNESS WHEREOF, this Note has been executed by Debtor hereto on the day and year first
     above written.

                            THIS AGREEMENT MAY BE EXECUTED IN COUNTERPARTS.



                                         [Signatures on pages to follow]
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                             SIGNATURE PAGE TO SECURITY AGREEMENT



        DEBTOR: REBECCA TAYLOR




       By: _______________________

       Name:
       Title:
       Date: June 20, 2022




       SECURED PARTY: KING FAMILY LENDING LLC


       By: _______________________
       Name: Sara J. King
       Title: Manager
       Date: June 20, 2022




Additional Documents Attached and Included:
Secured Promissory Note
Confession of Judgment
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                                        SECURED PROMISSORY
                                               NOTE
                                         Orange County, California



   Principal Amount: $150,000                                                     Date: June 20, 2022


   FOR VALUE RECEIVED, the receipt and adequacy of which is hereby acknowledged by
   REBECCA TAYLOR an individual with an address of                           Vista Dr., Beverly Hills,
   California (hereinafter referred to as “Borrower") promises to pay to the order of KING
   FAMILY LENDING LLC, a California Limited Liability Company (hereinafter referred to as
   "Lender"), with an address of 110 Newport Center Drive, Ste. 277, Newport Beach, California
   92660, in accordance with this Secured Promissory Note (hereinafter referred to as the "Note"),
   and Security Agreement dated concurrently with this Note, attached and incorporated hereto, at
   such place as the Lender hereof may hereafter designate in writing), the principal sum of ONE
   HUNDRED FIFTY THOUSAND DOLLARS (150,000.00) (the “Loan Amount”) in
   immediately available funds and lawful money of the United States of America, without right to
   set-off or counterclaim together with Interest, as described below, on or before October 20, 2022,
   a total loan term of 120 days.


            1.  Maturity Date. The maturity date of this Secured Promissory Note shall mean the
          date which is 120 days after the date of this Note.

            2.    Interest. Interest shall accrue on the principal balance from the date hereof at the
          rate of NINETY SIX PERCENT (96%) per annum (“Interest”), subject to increase
          upon default as hereinafter provided. Interest accruing hereunder shall be payable monthly
          commencing on the date of this Note and continuing on the first day of each consecutive
          month thereafter, with time being of the essence. Interest accruing and payable under this
          Note shall be computed and applied on the basis of a 365-day year, actual days elapsed,
          with time being of the essence. Interest that is not received by Lender on the date such
          interest is due shall, at the sole discretion of Lender, be added to the Principal balance and
          shall from that date due bear interest at the rate provided in this Note.

                 Late Charges. If any payment provided for in this Note is not paid when due, it
                3.
         would be impracticable or extremely difficult to fix the actual damages resulting to Lender.
         Therefore, if any payment provided for in this Note is not paid when due Borrower agrees
         to pay to Lender a sum equal to TEN PERCENT (10%) of the payment as liquidated
         damages and not as a penalty, to compensate Lender for the expenses of administering the
         default. Only one late charge will be collected for each late payment, regardless of the
         period during which it remains in default.

                4.   Fees. Costs. and Expenses. Lender has waived all commitment/origination fees,
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         costs, and expenses, including without limitation attorneys, administrative, insurance fees,
         incurred in connection with the investigation, negotiation, arrangement, and making of
         this Note and related loan documents.

                 Payments. Payments shall be applied first to fees, costs, expenses and sums
                5.
         other than principal and interest due to Lender, then to accrued and unpaid interest
         hereon, and the balance thereof, if any, to the outstanding principal balance hereof. The
         amounts borrowed may be prepaid at any time provided written notice of prepayment is
         received by Lender concurrently therewith.

                6.Maximum Legal Rate- No Usury. Notwithstanding any provision to the contrary
         contained in this Note, it is expressly provided that in no case or event shall the aggregate
         of: a) all interest on the unpaid balance of this Note, accrued or paid from the date hereof
         and b) the aggregate of any other amounts accrued or paid pursuant to this Note, which
         under applicable laws are or may be deemed to constitute interest upon the indebtedness
         evidenced by this Note from the date hereof, ever exceed the maximum nonusurous rate of
         interest permitted on the execution date hereof by whichever of applicable California or
         United States laws permit the higher maximum nonusurous interest rate (“highest lawful
         rate”). In this connection, it is expressly understood and agreed that it is the intent of the
         Borrower and the Lender to contract in strict compliance with the applicable usury laws of
         the State of California and of the United States, whichever from time to time permit the
         higher rate of interest. In furtherance thereof, none of the terms of this Note shall ever be
         construed to create a contract to pay, as consideration for the use, forbearance or detention
         of money, interest at a rate in excess of the highest lawful rate. The Borrower or other
         parties now or hereafter becoming liable for payment of the indebtedness evidenced by
         this Note shall never be liable for Interest in excess of the highest lawful rate. I f, for any
         reason whatever, the interest paid or received on this Note during its full term produces a
         rate which exceeds the highest lawful rate, the Lender of this Note shall refund to the
         payor or at the Lender's option, credit against the principal of this Note such portion of
         said interest as shall be necessary to cause the interest paid on this Note to produce a rate
         equal to the highest lawful rate.

                Default/Acceleration. Borrower shall be in default under this Note upon the
                7.
         occurrence of any of the following events, which shall be referred to in this Note as an
         “Event of Default”:

                     (a)    There is a failure to make any payment when due under this Note.
                     (b)    Borrower fails to perform any covenant or observe any condition
                            contained in this Note or Borrower's breach of any covenant, term or
                            condition of this Note.
                     (c)    Borrower is subject to or affected by:
                            1.     the appointment of a receiver, liquidator, or trustee;
                            2.     the filing of any voluntary or involuntary petition for

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                                  bankruptcy or reorganization;
                            3.    the inability of any such person to pay his or her debts when
                                  due or the admission in writing by any such person that his or her
                                  debts cannot be paid when due;
                            4.    the dissolution, termination of existence, insolvency or business
                                  failure of any such person;
                           5.      any assignment for the benefit of creditors;
                            6.    the making or suffering of a fraudulent transfer under applicable
                                  federal or state law; or
                           7.     the concealment of any of his or her property in fraud.

                  In an Event of Default by Borrower, the entire principal sum, with accrued interest
          thereon and all other sums due under this Note, shall at the option of Lender, become
          immediately due and payable, and at the option of the Lender, the rate of interest provided
          for under this Note shall, without notice, be increased to an amount TEN PERCENT
          (10%) PER YEAR over and above the rate of interest set forth in Paragraph 1 of this Note
          under the section entitled• interest”. Lender shall be entitled to collect all such amounts
          and to enforce any and all remedies available to it, and Borrower's default shall constitute
          the requisite showing under California Code of Civil Procedure, Section 1281.8, and any
          similar provision in any other jurisdiction, that any award Lender may receive in
          accordance with the terms of this Note may be rendered ineffectual without provisional
          relief.

             8. Guaranty Agreement and Security Agreements. This Note and any past, present,
          or future liabilities of Borrower to Lender, regardless of how acquired by lender, are being
          secured by the execution by a Personal Guaranty Agreement, and execution of a Security
          Agreement, attached hereto and incorporated herein. To secure the payment of this Note,
          this Note and any past, present, or future liabilities of Borrower to Lender, regardless of
          how acquired by Lender, Borrower grants to Lender a first priority security interest in and
          lien upon all of the following property of Borrower, whether now owned or hereafter
          acquired by Borrower, whether now existing or hereafter arising, whether fixed or
          contingent, and wherever located, and all supporting obligations relating to said property,
          and all proceeds thereof (collectively, “Collateral”):

                     (a) As described in the Security Agreement dated herewith.

                     (b) all proceeds (including, without limitation, insurance proceeds), and
                     rights of Borrower to receive payments in respect of and from such interests
                     and related rights, goods, instruments, inventory, investment property, rents,
                     letters of credit, letter-of- credit rights, payment intangibles, money, and all
                     books and records pertaining to the foregoing property and related rights
                     from the above-described property.


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                 Borrower shall execute and deliver to Lender, and to any and all third parties as
          Lender shall require, all such notices, additional security agreements, assignments, pledge
          agreements, and amendments thereof, as and when Lender shall require in order to
          perfect and maintain Lender's rights and security interests under this Note. Borrower
          hereby irrevocably appoints Lender as the attorney in fact for Borrower, with power of
          substitution which may be exercised by Lender in its discretion, to execute and deliver
          any and all such notices, additional security agreements, assignments, pledge agreements,
          and amendments, if and only if there is an Event of Default. Said power of attorney is
          deemed coupled with an interest and irrevocable. Lender shall have all of the rights and
          shall be entitled to exercise and enforce all remedies and powers of a secured party as
          provided in the California Uniform Commercial Code (“CUCC”) and as otherwise
          provided by law. The security interest herein granted shall be in addition to any and all
          other security interests previously or hereafter granted by Borrower to Lender, and is and
          shall remain perfected, in part, by one or more existing financing statements of record in
          favor of Lender. Each term used in this Note to describe the Collateral, if defined in the
          CUCC, shall have the meaning assigned to such term under the CUCC as the same is
          amended from time to time.

            8. Disposition of Collateral on Default. Any collateral given to the Lender at any
         time will be deemed security for the payment of this Note and any other liabilities of the
         Borrower to the Lender. In case of default in payment of this Note or any other notes of
         the Borrower, whether as maker, co- maker, surety, guarantor, or endorser, held by the
         Lender, or in case the collateral declines in value or otherwise becomes unsatisfactory to
         the Lender, the Lender is authorized to dispose of all or any part of the collateral security
         property at public or private sale, without advertisement, or notice to the Borrower, which
         rights are expressly waived. At such a sale, the Lender may purchase any or all of the
         property free of any claim or right of redemption of the Borrower, which rights are
         expressly waived except as provided by law. Neither the sale of the collateral nor the
         application of its proceeds will prejudice any other rights of the Lender against the
         Borrower.
                9.   Lender, Borrower, Use of Loan Proceeds, Successors and Assigns.
         Lender is a licensed California Finance Lender. Borrower warrants and represents that the
         funds being loaned in accordance with the terms of this Note are being used exclusively
         for commercial purposes and none of the funds being loaned in accordance with the terms
         of this Note are being used for personal, family, or household purposes.

         Subject to the prohibition against Borrower's assignment herein, this Note and all the
         covenants and agreements contained herein shall inure to the benefit of Lender and bind
         Borrower and all of their respective successors, estates, heirs, personal representatives and
         assigns. Without limiting the generality of the foregoing, Lender may assign or grant
         participation in any of Lender's rights under this Note in whole or in part to any person,
         without notice and without affecting Borrower's liability hereunder.

            10.      Arbitration. Any dispute, claim or controversy of any kind, whether in contract
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           or in tort, legal or equitable, now existing or hereafter arising, relating to or in any way
           arising out of this Note or any related agreements, or any past, present, or future loans,
           services, agreements, relationships, incidents or injuries of any kind whatsoever relating
           to or involving Borrower, and anyone who signs, guarantees or endorses this Note and
           Lender, shall be resolved by binding arbitration before ADR Services, Inc. (hereinafter
           “ADR”) in accordance with its Commercial Arbitration Rule. Judgment on the award
           rendered by the arbitrator(s) may be entered in any court having jurisdiction. Any party
           who fails to submit to binding arbitration following a lawful demand to do so shall bear
           all costs and expenses incurred by the demanding party in compelling arbitration of the
           dispute. To the maximum extent practicable, ADR, the arbitrator(s), and the parties shall
           act to assure that any arbitration proceeding shall be concluded within 180 days of the
           filing of the dispute with ADR. The hearing on the matter to be arbitrated shall take place
           in Los Angeles, California. The prevailing party shall recover the costs of the arbitration,
           including, but not limited to, filing, administrative, and arbitrator(s) fees.

             11. Costs of Collection. Borrower promises to pay all costs, expenses and attorneys'
           fees incurred by Lender in the exercise of any remedy (with or without litigation), in any
           proceeding for the collection of this Note, or in any litigation or controversy arising from
           or connected with this Note. Such proceedings shall include, without limitation, any
           probate, bankruptcy, receivership, injunction, arbitration, mediation or other proceeding,
           or any appeal from or petition for review of any of the foregoing, in which Lender
           appears to enforce this Note. Borrower shall also pay all of Lender's costs and attorneys'
           fees incurred in connection with any demand, workout, settlement compromise or other
           activity in which Lender engages to collect any portion of this Note not paid when due or
           as a result of any default of Borrower.

             12. Waivers. Borrower and all sureties, guarantors, and endorsers of this Note hereby
           waive notice of intent to accelerate and notice of acceleration, notice of protest and
           notice of dishonor, notice of non-payment, demand. presentment for payment, protest,
           any notices in connection with the delivery, presentment, acceptance, performance,
           default, or enforcement of this Note, diligence in collecting and the filing of suit for the
           purpose of fixing liability and any and all other notices and demands whatsoever, and
           consent to any extensions or postponements of time or other indulgence, including time
           for payment, renewals, releases of liens, waivers, or modifications that may be made by
           Payee to any party to this Note. No extension of time for payment of any amount owing
           on this Note will affect the liability of Borrower or any surety, guarantor, or endorser of
           this Note. No delay by the Lender or holder in exercising any right under this Note will
           operate as a waiver of that right; nor will any single or partial exercise of any right
           preclude other or further exercise of the right, or the exercise of any other right under this
           Note or otherwise as permitted by law.

                  No covenant, condition, right or remedy in this Note may be waived or modified
          orally, by course of conduct or previous acceptance or otherwise unless such waiver or
          modification is specifically agreed to in a writing executed by Lender. Any waiver or
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          modification will be valid only to the extent set forth in the writing. Without limiting the
          foregoing, no previous waiver and no failure or delay by Lender in acting pursuant to the
          terms of this Note shall constitute a waiver of any breach, default or failure of a condition
          under this Note or any obligations contained therein. Borrower further waives exhaustion
          of legal remedies and the right to plead any and all statutes of limitation as a defense to
          any demand on this Note, or to any agreement to pay the same.

             13. Governing Law. This Note shall be governed by and construed in accordance
           with the laws of the State of California. Orange County, California shall be proper place
           of venue for suit hereon. The Borrower and any and all co-makers, endorsers, guarantors
           and sureties irrevocably agree that any legal proceeding in respect of this Note shall be
           brought in the Central District of the Superior Court of Orange County or if applicable
           the United States District Court for the Central District of California.

            14. Records of Payments. The records of the Lender shall, absent manifest error, be
           binding and conclusive evidence of the amounts owing on this Note. The failure of
           Lender to record any payment or expenses shall not limit or otherwise affect the
           obligations of Borrower under this Note.

             15. Partial Invalidity. If any section or provision of this Note is declared invalid or
           unenforceable by a court competent jurisdiction, such section or provision shall be
           enforceable to the fullest extent permitted by law, and such a determination shall not
           affect the validity or enforceability of the remaining terms hereof; by way of example
           and not limitation, if any fee exceeds the maximum such fee permitted by law, such fee
           shall be reduced so as to equal the maximum permitted by law, or if any time period is
           shorter than required by law, such time period shall be deemed increased to the minimum
           time period permitted by law. No such determination in one jurisdiction shall affect any
           provision of this Note to the extent it is otherwise enforceable under the laws of any
           other applicable jurisdiction.

            16. Full Power and Authority. Borrower and each individual executing this Note on
           behalf of any Borrower have the full power and authority to execute and deliver this
           Note, and this Note constitutes the valid and binding obligation of Borrower and is
           enforceable in accordance with its terms.

             17. Captions/Terms. The various captions and headings contained in this Note are
           for reference only and shall not be considered or referred to in resolving questions of
           interpretation of this Note. No provision in this Note is to be interpreted for or against
           any party because that party or that party's legal representative drafted such provision, it
           being recognized that all parties have contributed substantially and materially to the
           preparation of this Note. As used in this Note, the term “including” means “including but
           not limited to” unless otherwise specified; the word “or” means “and/or” the word
           “person” means and refers to any individual, corporation, trust, estate, partnership, joint
           venture, government or governmental authority or other entity and the word "affiliate
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           means and refers to any entity that directly, or indirectly through one or more
           intermediaries, controls, is controlled by, or is under common control with, another
           entity. All pronouns and any validations thereof, shall be deemed to refer to the
           masculine, feminine. neuter singular or plural as the identity of the person, persons,
           entity or entities may require. Whenever in this Note locative adverbs such as "herein and
           "hereunder" are used, the same shall be made in reference to this Note in its entirety and
           not any specific article, section, subsection, subpart, paragraph or subparagraph.

            18. Entire Agreement. This Note and the Security Agreement executed in connection
          herewith embody the entire agreement and understanding between Lender and Borrower
          with respect to this Note and supersede all prior conflicting or inconsistent agreements,
          consents and understandings relating to such subject matter. Borrower acknowledges and
          agrees that there are no oral agreements between the Borrower and the Lender which
          have not been incorporated in this Note. No waiver, modification, change, or amendment
          to any provision of these documents shall be effective unless specifically made in writing
          and signed by both Lender and Borrower.


    BORROWER: REBECCA TAYLOR


    By:__________________________


    Title
    (if applicable):_________________


    Date: 6-20-2022




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                              EXHIBIT “P”
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                                         SECURITY AGREEMENT




          THIS SECURITY AGREEMENT (the "Agreement") is entered into on July 7, 2022 by and
      between BLUE F44 LLC, a California limited liability company ("Debtor"), and King Family
      Lending LLC ("Secured Party"), as follows:


               1.     Secured Obligations. Debtor has executed and delivered to Secured Party that certain
      Secured Promissory Note dated as of concurrently with this Agreement (the “Note”) in the principal
      amount of FOUR HUNDRED THOUSAND DOLLARS ($400,000.00) plus interest and has agreed to
      pay all indebtedness under the Note and all such legal expenses and obligations thereunder and any
      past, present, or future liabilities of Debtor to Secured Party, regardless of how acquired by Secured
      Party (hereinafter sometimes referred to collectively as the "Secured Obligations") after a period of 90
      days. Debtor has derived and will continue to derive a material financial benefit from the Note and, in
      order to induce Secured Party to agree to the terms of the Note, Debtor has agreed to execute and deliver
      this Agreement to and for the benefit of Secured Party.

              2.       Security Interest. To secure the full and timely payment and performance of the
      Secured Obligations, Debtor hereby grants to Secured Party a first priority security interest in and lien
      upon all of the following property of Debtor, wherever located (collectively, the “Collateral”). Debtor
      hereby understands and agrees that the Collateral shall be held by Secured Party until the earlier of: a)
      the term of the Note; or b) Debtor has paid to Secured Part all monies owed under the Note.

                    a. (1) Watercraft Vessel: 2017 TiaraFlybridge 44; Hull No. SSUXD003A717

            Debtor shall execute and deliver to Lender, and to any and all third parties as Lender shall
     require, all such notices, additional security agreements, assignments, pledge agreements, and
     amendments thereof, as and when Lender shall require in order to perfect and maintain Lender's rights
     and security interests under this Note. Debtor hereby irrevocably appoints Lender as the attorney in
     fact for Debtor, with power of substitution which may be exercised by Lender in its discretion, to
     execute and deliver any and all such notices, additional security agreements, assignments, pledge
     agreements, and amendments, if and only if there is an Event of Default. Said power of attorney is
     deemed coupled with an interest and irrevocable. Lender shall have all of the rights and shall be
     entitled to exercise and enforce all remedies and powers of a secured party as provided in the California
     Uniform Commercial Code ("CUCC") and as otherwise provided by law. The security interest herein
     granted shall be in addition to any and all other security interests previously or hereafter granted by
     Debtor to Lender, and is and shall remain perfected, in part, by one or more existing financing
     statements of record in favor of Lender. Each term used in this Note to describe the Collateral, if
     defined in the CUCC, shall have the meaning assigned to such term under the CUCC as the same is
     amended from time to time.

           Secured Party shall have all of the rights and shall be entitled to exercise and enforce all
    remedies and powers of a secured party as provided in the California Uniform Commercial Code
    (“CUCC") and as otherwise provided by law. The security interest herein granted shall be in addition
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    to any and all other security interests previously or hereafter granted by Debtor to Secured Party, and
    is and shall remain perfected, in part, by one or more existing financing statements of record in favor
    of Secured Party. Each term used in this Agreement to describe the Collateral, if defined in the CUCC,
    shall have the meaning assigned to such term under the CUCC as the same is amended from time to
    time.

           3.       Default. The occurrence of any of the following events or conditions shall constitute
    and shall be referred to in this Agreement as an "Event of Default":

              a. Breach or default in the payment or performance of any of the Secured Obligations, or
              under any instrument or agreement evidencing or securing the Secured Obligations;

              b. Breach or default by Debtor in the performance of any obligations of Debtor under this
              Security Agreement;

              c. Any warranty, representation, or statement made or furnished to Secured Party by or on
              behalf of Debtor proves to have been false in any material respect when made or furnished;

              d. The dissolution, termination of existence, insolvency, business failure, or the
              commencement of any proceeding under any bankruptcy or insolvency law by or against
              Debtor; and

              e. If Debtor shall apply for or consent to the appointment of a receiver, trustee or liquidator
              for any material part of Maker’s property, (ii) admit in writing Maker’s inability to pay its
              debts as they mature, (iii) make a general assignment for the benefit of creditors, (iv) be
              adjudicated bankrupt or insolvent, (v) file a voluntary petition in bankruptcy, or a petition or
              an answer seeking an arrangement with creditors or taking advantage of any bankruptcy,
              insolvency, readjustment of debt, dissolution or liquidation law, or filing an answer admitting
              the material allegations of a petition filed against Maker in any proceeding under any such
              law, (vi) suffer the appointment of a trustee or receiver to take possession of all or any
              substantial part of Maker’s assets, or (vii) take any action for the purpose of effectuating any
              of the foregoing.

            4.    Rights and Remedies. During the continuance of an Event of Default and if the
     Secured Obligations have been accelerated as a result thereof, Secured Party, without notice or
     demand, may do any one or more of the following, all of which are authorized by Debtor:

              a. Assume ownership of the Collateral;

              b. Settle or adjust disputes and claims directly with account Debtors for amounts and upon
              terms which Secured Party considers advisable, and in such cases, Secured Party will credit
              the Secured Obligations with only the net amounts received by Secured Party in payment of
              such disputed accounts after deducting all reasonable costs and expenses incurred or expended
              in connection therewith including, without limitation, all reasonable attorneys' fees and related
              legal expenses;

              c. Without notice to or demand upon Debtor or any other obligor, make such payments and
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              do such acts as Secured Party considers necessary or reasonable to protect its security interests
              in the Collateral. Debtor agrees to assemble the Collateral if Secured Party so requires, and to
              make the Collateral available to Secured Party as Secured Party may designate. Debtor
              authorities Secured Party to enter the premises where the Collateral is located, to take and
              maintain possession of the Collateral, or any part of it, and to pay, purchase, contest, or
              compromise any encumbrance, charge, security interest, or lien that in Secured Party's
              determination appears to conflict with its security interests and to pay all expenses incurred in
              connection therewith. With respect to any of Debtor's owned or leased premises, Debtor
              hereby grants Secured Party a license to enter into possession of such premises and to occupy
              the same, without charge, for up to 120 days in order to exercise any of Secured Party's rights
              or remedies provided herein, at law, in equity, or otherwise;

              d. Without notice to Debtor (such notice being expressly waived), and without constituting
              a retention of any collateral in satisfaction of an obligation (within the meaning of Section
              9620 of the CUCC), set off and apply to the Secured Obligations any and all indebtedness at
              any time owing to or for the credit or the account of Debtor held by Secured Party;

              e. Secured Party is hereby granted a license or other right to use, without charge, Debtor's
              copyrights, rights of use of any name, trade secrets, trade names, trademarks, service marks,
              and advertising matter, or any property of a similar nature, as it pertains to the Collateral; and
              Debtor's rights under all licenses and all franchise agreements shall inure to Secured Party's
              benefit;

              f. Sell, lease, license or otherwise dispose of the Collateral, including at either a public or
              private sale, or both, by way of one or more contracts or transactions, for cash or on terms, in
              such manner and at such places (including Debtor's premises) as Secured Party determines is
              commercially reasonable, and Debtor agrees that neither the Collateral nor evidence thereof
              need be present at the location of such sale or other disposition;

              g. Secured Party shall give notice of the sale or other disposition of the Collateral as follows:
              (i) Secured Party shall give Debtor and each holder of a security interest in the Collateral who
              has filed with Secured Party a written request for notice, a notice in writing of the time and
              place of public sale or other disposition, or, if the sale or other disposition is a private sale or
              disposition other than a public sale or disposition, then the time after which such private sale
              or other disposition is to be made; (ii) The notice shall be personally delivered or mailed,
              postage prepaid, to Debtor as provided in the Agreement, at least ten (10) days before the date
              fixed for any public sale or other disposition of the Collateral, or at least ten (10) days before
              the date on or after which the private sale or other disposition is to be made; no notice needs
              to be given prior to the disposition of any portion of the Collateral that threatens to decline
              speedily in value or that is of a type customarily sold on a recognized market. Notice to persons
              other than Debtor claiming an interest in the Collateral shall be sent to such addresses as they
              have furnished to Secured Party; (iii) If the sale is to be a public sale, Secured Party also shall
              give notice of the time and place in any manner determined by Secured Party to be
              commercially reasonable, and in any event at least ten (10) days before the date of the sale;

              h. Secured Party may credit bid and purchase at any public sale or other disposition; and
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              i. Any credit extended by Secured Party to any person acquiring title or possession of the
              Collateral upon any sale, lease, license or other disposition thereof shall not be credited to the
              Debtor.

             Upon the exercise by Secured Party of any power, right, privilege, or remedy pursuant to this
     Agreement which requires any consent, approval, registration, qualification, or authorization of any
     governmental authority, Debtor agrees to execute and deliver, or will cause the execution and delivery
     of, all applications, certificates, instruments, assignments, and other documents and papers that
     Secured Party or any purchaser of the Collateral may be required to obtain for such governmental
     consent, approval, registration, qualification, or authorization.

            Debtor hereby irrevocably stipulates and agrees that Secured Party has the right under this
     Agreement, upon the occurrence of an Event of Default, to seek the appointment of a receiver, trustee,
     or similar official over Debtor to effect the transactions contemplated by this Agreement. Debtor
     hereby irrevocably agrees not to object to such appointment on any grounds.

             The rights and remedies of Secured Party under this Agreement and all other agreements
     contemplated hereby and thereby shall be cumulative. Secured Party shall have all other rights and
     remedies not inconsistent herewith as provided under the CUCC, by law, or in equity. No exercise by
     Secured Party of any one right or remedy shall be deemed an election of remedies, and no waiver by
     Secured Party of any Event of Default shall be deemed a continuing waiver of any other or further
     Event of Default. No delay by Secured Party shall constitute a waiver, election or acquiescence with
     respect to any right or remedy.

              5.       Waivers. In consideration of the Note, Debtor agrees as follows:

              a. At any time and in any manner, upon such terms and at such times as it considers best and
              with or without notice to Debtor, the Secured Party may alter, compromise, accelerate, extend,
              or change the time or manner for payment of the Secured Obligations, increase or reduce the
              rate of interest thereon, release or add any one or more obligors, Debtors, pledgors, or endorsers
              of the Secured Obligations, accept additional or substituted security therefor, or release or
              subordinate any security therefor, without in any way affecting the security interest created by
              the Security Agreements, or any covenant of Debtor.

              b. Debtor waives any right to require the Secured Party to proceed against any other person,
              firm or corporation at any time or to pursue any other remedy in its power, and Debtor agrees
              that the Secured Party shall not be obligated to resort to any other security with any priority,
              in any particular order, or at all, even if such action, or lack thereof, destroys, alters or otherwise
              impairs subrogation rights of Debtor to proceed against any other person, firm or corporation
              for reimbursement, or both.

              c. Debtor waives and agrees not to assert or take advantage of: (i) The defense of any statute
              of limitations in any action hereunder or for the collection or performance of any Secured
              Obligations; (ii) Any defense that may arise by reason of the incapacity, lack of authority, death
              or disability of any other person, or the failure of the Secured Party to file or enforce a claim
              against the estate (whether in administration, bankruptcy or other proceedings) of any other
              person; (iii) Any defense or right based upon election of remedies by the Secured Party,
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              including. without limitation, an election to proceed by nonjudicial rather than judicial
              foreclosure, even if such election destroys, alters or otherwise impairs subrogation rights of
              Debtor or the right of Debtor to proceed against any other person for reimbursement, or both;
              (iv) Any defense or right based upon the acceptance by Secured Party or an affiliate of Secured
              Party of a transfer in lieu of foreclosure, without extinguishing the debt, even if such
              acceptance destroys, alters or otherwise impairs subrogation rights of Debtor or the right of
              Debtor to proceed against any other person for reimbursement, or both; and (v) Any defense
              that may arise by reason of any other defense any co-maker, endorser, or pledgor, or by reason
              of the cessation from any cause whatsoever of the liability of any successors of any endorser,
              co-maker or pledger.

              d. Debtor, by execution hereof, represent& to the Secured Party that the relationship between
              Debtor and any endorser, co-maker, pledger, or other person is such that Debtor has access to
              all relevant facts and information concerning the Secured Obligations, and that Secured Party
              can rely upon Debtor having such access. Debtor waives and agrees not to assert any duty on
              the part of the Secured Party to disclose to Debtor any facts that the Secured Party may now
              or hereafter know about any endorser. co-maker, pledgor, or other person regardless of
              whether the Secured Party has reason to believe that any such facts materially increase the risk
              beyond that which Debtor intends to assume or has reason to believe that such facts are
              unknown to Debtor or has a reasonable opportunity to communicate such facts to Debtor.
              Debtor is fully responsible for being and keeping informed of the financial condition and
              operations of any endorser, co-maker, pledgor, or other person and all circumstances bearing
              on the risk of nonpayment of any Secured Obligations.

              e. Debtor waives demand, protest and notice of any kind, including, without limiting the
              generality of the foregoing, notice of the existence, creation or incurring of new or additional
              Secured Obligations or of any action or non-action on the part of any endorser, co-maker,
              pledger, or other person, the Secured Party, any endorser, any creditor of any endorser, co-
              maker, pledgor, or other person under the Security Agreements or any other instrument or any
              other person whosoever, in connection with any Secured Obligations held by the Secured Party
              as collateral or in connection with any Secured Obligations.

              f. Debtor waives all rights and defenses arising out of an election of remedies by the Secured
              Party, even though that election of remedies, such as a nonjudicial foreclosure with respect to
              security for a guaranteed obligation, has destroyed Debtor's rights of subrogation and
              reimbursement against any endorser, co- maker, pledgor, or other person, or any other obligor,
              by operation of any applicable law or otherwise. Without limiting the foregoing waivers. in
              accordance with Section 2856 of the California Civil Code, Debtor waives any and all rights
              and defenses available to Debtor by reason of Sections 2787 to 2855, inclusive, 2899 and 3433
              of the California Civil Code.

             6.     No Waiver by Secured Party. Secured Party's acceptance of partial or delinquent
     payment, or the failure of Secured Party to exercise any right or remedy will not be a waiver of any
     of the Secured Obligations or any right of Secured Party, will not be a modification of this Agreement
     or any of Debtor's obligations under this Agreement. and will not constitute a waiver of any other
     Event of Default that occurs later.
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             7.      Attorneys' Fees. If any litigation is begun between the parties to this Agreement
     concerning the Collateral, this Agreement, or the rights and duties of either party in relation to them,
     the prevailing party will be entitled to a reasonable sum as reimbursement for its attorneys' fees and
     legal expenses.

               8.      Notices. Except as otherwise expressly provided in this Agreement or by law, any
     notice or other communication required or permitted by this Agreement or by law to be served on,
     given to, or delivered to either party to this Agreement by the other party will be in writing and will
     be considered served, given, delivered, and received when personally delivered to the party to whom
     it is directed or, in lieu of personal delivery, when it is deposited in the United States mail, first-class
     postage prepaid, or delivered by overnight courier, addressed to Debtor at the address above and to
     Secured Party at 23 Corporate Plaza Drive 150 Newport Beach, CA 92660. Either party, Debtor or
     Secured Party, may change its address for the purpose of this paragraph by giving written notice of
     the change to the other party in the manner provided in this paragraph.

              9.     Time of Essence. Time is expressly declared to be of the essence of this Agreement.

             10.    Governing Law. This Agreement has been entered into in the State of California and
     will be construed in accordance with the CUCC and all other internal laws of the State of California,
     without application of conflicts of laws principles.

              11.     Arbitration. Any dispute, claim or controversy of any kind, whether in contract or in
     tort, legal or equitable, now existing or hereafter arising, relating to or in any way arising out of this or
     any related agreements, or any past, present, or future loans, services, agreements, relationships,
     incidents or injuries of any kind whatsoever relating to or involving Debtor, shall be resolved by
     binding arbitration before ADR Services, Inc. (hereinafter "ADR") in accordance with its Commercial
     Arbitration Rules. Judgment on the award rendered by the arbitrator(s) may be entered in any court
     having jurisdiction. Any party who fails to submit to binding arbitration following a lawful demand to
     do so shall bear all costs and expenses incurred by the demanding party in compelling arbitration of
     the dispute. To the maximum extent practicable, ADR, the arbitrator(s), and the parties shall act to
     assure that any arbitration proceeding shall be concluded within 180 days of the filing of the dispute
     with ADR. The hearing on the matter to be arbitrated shall take place in Los Angeles. California. The
     prevailing party shall recover the costs of the arbitration, including, but not limited to, filing,
     administrative, and arbitrator(s) fees.

            12.      Validity and Construction. If one or more of the provisions contained in this
    Agreement for any reason is held invalid, illegal, or unenforceable, the invalidity, illegality, or
    unenforceability of that provision will not affect any other provision of this Agreement; and this
    Agreement will be construed as if the invalid, illegal, or unenforceable provision had never been
    contained in it.

             13.    Integration. This Agreement, including the other documents referred to herein which
    form a part hereof, contains the entire understanding of the parties hereto with respect to the security
    interest granted by Debtor to Secured Party for the Secured Obligations. There are no restrictions,
    promises, warranties, covenants, or undertakings, other than those expressly provided for herein. This
    Agreement supersedes all prior agreements and undertakings between the parties with respect to such
    subject matter. No waiver and no modification or amendment of any provision of this Agreement shall
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    be effective unless specifically made in writing and duly signed by the party to be bound thereby.

            14.     Effect on Heirs and Assigns. This Agreement and each of its provisions will be binding
    on and inure to the benefit of the heirs, executors, administrators, legal representatives, successors, and
    assigns of each of the parties to this Agreement.

            15.     Execution and Delivery of Agreement. This Agreement may be executed and
    delivered by facsimile transmission and in any number of counterparts, each of which, when executed
    and delivered, shall be original, an all of them together shall constitute the same Agreement. Delivery
    of this Agreement shall be deemed effective if made to Secured Party. Each Party who delivers a
    counterpart of this Agreement to Secured Party shall deliver the original signed counterpart to Secured
    Party within five (5) days following delivery by facsimile, but any failure by any such Party to deliver
    the original signed counterpart shall not render execution and delivery by facsimile invalid or
    ineffective.



     IN WITNESS WHEREOF, this Note has been executed by Debtor hereto on the day and year first
     above written.

                            THIS AGREEMENT MAY BE EXECUTED IN COUNTERPARTS.



                                         [Signatures on pages to follow]
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                            SIGNATURE PAGE TO SECURITY AGREEMENT




        DEBTOR: BLUE F44 LLC




       By: _______________________

       Name:

       Date: July 7, 2022




       SECURED PARTY: KING FAMILY LENDING LLC


       By: _______________________
       Name: Sara J. King
       Title: Manager
       Date: July 7, 2022




Additional Documents Attached and Included:
Secured Promissory Note
Confession of Judgment
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                                      SECURED PROMISSORY
                                             NOTE
                                       Orange County, California



   Principal Amount: $400,000                                                   Date: July 7, 2022


   FOR VALUE RECEIVED, the receipt and adequacy of which is hereby acknowledged by
   BLUE F44 LLC a limited liability company with an address of 1220 Bayside Drive, Newport
   Beach, California (hereinafter referred to as “Borrower") promises to pay to the order of KING
   FAMILY LENDING LLC, a California Limited Liability Company (hereinafter referred to as
   "Lender"), with an address of 110 Newport Center Drive, Ste. 277, Newport Beach, California
   92660, in accordance with this Secured Promissory Note (hereinafter referred to as the "Note"),
   and Security Agreement dated concurrently with this Note, attached and incorporated hereto, at
   such place as the Lender hereof may hereafter designate in writing), the principal sum of FOUR
   HUNDRED THOUSAND DOLLARS (400,000.00) (the “Loan Amount”) in immediately
   available funds and lawful money of the United States of America, without right to set-off or
   counterclaim together with Interest, as described below, on or before November 6, 2022, a total
   loan term of 120 days.


            1.  Maturity Date. The maturity date of this Secured Promissory Note shall mean the
          date which is 120 days after the date of this Note.

            2.   Interest. Interest shall accrue on the principal balance from the date hereof at the
          rate of ONE HUNDRED TWENTY PERCENT (120%) per annum (“Interest”),
          subject to increase upon default as hereinafter provided. Interest accruing hereunder shall
          be payable monthly commencing on the date of this Note and continuing on the first day
          of each consecutive month thereafter, with time being of the essence. Interest accruing
          and payable under this Note shall be computed and applied on the basis of a 365-day year,
          actual days elapsed, with time being of the essence. Interest that is not received by Lender
          on the date such interest is due shall, at the sole discretion of Lender, be added to the
          Principal balance and shall from that date due bear interest at the rate provided in this
          Note.

                 Late Charges. If any payment provided for in this Note is not paid when due, it
                3.
         would be impracticable or extremely difficult to fix the actual damages resulting to Lender.
         Therefore, if any payment provided for in this Note is not paid when due Borrower agrees
         to pay to Lender a sum equal to TEN PERCENT (10%) of the payment as liquidated
         damages and not as a penalty, to compensate Lender for the expenses of administering the
         default. Only one late charge will be collected for each late payment, regardless of the
         period during which it remains in default.

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             4. Fees. Costs. and Expenses. Lender has waived all commitment/origination fees,
         costs, and expenses, including without limitation attorneys, administrative, insurance fees,
         incurred in connection with the investigation, negotiation, arrangement, and making of
         this Note and related loan documents.

             5. Payments. Payments shall be applied first to fees, costs, expenses and sums
         other than principal and interest due to Lender, then to accrued and unpaid interest
         hereon, and the balance thereof, if any, to the outstanding principal balance hereof. The
         amounts borrowed may be prepaid at any time provided written notice of prepayment is
         received by Lender concurrently therewith.

                6.Maximum Legal Rate- No Usury. Notwithstanding any provision to the contrary
         contained in this Note, it is expressly provided that in no case or event shall the aggregate
         of: a) all interest on the unpaid balance of this Note, accrued or paid from the date hereof
         and b) the aggregate of any other amounts accrued or paid pursuant to this Note, which
         under applicable laws are or may be deemed to constitute interest upon the indebtedness
         evidenced by this Note from the date hereof, ever exceed the maximum nonusurous rate of
         interest permitted on the execution date hereof by whichever of applicable California or
         United States laws permit the higher maximum nonusurous interest rate (“highest lawful
         rate”). In this connection, it is expressly understood and agreed that it is the intent of the
         Borrower and the Lender to contract in strict compliance with the applicable usury laws of
         the State of California and of the United States, whichever from time to time permit the
         higher rate of interest. In furtherance thereof, none of the terms of this Note shall ever be
         construed to create a contract to pay, as consideration for the use, forbearance or detention
         of money, interest at a rate in excess of the highest lawful rate. The Borrower or other
         parties now or hereafter becoming liable for payment of the indebtedness evidenced by
         this Note shall never be liable for Interest in excess of the highest lawful rate. I f, for any
         reason whatever, the interest paid or received on this Note during its full term produces a
         rate which exceeds the highest lawful rate, the Lender of this Note shall refund to the
         payor or at the Lender's option, credit against the principal of this Note such portion of
         said interest as shall be necessary to cause the interest paid on this Note to produce a rate
         equal to the highest lawful rate.

            7. Default/Acceleration. Borrower shall be in default under this Note upon the
         occurrence of any of the following events, which shall be referred to in this Note as an
         “Event of Default”:

                     (a)    There is a failure to make any payment when due under this Note.
                     (b)    Borrower fails to perform any covenant or observe any condition
                            contained in this Note or Borrower's breach of any covenant, term or
                            condition of this Note.
                     (c)    Borrower is subject to or affected by:
                            1.     the appointment of a receiver, liquidator, or trustee;

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                            2.    the filing of any voluntary or involuntary petition for
                                  bankruptcy or reorganization;
                            3.    the inability of any such person to pay his or her debts when
                                  due or the admission in writing by any such person that his or her
                                  debts cannot be paid when due;
                            4.    the dissolution, termination of existence, insolvency or business
                                  failure of any such person;
                           5.      any assignment for the benefit of creditors;
                            6.    the making or suffering of a fraudulent transfer under applicable
                                  federal or state law; or
                           7.     the concealment of any of his or her property in fraud.

                  In an Event of Default by Borrower, the entire principal sum, with accrued interest
          thereon and all other sums due under this Note, shall at the option of Lender, become
          immediately due and payable, and at the option of the Lender, the rate of interest provided
          for under this Note shall, without notice, be increased to an amount TEN PERCENT
          (10%) PER YEAR over and above the rate of interest set forth in Paragraph 1 of this Note
          under the section entitled• interest”. Lender shall be entitled to collect all such amounts
          and to enforce any and all remedies available to it, and Borrower's default shall constitute
          the requisite showing under California Code of Civil Procedure, Section 1281.8, and any
          similar provision in any other jurisdiction, that any award Lender may receive in
          accordance with the terms of this Note may be rendered ineffectual without provisional
          relief.

             8. Guaranty Agreement and Security Agreements. This Note and any past, present,
          or future liabilities of Borrower to Lender, regardless of how acquired by lender, are being
          secured by the execution by a Personal Guaranty Agreement, and execution of a Security
          Agreement, attached hereto and incorporated herein. To secure the payment of this Note,
          this Note and any past, present, or future liabilities of Borrower to Lender, regardless of
          how acquired by Lender, Borrower grants to Lender a first priority security interest in and
          lien upon all of the following property of Borrower, whether now owned or hereafter
          acquired by Borrower, whether now existing or hereafter arising, whether fixed or
          contingent, and wherever located, and all supporting obligations relating to said property,
          and all proceeds thereof (collectively, “Collateral”):

                     (a) As described in the Security Agreement dated herewith.

                     (b) all proceeds (including, without limitation, insurance proceeds), and
                     rights of Borrower to receive payments in respect of and from such interests
                     and related rights, goods, instruments, inventory, investment property, rents,
                     letters of credit, letter-of- credit rights, payment intangibles, money, and all
                     books and records pertaining to the foregoing property and related rights
                     from the above-described property.
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                 Borrower shall execute and deliver to Lender, and to any and all third parties as
          Lender shall require, all such notices, additional security agreements, assignments, pledge
          agreements, and amendments thereof, as and when Lender shall require in order to
          perfect and maintain Lender's rights and security interests under this Note. Borrower
          hereby irrevocably appoints Lender as the attorney in fact for Borrower, with power of
          substitution which may be exercised by Lender in its discretion, to execute and deliver
          any and all such notices, additional security agreements, assignments, pledge agreements,
          and amendments, if and only if there is an Event of Default. Said power of attorney is
          deemed coupled with an interest and irrevocable. Lender shall have all of the rights and
          shall be entitled to exercise and enforce all remedies and powers of a secured party as
          provided in the California Uniform Commercial Code (“CUCC”) and as otherwise
          provided by law. The security interest herein granted shall be in addition to any and all
          other security interests previously or hereafter granted by Borrower to Lender, and is and
          shall remain perfected, in part, by one or more existing financing statements of record in
          favor of Lender. Each term used in this Note to describe the Collateral, if defined in the
          CUCC, shall have the meaning assigned to such term under the CUCC as the same is
          amended from time to time.

            8. Disposition of Collateral on Default. Any collateral given to the Lender at any
         time will be deemed security for the payment of this Note and any other liabilities of the
         Borrower to the Lender. In case of default in payment of this Note or any other notes of
         the Borrower, whether as maker, co- maker, surety, guarantor, or endorser, held by the
         Lender, or in case the collateral declines in value or otherwise becomes unsatisfactory to
         the Lender, the Lender is authorized to dispose of all or any part of the collateral security
         property at public or private sale, without advertisement, or notice to the Borrower, which
         rights are expressly waived. At such a sale, the Lender may purchase any or all of the
         property free of any claim or right of redemption of the Borrower, which rights are
         expressly waived except as provided by law. Neither the sale of the collateral nor the
         application of its proceeds will prejudice any other rights of the Lender against the
         Borrower.
                9.   Lender, Borrower, Use of Loan Proceeds, Successors and Assigns.
         Lender is a licensed California Finance Lender. Borrower warrants and represents that the
         funds being loaned in accordance with the terms of this Note are being used exclusively
         for commercial purposes and none of the funds being loaned in accordance with the terms
         of this Note are being used for personal, family, or household purposes.

         Subject to the prohibition against Borrower's assignment herein, this Note and all the
         covenants and agreements contained herein shall inure to the benefit of Lender and bind
         Borrower and all of their respective successors, estates, heirs, personal representatives and
         assigns. Without limiting the generality of the foregoing, Lender may assign or grant
         participation in any of Lender's rights under this Note in whole or in part to any person,
         without notice and without affecting Borrower's liability hereunder.

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             10. Arbitration. Any dispute, claim or controversy of any kind, whether in contract
           or in tort, legal or equitable, now existing or hereafter arising, relating to or in any way
           arising out of this Note or any related agreements, or any past, present, or future loans,
           services, agreements, relationships, incidents or injuries of any kind whatsoever relating
           to or involving Borrower, and anyone who signs, guarantees or endorses this Note and
           Lender, shall be resolved by binding arbitration before ADR Services, Inc. (hereinafter
           “ADR”) in accordance with its Commercial Arbitration Rule. Judgment on the award
           rendered by the arbitrator(s) may be entered in any court having jurisdiction. Any party
           who fails to submit to binding arbitration following a lawful demand to do so shall bear
           all costs and expenses incurred by the demanding party in compelling arbitration of the
           dispute. To the maximum extent practicable, ADR, the arbitrator(s), and the parties shall
           act to assure that any arbitration proceeding shall be concluded within 180 days of the
           filing of the dispute with ADR. The hearing on the matter to be arbitrated shall take place
           in Los Angeles, California. The prevailing party shall recover the costs of the arbitration,
           including, but not limited to, filing, administrative, and arbitrator(s) fees.

             11. Costs of Collection. Borrower promises to pay all costs, expenses and attorneys'
           fees incurred by Lender in the exercise of any remedy (with or without litigation), in any
           proceeding for the collection of this Note, or in any litigation or controversy arising from
           or connected with this Note. Such proceedings shall include, without limitation, any
           probate, bankruptcy, receivership, injunction, arbitration, mediation or other proceeding,
           or any appeal from or petition for review of any of the foregoing, in which Lender
           appears to enforce this Note. Borrower shall also pay all of Lender's costs and attorneys'
           fees incurred in connection with any demand, workout, settlement compromise or other
           activity in which Lender engages to collect any portion of this Note not paid when due or
           as a result of any default of Borrower.

             12. Waivers. Borrower and all sureties, guarantors, and endorsers of this Note hereby
           waive notice of intent to accelerate and notice of acceleration, notice of protest and
           notice of dishonor, notice of non-payment, demand. presentment for payment, protest,
           any notices in connection with the delivery, presentment, acceptance, performance,
           default, or enforcement of this Note, diligence in collecting and the filing of suit for the
           purpose of fixing liability and any and all other notices and demands whatsoever, and
           consent to any extensions or postponements of time or other indulgence, including time
           for payment, renewals, releases of liens, waivers, or modifications that may be made by
           Payee to any party to this Note. No extension of time for payment of any amount owing
           on this Note will affect the liability of Borrower or any surety, guarantor, or endorser of
           this Note. No delay by the Lender or holder in exercising any right under this Note will
           operate as a waiver of that right; nor will any single or partial exercise of any right
           preclude other or further exercise of the right, or the exercise of any other right under this
           Note or otherwise as permitted by law.

                  No covenant, condition, right or remedy in this Note may be waived or modified
          orally, by course of conduct or previous acceptance or otherwise unless such waiver or
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          modification is specifically agreed to in a writing executed by Lender. Any waiver or
          modification will be valid only to the extent set forth in the writing. Without limiting the
          foregoing, no previous waiver and no failure or delay by Lender in acting pursuant to the
          terms of this Note shall constitute a waiver of any breach, default or failure of a condition
          under this Note or any obligations contained therein. Borrower further waives exhaustion
          of legal remedies and the right to plead any and all statutes of limitation as a defense to
          any demand on this Note, or to any agreement to pay the same.

             13. Governing Law. This Note shall be governed by and construed in accordance
           with the laws of the State of California. Orange County, California shall be proper place
           of venue for suit hereon. The Borrower and any and all co-makers, endorsers, guarantors
           and sureties irrevocably agree that any legal proceeding in respect of this Note shall be
           brought in the Central District of the Superior Court of Orange County or if applicable
           the United States District Court for the Central District of California.

            14. Records of Payments. The records of the Lender shall, absent manifest error, be
           binding and conclusive evidence of the amounts owing on this Note. The failure of
           Lender to record any payment or expenses shall not limit or otherwise affect the
           obligations of Borrower under this Note.

             15. Partial Invalidity. If any section or provision of this Note is declared invalid or
           unenforceable by a court competent jurisdiction, such section or provision shall be
           enforceable to the fullest extent permitted by law, and such a determination shall not
           affect the validity or enforceability of the remaining terms hereof; by way of example
           and not limitation, if any fee exceeds the maximum such fee permitted by law, such fee
           shall be reduced so as to equal the maximum permitted by law, or if any time period is
           shorter than required by law, such time period shall be deemed increased to the minimum
           time period permitted by law. No such determination in one jurisdiction shall affect any
           provision of this Note to the extent it is otherwise enforceable under the laws of any
           other applicable jurisdiction.

            16. Full Power and Authority. Borrower and each individual executing this Note on
           behalf of any Borrower have the full power and authority to execute and deliver this
           Note, and this Note constitutes the valid and binding obligation of Borrower and is
           enforceable in accordance with its terms.

             17. Captions/Terms. The various captions and headings contained in this Note are
           for reference only and shall not be considered or referred to in resolving questions of
           interpretation of this Note. No provision in this Note is to be interpreted for or against
           any party because that party or that party's legal representative drafted such provision, it
           being recognized that all parties have contributed substantially and materially to the
           preparation of this Note. As used in this Note, the term “including” means “including but
           not limited to” unless otherwise specified; the word “or” means “and/or” the word
           “person” means and refers to any individual, corporation, trust, estate, partnership, joint
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           venture, government or governmental authority or other entity and the word "affiliate
           means and refers to any entity that directly, or indirectly through one or more
           intermediaries, controls, is controlled by, or is under common control with, another
           entity. All pronouns and any validations thereof, shall be deemed to refer to the
           masculine, feminine. neuter singular or plural as the identity of the person, persons,
           entity or entities may require. Whenever in this Note locative adverbs such as "herein and
           "hereunder" are used, the same shall be made in reference to this Note in its entirety and
           not any specific article, section, subsection, subpart, paragraph or subparagraph.

            18. Entire Agreement. This Note and the Security Agreement executed in connection
          herewith embody the entire agreement and understanding between Lender and Borrower
          with respect to this Note and supersede all prior conflicting or inconsistent agreements,
          consents and understandings relating to such subject matter. Borrower acknowledges and
          agrees that there are no oral agreements between the Borrower and the Lender which
          have not been incorporated in this Note. No waiver, modification, change, or amendment
          to any provision of these documents shall be effective unless specifically made in writing
          and signed by both Lender and Borrower.


    BORROWER: BLUE F44 LLC


    ________________________________


    Title
    (if applicable):Manager


    Date:7-7–2022




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                             EXHIBIT “Q”
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                                         SECURITY AGREEMENT




           THIS SECURITY AGREEMENT (the "Agreement") is entered into on August 23, 2022 by and
      between JONA                   , an individual ("Debtor"), and King Family Lending LLC
      ("Secured Party"), as follows:


               1.     Secured Obligations. Debtor has executed and delivered to Secured Party that certain
      Secured Promissory Note dated as of concurrently with this Agreement (the “Note”) in the principal
      amount of ONE HUNDRED SEVENTY FIVE THOUSAND DOLLARS ($175,000.00) plus interest
      and has agreed to pay all indebtedness under the Note and all such legal expenses and obligations
      thereunder and any past, present, or future liabilities of Debtor to Secured Party, regardless of how
      acquired by Secured Party (hereinafter sometimes referred to collectively as the "Secured Obligations")
      after a period of 90 days. Debtor has derived and will continue to derive a material financial benefit
      from the Note and, in order to induce Secured Party to agree to the terms of the Note, Debtor has agreed
      to execute and deliver this Agreement to and for the benefit of Secured Party.

              2.       Security Interest. To secure the full and timely payment and performance of the
      Secured Obligations, Debtor hereby grants to Secured Party a first priority security interest in and lien
      upon all of the following property of Debtor, wherever located (collectively, the “Collateral”). Debtor
      hereby understands and agrees that the Collateral shall be held by Secured Party until the earlier of: a)
      the term of the Note; or b) Debtor has paid to Secured Part all monies owed under the Note.

                  (1) 2018 ROLLS ROYCE PHANTOM, BLACK.

            Debtor shall execute and deliver to Lender, and to any and all third parties as Lender shall
     require, all such notices, additional security agreements, assignments, pledge agreements, and
     amendments thereof, as and when Lender shall require in order to perfect and maintain Lender's rights
     and security interests under this Note. Debtor hereby irrevocably appoints Lender as the attorney in
     fact for Debtor, with power of substitution which may be exercised by Lender in its discretion, to
     execute and deliver any and all such notices, additional security agreements, assignments, pledge
     agreements, and amendments, if and only if there is an Event of Default. Said power of attorney is
     deemed coupled with an interest and irrevocable. Lender shall have all of the rights and shall be
     entitled to exercise and enforce all remedies and powers of a secured party as provided in the California
     Uniform Commercial Code ("CUCC") and as otherwise provided by law. The security interest herein
     granted shall be in addition to any and all other security interests previously or hereafter granted by
     Debtor to Lender, and is and shall remain perfected, in part, by one or more existing financing
     statements of record in favor of Lender. Each term used in this Note to describe the Collateral, if
     defined in the CUCC, shall have the meaning assigned to such term under the CUCC as the same is
     amended from time to time.

            Secured Party shall have all of the rights and shall be entitled to exercise and enforce all
    remedies and powers of a secured party as provided in the California Uniform Commercial Code
    (“CUCC") and as otherwise provided by law. The security interest herein granted shall be in addition
    to any and all other security interests previously or hereafter granted by Debtor to Secured Party, and
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    is and shall remain perfected, in part, by one or more existing financing statements of record in favor
    of Secured Party. Each term used in this Agreement to describe the Collateral, if defined in the CUCC,
    shall have the meaning assigned to such term under the CUCC as the same is amended from time to
    time.

           3.       Default. The occurrence of any of the following events or conditions shall constitute
    and shall be referred to in this Agreement as an "Event of Default":

              a. Breach or default in the payment or performance of any of the Secured Obligations, or
              under any instrument or agreement evidencing or securing the Secured Obligations;

              b. Breach or default by Debtor in the performance of any obligations of Debtor under this
              Security Agreement;

              c. Any warranty, representation, or statement made or furnished to Secured Party by or on
              behalf of Debtor proves to have been false in any material respect when made or furnished;

              d. The dissolution, termination of existence, insolvency, business failure, or the
              commencement of any proceeding under any bankruptcy or insolvency law by or against
              Debtor; and

              e. If Debtor shall apply for or consent to the appointment of a receiver, trustee or liquidator
              for any material part of Maker’s property, (ii) admit in writing Maker’s inability to pay its
              debts as they mature, (iii) make a general assignment for the benefit of creditors, (iv) be
              adjudicated bankrupt or insolvent, (v) file a voluntary petition in bankruptcy, or a petition or
              an answer seeking an arrangement with creditors or taking advantage of any bankruptcy,
              insolvency, readjustment of debt, dissolution or liquidation law, or filing an answer admitting
              the material allegations of a petition filed against Maker in any proceeding under any such
              law, (vi) suffer the appointment of a trustee or receiver to take possession of all or any
              substantial part of Maker’s assets, or (vii) take any action for the purpose of effectuating any
              of the foregoing.

            4.    Rights and Remedies. During the continuance of an Event of Default and if the
     Secured Obligations have been accelerated as a result thereof, Secured Party, without notice or
     demand, may do any one or more of the following, all of which are authorized by Debtor:

              a. Assume ownership of the Collateral;

              b. Settle or adjust disputes and claims directly with account Debtors for amounts and upon
              terms which Secured Party considers advisable, and in such cases, Secured Party will credit
              the Secured Obligations with only the net amounts received by Secured Party in payment of
              such disputed accounts after deducting all reasonable costs and expenses incurred or expended
              in connection therewith including, without limitation, all reasonable attorneys' fees and related
              legal expenses;

              c. Without notice to or demand upon Debtor or any other obligor, make such payments and
              do such acts as Secured Party considers necessary or reasonable to protect its security interests
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              in the Collateral. Debtor agrees to assemble the Collateral if Secured Party so requires, and to
              make the Collateral available to Secured Party as Secured Party may designate. Debtor
              authorities Secured Party to enter the premises where the Collateral is located, to take and
              maintain possession of the Collateral, or any part of it, and to pay, purchase, contest, or
              compromise any encumbrance, charge, security interest, or lien that in Secured Party's
              determination appears to conflict with its security interests and to pay all expenses incurred in
              connection therewith. With respect to any of Debtor's owned or leased premises, Debtor
              hereby grants Secured Party a license to enter into possession of such premises and to occupy
              the same, without charge, for up to 120 days in order to exercise any of Secured Party's rights
              or remedies provided herein, at law, in equity, or otherwise;

              d. Without notice to Debtor (such notice being expressly waived), and without constituting
              a retention of any collateral in satisfaction of an obligation (within the meaning of Section
              9620 of the CUCC), set off and apply to the Secured Obligations any and all indebtedness at
              any time owing to or for the credit or the account of Debtor held by Secured Party;

              e. Secured Party is hereby granted a license or other right to use, without charge, Debtor's
              copyrights, rights of use of any name, trade secrets, trade names, trademarks, service marks,
              and advertising matter, or any property of a similar nature, as it pertains to the Collateral; and
              Debtor's rights under all licenses and all franchise agreements shall inure to Secured Party's
              benefit;

              f. Sell, lease, license or otherwise dispose of the Collateral, including at either a public or
              private sale, or both, by way of one or more contracts or transactions, for cash or on terms, in
              such manner and at such places (including Debtor's premises) as Secured Party determines is
              commercially reasonable, and Debtor agrees that neither the Collateral nor evidence thereof
              need be present at the location of such sale or other disposition;

              g. Secured Party shall give notice of the sale or other disposition of the Collateral as follows:
              (i) Secured Party shall give Debtor and each holder of a security interest in the Collateral who
              has filed with Secured Party a written request for notice, a notice in writing of the time and
              place of public sale or other disposition, or, if the sale or other disposition is a private sale or
              disposition other than a public sale or disposition, then the time after which such private sale
              or other disposition is to be made; (ii) The notice shall be personally delivered or mailed,
              postage prepaid, to Debtor as provided in the Agreement, at least ten (10) days before the date
              fixed for any public sale or other disposition of the Collateral, or at least ten (10) days before
              the date on or after which the private sale or other disposition is to be made; no notice needs
              to be given prior to the disposition of any portion of the Collateral that threatens to decline
              speedily in value or that is of a type customarily sold on a recognized market. Notice to persons
              other than Debtor claiming an interest in the Collateral shall be sent to such addresses as they
              have furnished to Secured Party; (iii) If the sale is to be a public sale, Secured Party also shall
              give notice of the time and place in any manner determined by Secured Party to be
              commercially reasonable, and in any event at least ten (10) days before the date of the sale;

              h. Secured Party may credit bid and purchase at any public sale or other disposition; and

              i.   Any credit extended by Secured Party to any person acquiring title or possession of the
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              Collateral upon any sale, lease, license or other disposition thereof shall not be credited to the
              Debtor.

             Upon the exercise by Secured Party of any power, right, privilege, or remedy pursuant to this
     Agreement which requires any consent, approval, registration, qualification, or authorization of any
     governmental authority, Debtor agrees to execute and deliver, or will cause the execution and delivery
     of, all applications, certificates, instruments, assignments, and other documents and papers that
     Secured Party or any purchaser of the Collateral may be required to obtain for such governmental
     consent, approval, registration, qualification, or authorization.

            Debtor hereby irrevocably stipulates and agrees that Secured Party has the right under this
     Agreement, upon the occurrence of an Event of Default, to seek the appointment of a receiver, trustee,
     or similar official over Debtor to effect the transactions contemplated by this Agreement. Debtor
     hereby irrevocably agrees not to object to such appointment on any grounds.

             The rights and remedies of Secured Party under this Agreement and all other agreements
     contemplated hereby and thereby shall be cumulative. Secured Party shall have all other rights and
     remedies not inconsistent herewith as provided under the CUCC, by law, or in equity. No exercise by
     Secured Party of any one right or remedy shall be deemed an election of remedies, and no waiver by
     Secured Party of any Event of Default shall be deemed a continuing waiver of any other or further
     Event of Default. No delay by Secured Party shall constitute a waiver, election or acquiescence with
     respect to any right or remedy.

              5.       Waivers. In consideration of the Note, Debtor agrees as follows:

              a. At any time and in any manner, upon such terms and at such times as it considers best and
              with or without notice to Debtor, the Secured Party may alter, compromise, accelerate, extend,
              or change the time or manner for payment of the Secured Obligations, increase or reduce the
              rate of interest thereon, release or add any one or more obligors, Debtors, pledgors, or endorsers
              of the Secured Obligations, accept additional or substituted security therefor, or release or
              subordinate any security therefor, without in any way affecting the security interest created by
              the Security Agreements, or any covenant of Debtor.

              b. Debtor waives any right to require the Secured Party to proceed against any other person,
              firm or corporation at any time or to pursue any other remedy in its power, and Debtor agrees
              that the Secured Party shall not be obligated to resort to any other security with any priority,
              in any particular order, or at all, even if such action, or lack thereof, destroys, alters or otherwise
              impairs subrogation rights of Debtor to proceed against any other person, firm or corporation
              for reimbursement, or both.

              c. Debtor waives and agrees not to assert or take advantage of: (i) The defense of any statute
              of limitations in any action hereunder or for the collection or performance of any Secured
              Obligations; (ii) Any defense that may arise by reason of the incapacity, lack of authority, death
              or disability of any other person, or the failure of the Secured Party to file or enforce a claim
              against the estate (whether in administration, bankruptcy or other proceedings) of any other
              person; (iii) Any defense or right based upon election of remedies by the Secured Party,
              including. without limitation, an election to proceed by nonjudicial rather than judicial
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              foreclosure, even if such election destroys, alters or otherwise impairs subrogation rights of
              Debtor or the right of Debtor to proceed against any other person for reimbursement, or both;
              (iv) Any defense or right based upon the acceptance by Secured Party or an affiliate of Secured
              Party of a transfer in lieu of foreclosure, without extinguishing the debt, even if such
              acceptance destroys, alters or otherwise impairs subrogation rights of Debtor or the right of
              Debtor to proceed against any other person for reimbursement, or both; and (v) Any defense
              that may arise by reason of any other defense any co-maker, endorser, or pledgor, or by reason
              of the cessation from any cause whatsoever of the liability of any successors of any endorser,
              co-maker or pledger.

              d. Debtor, by execution hereof, represent& to the Secured Party that the relationship between
              Debtor and any endorser, co-maker, pledger, or other person is such that Debtor has access to
              all relevant facts and information concerning the Secured Obligations, and that Secured Party
              can rely upon Debtor having such access. Debtor waives and agrees not to assert any duty on
              the part of the Secured Party to disclose to Debtor any facts that the Secured Party may now
              or hereafter know about any endorser. co-maker, pledgor, or other person regardless of
              whether the Secured Party has reason to believe that any such facts materially increase the risk
              beyond that which Debtor intends to assume or has reason to believe that such facts are
              unknown to Debtor or has a reasonable opportunity to communicate such facts to Debtor.
              Debtor is fully responsible for being and keeping informed of the financial condition and
              operations of any endorser, co-maker, pledgor, or other person and all circumstances bearing
              on the risk of nonpayment of any Secured Obligations.

              e. Debtor waives demand, protest and notice of any kind, including, without limiting the
              generality of the foregoing, notice of the existence, creation or incurring of new or additional
              Secured Obligations or of any action or non-action on the part of any endorser, co-maker,
              pledger, or other person, the Secured Party, any endorser, any creditor of any endorser, co-
              maker, pledgor, or other person under the Security Agreements or any other instrument or any
              other person whosoever, in connection with any Secured Obligations held by the Secured Party
              as collateral or in connection with any Secured Obligations.

              f. Debtor waives all rights and defenses arising out of an election of remedies by the Secured
              Party, even though that election of remedies, such as a nonjudicial foreclosure with respect to
              security for a guaranteed obligation, has destroyed Debtor's rights of subrogation and
              reimbursement against any endorser, co- maker, pledgor, or other person, or any other obligor,
              by operation of any applicable law or otherwise. Without limiting the foregoing waivers. in
              accordance with Section 2856 of the California Civil Code, Debtor waives any and all rights
              and defenses available to Debtor by reason of Sections 2787 to 2855, inclusive, 2899 and 3433
              of the California Civil Code.

             6.     No Waiver by Secured Party. Secured Party's acceptance of partial or delinquent
     payment, or the failure of Secured Party to exercise any right or remedy will not be a waiver of any
     of the Secured Obligations or any right of Secured Party, will not be a modification of this Agreement
     or any of Debtor's obligations under this Agreement. and will not constitute a waiver of any other
     Event of Default that occurs later.

              7.      Attorneys' Fees. If any litigation is begun between the parties to this Agreement
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     concerning the Collateral, this Agreement, or the rights and duties of either party in relation to them,
     the prevailing party will be entitled to a reasonable sum as reimbursement for its attorneys' fees and
     legal expenses.

               8.      Notices. Except as otherwise expressly provided in this Agreement or by law, any
     notice or other communication required or permitted by this Agreement or by law to be served on,
     given to, or delivered to either party to this Agreement by the other party will be in writing and will
     be considered served, given, delivered, and received when personally delivered to the party to whom
     it is directed or, in lieu of personal delivery, when it is deposited in the United States mail, first-class
     postage prepaid, or delivered by overnight courier, addressed to Debtor at the address above and to
     Secured Party at 110 Newport Center Drive, Ste. 277, Newport Beach, CA 92660. Either party,
     Debtor or Secured Party, may change its address for the purpose of this paragraph by giving written
     notice of the change to the other party in the manner provided in this paragraph.

              9.     Time of Essence. Time is expressly declared to be of the essence of this Agreement.

             10.    Governing Law. This Agreement has been entered into in the State of California and
     will be construed in accordance with the CUCC and all other internal laws of the State of California,
     without application of conflicts of laws principles.

              11.     Arbitration. Any dispute, claim or controversy of any kind, whether in contract or in
     tort, legal or equitable, now existing or hereafter arising, relating to or in any way arising out of this or
     any related agreements, or any past, present, or future loans, services, agreements, relationships,
     incidents or injuries of any kind whatsoever relating to or involving Debtor, shall be resolved by
     binding arbitration before ADR Services, Inc. (hereinafter "ADR") in accordance with its Commercial
     Arbitration Rules. Judgment on the award rendered by the arbitrator(s) may be entered in any court
     having jurisdiction. Any party who fails to submit to binding arbitration following a lawful demand to
     do so shall bear all costs and expenses incurred by the demanding party in compelling arbitration of
     the dispute. To the maximum extent practicable, ADR, the arbitrator(s), and the parties shall act to
     assure that any arbitration proceeding shall be concluded within 180 days of the filing of the dispute
     with ADR. The hearing on the matter to be arbitrated shall take place in Los Angeles. California. The
     prevailing party shall recover the costs of the arbitration, including, but not limited to, filing,
     administrative, and arbitrator(s) fees.

            12.      Validity and Construction. If one or more of the provisions contained in this
    Agreement for any reason is held invalid, illegal, or unenforceable, the invalidity, illegality, or
    unenforceability of that provision will not affect any other provision of this Agreement; and this
    Agreement will be construed as if the invalid, illegal, or unenforceable provision had never been
    contained in it.

             13.    Integration. This Agreement, including the other documents referred to herein which
    form a part hereof, contains the entire understanding of the parties hereto with respect to the security
    interest granted by Debtor to Secured Party for the Secured Obligations. There are no restrictions,
    promises, warranties, covenants, or undertakings, other than those expressly provided for herein. This
    Agreement supersedes all prior agreements and undertakings between the parties with respect to such
    subject matter. No waiver and no modification or amendment of any provision of this Agreement shall
    be effective unless specifically made in writing and duly signed by the party to be bound thereby.
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            14.     Effect on Heirs and Assigns. This Agreement and each of its provisions will be binding
    on and inure to the benefit of the heirs, executors, administrators, legal representatives, successors, and
    assigns of each of the parties to this Agreement.

            15.     Execution and Delivery of Agreement. This Agreement may be executed and
    delivered by facsimile transmission and in any number of counterparts, each of which, when executed
    and delivered, shall be original, an all of them together shall constitute the same Agreement. Delivery
    of this Agreement shall be deemed effective if made to Secured Party. Each Party who delivers a
    counterpart of this Agreement to Secured Party shall deliver the original signed counterpart to Secured
    Party within five (5) days following delivery by facsimile, but any failure by any such Party to deliver
    the original signed counterpart shall not render execution and delivery by facsimile invalid or
    ineffective.



     IN WITNESS WHEREOF, this Note has been executed by Debtor hereto on the day and year first
     above written.

                            THIS AGREEMENT MAY BE EXECUTED IN COUNTERPARTS.



                                         [Signatures on pages to follow]
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                          SIGNATURE PAGE TO SECURITY AGREEMENT




        DEBTOR: JONA




       Name:
       Title:
       Date: August23, 2022




       SECURED PARTY: KING FAMILY LENDING LLC


       By: _______________________
       Name: Sara J. King
       Title: Manager
       Date: August 23, 2022




Additional Documents Attached and Included:
Secured Promissory Note
Confession of Judgment
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                                      SECURED PROMISSORY
                                             NOTE
                                       Orange County, California



   Principal Amount: $175,000                                             Date: August 23, 2022


   FOR VALUE RECEIVED, the receipt and adequacy of which is hereby acknowledged by
   JONA                        , an individual with an address                           (hereinafter
   referred to as “Borrower") promises to pay to the order of KING FAMILY LENDING LLC, a
   California Limited Liability Company (hereinafter referred to as "Lender"), with an address of
   110 Newport Center Drive, Ste. 277, Newport Beach, California 92660, in accordance with this
   Secured Promissory Note (hereinafter referred to as the "Note"), and Security Agreement dated
   concurrently with this Note, attached and incorporated hereto, at such place as the Lender hereof
   may hereafter designate in writing), the principal sum of ONE HUNDRED SEVENTY FIVE
   THOUSAND DOLLARS (175,000.00) (the “Loan Amount”) in immediately available funds
   and lawful money of the United States of America, without right to set-off or counterclaim
   together with Interest, as described below, on or before November 22, 2022, a total loan term of
   90 days.


            1.  Maturity Date. The maturity date of this Secured Promissory Note shall mean the
          date which is 90 days after the date of this Note.

            2.   Interest. Interest shall accrue on the principal balance from the date hereof at the
          rate of ONE HUNDRED TWENTY PERCENT (120%) per annum (“Interest”),
          subject to increase upon default as hereinafter provided. Interest accruing hereunder shall
          be payable monthly commencing on the date of this Note and continuing on the first day
          of each consecutive month thereafter, with time being of the essence. Interest accruing
          and payable under this Note shall be computed and applied on the basis of a 365-day year,
          actual days elapsed, with time being of the essence. Interest that is not received by Lender
          on the date such interest is due shall, at the sole discretion of Lender, be added to the
          Principal balance and shall from that date due bear interest at the rate provided in this
          Note.

                 Late Charges. If any payment provided for in this Note is not paid when due, it
                3.
         would be impracticable or extremely difficult to fix the actual damages resulting to Lender.
         Therefore, if any payment provided for in this Note is not paid when due Borrower agrees
         to pay to Lender a sum equal to TEN PERCENT (10%) of the payment as liquidated
         damages and not as a penalty, to compensate Lender for the expenses of administering the
         default. Only one late charge will be collected for each late payment, regardless of the
         period during which it remains in default.

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             4. Fees. Costs. and Expenses. Lender has waived all commitment/origination fees,
         costs, and expenses, including without limitation attorneys, administrative, insurance fees,
         incurred in connection with the investigation, negotiation, arrangement, and making of
         this Note and related loan documents.

             5. Payments. Payments shall be applied first to fees, costs, expenses and sums
         other than principal and interest due to Lender, then to accrued and unpaid interest
         hereon, and the balance thereof, if any, to the outstanding principal balance hereof. The
         amounts borrowed may be prepaid at any time provided written notice of prepayment is
         received by Lender concurrently therewith.

                6.Maximum Legal Rate- No Usury. Notwithstanding any provision to the contrary
         contained in this Note, it is expressly provided that in no case or event shall the aggregate
         of: a) all interest on the unpaid balance of this Note, accrued or paid from the date hereof
         and b) the aggregate of any other amounts accrued or paid pursuant to this Note, which
         under applicable laws are or may be deemed to constitute interest upon the indebtedness
         evidenced by this Note from the date hereof, ever exceed the maximum nonusurous rate of
         interest permitted on the execution date hereof by whichever of applicable California or
         United States laws permit the higher maximum nonusurous interest rate (“highest lawful
         rate”). In this connection, it is expressly understood and agreed that it is the intent of the
         Borrower and the Lender to contract in strict compliance with the applicable usury laws of
         the State of California and of the United States, whichever from time to time permit the
         higher rate of interest. In furtherance thereof, none of the terms of this Note shall ever be
         construed to create a contract to pay, as consideration for the use, forbearance or detention
         of money, interest at a rate in excess of the highest lawful rate. The Borrower or other
         parties now or hereafter becoming liable for payment of the indebtedness evidenced by
         this Note shall never be liable for Interest in excess of the highest lawful rate. I f, for any
         reason whatever, the interest paid or received on this Note during its full term produces a
         rate which exceeds the highest lawful rate, the Lender of this Note shall refund to the
         payor or at the Lender's option, credit against the principal of this Note such portion of
         said interest as shall be necessary to cause the interest paid on this Note to produce a rate
         equal to the highest lawful rate.

            7. Default/Acceleration. Borrower shall be in default under this Note upon the
         occurrence of any of the following events, which shall be referred to in this Note as an
         “Event of Default”:

                     (a)    There is a failure to make any payment when due under this Note.
                     (b)    Borrower fails to perform any covenant or observe any condition
                            contained in this Note or Borrower's breach of any covenant, term or
                            condition of this Note.
                     (c)    Borrower is subject to or affected by:
                            1.     the appointment of a receiver, liquidator, or trustee;

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                            2.    the filing of any voluntary or involuntary petition for
                                  bankruptcy or reorganization;
                            3.    the inability of any such person to pay his or her debts when
                                  due or the admission in writing by any such person that his or her
                                  debts cannot be paid when due;
                            4.    the dissolution, termination of existence, insolvency or business
                                  failure of any such person;
                           5.      any assignment for the benefit of creditors;
                            6.    the making or suffering of a fraudulent transfer under applicable
                                  federal or state law; or
                           7.     the concealment of any of his or her property in fraud.

                  In an Event of Default by Borrower, the entire principal sum, with accrued interest
          thereon and all other sums due under this Note, shall at the option of Lender, become
          immediately due and payable, and at the option of the Lender, the rate of interest provided
          for under this Note shall, without notice, be increased to an amount TEN PERCENT
          (10%) PER YEAR over and above the rate of interest set forth in Paragraph 1 of this Note
          under the section entitled• interest”. Lender shall be entitled to collect all such amounts
          and to enforce any and all remedies available to it, and Borrower's default shall constitute
          the requisite showing under California Code of Civil Procedure, Section 1281.8, and any
          similar provision in any other jurisdiction, that any award Lender may receive in
          accordance with the terms of this Note may be rendered ineffectual without provisional
          relief.

             8. Guaranty Agreement and Security Agreements. This Note and any past, present,
          or future liabilities of Borrower to Lender, regardless of how acquired by lender, are being
          secured by the execution by a Personal Guaranty Agreement, and execution of a Security
          Agreement, attached hereto and incorporated herein. To secure the payment of this Note,
          this Note and any past, present, or future liabilities of Borrower to Lender, regardless of
          how acquired by Lender, Borrower grants to Lender a first priority security interest in and
          lien upon all of the following property of Borrower, whether now owned or hereafter
          acquired by Borrower, whether now existing or hereafter arising, whether fixed or
          contingent, and wherever located, and all supporting obligations relating to said property,
          and all proceeds thereof (collectively, “Collateral”):

                     (a) As described in the Security Agreement dated herewith.

                     (b) all proceeds (including, without limitation, insurance proceeds), and
                     rights of Borrower to receive payments in respect of and from such interests
                     and related rights, goods, instruments, inventory, investment property, rents,
                     letters of credit, letter-of- credit rights, payment intangibles, money, and all
                     books and records pertaining to the foregoing property and related rights
                     from the above-described property.
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                 Borrower shall execute and deliver to Lender, and to any and all third parties as
          Lender shall require, all such notices, additional security agreements, assignments, pledge
          agreements, and amendments thereof, as and when Lender shall require in order to
          perfect and maintain Lender's rights and security interests under this Note. Borrower
          hereby irrevocably appoints Lender as the attorney in fact for Borrower, with power of
          substitution which may be exercised by Lender in its discretion, to execute and deliver
          any and all such notices, additional security agreements, assignments, pledge agreements,
          and amendments, if and only if there is an Event of Default. Said power of attorney is
          deemed coupled with an interest and irrevocable. Lender shall have all of the rights and
          shall be entitled to exercise and enforce all remedies and powers of a secured party as
          provided in the California Uniform Commercial Code (“CUCC”) and as otherwise
          provided by law. The security interest herein granted shall be in addition to any and all
          other security interests previously or hereafter granted by Borrower to Lender, and is and
          shall remain perfected, in part, by one or more existing financing statements of record in
          favor of Lender. Each term used in this Note to describe the Collateral, if defined in the
          CUCC, shall have the meaning assigned to such term under the CUCC as the same is
          amended from time to time.

            8. Disposition of Collateral on Default. Any collateral given to the Lender at any
         time will be deemed security for the payment of this Note and any other liabilities of the
         Borrower to the Lender. In case of default in payment of this Note or any other notes of
         the Borrower, whether as maker, co- maker, surety, guarantor, or endorser, held by the
         Lender, or in case the collateral declines in value or otherwise becomes unsatisfactory to
         the Lender, the Lender is authorized to dispose of all or any part of the collateral security
         property at public or private sale, without advertisement, or notice to the Borrower, which
         rights are expressly waived. At such a sale, the Lender may purchase any or all of the
         property free of any claim or right of redemption of the Borrower, which rights are
         expressly waived except as provided by law. Neither the sale of the collateral nor the
         application of its proceeds will prejudice any other rights of the Lender against the
         Borrower.
                9.   Lender, Borrower, Use of Loan Proceeds, Successors and Assigns.
         Lender is a licensed California Finance Lender. Borrower warrants and represents that the
         funds being loaned in accordance with the terms of this Note are being used exclusively
         for commercial purposes and none of the funds being loaned in accordance with the terms
         of this Note are being used for personal, family, or household purposes.

         Subject to the prohibition against Borrower's assignment herein, this Note and all the
         covenants and agreements contained herein shall inure to the benefit of Lender and bind
         Borrower and all of their respective successors, estates, heirs, personal representatives and
         assigns. Without limiting the generality of the foregoing, Lender may assign or grant
         participation in any of Lender's rights under this Note in whole or in part to any person,
         without notice and without affecting Borrower's liability hereunder.

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             10. Arbitration. Any dispute, claim or controversy of any kind, whether in contract
           or in tort, legal or equitable, now existing or hereafter arising, relating to or in any way
           arising out of this Note or any related agreements, or any past, present, or future loans,
           services, agreements, relationships, incidents or injuries of any kind whatsoever relating
           to or involving Borrower, and anyone who signs, guarantees or endorses this Note and
           Lender, shall be resolved by binding arbitration before ADR Services, Inc. (hereinafter
           “ADR”) in accordance with its Commercial Arbitration Rule. Judgment on the award
           rendered by the arbitrator(s) may be entered in any court having jurisdiction. Any party
           who fails to submit to binding arbitration following a lawful demand to do so shall bear
           all costs and expenses incurred by the demanding party in compelling arbitration of the
           dispute. To the maximum extent practicable, ADR, the arbitrator(s), and the parties shall
           act to assure that any arbitration proceeding shall be concluded within 180 days of the
           filing of the dispute with ADR. The hearing on the matter to be arbitrated shall take place
           in Los Angeles, California. The prevailing party shall recover the costs of the arbitration,
           including, but not limited to, filing, administrative, and arbitrator(s) fees.

             11. Costs of Collection. Borrower promises to pay all costs, expenses and attorneys'
           fees incurred by Lender in the exercise of any remedy (with or without litigation), in any
           proceeding for the collection of this Note, or in any litigation or controversy arising from
           or connected with this Note. Such proceedings shall include, without limitation, any
           probate, bankruptcy, receivership, injunction, arbitration, mediation or other proceeding,
           or any appeal from or petition for review of any of the foregoing, in which Lender
           appears to enforce this Note. Borrower shall also pay all of Lender's costs and attorneys'
           fees incurred in connection with any demand, workout, settlement compromise or other
           activity in which Lender engages to collect any portion of this Note not paid when due or
           as a result of any default of Borrower.

             12. Waivers. Borrower and all sureties, guarantors, and endorsers of this Note hereby
           waive notice of intent to accelerate and notice of acceleration, notice of protest and
           notice of dishonor, notice of non-payment, demand. presentment for payment, protest,
           any notices in connection with the delivery, presentment, acceptance, performance,
           default, or enforcement of this Note, diligence in collecting and the filing of suit for the
           purpose of fixing liability and any and all other notices and demands whatsoever, and
           consent to any extensions or postponements of time or other indulgence, including time
           for payment, renewals, releases of liens, waivers, or modifications that may be made by
           Payee to any party to this Note. No extension of time for payment of any amount owing
           on this Note will affect the liability of Borrower or any surety, guarantor, or endorser of
           this Note. No delay by the Lender or holder in exercising any right under this Note will
           operate as a waiver of that right; nor will any single or partial exercise of any right
           preclude other or further exercise of the right, or the exercise of any other right under this
           Note or otherwise as permitted by law.

                  No covenant, condition, right or remedy in this Note may be waived or modified
          orally, by course of conduct or previous acceptance or otherwise unless such waiver or
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          modification is specifically agreed to in a writing executed by Lender. Any waiver or
          modification will be valid only to the extent set forth in the writing. Without limiting the
          foregoing, no previous waiver and no failure or delay by Lender in acting pursuant to the
          terms of this Note shall constitute a waiver of any breach, default or failure of a condition
          under this Note or any obligations contained therein. Borrower further waives exhaustion
          of legal remedies and the right to plead any and all statutes of limitation as a defense to
          any demand on this Note, or to any agreement to pay the same.

             13. Governing Law. This Note shall be governed by and construed in accordance
           with the laws of the State of California. Orange County, California shall be proper place
           of venue for suit hereon. The Borrower and any and all co-makers, endorsers, guarantors
           and sureties irrevocably agree that any legal proceeding in respect of this Note shall be
           brought in the Central District of the Superior Court of Orange County or if applicable
           the United States District Court for the Central District of California.

            14. Records of Payments. The records of the Lender shall, absent manifest error, be
           binding and conclusive evidence of the amounts owing on this Note. The failure of
           Lender to record any payment or expenses shall not limit or otherwise affect the
           obligations of Borrower under this Note.

             15. Partial Invalidity. If any section or provision of this Note is declared invalid or
           unenforceable by a court competent jurisdiction, such section or provision shall be
           enforceable to the fullest extent permitted by law, and such a determination shall not
           affect the validity or enforceability of the remaining terms hereof; by way of example
           and not limitation, if any fee exceeds the maximum such fee permitted by law, such fee
           shall be reduced so as to equal the maximum permitted by law, or if any time period is
           shorter than required by law, such time period shall be deemed increased to the minimum
           time period permitted by law. No such determination in one jurisdiction shall affect any
           provision of this Note to the extent it is otherwise enforceable under the laws of any
           other applicable jurisdiction.

            16. Full Power and Authority. Borrower and each individual executing this Note on
           behalf of any Borrower have the full power and authority to execute and deliver this
           Note, and this Note constitutes the valid and binding obligation of Borrower and is
           enforceable in accordance with its terms.

             17. Captions/Terms. The various captions and headings contained in this Note are
           for reference only and shall not be considered or referred to in resolving questions of
           interpretation of this Note. No provision in this Note is to be interpreted for or against
           any party because that party or that party's legal representative drafted such provision, it
           being recognized that all parties have contributed substantially and materially to the
           preparation of this Note. As used in this Note, the term “including” means “including but
           not limited to” unless otherwise specified; the word “or” means “and/or” the word
           “person” means and refers to any individual, corporation, trust, estate, partnership, joint
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           venture, government or governmental authority or other entity and the word "affiliate
           means and refers to any entity that directly, or indirectly through one or more
           intermediaries, controls, is controlled by, or is under common control with, another
           entity. All pronouns and any validations thereof, shall be deemed to refer to the
           masculine, feminine. neuter singular or plural as the identity of the person, persons,
           entity or entities may require. Whenever in this Note locative adverbs such as "herein and
           "hereunder" are used, the same shall be made in reference to this Note in its entirety and
           not any specific article, section, subsection, subpart, paragraph or subparagraph.

            18. Entire Agreement. This Note and the Security Agreement executed in connection
          herewith embody the entire agreement and understanding between Lender and Borrower
          with respect to this Note and supersede all prior conflicting or inconsistent agreements,
          consents and understandings relating to such subject matter. Borrower acknowledges and
          agrees that there are no oral agreements between the Borrower and the Lender which
          have not been incorporated in this Note. No waiver, modification, change, or amendment
          to any provision of these documents shall be effective unless specifically made in writing
          and signed by both Lender and Borrower.


   BORROWER: JONAT

   BY:________________________

   TITLE:
   DATE: 8-23–22




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                              EXHIBIT “R”
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                                         #:451
                               CERTIFICATE OF APPRAISAL




TO WHOM IT MAY CONCERN:

THIS IS TO CERTIFY THAT WE ARE ENGAGED IN THE JEWELRY BUSINESS, APPRAISING DIAMONDS, WATCHES, JEWELRY AND
PRECIOUS STONES OF ALL DESCRIPTIONS. THIS APPRAISAL HAS BEEN MADE AT THE REQUEST OF KING FAMILY LENDING
LLC FOR PURPOSES OF ITEMS’ AUTHENTICITY AND VALUE.

WE HEREWITH CERTIFY THAT WE HAVE THIS DAY CAREFULLY EXAMINED THE FOLLOWING LISTED AND DESCRIBED ARTICLES,
THE PROPERTY OF:




WE ESTIMATE THE VALUE AS LISTED FOR LENDING PURPOSES AT THE CURRENT WHOLESALE VALUE, EXCLUDING FEDERAL
AND OTHER TAXES. IN MAKING THIS APPRAISAL, WE HEREBY AGREE TO PURCHASE THE ARTICLE(S) FROM KING FAMILY
LENDING LLC FOR A PERIOD OF SIX (6) MONTHS FROM THE DATE LISTED BELOW.

                                                                                              _______________________

DESCRIPTION
DESCRIPTION                                                                PHOTO
                                                                            PHOTO                             APPRAISED  VALUE
                                                                                                               APPRAISED VALUE

ONE MENS 41MM AUTOMATIC AUDEMARS PIGUET ROYAL                                                                            $94,000.00
OAK ROSE GOLD CHRONOGRAPH BLACK INDEX
WATCH WITH ROSE GOLD AP FOLDING CLASP BAND
MODEL # 26320OR.OO.122OR.01
SERIAL #




ONE MENS 41MM AUTOMATIC AUDEMARS PIGUET ROYAL                                                                            $98,000.00
OAK ROSE GOLD CHRONOGRAPH BLACK INDEX
WATCH WITH ROSE GOLD AP FOLDING CLASP BAND
MODEL # 26320OR.OO.1220OR.02
SERIAL #




ONE MENS 50MMX42.7MM MANUAL RICHARD MILLE RM030                                                                        $220,000.00
TITATNUM WATCH WITH BLACK RUBBER BAND
MODEL # RM030
SERIAL #




THE FOREGOING APPRAISAL IS MADE WITH THE UNDERSTANDING THAT THE APPRAISER ASSUMES NO LIABILITY WITH RESPECT TO ANY ACTION THAT
MAY BE TAKEN ON THE BASIS OF THE APPRAISAL, UNLESS OTHERWISE PROVIDED IN THIS APPRAISAL.



                                                                                    January 7, 2022
_______________________________________________                                     ___________________
                                                                                    DATE
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                              EXHIBIT “S”
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COIN                                  ID/GRADE           YEAR           METAL       %     EST VALUE                #               TOTALS
FRANKLIN HALF DOLLAR                     MS66             1953           SILVER      90   $            31,000.00               $     31,000.00
FRANKLIN HALF DOLLAR                 PCGS MS65 50C        1951           SILVER      90   $             1,000.00               $      1,000.00
BUFFALO NICKEL                       PCGS MS65 D/D        1938           SILVER     100   $             1,500.00   X10 COINS   $     15,000.00
FRANKLIN HALF DOLLAR                 PCGS MS65FBL         1951           SILVER      90   $               500.00   X10 COINS   $      5,000.00
MORGAN HALF DOLLAR                       MS64             1884           SILVER      90   $               150.00               $        150.00
FRANKLIN HALF DOLLAR                   MD 65 FBL          1951           SILVER      90   $             1,500.00               $      1,500.00
FRANKLIN HALF DOLLAR                  PF66 CAMEO          1959           SILVER      90   $             2,500.00               $      2,500.00
FRENCH MEDAL                            MAZ318            1792         BELL METAL   100   $             4,560.00               $      4,560.00
FRANKLIN HALF DOLLAR                     MS66             1953           SILVER      90   $             1,700.00               $      1,700.00
FRANKLIN HALF DOLLAR                   MS65FBL            1951           SILVER      90   $               168.00   X16         $      2,688.00
US BICENTENNIAL SILVER PROOF SET                        1776-1976        SILVER      90   $             2,200.00               $      2,200.00
MORGAN SILVER DOLLAR                    MS64              1881           SILVER      90   $               400.00               $        400.00
MORGAN SILVER DOLLAR                    MS64              1883           SILVER      90   $               500.00               $        500.00
MORGAN SILVER DOLLAR                    MS64             1885-0          SILVER      90   $             2,500.00               $      2,500.00
MORGAN SILVER DOLLAR                    MS64             1886-0          SILVER      90   $            10,000.00               $     10,000.00
MORGAN SILVER DOLLAR                    MS64             1921-D          SILVER      90   $               500.00               $        500.00
BUFFALO NICKEL                         MS65 D/D           1938           SILVER      90   $             4,500.00   X11         $     49,500.00
GOLD AMERICAN EAGLE                                       2007            GOLD      100   $             3,000.00               $      3,000.00
6 LIV MAZ-88                             SP62             1792          BRONZE      100   $             6,000.00               $      6,000.00
NY GOLD OUNCE                                                             GOLD      100   $             2,400.00               $      2,400.00
GOLD OUNCE-LUNAR YEAR SET                                                 GOLD      100   $             2,400.00   X10         $     24,000.00
LINCOLN PENNY-UNCIRCULATED             MS 62 BN           1943          BRONZE      100   $           140,000.00               $    140,000.00
GOLD LIBERTY                            PR62              1906            GOLD      100   $             4,500.00               $      4,500.00
GOLD LIBERTY                            MS61              1857            GOLD      100   $             8,500.00               $      8,500.00




                                                                                                                               $ 319,098.00
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                              EXHIBIT “T”
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 COLLATERAL                   BRAND           NOTES               VALUE       FIRESALE

                                        BLACK LUCITE &
      1            HANDBAG    CHANEL    CRYSTAL ROCKET       $‎ 30,000.00 $‎ 20,000.00
                                        SHIP EVENING BAG

                                        BEIGE CAVIAR
                                        QUILTED MEDIUM
      2            HANDBAG    CHANEL                         $‎   8,800.00 $‎    8,000.00 NEW WITH BOX
                                        CLASSIC/SILVER
                                        HARDWARE

                                        BLACK CAVIAR
                                        QUILTED MEDIUM
      3            HANDBAG    CHANEL                         $‎   8,800.00 $‎    4,000.00
                                        CLASSIC/SILVER
                                        HARDWARE

                                        MONSIEUR WATCH
      4             WATCH     CHANEL                         $‎ 41,000.00 $‎ 34,000.00
                                        BEIGE/GOLD

                                      JUSTE UN CLOU
      5            BRACELET   CARTIER ROSE GOLD W/           $‎ 20,000.00 $‎ 12,000.00
                                      DIAMONDS

                                      LOVE MODEL ROSE
      6            BRACELET   CARTIER GOLD W/PAVE            $‎ 44,000.00 $‎ 30,000.00
                                      DIAMONDS

                                      LOVE RING WHITE
      7              RING     CARTIER GOLD W PAVE            $‎ 16,400.00 $‎     8,000.00
                                      DIAMONDS

                                        TRINITY RING W/Y/R
      8              RING     CARTIER                        $‎ 35,800.00 $‎ 15,000.00
                                        GOLD W/ DIAMONDS

                                      TRINITY BRACELET
      9            BRACELET   CARTIER W/Y/R GOLD W/          $‎ 75,000.00 $‎ 45,000.00
                                      DIAMONDS

                                      CARTIER TANK
      10            WATCH     CARTIER MIDSIZE FRANCAISE      $‎ 22,000.00 $‎ 18,000.00
                                      ROSE GOLD

           TOTAL                                             $‎301,800.00 $‎194,000.00

 LOAN REQUEST                                                                 $‎ 95,000.00

             LTV                                                                  48.97%

    TERM (MOS)                                                            4

TOTAL INTEREST                                                       10% $‎ 38,000.00

 INTEREST TO FP                                                       6% $‎ 22,800.00

INTEREST TO KFL                                                       4% $‎ 15,200.00

     FUND DATE                                                      4/6/22




                                                         1
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Cartier Trinity Bracelet                                                                       Retail: $75,000.00
White/Rose/Yellow Gold with Diamonds                                                     Agreed Value: $45,000.00
Certificate: Yes
Box: Yes


We estimate the Agreed Value as listed for collateral loan purposes, excluding taxes. We hereby agree to
purchase the above listed items, upon King Family Lending LLC taking full possession and clear title of the
items, for a period of six months from the date of this appraisal. This appraisal is an estimate only, and the
appraiser assumes no liability with respect to any other uses of this appraisal, unless otherwise provided.




                                                                           4-2-22
                                                                          _____________________
Appraiser                                                                 Date




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                             EXHIBIT “U”
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                                               PROMISSORY NOTE



   $175,000.00                                                                        January 28, 2022
                                                                              Orange County, California

           FOR VALUE RECEIVED, KING FAMILY LENDING LLC, a California limited
  liability company, whose address is 110 Newport Center Drive, Suite 277, Newport Beach,
  California 92660 (“Maker”), promises to pay to the order of LDR INTERNATIONAL LIMITED,
  with an address of 3rd Floor, Yamraj Building Market Square, P.O. Box 3175 Road Town, Tortola,
  British Virgin Islands (“Payee”), at such other place as the Payee may from time to time
  designate in writing, the principal sum of ONE HUNDRED SEVETY-FIVE THOUSAND
  DOLLARS ($175,000.00), with interest thereon as provided in this Promissory Note (this
  “Note”).

          1.     Certain Definitions. For the purposes hereof, the terms set forth below shall have
  the following meanings:

                  (a)     “Applicable Law” shall mean (i) the laws of the United States of America
  applicable to contracts made or performed in the State of California, now or at any time hereafter
  prescribing or eliminating maximum rates of interest on loans and extensions of credit, (ii) the
  laws of the State of California now or at any time hereafter prescribing or eliminating maximum
  rates of interest on loans and extensions of credit, and (iii) any other laws at any time applicable
  to contracts made or performed in the State of California which permit a higher interest rate
  ceiling hereunder.

                  (b)  “Business Day” shall mean any day other than a Saturday, Sunday or any
  other day on which commercial banks are authorized or permitted to be closed for business in the
  State of California.

                  (c)     “Highest Lawful Rate” shall mean at the time in question the maximum
  rate of interest which, under Applicable Law, Payee is then permitted to charge Maker in regard
  to the loan evidenced by this Note. If the maximum rate of interest which, under Applicable Law,
  Payee is permitted to charge Maker in regard to the loan evidenced by this Note shall change after
  the date hereof, the Highest Lawful Rate shall be automatically increased or decreased, as the
  case may be, from time to time as of the effective date of each change in the Highest Lawful
  Rate without notice to Maker. For purposes of determining the Highest Lawful Rate
  under the Applicable Law, all fees and other charges contracted for, charged or received by
  Payee in connection with the loan evidenced by this Note which are either deemed interest under
  Applicable Law or required under Applicable Law to be deducted from the principal
  balance hereof to determine the rate of interest charged on this Note shall be taken into account.

                      (d)          “Interest Rate” shall mean seventy-two percent (72%) per annum.




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                 (e)      “Maturity Date” shall mean the date which is four months after the date of
  this Note, subject to acceleration as provided herein.

                (f)     “Unpaid Principal Balance” shall mean, at any time, the original stated
  amount of principal of this Note, less any amounts of principal repaid.

         2.      Payment of Principal and Interest.

                (a)    Interest shall be paid on a monthly basis to Payee beginning on February
  28, 2022 and every 30 days thereafter until the Maturity Date.

                 (b)    The Unpaid Principal Balance and all accrued interest due on this Note shall
  be paid on the Maturity Date.

                 (c)    Subject to the provisions of Section 6 below, interest on the Unpaid
  Principal Balance shall be computed at a rate equal to the Interest Rate. Interest shall accrue on the
  Unpaid Principal Balance from the date that the proceeds of the loan secured hereby are funded by
  Payee to Maker (not from the date of this Note).

                (d)    This Note is payable in lawful money of the United States, without prior
  notice or demand, and without offset or deduction of any nature.

          3.       Prepayment. The Unpaid Principal Balance (and all accrued interest) may be
  prepaid in whole or in part, at any time, without penalty or prepayment premium. The total amount
  of Interest for four months is guaranteed regardless of prepayment of the Principal Balance.

          4.      Waivers. Maker and all sureties, endorsers, accommodation parties, guarantors and
  other parties now or hereafter liable for the payment of this Note, in whole or in part, hereby
  severally (a) waive demand, notice of demand, presentment for payment, notice of nonpayment,
  notice of default, protest, notice of protest, notice of intent to accelerate, notice of acceleration,
  notice of dishonor and all other notices, and further waive diligence in collecting this Note, in
  taking action to collect this Note, in bringing suit to collect this Note, or in enforcing this Note or
  any of the security for this Note; (b) agree to any substitution, subordination, exchange or release
  of any security for this Note or the release of any person primarily or secondarily liable for the
  payment of this Note; (c) agree that Payee shall not be required to first institute suit or exhaust its
  remedies hereon against Maker or others liable or to become liable for the payment of this Note or
  to enforce its rights against any security for the payment of this Note; and (d) consent to any
  extension of time for the payment of this Note, made by agreement by Payee with any person now
  or hereafter liable for the payment of this Note, even if Maker is not a party to such agreement.

         5.      Events of Default.

                 (a)    Upon the happening of any of the following events (each an “Event of
  Default”), Payee may, at its option, by notice to Maker, declare immediately due and payable the
  entire Unpaid Principal Balance, together with all accrued interest thereon:




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                         (i)   If Maker fails to pay the entire Unpaid Principal Balance (plus all
                 accrued but unpaid interest) in full on the Maturity Date, without any notice or cure
                 period;

                         (ii)    If Maker shall: (i) apply for or consent to the appointment of a
                 receiver, trustee or liquidator for any material part of Maker’s property, (ii) admit
                 in writing Maker’s inability to pay its debts as they mature, (iii) make a general
                 assignment for the benefit of creditors, (iv) be adjudicated bankrupt or insolvent,
                 (v) file a voluntary petition in bankruptcy, or a petition or an answer seeking an
                 arrangement with creditors or taking advantage of any bankruptcy, insolvency,
                 readjustment of debt, dissolution or liquidation law, or filing an answer admitting
                 the material allegations of a petition filed against Maker in any proceeding under
                 any such law, (vi) suffer the appointment of a trustee or receiver to take possession
                 of all or any substantial part of Maker’s assets, or (vii) take any action for the
                 purpose of effectuating any of the foregoing.

                 (b)     The failure of Payee to exercise the foregoing option of acceleration upon
  the occurrence of an Event of Default shall not constitute a waiver of the right to exercise the same
  or any other option of acceleration at any subsequent time.

          6.     Default Interest. If upon the occurrence of an Event of Default, the Unpaid
  Principal Balance of this Note shall bear interest at a rate equal to the lesser of (a) the Highest
  Lawful Rate or (b) the Interest Rate plus five percent (5%) per annum (the “Default Rate”). The
  collection by Payee of interest at the Default Rate shall not cure an Event of Default.

          7.     Collateral. Maker is a California Finance Lender and is using all monies to fund a
  loan. Collateral for said loan is: 2006 SeaRay Sundancer 340; Rolex Men’s Watch Date Just, two-
  tone; 2007 Maybach 62; 2017 Range Rover HSE; 2003 Lamborghini Murcialago.

           Upon the occurrence of a Default, Payee has the immediate right to: a) collect collateral
 from Payee in lieu of payment under this Note and become the owner of the Collateral with full right
 and title to the Collateral, b) to demand Maker to sell the collateral to a third party (see Exhibit A),
 or, c) to accelerate this Note and demand immediate full payment. Should Maker sell the Collateral
 in connection with repayment of this Note, Maker hereby agrees to pay Payee all amounts due and
 owing hereunder, and in addition, should Maker sell the Collateral for more than what is due and
 owing under this Note, Maker agrees to pay Payee SIXTY PERCENT (60%) of the additional
 amount received and Maker will retain FORTY PERCENT (40%).

          8.      Fees, Costs, and Interest for Underlying Collateralized Loan. The Principal
  Amount is being used by Payee to fund an underlying loan. It is agreed between Maker and Payee
  that interest and fees earned on that note shall be shared, 60% to Payee and 40% to Maker. The
  Interest paid to Payee under this Note reflects the same and is included in this Paragraph 8.

          9.      Notices. Any notices required under this Note shall be given in the manner set forth
  in the Security Agreement.

          10.    Compliance with Law. All agreements between Maker and Payee, whether now

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  existing or hereafter arising and whether written or oral, are hereby limited so that in no
  contingency, whether by reason of demand or acceleration of the Maturity Date or otherwise, shall
  the interest contracted for, charged, received, paid or agreed to be paid to Payee in regard to the
  loan evidenced by this Note exceed the maximum amount permissible under Applicable Law. If,
  from any circumstance whatsoever, interest would otherwise be payable to Payee in excess of the
  maximum amount permissible under Applicable Law, the interest payable to Payee shall be
  reduced to the maximum amount permissible under Applicable Law; and if from any circumstance
  Payee shall ever receive anything of value deemed interest by Applicable Law in excess of the
  maximum amount permissible under Applicable Law, an amount equal to the excessive interest
  shall be applied to the reduction of the principal hereof and not to the payment of interest, or if
  such excessive amount of interest exceeds the Unpaid Principal Balance hereof, such excess shall
  be refunded to Maker. All interest paid or agreed to be paid to Payee shall, to the extent permitted
  by Applicable Law, be amortized, prorated, allocated, and spread throughout the full period
  (including any renewal or extension) until payment in full of the principal so that the interest
  hereon for such full period shall not exceed the maximum amount permissible under Applicable
  Law. Payee expressly disavows any intent to contract for, charge or receive interest in an amount
  which exceeds the maximum amount permissible under Applicable Law. This section shall control
  all agreements between Maker and Payee relating to this Note.

          11.     Attorneys’ Fees and Costs. In the event that this Note is placed in the hands of an
  attorney for collection, or in the event this Note is collected in whole or in part through legal
  proceedings of any nature, then and in any such case Maker promises to pay on demand by Payee,
  and, to the extent unpaid upon such demand, there shall be added to the Unpaid Principal Balance,
  all reasonable costs of collection, including, but not limited to, reasonable attorneys’ fees and costs
  incurred by Payee on account of such collection, whether or not suit is filed (including attorneys'
  fees incurred in connection with any bankruptcy proceeding (including stay litigation) and on
  appeal).

          12.    Cumulative Rights. The rights and remedies of Payee under this Note are
  cumulative and in addition to all other rights and remedies which Payee may have at law or in
  equity. No delay on the Payee in the exercise of any power or right under this Note shall operate
  as a waiver thereof, nor shall a single or partial exercise of any power or right preclude other or
  further exercise thereof or the exercise of any other power or right.

         13.     Headings. The section headings used in this Note are for convenience of reference
  only and shall not affect the meaning or interpretation of this Note.

      14.  Governing Law. THIS NOTE SHALL BE GOVERNED BY AND
  CONSTRUED IN ACCORDANCE WITH THE LAWS OF THE STATE OF CALIFORNIA
  WITHOUT REGARD TO SUCH STATE’S CONFLICT OF INTEREST LAWS.

          15.    Successors and Assigns. The term “Payee” shall include Payee’s successors and
  assigns, to whom the benefits of this Note shall inure. This Note shall bind Maker and Maker’s
  heirs, successors and permitted assigns (but no assignment or delegation of this Note by Maker
  shall release Maker from liability hereunder).


                                     [Signature on following page]
                                                    4
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 This Note is EXECUTED as of the first date set forth above.




           KING FAMILY LENDING LLC, a California
           limited liability company




          By:
          Name: Sara J. King
          Its: Manager




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                              EXHIBIT “V”
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                             EXHIBIT “W”
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                                              NFL PLAYER CONTRACT

          THIS CONTRACT is between                    , hereinafter “Player,” and Houston NFL Holdings, L.P., a
  Delaware corporation (limited partnership) (partnership), hereinafter “Club” operating under the name of the
  Houston Texans as a member of the National Football League, hereinafter “League.” In consideration of the
  promises made by each to the other, Player and Club agree as follows:

           1.       TERM. This contract covers 5 football season(s), and will begin on the date of execution or
                 , whichever is later, and end on                      , unless extended, terminated, or renewed as
  specified elsewhere in this contract.

            2.       EMPLOYMENT AND SERVICES. Club employs Player as a skilled football player. Player
  accepts such employment. He agrees to give his best efforts and loyalty to the Club, and to conduct himself on and
  off the field with appropriate recognition of the fact that the success of professional football depends largely on
  public respect for and approval of those associated with the game. Player will report promptly for and participate
  fully in Club’s official mandatory mini-camp(s), official preseason training camp, all Club meetings and practice
  sessions, and all pre-season, regular season, and post-season football games scheduled for or by Club. If invited,
  Player will practice for and play in any all-star football game sponsored by the League. Player will not participate in
  any football game not sponsored by the League unless the game is first approved by the League.

            3.        OTHER ACTIVITIES. Without prior written consent of the Club, Player will not play football or
  engage in activities related to football otherwise than for Club or engage in any activity other than football which
  may involve a significant risk of personal injury. Player represents that he has special, exceptional and unique
  knowledge, skill, ability, and experience as a football player, the loss of which cannot be estimated with any
  certainty and cannot be fairly or adequately compensated by damages. Player therefore agrees that Club will have
  the right, in addition to any other right which Club may possess, to enjoin Player by appropriate proceedings from
  playing football or engaging in football-related activities other than for Club or from engaging in any activity other
  than football which may involve a significant risk of personal injury.

           4.       PUBLICITY AND NFLPA GROUP LICENSING PROGRAM. (a) Player grants to Club and the
  League, separately and together, the authority to use his name and picture for publicity and the promotion of NFL
  Football, the League or any of its member clubs in newspapers, magazines, motion pictures, game programs and
  roster manuals, broadcasts and telecasts, and all other publicity and advertising media, provided such publicity and
  promotion does not constitute an endorsement by Player of a commercial product. Player will cooperate with the
  news media, and will participate upon request in reasonable activities to promote the Club and the League. Player
  and National Football League Players Association, hereinafter “NFLPA,” will not contest the rights of the League
  and its member clubs to telecast, broadcast, or otherwise transmit NFL Football or the right of NFL Films to
  produce, sell, market, or distribute football game film footage, except insofar as such broadcast, telecast, or
  transmission of footage is used in any commercially marketable game or interactive use. The League and its member
  clubs, and Player and the NFLPA, reserve their respective rights as to the use of such broadcasts, telecasts or
  transmissions of footage in such games or interactive uses, which shall be unaffected by this subparagraph.

            (b)       Player hereby assigns to the NFLPA and its licensing affiliates, if any, the exclusive right to use
  and to grant to persons, firms, or corporations (collectively “licensees”) the right to use his name, signature
  facsimile, voice, picture, photograph, likeness, and/or biographical information (collectively “image”) in group
  licensing programs. Group licensing programs are defined as those licensing programs in which a licensee utilizes a
  total of six (6) or more NFL player images on or in conjunction with products, (including, but not limited to, trading
  cards, clothing, videogames. computer games, collectibles, internet sites, fantasy games, etc.) that arc sold at retail
  or used as promotional or premium items. Player retains the right to grant permission to a licensee to utilize his
  image if that licensee is not concurrently utilizing the images of five (5) or more other NFL player on products that
  are sold at retail or are used as promotional or premium items. If Player’s inclusion in a particular NFLPA program
  is precluded by an individual exclusive endorsement agreement, and Player provides the NFLPA with timely written
  notice of that preclusion, the NFLPA will exclude Player from that particular program. In consideration for this
  assignment of rights, the NFLPA will use the revenues it receives from group licensing programs to support the
  objectives as set forth in the By-laws of the NFLPA. The NFLPA will use its best efforts to promote the use of NFL
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  player images in group licensing programs, to provide group licensing opportunities to all NFL players, and to
  ensure that no entity utilizes the group licensing rights granted to the NFLPA without first obtaining a license from
  the NFLPA. This subparagraph (b) shall be construed under Virginia law without reference to conflicts of law
  principles. The assignment in this paragraph shall expire on December 31 of the later of (a) the third year following
  the execution of this contract, or (b) the year in which this contract expires. Neither Club nor the League is a party to
  the terms of this paragraph, which is included herein solely for the administrative convenience and benefit of Player
  and the NFLPA. The terms of this subparagraph apply unless, at the time of execution of this contract, Player
  indicates by striking out this subparagraph (b) and marking his initials adjacent to the stricken language his intention
  not to participate in the NFLPA Group Licensing Program. Nothing in this subparagraph shall be construed to
  supersede or any way broaden, expand, detract from, or otherwise alter in any way whatsoever, the rights of NFL
  Properties, Inc. as permitted under Article V (Union Security), Section 4 of the 1993 Collective Bargaining
  Agreement.

           5.       COMPENSATION. For performance of Player’s services and all other promises of Player, Club
  will pay Player a yearly salary as follows:

                    $5,000,000 for the

                    $5,250,000 for the

                    $5,750,000 for the

                    $6,000,000 for the

                    $6,500,000 for the

  In addition, Club will pay Player such earned performance bonuses as may be called for in this contract; Player’s
  necessary traveling expenses from his residence to training camp; Player’s reasonable board and lodging expenses
  during pre-season training and in connection with playing pre-season, regular season, and post-season football
  games outside Club’s home city; Player’s necessary traveling expenses to and from pre-season, regular season, and
  post-season football games outside Club’s home city; Player’s necessary traveling expenses to his residence if this
  contract is terminated by Club; and such additional compensation, benefits, and reimbursement of expenses as may
  be called for in any collective bargaining agreement in existence during the term of this contract. (For purposes of
  this contract, a collective bargaining agreement will be deemed to be in existence” during its stated term or during
  any period for which the parties to that agreement agree to extend it.)

           6.        PAYMENT. Unless this contract or any collective bargaining agreement in existence during the
  term of this contract specifically provides otherwise, Player will be paid 100% of his yearly salary under this
  contract in equal weekly or bi-weekly installments over the course of the applicable regular season period,
  commencing with the first regular season game played by Club in each season. Unless this contract specifically
  provides otherwise, if this contract is executed or Player is activated after the beginning of the regular season, the
  yearly salary payable to Player will be reduced proportionately and Player will be paid the weekly or bi-weekly
  portions of his yearly salary becoming due and payable after he is activated. Unless this contract specifically
  provides otherwise, if this contract is terminated after the beginning of the regular season, the yearly salary payable
  to Player will be reduced proportionately and Player will be paid the weekly or bi-weekly portions of his yearly
  salary having become due and payable up to the time of termination.

           7.        DEDUCTIONS. Any advance made to Player will be repaid to Club, and any properly levied
  Club fine or Commissioner fine against Player will be paid, in cash on demand or by means of deductions from
  payments coming due to the Player under this contract, the amount of such deductions to be determined by Club
  unless this contract or any collective bargaining agreement in existence during the term of this contract specifically
  provides otherwise.

           8.       PHYSICAL CONDITION. Player represents to Club that he is and will maintain himself in
  excellent physical condition. Player will undergo a complete physical examination by the Club physician upon Club
  request, during which physical examination Player agrees to make full and complete disclosure of any physical or
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  mental condition known to him which might impair his performance under this contract and to respond fully and in
  good faith when questioned by the Club physician about such condition. If Player fails to establish or maintain his
  excellent physical condition to the satisfaction of the Club physician, or make the required full and complete
  disclosure and good faith responses to the Club physician, then Club may terminate this contract.

            9.       INJURY. Unless this contract specifically provides otherwise, if Player is injured in the
  performance of his services under this contract and promptly reports such injury to the Club physician or trainer,
  then Player will receive such medical and hospital care during the term of this contract as the Club physician may
  deem necessary, and will continue to receive his yearly salary for so long, during the season of injury only and for
  no subsequent period covered by this contract, as Player is physically unable to perform the services required of him
  by this contract because of such injury. If Player’s injury in the performance of his services under this contract
  results in his death, the unpaid balance of his yearly salary for the season of injury will be paid to his stated
  beneficiary, or in the absence of a stated beneficiary, to his estate.

            10.      WORKERS’ COMPENSATION. Any compensation paid to Player under this contract or under
  any collective bargaining agreement in existence during the term of this contract for a period during which he is
  entitled to workers’ compensation benefits by reason of temporary total, permanent total, temporary partial, or
  permanent partial disability will be deemed an advance payment of workers’ compensation benefits due Player, and
  Club will be entitled to be reimbursed the amount of such payment out of any award of workers’ compensation.

            11.       SKILL, PERFORMANCE AND CONDUCT. Player understands that he is competing with other
  players for a position on Club’s roster within the applicable player limits. If at any time, in the sole judgement of
  Club, Player’s skill or performance has been unsatisfactory as compared with that of other players competing for
  positions on Club’s roster, or if Player has engaged in personal conduct reasonably judged by Club to adversely
  affect or reflect on Club, then Club may terminate this contract. In addition, during the period any salary cap is
  legally in effect, this contract may be terminated if, in Club’s opinion, Player is anticipated to make less of a
  contribution to Club’s ability to compete on the playing field than another player or players who Club intends to sign
  or attempts to sign, or another player or players who is or are already on Club’s roster, and for whom Club needs
  room.

            12.       TERMINATION. The rights of termination set forth in this contract will be in addition to any
  other rights of termination allowed either party by law. Termination will be effective upon the giving of written
  notice, except that Player’s death, other than as a result of injury incurred in the performance of his services under
  this contract, will automatically terminate this contract. If this contract is terminated by Club and either Player or
  Club so requests, Player will promptly undergo a complete physical examination by the Club physician.

            13.     INJURY GRIEVANCE. Unless a collective bargaining agreement in existence at the time of
  termination of this contract by Club provides otherwise, the following injury grievance procedure will apply: If
  Player believes that at the time of termination of this contract by Club he was physically unable to perform the
  services required of him by this contract because of an injury incurred in the performance of his services under this
  contract, Player may, within 60 days after examination by the Club physician, submit at his own expense to
  examination by a physician of his choice. If the opinion of Player’s physician with respect to his physical ability to
  perform the services required of him by this contract is contrary to that of the Club’s physician, the dispute will be
  submitted within a reasonable time to final and binding arbitration by an arbitrator selected by Club and Player or, if
  they are unable to agree, one selected in accordance with the procedures of the American Arbitration Association on
  application by either party.

            14.      RULES. Player will comply with and be bound by all reasonable Club rules and regulations in
  effect during the term of this contract which are not inconsistent with the provisions of this contract or of any
  collective bargaining agreement in existence during the term of this contract. Player’s attention is also called to the
  fact that the League functions with certain rules and procedures expressive of its operation as a joint venture among
  its member clubs and that these rules and practices may affect Player’s relationship to the League and its member
  clubs independently of the provisions of this contract.

          15.        INTEGRITY OF GAME. Player recognizes the detriment to the League and professional football
  that would result from impairment of public confidence in the honest and orderly conduct of NFL games or the
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  integrity and good character of NFL players. Player therefore acknowledges his awareness that if he accepts a bribe
  or agrees to throw or fix an NFL game; fails to promptly report a bribe offer or an attempt to throw or fix an NFL
  game; bets on an NFL game; knowingly associates with gamblers or gambling activity; uses or provides other
  players with stimulants or other drugs for the purpose of attempting to enhance on-field performance; or is guilty of
  any other form of conduct reasonably judged by the League Commissioner to be detrimental to the League or
  professional football, the Commissioner will have the right, but only after giving Player the opportunity for a
  hearing at which he may be represented by counsel of his choice, to fine Player in a reasonable amount; to suspend
  Player for a period certain or indefinitely; and/or to terminate this contract.

            16.      EXTENSION. Unless this contract specifically provides otherwise, if Player becomes a member
  of the Armed Forces of the United States or any other country, or retires from professional football as an active
  player, or otherwise fails or refuses to perform his services under this contract, then this contract will be tolled
  between the date of Player’s induction into the Armed Forces, or his retirement, or his failure or refusal to perform,
  and the later date of his return to professional football. During the period this contract is tolled, Player will not be
  entitled to any compensation or benefits. On Player’s return to professional football, the term of this contract will be
  extended for a period of time equal to the number of seasons (to the nearest multiple of one) remaining at the time
  the contract was tolled. The right of renewal, if any, contained in this contract will remain in effect until the end of
  any such extended term.

            17.      ASSIGNMENT. Unless this contract specifically provides otherwise, Club may assign this
  contract and Player’s services under this contract to any successor to Club’s franchise or to any other Club in the
  League. Player will report to the assignee Club promptly upon being informed of the assignment of his contract and
  will faithfully perform his services under this contract. The assignee club will pay Player’s necessary traveling
  expenses in reporting to it and will faithfully perform this contract with Player.

            18.      FILING. This contract will be valid and binding upon Player and Club immediately upon
  execution. A copy of this contract, including any attachment to it, will be filed by Club with the League
  Commissioner within 10 days after execution. The Commissioner will have the right to disapprove this contract on
  reasonable grounds, including but not limited to an attempt by the parties to abridge or impair the rights of any other
  club, uncertainty or incompleteness in expression of the parties’ respective rights and obligations, or conflict
  between the terms of this contract and any collective bargaining agreement then in existence. Approval will be
  automatic unless, within 10 days after receipt of this contract in his office, the Commissioner notifies the parties
  either of disapproval or of extension of this 10-day period for purposes of investigation or clarification pending his
  decision. On the receipt of notice of disapproval and termination, both parties will be relieved of their respective
  rights and obligations under this contract.

            19.      DISPUTES. During the term of any collective bargaining agreement, any dispute between Player
  and Club involving the interpretation or application of any provision of this contract will be submitted to final and
  binding arbitration in accordance with the procedure called for in any collective bargaining agreement in existence
  at the time the event giving rise to any such dispute occurs.

            20.       NOTICE. Any notice, request, approval or consent under this contract will be sufficiently given if
  in writing and delivered in person or mailed (certified or first class) by one party to the other at the address set forth
  in this contract or to such other address as the recipient may subsequently have furnished in writing to the sender.

            21.      OTHER AGREEMENTS. This contract, including any attachment to it, sets forth the entire
  agreement between Player and Club and cannot be modified or supplemented orally. Player and Club represent that
  no other agreement, oral or written, except as attached to or specifically incorporated in this contract, exists between
  them. The provisions of this contract will govern the relationship between Player and Club unless there are
  conflicting provisions in any collective bargaining agreement in existence during the term of this contract, in which
  case the provisions of the collective bargaining agreement will take precedence over conflicting provisions of this
  contract relating to the rights or obligations of either party.

           22.      LAW. This contract is made under and shall be governed by the laws of the State of Texas.
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            23.       WAIVER AND RELEASE. Player waives and releases any claims that he may have arising out
  of, related to, or asserted in the lawsuit entitled White v. National Football League, including, but not limited to, any
  such claim regarding past NFL Rules, the College Draft, Plan B, the first refusal/compensation system, the NFL
  Player Contract, pre-season compensation, or any other term or condition of employment, except any claims
  asserted in Brown v. Pro Football, Inc. This waiver and release also extends to any conduct engaged in pursuant to
  the Stipulation and Settlement Agreement in White (“Settlement Agreement”) during the express term of that
  Settlement Agreement or any portion thereof. This waiver and release shall not limit any rights Player may have to
  performance by the Club under this Contract or Player’s rights as a member of the White class to object to the
  Settlement Agreement during its review by the court in Minnesota. This waiver and release is subject to Article XIV
  (NFL Player Contract), Section 3(c) of the 1993 Collective Bargaining Agreement (CBA).

            24.       OTHER PROVISIONS. (a) Each of the undersigned hereby confirms that (i) this Contract,
  renegotiation, extension or amendment sets forth all components of the player’s remuneration for playing
  professional football (whether such compensation is being furnished directly by the Club by a related or affiliated
  entity); and (ii) there are not undisclosed agreements of any kind, whether expressed or implied, oral or writen, and
  there are no promises, undertakings, representations, commitments, inducements, assurances of intent, or
  understandings of any kind that have not been disclosed to the NFL involving consideration of any kind to be paid,
  furnished or made available to Player or any entity or person owned or controlled by, affiliated with, or related to
  Player, either during the term of this contract or thereafter.

           (b)       Each of the undersigned further confirms that, except insofar as any of the undersigned may
  describe in an addendum to this contract, to the best of their knowledge, no conduct in violation of the Anti-
  Collusion rules of the Settlement Agreement took place with respect to this contract. Each of the undersigned further
  confirms that nothing in this contract is designed or intended to defeat or circumvent any provisions of the
  Stipulation and Settlement Agreement in White v. NFL, including but not limited to the Rookie Pool and Salary Cap
  provisions; however, any conduct permitted by the CBA and/or the Settlement Agreement shall not be considered a
  violation of this confirmation.

            (c)     The Club further confirms that any information regarding the negotiation of this contract that it
  provided to the Neutral Verifier was, at the time the information was provided, true and correct in all material
  respects.

           25.      SPECIAL PROVISIONS.

                                                      See Attachments

          THIS CONTRACT is executed in six (6) copies. Player acknowledges that before signing this contract he
  was given the opportunity to seek advice from or be represented by persons of his own selection.

  /s/
  PLAYER                                                      CLUB Houston Texans

                                                              /s/
  Home Address                                                By
                                                                 Vice President of Football Administration
                                                              Club Address                  rk
                                                                            Houston TX 77054
  Telephone Number


  Date                                                        Date

                                /s/
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                               PLAYER’S CERTIFIED AGENT

                               Priority Sports & Entertainment
                               Address


                               Telephone Number

                               Date

  Copy Distribution:       White-League Office                 Yellow-Player                 Green-Member Club
                         Blue-Management Council               Gold-NFLPA                     Pink–Player Agent




                                          ATTACHMENT TO
                             NFL PLAYER CONTRACT (“CONTRACT”) BETWEEN
                                                   (“PLAYER”)
                                               AND
                                      HOUSTON TEXANS (“CLUB”)


  26.      Additional Player Services.

  As additional consideration for the compensation provided to Player in the Contract, Player agrees to provide Club
  with certain promotional services as requested by Club from time to time for no additional compensation, including
  without limitation:

  (a)      Player agrees to perform up to a maximum of four (4) hours of service on the Houston Texans Internet
  Web Site (www.houstontexans.com), (or such other site as may be designated by Club) each month during the term
  of the Contract. Club and Player will mutually agree on dates and times of service.

  (b)       Player agrees to fulfill a minimum of eight (8) charitable or public relations/ promotion-related requests
  for Club during each League Year, provided Club makes the request with reasonable notice to Player and Player
  does not have any conflict with the date and time of the request. Player will make reasonable efforts to
  accommodate Club’s requests. These requests may include, but are not limited to, speaking engagements and
  personal appearances as a representative of Club.

  (c)      Player agrees to autograph items and memorabilia for Club charitable or public relations/promotional use
  as reasonably requested by appropriate Club officials.

  27.      Media and Marketing.

  (a)       During the term of the Contract, Club and Player agree to work and cooperate with one another in good
  faith with respect to all Club media and marketing activities. To that end:

           (i)       If Player is offered an opportunity to sponsor or endorse a product, service or entity, Player will
           give Club notice of such offer. If a Substantial Club Sponsor in the applicable category offers Player an
           opportunity to sponsor or endorse its products, services or entity, and all compensation and other benefits
           as between the other offer and the offer made by the Substantial Club Sponsor are equal or substantially
           and materially similar, Player agrees to give greater favor to the Substantial Club Sponsor (which term shall
           include any sponsor in one of the Designated Categories listed on Exhibit A attached hereto).
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           (ii)      If Player is offered a media opportunity (such as a regularly-scheduled program, show or similar
           opportunity on television, radio or the Internet (or other interactive media) or similar media, Player will
           give Club notice of such offer. If a Club Media Partner offers Player a similar media opportunity and all
           compensation and other benefits as between the other offer and the offer made by Club Media Partner
           (which term shall include any Club radio, television or other media entity that carries or broadcasts Club’s
           games or programs/specials) are equal or substantially and materially similar, Player agrees to give greater
           favor to Club Media Partner.

           (iii)      Player agrees to work proactively and cooperate with Club to reach agreements with respect to
           Substantial Club Sponsors and Club Media Partners on a commercially reasonable basis prior to
           commencing discussions with any competitors of such Substantial Club Sponsor or Club Media Partner.
           Club will use its commercially reasonable efforts to ensure that Player receives competitive compensation
           and other benefits so that all such compensation and benefits will be equal or substantially and materially
           similar to competitive market arrangements.

  (b)      Notwithstanding the foregoing, this marketing limitation shall not apply with respect to any current
  sponsorship or endorsement arrangement of Player in effect as of the date of the Contract, which sponsorships and
  endorsements are listed on Exhibit A attached hereto and shall continue until termination or expiration by their
  terms.

  (c)       In no event shall Player be obligated to do any such marketing or media activity not in his best interest as
  objectively and reasonably advised by his marketing representative or legal counsel.

  (d)      Player agrees to refrain from engaging in any marketing or media activity, other than through Club, that
  would reasonably infer Club’s sponsorship or endorsement of such activity, including without limitation, use of
  Club’s name, logo, mark, color or other symbol identifying Club.

  PLAYER              AF                                      CLUB               CO
  INITIAL                                                     INITIAL

  DATE                                                        DATE




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  (e)      Player’s obligations hereunder shall be subject to the provisions of the NFL Group Licensing Program.

  28.      Governing Law and Jurisdiction.

  Further to Paragraph 22 of this Contract and subject in all respects to Article 41 and Article 70, Section 1 of the
  Collective Bargaining Agreement (“CBA”), dated                         , with respect to Governing Law, the parties agree
  that any dispute, claim or cause of action under this Contract concerning rights and liabilities arising from the
  Player-Club relationship or arising out of or related to this Contract (a “dispute”) shall be governed by and construed
  in accordance with the laws of the State of Texas, including without limitation, workers’ compensation disputes.
  Club and Player agree that jurisdiction of all workers’ compensation claims and other matters related to workers’
  compensation, including but not limited to the matters recited in Paragraph 10 of this Contract, and including all
  issues of law, issue of fact and matters related to workers’ compensation benefits, shall be exclusively determined by
  the Workers’ Compensation Division of the Texas Department of Insurance and exclusively decided in accordance
  with the internal laws of the State of Texas, as set forth in the Texas Labor Code, Title 5, Workers’
  Compensation, including, without limitation, Section 406.095, without resort to choice of law rules, regardless of
  the location or situs of the injury giving rise to the dispute. Player acknowledges and understands his right to bring
  claims for workers’ compensation in multiple jurisdictions, but hereby elects the State of Texas as the sole
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  jurisdiction for resolving his workers’ compensation claims against Club. Player acknowledges that he has received
  compensation for his knowing waiver of his right to bring such claims in jurisdictions other than Texas. In addition,
  Club and Player agree that this Contract calls for performance in Harris County, Texas, and further agree that
  jurisdiction and venue for any and all disputes shall lie exclusively in the State Courts of Harris County, Texas. This
  Paragraph shall survive termination or expiration of this Contract as respects Club.

  This Paragraph shall have no application to any injury sustained by Player after this Contract is assigned by waivers
  or trade to another club domiciled out of the State of Texas.

  29.      Insurable Interest.

  Club has an insurable interest in Player, and Player agrees to cooperate reasonably with Club in all matters
  pertaining to that interest, including taking a physical examination for insurance purposes.

  30.      Tax Ramifications.

  Club, Player, and Player Representative acknowledge and agree that (a) none of the NFL, its member Clubs, the
  NFLMC, or any of their advisors or affiliates have any responsibility to provide the NFLPA, any player, or any of
  their advisors or affiliates with tax advice; (b) the NFLPA does not have any responsibility to provide the NFL, any
  of its member Clubs, the NFLMC, or any of their advisors or affiliates with tax advice; and (c) the NFLPA does not
  have any responsibility to provide Player, Player representative, or any of their advisors or affiliates with tax advice.
  Club does not assume any responsibility with respect to any income, employment, or other tax incurred by Player
  and Player does not assume any responsibility with respect to any income, employment, or other tax incurred by
  Club under this Contract.

  31.      Automatic Conversions.

  Player and Club agree that on one or more occasions and at any time during the duration of this Contract, Club shall
  have the option to (i) convert a portion of Player’s                                          Paragraph 5 Salary into
  Signing Bonus, or (ii) convert part or all of the Roster Bonus(es), if any, set forth in this Contract into Signing
  Bonus. If Club exercises its option(s) to convert such Paragraph 5 Salary and/or Roster Bonus(es) as provided
  herein, Club shall use the same form of “Signing Bonus Addendum” as the Signing Bonus Addendum of even date
  herewith between Player and Club except that (i) such converted Paragraph 5 Salary shall be payable in 17 equal
  weekly installments over the ensuing Regular Season and (ii) such converted Roster Bonus(es) shall be payable
  within 10 days after the applicable Roster Bonus was originally to be paid. Player agrees to execute superseding
  NFL Player Contract(s) effecting the conversion(s) without receiving any additional consideration from Club.

  Player further agrees that the conversion(s) itself (or themselves), if effected, shall constitute valuable and adequate
  consideration for Player’s agreement to execute the new NFL Player Contract(s) and that Player shall be in default
  under the terms and conditions of this Contract if he refuses or fails to promptly execute the new NFL Player
  Contract(s) after requested by Club.

  32.      Representation and Warranty.

  By signing this Contract, Player hereby represents and warrants, as of the date of his signature, except as otherwise
  disclosed to Club, that he has (1) not been charged with, indicted for, convicted of or pled nolo contendere to any
  felony and/or misdemeanor involving fraud or moral turpitude, and (2) not engaged in conduct which could subject
  him to a charge, indictment or conviction of any such offense. Player acknowledges and agrees his full and complete
  disclosure to Club of all information related to this representation and

  PLAYER               AF                                     CLUB               CO
  INITIAL                                                     INITIAL

  DATE                                                        DATE
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  warranty has been relied upon by Club and is a condition precedent and material inducement to Club’s entering into
  this Contract and Club’s payment to Player of any amounts hereunder.

  33.          One Year Conditional Full Paragraph 5 Skill, Injury, and Salary Cap Guarantee (“
           Guarantee”).

  Despite any contrary language in this Contract, Club agrees that for the        League Year only, Club will pay
  Player Five Million and No/100 Dollars ($5,000,000.00) of the Five Million and No/100 Dollars
  ($5,000,000.00) salary provided in Paragraph 5, despite the fact that Player’s Contract is terminated via the NFL
  waiver system (i) because, in Club’s sole judgment, Player’s skill or performance has been unsatisfactory as
  compared with that of other players competing for positions on Club’s roster; and/or (ii) if due to a NFL football
  related injury or death suffered while performing services pursuant to the Contract, Player is unable, in the sole
  discretion of Club’s physician, to pass Club’s preseason physical examination for the         League Year as a result
  of such injury and/or (iii) due to Club’s determination to create room for “Salary Cap” purposes (in any year in
  which a salary cap is in effect). The       Guarantee by Club will not apply in any year after      , regardless of
  whether Player is, as of this date, under contract or option to Club for a subsequent year, and regardless of whether
  Player passes Club’s physical examination for a year subsequent to          .

  Player shall be in default of his obligations under this Paragraph if in the         League Year (a) Player, without the
  prior written consent of Club’s Head Coach or General Manager, fails or refuses to report to Club or fails to practice
  with or play for Club or leaves Club for any reason whatsoever (other than Player’s injury (or death resulting
  therefrom) suffered while performing services under the Contract), including, but not limited to, (i) Player’s
  retirement; (ii) Player’s incarceration; (iii) Player’s injury or disability resulting from his breach of Paragraph 3 of
  the Contract or as a result of his participating in hazardous activities which involve a significant risk of personal
  injury and are non-football in nature, including, without limitation, water or snow skiing, surfing, hang gliding,
  bungee jumping, scuba diving, sky diving, rock or mountain climbing, race car driving as driver or passenger, riding
  a motorcycle, motor bike, all-terrain or similar vehicle as driver or passenger, travel on or flight in any test or
  experimental aircraft, or serving as a pilot or crew member on any flight; and (iv) Player’s suspension by the NFL or
  Club for Conduct Detrimental or for violating any of the NFL’s disciplinary policies or programs, specifically
  including the NFL Personal Conduct Policy but specifically excluding the NFL Policy and Program for Substances
  of Abuse and the NFL Policy on Anabolic Steroids and Related Substances, or (b) Player materially breaches any
  provision of this Contract, including, without limitation, any representation and warranty. In the event Player is in
  default hereunder, then the        Guarantee shall immediately be deemed null and void from the beginning and in its
  entirety regardless of whether or not the         Guarantee had otherwise been earned according to its terms at the
  time of Player’s default, and Club shall be relieved of the obligation to guarantee such forfeited proportionate
  amount.

  In the event of any such default, Player will be entitled to earn the specified Paragraph 5 Salary on a non-guaranteed
  basis, subject to any applicable fines and/or forfeitures. This       Guarantee is for the     League Year only and
  in no way supersedes or obviates the applicability of the League’s waiver system to Player nor does it provide Player
  a guaranteed spot on the Club’s roster.

  If Player becomes entitled to the       Guarantee by reason of termination of this Contract, Club shall pay the
  unpaid amounts of the        Guarantee no later than the earlier of: (i) the date(s) set forth in the Contract; or (ii) a
  date determined by Club that is no later than the last day of the “applicable 2½ month period” (as defined in Treas.
  Reg. § 1.409A-1(b)(4)(i)(A)). Any payment made before the payment date that would apply if not for termination of
  this Contract shall be discounted to the then-present value determined in accordance with the one-year Treasury
  Note rate published in The Wall Street Journal of February 1 of the calendar year in which the Contract is
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  terminated (or, if The Wall Street Journal is not published on such February 1, then the last day before such
  February 1 on which The Wall Street Journal is published).

  In the event this Contract is terminated and Player subsequently plays for any football organization (including Club),
  Club’s obligation under this        Guarantee shall be reduced by the amount of any and all compensation (including,
  without limitation, salary, signing, reporting, workout, roster, option, and/or incentive bonuses) received, earned or
  that reasonably could have been earned by Player from such other football organization or Club, as applicable,
  during or with respect to the remainder of the term covered by this         Guarantee, and Player shall reimburse Club
  for any such amounts.

  34.          One Year Conditional Partial Paragraph 5 Skill, Injury, and Salary Cap Guarantee (“
           Guarantee”).

  Despite any contrary language in this Contract, Club agrees that for the         League Year only, Club will pay
  Player Three Million Two Hundred Fifty Thousand and No/100 Dollars ($3,250,000.00) of the Five Million
  Two Hundred Fifty Thousand and No/100 Dollars ($5,250,000.00) salary provided in Paragraph 5, despite the
  fact that Player’s Contract is terminated via the NFL waiver system (i) because, in Club’s sole judgment, Player’s
  skill or performance has been unsatisfactory as compared with that of other players competing for positions on
  Club’s roster; and/or (ii) if due to a NFL football related injury or death suffered while performing services pursuant
  to the Contract, Player is unable, in the sole discretion of Club’s physician, to pass Club’s preseason physical
  examination for the         League Year as a result of such injury and/or (iii) due to Club’s determination to create
  room for “Salary Cap” purposes (in any year in which a salary cap is in effect). The          Guarantee by Club will
  not apply in any year after        , regardless of whether Player

  PLAYER              AF                                     CLUB                CO
  INITIAL                                                    INITIAL

  DATE                                                       DATE




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  is, as of this date, under contract or option to Club for a subsequent year, and regardless of whether Player passes
  Club’s physical examination for a year subsequent to

  Player shall be in default of his obligations under this Paragraph if in the         League Year (a) Player, without the
  prior written consent of Club’s Head Coach or General Manager, fails or refuses to report to Club or fails to practice
  with or play for Club or leaves Club for any reason whatsoever (other than Player’s injury (or death resulting
  therefrom) suffered while performing services under the Contract), including, but not limited to, (i) Player’s
  retirement; (ii) Player’s incarceration; (iii) Player’s injury or disability resulting from his breach of Paragraph 3 of
  the Contract or as a result of his participating in hazardous activities which involve a significant risk of personal
  injury and are non-football in nature, including, without limitation, water or snow skiing, surfing, hang gliding,
  bungee jumping, scuba diving, sky diving, rock or mountain climbing, race car driving as driver or passenger, riding
  a motorcycle, motor bike, all-terrain or similar vehicle as driver or passenger, travel on or flight in any test or
  experimental aircraft, or serving as a pilot or crew member on any flight; and (iv) Player’s suspension by the NFL or
  Club for Conduct Detrimental or for violating any of the NFL’s disciplinary policies or programs, specifically
  including the NFL Personal Conduct Policy but specifically excluding the NFL Policy and Program for Substances
  of Abuse and the NFL Policy on Anabolic Steroids and Related Substances, or (b) Player materially breaches any
  provision of this Contract, including, without limitation, any representation and warranty. In the event Player is in
  default hereunder, then the        Guarantee shall immediately be deemed null and void from the beginning and in its
  entirety regardless of whether or not the         Guarantee had otherwise been earned according to its terms at the
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  time of Player’s default, and Club shall be relieved of the obligation to guarantee such forfeited proportionate
  amount.

  In the event of any such default, Player will be entitled to earn the specified Paragraph 5 Salary on a non-guaranteed
  basis, subject to any applicable fines and/or forfeitures. This       Guarantee is for the     League Year only and
  in no way supersedes or obviates the applicability of the League’s waiver system to Player nor does it provide Player
  a guaranteed spot on the Club’s roster.

  If Player becomes entitled to the       Guarantee by reason of termination of this Contract, Club shall pay the
  unpaid amounts of the        Guarantee no later than the earlier of: (i) the date(s) set forth in the Contract; or (ii) a
  date determined by Club that is no later than the last day of the “applicable 2½ month period” (as defined in Treas.
  Reg. § 1.409A-1(b)(4)(i)(A)). Any payment made before the payment date that would apply if not for termination of
  this Contract shall be discounted to the then-present value determined in accordance with the one-year Treasury
  Note rate published in The Wall Street Journal of February 1 of the calendar year in which the Contract is
  terminated (or, if The Wall Street Journal is not published on such February 1, then the last day before such
  February 1 on which The Wall Street Journal is published).

  In the event this Contract is terminated and Player subsequently plays for any football organization (including Club),
  Club’s obligation under this        Guarantee shall be reduced by the amount of any and all compensation (including,
  without limitation, salary, signing, reporting, workout, roster, option, and/or incentive bonuses) received, earned or
  that reasonably could have been earned by Player from such other football organization or Club, as applicable,
  during or with respect to the remainder of the term covered by this         Guarantee, and Player shall reimburse Club
  for any such amounts.

  PLAYER               AF                                     CLUB               CO
  INITIAL                                                     INITIAL

  DATE                                                        DATE




                                                        Page 5
                                                    ATTACHMENT (continued)

  35.                  Forty-Six (46) Man Active Roster Bonuses.

  Player will receive a bonus in the amount of Thirty-One Thousand Two Hundred Fifty and No/100 Dollars
  ($31,250.00) (each a “Game Roster Bonus” and collectively the “             Roster Bonuses”) for each of the
  sixteen (16) games during each of the            Regular Seasons that he is a member of the Club’s 46-Man Active
  Roster, commencing with Game 1 of each such Regular Season. Each Game Roster Bonus, if earned, will be paid
  concurrent with Player’s Paragraph 5 salary during the Regular Season. The maximum amount Player can earn
  under this Paragraph 35 is Five Hundred Thousand and No/100 Dollars ($500,000.00) for each of the
        League Years. THE MAXIMUM AMOUNT PLAYER CAN EARN UNDER THIS PARAGRAPH 35
  FOR THE ENTIRE TERM OF THIS CONTRACT (                             LEAGUE YEARS) IS TWO MILLION FIVE
  HUNDRED THOUSAND AND NO/100 DOLLARS ($2,500,000.00).

  Notwithstanding anything to the contrary herein, if, during any League Year, Club participates in more than sixteen
  (16) Regular Season games, then Player will receive an amount for each game he is a member of Club’s 46-Man
  Active Roster equal to Five Hundred Thousand and No/100 Dollars ($500,000.00) divided by the number of
  Regular Season games in the applicable League Year(s). For example, if Club participates in eighteen (18) Regular
  Season games in the       League Year, then Player will receive Twenty-Seven Thousand Seven Hundred
  Seventy Seven and 77/100 Dollars ($27,777.77) for each Regular Season game he is a member of the Club’s 46-
  man Active Roster.
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  It is expressly understood that no part of any Game Roster Bonus is part of any salary specified in the Contract, that
  the Game Roster Bonus shall not be deemed part of any salary specified in the Contract if Club exercises any option
  for Player’s services in a League Year subsequent to the final League Year, and that such obligations of Club are not
  terminable via the NFL Waiver System, provided that Player has not defaulted under or breached the terms of the
  Contract, including this Attachment, prior to such Contract termination.

  Player shall be subject to forfeiture of Salary to the maximum extent permitted under Article 4, Section 9 of the
  CBA, dated                   . For the purposes of this Paragraph, Salary refers to the          Roster Bonuses
  payable to Player as described above.

  Player hereby expressly authorizes Club, in its sole discretion with prior notice to Player, to deduct and offset, at any
  time and from time to time, all or part of any sums owed by Player to Club hereunder from any current or deferred
  wages, salaries, bonuses and/or additional compensation owed to Player by Club. Such deductions will be made in
  accordance with Article 4, Section 9(h) of the CBA, dated                   . If the full outstanding amount owed to
  Club cannot be satisfied by such deductions as set forth above, then Club shall retain all available rights and
  remedies to compel immediate payment.

  PLAYER              AF                                      CLUB               CO
  INITIAL                                                     INITIAL

  DATE                                                        DATE



                                                        Page 6
                                                    ATTACHMENT (continued)

  36.                  Paragraph 5 Salary De-Escalator.

  For each of the       through       League Years, if Player fails to fully satisfy any of the following conditions:

  (a)      Player satisfactorily participates in and completes Club’s “Off-Season Program”. For the purposes of this
  Contract, Player shall be deemed to have satisfactorily participated in and completed Club’s “Off-Season Program”
  under the following circumstances:

           (i)      Player has satisfactorily completed participation in at least eight (8) of the nine (9) total weeks of
           Club’s scheduled “Off-Season Program”, including any Club mandatory mini-camp(s); and

           (ii)       Calculation of Player’s number of weeks of completion will be based upon the completion of four
           (4) total days in each week of Club’s nine (9) week “Off-Season Program” as prescribed by the Club’s
           Head Strength and Conditioning Coach or his designated staff member. Any workouts in excess of four
           (4) days per week and workouts performed before or after the Club’s nine (9) week “Off-Season Program”
           will not count towards the calculation of credited participation and completion; and

           (iii)    Player’s workout schedule and successful completion of such workouts will be determined solely
           by Club’s Head Strength and Conditioning Coach and any schedule changes must be approved by the
           Club’s Head Strength and Conditioning Coach or the Head Athletic Trainer as soon as practicable; or

  (b)      Player timely reports to and fully participates in Club’s entire off-season mandatory Veteran mini-camp(s);
  or

  (c)      Player timely reports to and fully participates in the Club’s entire pre-season training camp(s); or

  (d)     From the execution of this Contract until the Tuesday immediately preceding Club’s first (1st) Regular
  Season game of each League Year (            ), Player otherwise honors all of his contractual obligations to Club,
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  THEN, Player’s Paragraph 5 Salary for that League Year shall be reduced by One Hundred Thousand and No/100
  Dollars ($100,000.00). Nothing contained in this Paragraph 36 will constitute a guarantee of any portion of Player’s
  Paragraph 5 Salary included in the Contract.

  If Player is unable to participate fully and satisfactorily in the “Off-Season Program” due to injury, Player must
  rehabilitate such injury as required by and under the supervision of Club’s Head Athletic Trainer until such time as
  full participation in the “Off-Season Program” can be achieved. Supervised rehabilitation by Player with Club’s
  Head Athletic Trainer will count towards Player’s eight (8) week completion requirement. Player’s satisfactory
  participation in the “Off-Season Program” shall be determined solely upon records maintained by Club, which shall
  be final and binding on the parties.

  37.      409A Requirements.

  Except to the extent that an intent to be subject to Section 409A is expressly set forth in the Contract, this Contract
  shall be interpreted and administered consistent with the intent that all compensation payable hereunder shall be
  exempt from the requirements of Section 409A of the Internal Revenue Code by reason of the “short-term deferral”
  rule set forth in Treas. Reg. § 1.409A-1(b)(4). No payment shall be made after the “applicable 2-1/2 month period”
  (as defined in Treas. Reg. §1.409A-1(b)(4)(i)(A)).

  PLAYER              AF                                     CLUB                CO
  INITIAL                                                    INITIAL

  DATE                                                       DATE




                                                        Page 7
                                                    ATTACHMENT (continued)

  TO THE EXTENT ANY TERM SET FORTH ABOVE IS DEEMED UNENFORCEABLE BECAUSE SUCH
  TERM CONFLICTS WITH THE COLLECTIVE BARGAINING AGREEMENT, DATED
  OR FOR ANY OTHER REASON, THE REMAINDER OF THE TERMS SHALL REMAIN IN FULL
  FORCE AND EFFECT AND SUCH UNENFORCEABLE TERM SHALL BE REDUCED TO THE
  EXTENT NECESSARY SO THAT THE TERM, AS SO REDUCED, IS ENFORCEABLE (INCLUDING,
  BUT NOT LIMITED TO, ANY PROVISION RELATING TO THE REPAYMENT BY PLAYER TO CLUB
  OF ANY UNEARNED PORTION OF ANY PAYMENT PROVIDED FOR HEREUNDER, WHICH SHALL
  BE REDUCED TO THE MAXIMUM AMOUNT PERMITTED BY THE TERMS OF THIS CONTRACT
  AND THE CBA, DATED              . THE INVALIDITY OR UNENFORCEABILITY OF ANY
  PROVISION OF THIS CONTRACT SHALL NOT AFFECT THE VALIDITY OR ENFORCEABILITY OF
  ANY OTHER PROVISION HEREOF, WHICH SHALL REMAIN IN FULL FORCE AND EFFECT, AND
  THIS CONTRACT SHALL BE CONSTRUED AS IF SUCH UNENFORCEABLE PROVISION HAD
  NEVER BEEN CONTAINED HEREIN. FURTHERMORE, IN LIEU OF SUCH UNENFORCEABLE
  PROVISION, THERE SHALL BE ADDED AUTOMATICALLY AS A PART OF THIS CONTRACT A
  PROVISION AS SIMILAR IN ITS TERMS TO SUCH UNENFORCEABLE PROVISION AS MAY BE
  PERMITTED BY THE TERMS OF THE CBA, DATED               1.

  PLAYER              AF                                     CLUB                CO
  INITIAL                                                    INITIAL

  DATE                                                       DATE
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                                                        Page 8
                                                    ATTACHMENT (continued)

                                                        EXHIBIT A

                                                  Designated Categories

  Category:                                                               Defined as:
  Airline                      Anything that flies
  Automotive                   Anything on four wheels
  Beer                         Beer; Wine; Spirits; Mixers
  Energy                       Electricity and Natural Gas
  Financial/Banks              Banks; Investments
  Furniture/Electronics        Retail Furniture and Electronic
  Gasoline                     Oil and Gasoline (refined and unrefined/retail and wholesale); Automotive
                               Aftermarket
  Grocery                      Supermarts; Warehouse clubs; Convenience marts
  Healthcare                   Hospitals; Health care providers; Rehab
  Home Improvement             Hardware; Do-it-yourself Super Stores
  Insurance                    All insurance companies
  Quick Service Restaurants    Fast food; Dine-in; Pizza; Take-out
  Soda/Water/Tea               Carbonated and Non-carbonated Non-alcohol Beverages
  *Telecom/Wireless/Technology All telecom-related business, both voice and data; Wireless communications;
                               Telecommunications-related technology, including Internet Service Providers


  *“Dot.com” companies will be classified by their core business (e.g., Groceryworks.corn is in Grocery Category;
  America Online is in the Telecom/Wireless/Technology category).

                                          Other Sponsorship and Endorsements

                          1) Mobli Media Inc — Technology Category;
                          2) Boombah - Apparel and Shoe Category;
                          3) Game Breaker Sports — Memorabilia and Signing Category;
                          4) Pro Tips 4 U — Technology Category;
                          5) Muscle Prodigy - Health and fitness mobile device application category;
                          6) Joe Myers Ford —LOCAL automotive dealership only. Expires               ;
                          7) Wristband.net - Wristbands only;
                          8) Fuse Science Contract — Soda, Water Tea Category: Nutritional Supplements,
                          Nutraceuticals, nutritional, medical, dietary supplement, including without limitation in the
                          sports and fitness field; This is important since it covers a wide range including sports and
                          energy drinks;
                          9) ProCamps Contract —Football Camps;
                          10) Verizon Contract - Texans Sponsor Expires

  PLAYER             AF                                       CLUB               CO
  INITIAL                                                     INITIAL

  DATE                                                        DATE
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                                               Signing Bonus Addendum
                                                to NFL Player Contract

  This Signing Bonus Addendum (the “Agreement”), dated as of                  , is between
            (“Player”) and Houston NFL Holdings, L.P. (“Club”), and is attached and made a part for all purposes
  of the NFL Player Contract of even date herewith between Player and Club (the “Contract”) for the League
  Years            (the “Contract Year(s)”).

  1.      As additional consideration for the execution of the Contract for the Contract Years, for Player’s receiving
  medical clearance to practice and play after taking Club’s physical examination, Club agrees to pay Player the sum
  of Twelve Million Five Hundred Thousand and No/100 Dollars ($12,500,000.00) as a signing bonus (the
  “Signing Bonus”), payable as follows:

                            Amount:                                  Due and Payable:
                    $            3,125,000    Within fifteen (15) days after
                    $            1,562,500    Within five (5) days after
                    $            1,562,500    Within five (5) days after
                    $            6,250,000    Within five (5) days after

  2.        Player’s entitlement to the Signing Bonus is expressly conditional on Player’s receiving medical clearance
  to practice and play after taking the physical examination. Player’s entitlement to the Signing Bonus and Player’s
  obligation to forfeit and return (or relinquish and forego) the Signing Bonus shall be governed exclusively by the
  terms of Article 4, Section 9 of the Collective Bargaining Agreement, dated                   . Payment of the Signing
  Bonus prior to Player’s passing Club’s physical examination shall not be a waiver of the condition that he receive
  medical clearance to practice and play.

  3.        It is expressly understood that no part of the Signing Bonus is part of any salary specified in the Contract,
  that the Signing Bonus shall not be deemed part of any salary specified in the Contract if Club exercises any option
  for Player’s services in a Contract Year subsequent to the final Contract Year, and that such obligations of Club are
  not terminable if the Contract is terminated for skill or injury via the NFL Waiver System, provided that Player has
  not breached the terms of the Contract or this Agreement prior to such Contract termination.

  4.        Forfeiture of Signing Bonus. Player shall be subject to forfeiture of Salary to the maximum extent
  permitted under Article 4, Section 9 of the CBA, dated                   . For the purposes of this Agreement, Salary
  refers to the Signing Bonus payable to player as described above.

  5.        It is understood and agreed that Player’s waiver of rights to certain unpaid and/or unearned amounts and
  Player’s obligation to repay or refund certain portions of the Signing Bonus in the event Player breaches hereunder
  are express conditions of the Contract and this Agreement, and, but for these conditions, Club would not have
  executed the Contract and this Agreement. Player hereby expressly authorizes Club, in its sole discretion, to deduct
  and off set, at any time and from time to time, all or part of any sums owed by Player to Club from any current,
  future or deferred wages, salaries, bonuses, severance pay, grievance awards and/or additional compensation owed
  to Player by Club. Such deductions will be made in accordance with Article 4, Section 9 of the CBA, dated
                    . In the event the full outstanding amount owed to Club cannot be satisfied by authorized deductions
  from amounts owed to, or coming due to, Player as set forth above, then Club shall retain all available rights and
  remedies to compel immediate payment.

  6.       No term or condition of this Agreement, and no breach thereof, shall be waived, altered or modified except
  by written instrument signed by Player and Club.

  7.       Club, in its sole discretion, shall be entitled to purchase a policy of insurance naming Club as beneficiary
  and insuring Ten Million and No/100 Dollars ($10,000,000.00) of this Signing Bonus, dated as of                  ,
                                   Contract Years and a portion of the                      Year in the event Player is
  unable to perform the services required by the Contract due to an NFL football-related or non-football related injury
  or death resulting therefrom, as set forth under the terms and conditions of such policy.
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  To the extent any term set forth above is deemed unenforceable because such term or provision conflicts with
  the Collective Bargaining Agreement, dated                    or for any other reason, the remainder of the
  terms shall remain in full force and effect and such unenforceable term shall be reduced to the extent
  necessary so that the term, as so reduced, are enforceable (including, but not limited to, any provision
  relating to the repayment by Player to Club of any unearned portion of the Signing Bonus, which shall be
  reduced to the maximum amount permitted by the terms of this Agreement and the CBA, dated
       . The invalidity or unenforceability of any term of this Agreement shall not affect the validity or
  enforceability of any other provision hereof, which shall remain in full force and effect, and this Agreement
  shall be construed as if such unenforceable provision had never been contained herein.

  In witness whereof, Club and Player have executed this Agreement as of the day and year first referenced above.

  CLUB — HOUSTON NFL HOLDINGS, L.P.                        PLAYER —
  By RCM Sports & Leisure, L.P., its general partner
  By: Houston NFL Holdings GP, L.L.C., its general partner

  /s/
                                                             /s/
  Vice President of Football Administration

  Date:                                                      Date:




  PLAYER INFORMATION                      CLUB: HOUSTON TEXAS                  DATE:
        (PLEASE PRINT)

  The following information must be supplied by NFL rookie players and those veterans who have broken
  service. This sheet must accompany the player contract sent to the League office by the club, at the time of
  signing.

  NAME:                                                                                         ISA
                        (Last)                              (First)                           (Middle)

  HOME ADDRESS:                                                Houston, TX                       77056
                       (Number & Street)                      (City & State)                   (Zip Code)

  PHONE:                                             CELL             —
                                                     PHONE:

  PAGER:—                                            E-
                                                     MAIL:

  SOC. SECURITY                                       HEIGHT:6’1”              WEIGHT: 230
  #:

  DATE OF BIRTH: 8/24/86                                   BIRTH                   Albuquerque, NM
                                                           CITY/STATE:

  AGENT’S                                           AGENT’S PHONE:(
  NAME:
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  WIFE’S                                     NO. OF                 1
  NAME:                                      CHILDREN:

  Circle       MARRIED                           HIGH SCHOOL GRADUATION
  One:                                           (Month/Year):

  HIGH                            Mission Bay H.S.                                San Diego, CA
  SCHOOL:
                                      (Name)                                      (City & State)

  DATE FIRST ENROLLED AT ANY COLLEGE OR JR.                             Aug ‘04        PLAYING                RB
  COLLEGE                                                                              POSITION:
                                                                        (Month/Year)

  COLLEGES AND/OR JR. COLLEGES ATTENDED (If transferred, list all schools in order)

           College                             Start (Month/Year)                 End (Month/Year)

                     N/A


  COLLEGE                   NO                  IF EXPECTED TO GRADUATE LIST DATE:
  GRADUATE?
                                  (Yes/No)                                                           (Month/Year)

  YEARS PLAYED COLLEGE                        ’05 RSF – ’08 SR
  FOOTBALL:
        (Indicated red shirt year)                         (Example: 96FA-AS, 87 50, 88 87, 89 SA)

  PRO EXPERIENCE — List in order all major, minor, and semi-pro teams you have played with:

           TEAM                                      LEAGUE                            DATES
           HOUSTON TEXANS              NFL



  LIST ANY RELATIVES WHO PLAY OR COACH IN THE NFL OR HAVE IN THE                            N/A
  PAST:

  I attest that I am not contractually obligated to any other football organization, team or league, I hereby
  authorize the above named colleges to release to the NFL information pertaining to my matriculation date
  and dates of attendance.

  PLAYER’S                  /s/
  SIGNATURE:
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                              EXHIBIT “X”
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                              EXHIBIT “Y”
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                                    #:490




                              EXHIBIT “Z”
                     Case 8:23-cv-00257-DOC-JDE Document 36-2 Filed 09/11/23 Page 284 of 398 Page ID
                                                         #:491


CHASEO
Terms and Conditions (Remitter and Payee):
        * Please keep this copy for your record of the transaction
        * The laws of a specific state will consider these funds to be "abandoned"
           if the Cashier's Check is not cashed by a certain time
                - Please cash/deposit this Cashier's Check as soon as possible to
                   prevent this from occurring
                - In most cases, the funds will be considered "abandoned"
                   before the 'Void After" Date
         * Placing a Stop Payment on a Cashier's Check
                 - Stop Payment can only be placed if the Cashier's Check
                    is lost, stolen, or destroyed
                 - We may not re-issue or refund the funds after the stop payment has
                    been placed until 90 days after the original check was issued
          * Please visit a Chase branch to report a lost, stolen, or destroyed Cashier's Check
             or for any other information about this item


                                                 FOR YOUR PROTECTION SAVE THIS COPY              Customer Copy
                                                      CASHIER•s CHECK                                        9502034839
                                                                                       07/2212022
                                                                                       Vold 81\er 7 yeara

Remltter:           KING FAMILY LENDING LLC

                                                                                                            $** 150,000.00 **
 Pay To The         DAVI                IAN
 Order Of:
                                                                        Drawer JPMORGAN CHASI! BANK, N.A.
 'Memo:--------------·----
 Note: For 1nfonnation only. Comment has no effect on bank's payment.
                                                                        NON NEGOTIABLE
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                            EXHIBIT “AA”
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                                            #:493

glong0607@gmail.com

From:                            Sara King <sarajking@gmail.com>
Sent:                            Sunday, March 27, 2022 3:03 AM
To:                              Laurent
Subject:                         Borrower docs $120k
Attachments:                     BorrowerDocs_Diamonds_3-28-22_redacted__.pdf; Untitled attachment 01564.txt


Hi Laurent,

A ached are the unsigned borrower docs for the $120,000.00 loan. On Monday,=the borrower will sign prior to funding.
I will send you proof of funding o= Monday.

Best,
Sara




                                                          1
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                            EXHIBIT “BB”
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                                         #:495

glong0607@gmail.com

From:                                          Sara King <sarajking@gmail.com>
Sent:                                          Wednesday, March 30, 2022 11:57 PM
To:                                            Laurent Reiss
Subject:                                       Coin Loin $150k
Attachments:                                   BORROWER DOCS COINS.pdf; PROMISSORY NOTE_COINS.pdf


Hi Laurent,

Hope your travels are well.=

I have one last loan for the month - it=;s one I first sent to you in the very beginning, a coin collection. =The borrower
paid back the funds, and now needs them again. History =n this guy is that he makes a lot of money, owns a drywall
company, and us=s cash for "extracurricular" activities that he doesn't want=his company books to show (ha). I have
known him for a few years and he wa= a law client of mine - borrowers often, and has always paid.
<=iv>
He needs the money tomorrow (3/31) and he agreed to 10% =which is more than the last loan funded) for a period of 3
months. LTV is =8%. If you're interested, we would need to fund him by tomorrow, which=means you would have to
fund today. If this is too quick for you - no prob=em!

I likely will not be looking at any dea=s next week due to a law conference I am speaking at, so thought you may l=ke this
one. :)

Let me know!


   SARA J.=KING
   Licensed Attorney in Calif=rnia and Washington, D.C.
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   0in 0.0001pt;font-
   size:11pt;font=family:Calibri,sans-
   serif;line-height:12pt">California
   SuperLawy=r 2019-2022

   =span style="font-size:9pt;font-
   family:Arial,sans-
   serif;color:rgb(127,127=127)">California
   Rising Star 2019-2022

   This e-mail transmission and any documents, fi=es or
   previous e-mail messages attached to it may contain
   confidential inf=rmation that is legally privileged. If you are
   not the intended reci=ient or a person responsible for
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   error, =lease immediately notify us by reply e-mail or by
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   telephone at (949) 220-3666 and destroy the original
   tra=smission and its attachments without reading or saving
   them in any manner.=C2 Thank you.




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                             EXHIBIT “CC”
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                                            #:498

glong0607@gmail.com

From:                                              Sara King <sarajking@gmail.com>
Sent:                                              Thursday, January 27, 2022 1:03 AM
To:                                                Laurent Reiss
Cc:                                                kamran Pahlavi
Subject:                                           Loan Request
Attachments:                                       Loan Request_1-26-22.pdf


Hi Laurent,

I hope you are doing w=ll! I have reserved the day tomorrow to complete a final draft of the gene=al agreement. My
apologies for the delay, Kamran and I moved into a new pl=ce and finally are getting settled.

There is=a new loan on deck, and attached is the details. Although the agreement is=not yet finalized, I'm still operating
on as such. I am awaiting the a=praisers' written confirmations (although, I did receive a verbal thum=s up today). The
client is a referral from a current client and requ=sted funding by Friday.

Sending your way in=accordance with your first right for consideration. If you're interest=d, I can send you the "client
package" (i.e., copies of titles, =lient documents, and written appraisals/purchase agreements) today (Thursd=y) later in
the day.

Best,
Sara

--
<=iv>
     SARA J. KINGLicensed Attorney in California and Washington, D.C.
This e-mail transmission and a=y documents, files or previous e-mail messages attached to it may contain =onfidential information that is legally privileged. If you are not t=e
intended recipient or a person responsible for delivering it to the inte=ded recipient, you are hereby notified that any disclosure, copying, distr=bution or use of any of the
information contained in or attached to this t=ansmission is strictly prohibited. If you have received this transmi=sion in error, please immediately notify us by reply e-mail or by
forwardi=g the message to sarajking@gmail.com or by telephone at (858) 776-6445 and destroy =he original transmission and its attachments without reading or saving the= in
any manner. Thank you.




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                            EXHIBIT “DD”
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glong0607@gmail.com

From:                             Sara King <sarajking@gmail.com>
Sent:                             Wednesday, May 25, 2022 11:54 PM
To:                               Laurent
Subject:                          Re: Rolex and Ghost Deal
Attachments:                      Rolex3.JPG; Untitled attachment 01723.txt; Rolex1.PNG; Untitled attachment 01726.txt;
                                  Rolex2.PNG; Untitled attachment 01729.txt


I have known this woman for 9 years - if we can fund by today (Thursday) it w=uld be great as she can also get us in with
celebri es for lending; surpri=ingly, they never have cash.



Sent from my iPhone

On May 25, 2022, at 10:50 PM, Laurent <laurentreiss@yahoo.com> wrote:

The Rolex is a 36mm or 41mm ? Because a 36mm is more like 45-50k an= a 41mm more 60k and the colour of the car
inside and outside ? And mileage=?

Laurent


> On 26 May 2022, at 03:54, Sara King <sarajking@gmail.com> wrote:
>
> Hi Laurent,
>
> Both checked out. Ideally, she would like funding by tomorrow, as you�=99ll see below, if by tomorrow she’s willing to
pay a higher intere=t rate.
>
> A ached are photos as you requested- up close for inspec on! Watch value= at $50k. Box included, she has the Rolex
card she’s trying to ﬁnd= but value contemplates no card.
>
> The Rolls Ghost is at the shop and valued at $230k.
>
> Loan amount: $150k
> Term: 4 months
> Rate: 10% if funded tomorrow (Thursday); 8% if Friday.
> LTV: 53%
>
> She is a friend of mine and a famous hair extension person for the stars. H=r biggest clients are the Kardashians. She
wants to expand the business and=didn’t like the poten al investors. She makes good money; I was he= lawyer for a
period of me and had access to her books.
>
> Tomorrow we receive $10,500 in interest payments so the amount to fund is:=$139,500.00. Sending promissory note
in a separate email if you are able t= fund tomorrow morning!
>



                                                            1
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                             EXHIBIT “EE”
        Case 8:23-cv-00257-DOC-JDE Document 36-2 Filed 09/11/23 Page 295 of 398 Page ID
                                            #:502

glong0607@gmail.com

From:                                           Sara King <sarajking@gmail.com>
Sent:                                           Friday, January 14, 2022 1:20 PM
To:                                             Laurent Reiss
Cc:                                             kamran Pahlavi
Subject:                                        Watch Loan-Closed
Attachments:                                    PROMISSORY NOTE_watches_1-14-22.pdf; PFR_PFS_watchloan_1-14-22.pdf;
                                                ChecktoBorrower_watch loan_1-14-2022.pdf; FUNDINGCONFIRM_watchloan_11422.pdf


Hi Laurent,

Attached please find:=/u>
-Updated note between company and LDR; I've included=Paragraph 8 to reflect the 60/40 split

-screen sh=t for funds received $194,980 (-$20 wire fee), and screen shot of funds wi=hdrawn for funding.

-copy of cashier's check =o borrower: $193,000

-Funding Confirmation <=div>

As noted above, KFL is in possession of $1,980. Th=se are fees charged to the borrower, as discussed (i.e., legal,
administra=ive) and the 60/40 split on these will be included with payment on the Mat=rity date.

First one is done!

--
     SARA J. KING
     Licensed Attorney in California and Washington, D.C.
This e-mail transmission and any d=cuments, files or previous e-mail messages attached to it may contain conf=dential information that is legally privileged. If you
are not the i=tended recipient or a person responsible for delivering it to the intended=recipient, you are hereby notified that any disclosure, copying, distribut=on
or use of any of the information contained in or attached to this trans=ission is strictly prohibited. If you have received this transmissio= in error, please
immediately notify us by reply e-mail or by forwarding t=e message to or by telephone at (858) 776- 6445 and destroy the =riginal transmission and its attachments
without reading or saving them in=any manner. Thank you.




                                                                                    1
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                             EXHIBIT “FF”
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                            EXHIBIT “GG”
  Case 8:23-cv-00257-DOC-JDE Document 36-2 Filed 09/11/23 Page 314 of 398 Page ID
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                                 DECLARATION
                                          Case No. : 823CV00257DOCJDEX




Melissa Gonzalez, certifies and declares as follows:

1. I am over the age of 18 years and not a party to this action.

2. My business address is14800 Frye Road, Fort Worth, Texas 76155.

3. I am a Transactions Specialist III and Custodian of Records for JPMorgan Chase Bank, N.A. (hereinafter referred to
as the "Bank") in the National Subpoena Processing Department located in Fort Worth, Texas.

4. Based on my knowledge of the Bank's business records practices and procedures, the enclosed records are a true
and correct copy of the original documents kept by the Bank in the ordinary course of business.

5. Based on my knowledge of the Bank's business records practices and procedures, the records were made at or near
the time of the occurrence of the matters set forth in the records by, or from, information transmitted by a person with
knowledge of those matters.

6. It is the regular practice of the Bank to make such a record of transactions in the ordinary course of business.


I declare under penalty of perjury, under the laws of the State of California, that the foregoing is true and correct.




      06/07/2023
Dated:______________________

                                            By:________________________________
                                              Melissa Gonzalez
                                               Transactions Specialist III
                                               JPMORGAN CHASE BANK, N.A.




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                                                                                   SUBP91a
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                                    #:522




              CHASEO                                                                        January 06, 2022 through January 31, 2022
              JPMorgan Chase Bank, N.A.
              PO Box 182051                                                                Account Number:     000000792382308
              Columbus, OH 43218-2051

                                                                                        CUSTOMER SERVICE INFORMATION
                                                                                        Web site:                          Chase.com
                                                                                        Service Center:                1-800-242-7338
           00359627 DRE 703 219 03222 NNNNNNNNNNN   1 000000000 64 0000                 Deaf and Hard of Hearing:      1-800-242-7383
           KING FAMILY LENDING LLC                                                      Para Espanol:                  1-888-622-4273
           4409 SAN JOAQUIN PLZ                                                         International Calls:           1-713-262-1679
           NEWPORT BEACH CA 92660




      j CHECKING SUMMARY j Chase Performance Business Checking

                                                     INSTANCES                          AMOUNT
       Beginning Balance                                                                 $0.00
       Deposits and Additions                                  5                 619,940.00
       ATM & Debit Card Withdrawals                            5                  -18,582.80
       Electronic Withdrawals                                                           -100.00
       Other Withdrawals                                       3                -598,000.00
       Ending Balance                                        14                   $3,257.20


      Your account ending in 5690 is linked to this account for overdraft protection.


     IDEPOSITS AND ADDITIONS I
      DATE           DESCRIPTION                                                                                                      AMOUNT
      01/14          Chips Credit Via: Bank of America, N.A/0959 B/O: Reiss Laurent Mc--Montecarlo Ref:                      $194,980.00
                     Nbnf=King Family Lending LLC Newport Beach CA 92660-5975 US/Ac-0000000 07923
                     Org=/Ch0208515000666662001 Mc ··Montecarlo Ogb=Bank Julius Baer A ND CO.Ltd.,
                     Zuric Zurich Switzerlan D 8001 Ch Obi=20.00 Fee Deducted BB l=/Chgs/USD20 Ssn:
                     0397424 Trn: 0917950014Fc
      01/18          Chips Credit Via: Bank of America, N.A/0959 B/O: Reiss Laurent Mc--Montecarlo Ref:                        234,980.00
                     Nbnf=King Family Lending LLC Newport Beach CA 92660-5975 US/Ac-0000000 07923
                     Org=/Ch0208515000666662001 Mc ··Montecarlo Ogb=Bank Julius Baer A ND CO.Ltd.,
                     Zuric Zurich Switzerlan D 8001 Ch Obi=20.00 Fee Deducted BB l=/Chgs/USD20 Ssn:
                     0676443 Trn: 1516880018Fc
      01/20          Real Time Transfer Recd From Aba/021000021 From: Sara J King Ref: Mms-13485920830                               5,000.00
                     Info: lid: 20220120021000021 P1 Brjpm00050046114 Recd: 16:14:29 Trn: 9485920830Rx
      01/20          Online Transfer From Chk ... 3768 Transaction#: 13485929788                                                10,000.00
      01/31          Chips Credit Via: Bank of America, N.A/0959 B/O: Reiss Laurent Mc--Montecarlo Ref:                        174,980.00
                     Nbnf=King Family Lending LLC Newport Beach CA 92660-5975 US/Ac-0000000 07923
                     Org=/Ch0208515000666662001 Mc ··Montecarlo Ogb=Bank Julius Baer A ND CO.Ltd.,
                     Zuric Zurich Switzerlan D 8001 Ch Obi=20.00 Fee Deducted BB l=/Chgs/USD20 Ssn:
                     0364723 Trn: 0838560031 Fe
      Total Deposits and Additions                                                                                           $619,940.00




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              CHASEO                                                              January 06, 2022 through January 31, 2022
                                                                                  Account Number:    000000792382308



     !ATM & DEBIT CARD WITHDRAWALS!
      DATE    DESCRIPTION                                                                                                  AMOUNT
      01/20   Card Purchase       01/20 Apple.Com/US 800-676-2775 CA Card 3216                                        S2,970.97
      01/21   Card Purchase       01/20 Evi' Wynn Las Vegas 702-8553000 NV Card 3216                                   5,205.99
      01/21   Card Purchase       01/20 Evi' Wynn Las Vegas 702-8553000 NV Card 3216                                   3,145.99
      01/28   Card Purchase With Pin 01/28 Neiman Marcus 01 Nei Beverly Hills CA Card 3216                               832.20
      01/31   Card Purchase       01/28 Yves Saint Laurent# Beverly Hills CA Card 3216                                 6,427.65
      Total ATM & Debit Card Withdrawals                                                                            $18,582.80



      I ATM & DEBIT CARD SUMMARY I
      Sara King Card 3216
                                Total ATM Withdrawals & Debits                                                          $000
                                Total Card Purchases                                                               S18,582.80
                                Total Card Deposits & Credits                                                           $0.00
      ATM & Debit Card Totals
                                Total ATM Withdrawals & Debits                                                          $000
                                Total Card Purchases                                                               S18,582.80
                                Total Card Deposits & Credits                                                           $000

     !ELECTRONIC WITHDRAWALS!
      DATE    DESCRIPTION                                                                                                  AMOUNT
      01/14   01/14 Online Transfer To Mma ... 5690 Transaction#: 13451426345                                              S100.00
      Total Electronic Withdrawals                                                                                         $100.00


     !OTHER WITHDRAWALS!
      DATE    DESCRIPTION                                                                                                  AMOUNT
      01/14   01/14 Withdrawal                                                                                    S193,000.00
      01/18   01/18 Withdrawal                                                                                     230,000.00
      01/31   01/31 Withdrawal                                                                                     175,000.00
      Total Other Withdrawals                                                                                     $598,000.00


     IDAILY ENDING BALANCE! _ _ _ _ _ _ _ _ _ _ _ _ _ __
      DATE                                                       AMOUNT
      01/14                                                  $1,880.00
      01/18                                                   6,860.00
      01/20                                                  18,889.03
      01/21                                                  10,537.05
      01/28                                                   9,704.85
      01/31                                                   3,257.20

     ISERVICE CHARGE SUMMARY! _ _ _ _ _ _ _ _ _ _ _ _ __
      Maintenance Fee                                                     $0.00
      Excess Product Fees                                                 $000
      Other Service Charges                                               $0.00
      Total Service Charges                                               $0.00




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              CHASEO                                                                                      January 06, 2022 through January 31, 2022
                                                                                                         Account Number:        000000792382308


     ISERVICE CHARGE SUMMARY j_(_co_nt_inu_e_d!_ _ _ _ _ _ _ _ _ _ _ _ __
                                                                                    NUMBER OF
      TRANSACTIONS FOR SERVICE FEE CALCULATION                                   TRANSACTIONS
      Checks Paid/ Debits                                                                    8
      Deposits / Credits                                                                     4
      Deposited Items                                                                        0
      Total Transactions                                                                    12


     ISERVICE CHARGE DETAIL I
      DESCRIPTION                                                    VOLUME          ALLOWED         CHARGED           PRICE/ UNIT                  TOTAL
      Your Product Includes:

      ACCOUNT 000000792382308
       Waived Monthly Service Fee                                            0                                              $30.00                   $0.00
        Transactions                                                       12                0               12              $0.00                   $0.00
        Subtotal                                                                                                                                     $0.00
      Other Fees
        Electronic Credits                                                   4     999.999.999                0               $0.40                  $0.00
        Non-Electronic Transactions                                          8             250                0               $0.40                  $0.00
        Domestic Incoming Wire Fee                                           3               2                                $0.00                  $0.00
        ATM· Non Chase Inquiry                                                               0                                $2.50                  $0.00
      Total Service Charge                                                                                                                            $0.00

      ACCOUNT 000000792382308
        Electronic Credits                                                   4
        Non-Electronic Transactions                                          8
        Domestic Incoming Wire Fee                                           3
        ATM    Non Chase Inquiry                                             1




      IN CASE OF ERRORS OR QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS: Call us at 1-866-564-2262 or write us at the
      address on the front of this statement (non-personal accounts contact Customer Service) immediately if you think your statement or receipt Is
      incorrect or if you need more information about a transfer listed on the statement or receipt.
      For personal accounts only: We must hear from you no later than 60 days after we sent you the FIRST statement on which the problem or error
      appeared. Be prepared to give us the following information:
                      Your name and account number
                      The dollar amount of the suspected error
                      A description of the error or: transfer you are unsure of, why you believe it is an error, .or why you need mor~ information.
      We will investigate your complaif')t and will correct any error promptly .. !f we take more than 10 b':Jsmess days (or 20 business days fo~ ne~
      accounts) to do this, we i,yill ~red1t your account for the amount you think is in error so that you will have use of the money during the time 1t takes
      us to complete our invest1gat1on.




                                                                                                               JPMorgan Chase Bank, N.A. Member FDIC




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         CHASEO                                                   January 06, 2022 through January 31, 2022
                                                                  Account Number:    000000792382308




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              CHASEO                                                                       February 01, 2022 through February 28, 2022
              JPMorgan Chase Bank, N.A.
              PO Box 182051                                                                Account Number:     000000792382308
              Columbus, OH 43218-2051

                                                                                        CUSTOMER SERVICE INFORMATION
                                                                                        Web site:                          Chase.com
                                                                                        Service Center:                1-800-242-7338
           00033579 DRE 703 210 06222 NNNNNNNNNNN   1 000000000 D2 0000                 Deaf and Hard of Hearing:      1-800-242-7383
           KING FAMILY LENDING LLC                                                      Para Espanol:                  1-888-622-4273
           4409 SAN JOAQUIN PLZ                                                         International Calls:           1-713-262-1679
           NEWPORT BEACH CA 92660




      j CHECKING SUMMARY j Chase Performance Business Checking

                                                     INSTANCES                          AMOUNT
       Beginning Balance                                                          $3,257.20
       Deposits and Additions                                11                  719,465.00
       ATM & Debit Card Withdrawals                          28                   -60,458.23
       Electronic Withdrawals                                  6                  -70,200.00
       Other Withdrawals                                       3                -575,000.00
       Ending Balance                                        48                  $17,063.97


      Your account ending in 5690 is linked to this account for overdraft protection.


     IDEPOSITS AND ADDITIONS I
      DATE           DESCRIPTION                                                                                                     AMOUNT
      02/07          Online Transfer From Chk ... 3768 Transaction#: 13619419835                                                S5,000.00
      02/10          Online Transfer From Chk ... 3768 Transaction#: 13640658397                                                30,000.00
      02/10          Online Transfer From Chk ... 3768 Transaction#: 13640187021                                                 1,680.00
      02/14          Online Transfer From Chk ... 3768 Transaction#: 13667883483                                                25,000.00
      02/18          Chips Credit Via: Bank of America, N.A/0959 B/O: Reiss Laurent Mc--Montecarlo Ref:                        550,000.00
                     Nbnf=King Family Lending LLC Newport Beach CA 92660-5975 US/Ac-0000000 07923
                     Org=/Ch0208515000666662001 Mc ··Montecarlo Ogb=Bank Julius Baer A ND CO.Ltd.,
                     Zuric Zurich Switzerlan D 8001 Ch Bbi=/Ocmt/USD550000,/ Ssn: 0407400 Trn:
                     0904250049Fc
      02/22          Wire Reversal B/O: JPMC Cb Funds Transfer Previous Daytampa FL 33610-9128 US Org:                          23,785.00
                     Mbr/0959 Bank of America, NA Ref:/Bnf/Our Ref Jpm220221-006436
                     Chaseref0272850053Fc Rtn Did 02/14/2022 Trn 3482182045Es As Bbk Sis Wron GI ban
                     Less Fees Trn: 5390800053Hh
      02/22          Online Transfer From Chk ... 8982 Transaction#: 13712602522                                                 3,000.00
      02/22          Online Transfer From Chk ... 8982 Transaction#: 13715485593                                                 3,000.00
      02/22          Online Transfer From Chk ... 3768 Transaction#: 13723984129                                                 3,000.00
      02/23          Online Transfer From Chk ... 3768 Transaction#: 13729701577                                                50,000.00
      02/28          Online Transfer From Chk ... 3768 Transaction#: 13764690211                                                25,000.00
      Total Deposits and Additions                                                                                           $719,465.00




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             CHASEO                                                          February 01, 2022 through February 28. 2022
                                                                             Account Number:     000000792382308



     !ATM & DEBIT CARD WITHDRAWALS!
      DATE    DESCRIPTION                                                                                              AMOUNT
      02/03   Card Purchase       02/02 Evi' Pechanga Resort 702-8553000 CA Card 3216                             S2,150.00
      02/08   Card Purchase       02/07 Evi' Pechanga Resort 702-8553000 CA Card 3216                              5,375.00
      02/11   Card Purchase With Pin 02/11 Evi'Pechanga Res Temecula CA Card 3216                                  2,687.50
      02/11   Card Purchase With Pin 02/11 Evi'Pechanga Res Temecula CA Card 3216                                  2,687.50
      02/22   Card Purchase With Pin 02/20 Evi'Pechanga Res Temecula CA Card 3216                                  2,687.50
      02/22   Card Purchase With Pin 02/20 Evi'Pechanga Res Temecula CA Card 3216                                  1,075.00
      02/22   Card Purchase With Pin 02/21 Evi'Pechanga Res Temecula CA Card 3216                                  2,687.50
      02/22   Non-Chase ATM Withdraw 02/21 45000 Pechanga Pkwy Temecula CA Card 3216                                 304.95
      02/22   Card Purchase With Pin 02/22 ?-Eleven West Hollywoo CA Card 3216                                        16.78
      02/22   Card Purchase With Pin 02/22 Evi'Pechanga Res Temecula CA Card 3216                                  2,687.50
      02/22   Card Purchase With Pin 02/22 Evi'Pechanga Res Temecula CA Card 3216                                  1,075.00
      02/22   Card Purchase With Pin 02/22 Evi'Pechanga Res Temecula CA Card 3216                                    537.50
      02/22   Card Purchase With Pin 02/22 Evi'Pechanga Res Temecula CA Card 3216                                    537.50
      02/23   Card Purchase With Pin 02/23 Evi'Pechanga Res Temecula CA Card 3216                                    537.50
      02/23   Card Purchase With Pin 02/23 Evi'Pechanga Res Temecula CA Card 3216                                    537.50
      02/23   Card Purchase With Pin 02/23 Evi'Pechanga Res Temecula CA Card 3216                                  2,687.50
      02/23   Card Purchase With Pin 02/23 Evi'Pechanga Res Temecula CA Card 3216                                  1,075.00
      02/23   Card Purchase With Pin 02/23 Evi'Pechanga Res Temecula CA Card 3216                                  2,687.50
      02/24   Card Purchase       02/22 Evi' Pechanga Resort 702-8553000 CA Card 3216                              5,375.00
      02/24   Card Purchase       02/22 Evi' Pechanga Resort 702-8553000 CA Card 3216                              3,225.00
      02/24   Non-Chase ATM Withdraw 02/2411154 Hwy 76 Pala CA Card 3216                                             504.00
      02/25   Card Purchase       02/23 Evi' Pechanga Resort 702-8553000 CA Card 3216                              5,375.00
      02/25   Card Purchase       02/24 Asai Pala Casino Resort Pala CA Card 3216                                  3,210.00
      02/25   Card Purchase       02/24 Asai Pala Casino Resort Pala CA Card 3216                                  3,210.00
      02/25   Card Purchase With Pin 02/25 Evi'Pechanga Res Temecula CA Card 3216                                  2,687.50
      02/25   Card Purchase With Pin 02/25 Evi'Pechanga Res Temecula CA Card 3216                                    537.50
      02/25   Card Purchase With Pin 02/25 Evi'Pechanga Res Temecula CA Card 3216                                  1,075.00
      02/28   Card Purchase       02/25 Evi' Pechanga Resort 702-8553000 CA Card 3216                              3,225.00
      Total ATM & Debit Card Withdrawals                                                                        $60,458.23



      I ATM & DEBIT CARD SUMMARY I
      Sara King Card 3216
                                Total ATM Withdrawals & Debits                                                   $808 95
                                Total Card Purchases                                                           S59,649.28
                                Total Card Deposits & Credits                                                       $000
      ATM & Debit Card Totals
                                Total ATM Withdrawals & Debits                                                   $808 95
                                Total Card Purchases                                                           S59,649.28
                                Total Card Deposits & Credits                                                       $000




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              CHASEO                                                                    February 01, 2022 through February 28. 2022
                                                                                        Account Number:     000000792382308



     !ELECTRONIC WITHDRAWALS!
      DATE     DESCRIPTION                                                                                                     AMOUNT
      02/10    02/10 Online Transfer To Chk ... 8982 Transaction#: 13640283950                                              $2,000.00
      02/14    02/14 International Wire Transfer Via: Bank of America, NA/0959 A/C: Bank Julius Baer And                    23,850.00
               CO. Ag Zurich, Zurich 8001 Switzerland Ben: Ldr International Limited Ref: Beneficiary: 66666                               ---
               Ssn: 0495705 Trn: 3482182045Es                                                                                              ---
      02/23    02/23 Online Transfer To Chk ... 8982 Transaction#: 13733275099                                               5,000.00      ---
      02/23    02/23 Online Realtime Transfer To Total Checking 2372 Transaction#: 13733302288                               5,000.00      ---
               Reference#: 9733302288Rx                                                                                                    ---
      02/28    02/28 Online International Wire Transfer Via: Bank of America, NA/0959 A/C: Bank Julius                      23,850.00      ---
                                                                                                                                           ---
               Baer And CO. Ag Zurich, Zurich 8001 Switzerland Ben: Laurent Reiss Tortola Ch Ref: Funding
               Investments Ssn: 0372063 Trn: 3314652059Es                                                                                  ---
      02/28    02/28 Online International Wire Transfer Via: Bank of America, NA/0959 A/C: Bank Julius                      10,500.00      ---
               Baer And CO. Ag Zurich, Zurich 8001 Switzerland Ben: Laurent Reiss Tortola Ch Ref: Funding                                  ---
               Investments Ssn: 0372059 Trn: 3314692059Es
      Total Electronic Withdrawals                                                                                        $70,200.00


     !OTHER WITHDRAWALS!
      DATE     DESCRIPTION                                                                                                     AMOUNT
      02/1 O   02/1 O Withdrawal                                                                                          $25,000.00
      02/22    02/19 Withdrawal                                                                                           400,000.00
      02/22    02/19 Withdrawal                                                                                           150,000.00
      Total Other Withdrawals                                                                                            $575,000.00

     The monthly service fee of $30.00 was waived this period because you maintained a relationship balance (combined
     business deposits) of $35,000.00 or more.


     I DAILy ENDING BALANCE I
      DATE                         AMOUNT         DATE                      AMOUNT                 DATE                         AMOUNT

     02/03                    $1,107.20           02/11                         37.20             02/23                        54,837.97
     02/07                     6,107.20           02/14                     1,187.20              02/24                        45,733.97
     02/08                         732.20         02/18                  551,187.20               02/25                        29,638.97
     02/10                     5,412.20           02/22                   22,362.97               02/28                        17,063.97

     ISERVICE CHARGE SUMMARY! _ _ _ _ _ _ _ _ _ _ _ _ __
      Maintenance Fee                                                  $0.00 Waived by checking and relationship balances
      Excess Product Fees                                              $000
      Other Service Charges                                          S130.00
      Total Service Charges                                          $130.00 Will be assessed on 3/3/22

                                                                   NUMBER OF
      TRANSACTIONS FOR SERVICE FEE CALCULATION                  TRANSACTIONS
      Checks Paid/ Debits                                                  35
      Deposits / Credits
      Deposited Items                                                       0
      Total Transactions                                                   36




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             CHASEO                                                                                     February 01, 2022 through February 28. 2022
                                                                                                        Account Number:         000000792382308


     ISERVICE CHARGE DETAIL I
      DESCRIPTION                                                   VOLUME         ALLOWED          CHARGED           PRICE/ UNIT                  TOTAL
      Your Product Includes·

      ACCOUNT 000000792382308
       Waived Monthly Service Fee                                           0                                              $30.00                   $0.00
        Transactions                                                       36               0               36              $0.00                   io.oo
       Subtotal                                                                                                                                     $0.00
      Other Fees
        Electronic Credits                                                  1    999.999.999                 0              $0.40                   $0.00
       Non-Electronic Transactions                                         35             250                0              $0.40                   $0.00
       Domestic Incoming Wire Fee                                           1               2                0              $0.00                   $0.00
       Online US Dollar Intl Wire Fee                                       2               0                2             $40.00                  $80.00
       US Dollar Intl Wire Fee                                              1               0                1             $50.00                  $50.00
       ATM Non Chase Withdrawal                                             2               0                2              $2.50                   io.oo
      Total Service Charge (Will be assessed on 3/3/22}                                                                                           $130.00

      ACCOUNT 000000792382308
        Electronic Credits                                                  1
        Non~Electronic Transactions                                        35
        Domestic Incoming Wire Fee                                          1
       Online US Dollar Intl Wire Fee                                       2
       US Dollar Intl Wire Fee
        ATM - Non Chase Withdrawal                                          2




      IN CASE OF ERRORS OR QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS: Call us at 1-866-564-2262 or write us at the
      address on the front of this statement (non-personal accounts contact Customer Service) immediately if you think your statement or receipt is
      incorrect or if you need more information about a transfer listed on the statement or receipt
      For personal accounts only: We must hear from you no later than 60 days after we sent you the FIRST statement on which the problem or error
      appeared. Be prepared to give us the following information:
                                           number
                                           suspected error
                                            ~)1frtir~~~t  ~~~
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                                                                                                       isi~~:sh~x;~     (~;ii
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                                            account for the amount you think is in error so that you will have use of the money during the time it takes


      IN CASE OF ERRORS OR QUESTIONS ABOUT NON-ELECTRONIC TRANSACTIONS: Contact the.bank immediately if your statement is
      incorrect or if you need m.ore 1n_format1on abo.ut any non-electronic transactions (checks or deposits) on th.is statement. If any such _error appears,
      you must notity the bank In writing no later than 30 days after the statement was made available to you. For more complete details. see the
      Account Rules and Regulations or other applicable account agreement that governs your account Deposit products and seivices are offered by
      JPMorgan Chase Bank, N.A. Member FDIC


                                                                                                              JPMorgan Chase Bank, N.A. Member FDIC




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              CHASEO                                                                         March 01, 2022 through March 31, 2022
            JPMorgan Chase Bank, N.A.
            PO Box 182051                                                                  Account Number:    000000792382308
            Columbus, OH 43218-2051

                                                                                        CUSTOMER SERVICE INFORMATION
                                                                                        Web site:                         Chase.com
                                                                                        Service Center:               1-800-242-7338
           00032651 DRE 703 210 09522 NNNNNNNNNNN   1 000000000 D2 0000                 Deaf and Hard of Hearing:     1-800-242-7383
           KING FAMILY LENDING LLC                                                      Para Espanol:                 1-888-622-4273
           4409 SAN JOAQUIN PLZ                                                         International Calls:          1-713-262-1679
           NEWPORT BEACH CA 92660-5975




      On June 12, 2022, fees for non-Chase ATM transactions are changing
      We're making the following fee changes and, depending on the type of account you have with us, you may be affected:

               Non-Chase ATM transactions fee• (Domestic Withdrawal, Domestic & International Balance Inquiry,
               Domestic & International Balance Transfers): This fee will increase from S2.50 to $3.00, but you can still avoid it
               by using Chase ATMs. The International Withdrawal Fee for ATMs outside the U.S., Puerto Rico and the U.S.
               Virgin Islands remains $5.00 per withdrawal. We'll continue to waive these fees for customers receiving Chase
               Military Banking benefits on their Chase Business Complete Checking"' accounts.

      Please note: We'll continue to waive these fees for Chase Performance Business Checking® and Chase Platinum Business
      Checking 8 M accounts.

      For more information about banking fees, please read the Additional Banking Services and Fees for Business Accounts
      Deposit Account Agreement, which you can find at chase.com/business-deposit-disclosures, or visit a branch.

      If you have any questions, please call the number on this statement. We accept operator relay calls.

      'Fees from the ATM owner/networks may still apply

      j CHECKING SUMMARY j Chase Performance Business Checking

                                                     INSTANCES                          AMOUNT
       Beginning Balance                                                         $17,063.97
       Deposits and Additions                                30                  886,067.00
       ATM & Debit Card Withdrawals                          59                 -260,006 79
       Electronic Withdrawals                                45                 -553,432. 00
       Other Withdrawals                                       5                  -51,888.88
       Fees                                                                             -130.00
       Ending Balance                                       140                  $37,673.30


      Your account ending in 5690 is linked to this account for overdraft protection.




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              CHASEO                                                             March O1, 2022 through March 31, 2022
                                                                               Account Number:    000000792382308



     !DEPOSITS AND ADDITIONS!
      DATE     DESCRIPTION                                                                                              AMOUNT
      03/01    Online Transfer From Chk ... 3768 Transaction#: 13780269597                                        $5,000.00
      03/03    Chips Credit Via: Bank of America, NA/0959 B/O: Reiss Laurent Mc--Montecarlo Ref:                 249,980.00
               Nbnf=King Family Lending LLC Newport Beach CA 92660-5975 US/Ac-0000000 07923
               Org=/Ch0208515000666662001 Mc --Montecarlo Ogb=Bank Julius Baer A ND CO.Ltd.,
               Zuric Zurich Switzerlan D 8001 Ch Obi=20.00 Fee Deducted BB l=/Chgs/USD20 Ssn:
               0387469 Trn: 0905370062Fc
      03/03    Real Time Transfer Recd From Aba/021000021 From: Sara J King Ref: Mms-13797027902                        250.00
               Info: lid: 20220303021000021P1Brjpm00050021749 Recd: 10:51:27 Trn: 9797027902Rx
      03/03    Real Time Transfer Recd From Aba/021000021 From: Sara J King Ref: Mms-13797144408                        200.00
               Info: lid: 20220303021000021 P1 Brjpm00040030591 Recd: 11 :04:55 Trn: 9797144408Rx
      03/03    Online Transfer From Mma ... 5690 Transaction#: 13794313270                                          5,000.00
      03/03    Online Transfer From Chk ... 8982 Transaction#: 13794663783                                          2,000.00
      03/03    Online Transfer From Mma ... 5690 Transaction#: 13794922776                                            600.00
      03/09    Real Time Transfer Recd From Aba/021000021 From: Sara J King Ref: Mms-13844052854                    3,000.00
               Info: lid: 20220309021000021P1Brjpm00570044610 Recd: 15:07:58 Trn: 9844052854Rx
      03/09    Real Time Transfer Recd From Aba/021000021 From: Sara J King Ref: Mms-13844238867                    3,000.00
               Info: lid: 20220309021000021P1Brjpm00560037493 Recd: 15:36:19Trn: 9844238867Rx
      03/09    Real Time Transfer Recd From Aba/021000021 From: Sara J King Ref: Mms-13841329220                    2,000.00
               Info: lid: 20220309021000021P1Brjpm00560015144 Recd: 08:43:30 Trn: 9841329220Rx
      03/09    Real Time Transfer Recd From Aba/021000021 From: Sara J King Ref: Mms-13844700106                    2,000.00
               Info: lid: 20220309021000021 P1 Brjpm00570053958 Recd: 16:47:09 Trn: 9844700106Rx
      03/09    Online Transfer From Chk ... 8982 Transaction#: 13841220173                                              300.00
      03/09    Online Transfer From Chk ... 8982 Transaction#: 13844249846                                            177.00
      03/11    Real Time Transfer Recd From Aba/021000021 From: Sara J King Ref: Mms-13862875633                    4,000.00
               Info: lid: 20220311021000021 P1 Brjpm00570064184 Recd: 19:30:20 Trn: 9862875633Rx
      03/14    Fedwire Credit Via: Wells Fargo Bank, NA/121000248 B/O: Yuri R Spiro Beverly Hills, CA              25,000.00
               90210-4507 Ref: Chase Nyc/Ctr/Bnf=King Family Lending LLC Newport Beach CA
               92660-5975 US/Ac-000000007923 Rfb=000064507352 9812 Obi=Repayment of Loan Info
               Bbi =IChgs/USD0,00/ Imad: 031411 B7031 R015148 Trn: 0695580073Ff
      03/14    Real Time Transfer Recd From Aba/021000021 From: Sara J King Ref: Mms-13881388953                    5,000.00
               Info: lid: 20220314021000021P1Brjpm00570065064 Recd: 20:01:53 Trn: 9881388953Rx
      03/14    Real Time Transfer Recd From Aba/021000021 From: Sara J King Ref: Mms-13873427827                    2,500.00
               Info: lid: 20220313021000021P1Brjpm00040044404 Recd: 17:01:32 Trn: 9873427827Rx
      03/14    Real Time Transfer Recd From Aba/021000021 From: Sara J King Ref: Mms-13874077171                    2,000.00
               Info: lid: 20220313021000021P1Brjpm00580048424 Recd: 19:00:12 Trn: 9874077171Rx
      03/15    Chips Credit Via: Bank of America, NA/0959 B/O: Reiss Laurent Mc--Montecarlo Ref:                 349,980.00
               Nbnf=King Family Lending LLC Newport Beach CA 92660-5975 US/Ac-0000000 07923
               Org=/Ch0208515000666662001 Mc --Montecarlo Ogb=Bank Julius Baer A ND CO.Ltd.,
               Zuric Zurich Switzerlan D 8001 Ch Obi=20.00 Fee Deducted BB l=/Chgs/USD20 Ssn:
               0422804 Trn: 0980520074Fc
      03/15    Real Time Transfer Recd From Aba/021000021 From: Sara J King Ref: Mms-13883692723                    5,000.00
               Info: lid: 20220315021000021P1Brjpm00040010514 Recd: 07:28:03 Trn: 9883692723Rx
      03/15    Online Transfer From Chk ... 8982 Transaction#: 13883153495                                            900.00
      03/22    Real Time Transfer Recd From Aba/021000021 From: Sara J King Ref: Mms-13934714649                    5,000.00
               Info: lid: 20220321021000021P1Brjpm00000072075 Recd: 23:49:24 Trn: 9934714649Rx
      03/23    Real Time Transfer Recd From Aba/021000021 From: Sara J King Ref: Mms-13945930528                    5,000.00
               Info: lid: 20220323021000021P1Brjpm00060045492 Recd: 17:15:45 Trn: 9945930528Rx
      03/28    Chips Credit Via: Bank of America, NA/0959 B/O: Reiss Laurent Mc--Montecarlo Ref:                 194,980.00
               Nbnf=King Family Lending LLC Newport Beach CA 92660-5975 US/Ac-0000000 07923
               Org=/Ch0208515000666662001 Mc --Montecarlo Ogb=Bank Julius Baer A ND CO.Ltd.,
               Zuric Zurich Switzerlan D 8001 Ch Obi=20.00 Fee Deducted BB l=/Chgs/USD20 Ssn:
               0362005 Trn: 0825020087Fc
      03/28    Real Time Transfer Recd From Aba/021000021 From: Sara J King Ref: Mms-13964918485                    5,000.00
               Info: lid: 20220325021000021P1Brjpm00500088037 Recd: 23:27:01 Trn: 9964918485Rx
      03/28    Real Time Transfer Recd From Aba/021000021 From: Sara J King Ref: Mms-13965288027                    3,000.00
               Info: lid: 20220326021000021 P1 Brjpm00510003337 Recd: 01 :19:06 Trn: 9965288027Rx
      03/28    Real Time Transfer Recd From Aba/021000021 From: Sara J King Ref: Mms-13965420835                    2,500.00
               Info: lid: 20220326021000021P1Brjpm00510001610 Recd: 02:39:38 Trn: 9965420835Rx

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              CHASEO                                                           March O1, 2022 through March 31, 2022
                                                                             Account Number:    000000792382308


     IDEPOSITS AND ADDITIONS l,-(_co_nt_inu_ed_;_ _ _ _ _ _ _ _ _ _ _ _ __
      DATE       DESCRIPTION                                                                                       AMOUNT
      03/28      Real Time Transfer Recd From Aba/021000021 From: Sara J King Ref: Mms-13969973953                  500.00
                 Info: lid: 20220326021000021P1Brjpm00060070298 Recd: 19:53:27 Trn: 9969973953Rx
      03/28      Online Transfer From Chk ... 8982 Transaction#: 13964946908                                       1,400.00
      03/31      Online Transfer From Chk ... 8982 Transaction#: 14002380011                                         800.00
      Total Deposits and Additions                                                                           $886,067.00



     !ATM & DEBIT CARD WITHDRAWALS!
      DATE    DESCRIPTION                                                                                           AMOUNT
      03/01   Card Purchase       02/28 Nordstrom #333 Newport Beach CA Card 3216                               S2,799.27
      03/01   Card Purchase With Pin 03/01 Evi'Pechanga Res Temecula CA Card 3216                                2,687.50
      03/01   Card Purchase With Pin 03/01 Evi'Pechanga Res Temecula CA Card 3216                                  537.50
      03/02   Card Purchase       03/01 Evi' Pechanga Resort 702-8553000 CA Card 3216                            3,225.00
      03/02   Card Purchase With Pin 03/01 Evi'Pechanga Res Temecula CA Card 3216                                2,687.50
      03/03   Non-Chase ATM Withdraw 03/03 3730 Las Vegas Blvd S Las Vegas NV Card 3216                            308.99
      03/03   Non-Chase ATM Withdraw 03/03 3730 Las Vegas Blvd S Las Vegas NV Card 3216                            108.99
      03/03   Non-Chase ATM Withdraw 03/03 3730 Las Vegas Blvd S Las Vegas NV Card 3216                             68.99
      03/04   Card Purchase       03/02 Evi' Aria Resort And 702-8553000 NV Card 3216                            3,145.99
      03/04   Card Purchase       03/03 Evi' Aria Resort And 702-8553000 NV Card 3216                            3,145.99
      03/04   Card Purchase       03/03 Evi' Aria Resort And 702-8553000 NV Card 3216                           10,400.00
      03/04   Card Purchase       03/03 Evi' Aria Resort And 702-8553000 NV Card 3216                           10,400.00
      03/07   Card Purchase       03/03 Parkreceipts.Com -V 866-366-8391 TX Card 3216                               43.35
      03/07   Non-Chase ATM Withdraw 03/07 3131 Las Vegas Blvd So Las Vegas NV Card 3216                           506.99
      03/08   Card Purchase       03/06 Evi' Aria Resort And 702-8553000 NV Card 3216                           10,400.00
      03/08   Card Purchase       03/07 Evi' Aria Resort And 702-8553000 NV Card 3216                           10,400.00
      03/08   Card Purchase       03/07 Evi' Aria Resort And 702-8553000 NV Card 3216                           10,400.00
      03/09   Card Purchase       03/07 Evi' Wynn Las Vegas 702-8553000 NV Card 3216                             3,145.99
      03/09   Card Purchase       03/07 Evi' Aria Resort And 702-8553000 NV Card 3216                            3,145.99
      03/09   Card Purchase       03/07 Evi' Aria Resort And 702-8553000 NV Card 3216                            3,145.99
      03/09   Card Purchase       03/08 Evi' Wynn Las Vegas 702-8553000 NV Card 3216                             1,065.99
      03/09   Non-Chase ATM Withdraw 03/09 3730 Las Vegas Blvd S Las Vegas NV Card 3216                            108.99
      03/09   Non-Chase ATM Withdraw 03/09 3730 Las Vegas Blvd S Las Vegas NV Card 3216                            308.99
      03/10   Card Purchase       03/09 Aria - Front Desk Las Vegas NV Card 3216                                 1,145.04
      03/10   Card Purchase       03/09 Evi' Aria Resort And 702-8553000 NV Card 3216                            1,286.99
      03/10   Card Purchase       03/09 Evi' Wynn Las Vegas 702-8553000 NV Card 3216                             3,145.99
      03/14   Card Purchase       03/12 City of Santa Monica Santa Monica CA Card 3216                               5.00
      03/14   Card Purchase       03/12 Restoration Hardware Ontario CA Card 3216                                1,852.20
      03/14   Card Purchase       03/13 lnstacart'1549 Httpsinstacar CA Card 3216                                  50209
      03/14   Card Purchase       03/14 Doordash'Pavilions Www. Doordash. CA Card 3216                              58.13
      03/14   Card Purchase       03/13 Intermix-Beverly Hil Beverly Hills CA Card 3216                          3,336.48
      03/14   Card Purchase       03/14 Doordash'Kurosh PERS Www.Doordash. CA Card 3216                            121.61
      03/15   Card Purchase       03/13 INN Out Burger 055 Los Angeles CA Card 3216                                  9.53
      03/16   Card Purchase       03/16 Lyft 'Ride Mon ?Pm Lyft.Com CA Card 3216                                    54.19
      03/16   Card Purchase       03/14 Evi' Wynn Las Vegas 702-8553000 NV Card 3216                             5,205.99
      03/16   Card Purchase       03/15 Evi' Wynn Las Vegas 702-8553000 NV Card 3216                             4,170.99
      03/16   Card Purchase       03/15 Chanel #23 Las Vegas NV Card 3216                                       10,404.01
      03/16   Non-Chase ATM Withdraw 03/16 3131 Las Vegas Blvd So Las Vegas NV Card 3216                           506.99
      03/17   Card Purchase       03/15 Evi' Wynn Las Vegas 702-8553000 NV Card 3216                             5,205.99
      03/17   Card Purchase       03/15 Evi' Wynn Las Vegas 702-8553000 NV Card 3216                            10,400.00
      03/17   Card Purchase       03/16 Evi' Wynn Las Vegas 702-8553000 NV Card 3216                            10,400.00
      03/17   Card Purchase       03/16 Evi' Wynn Las Vegas 702-8553000 NV Card 3216                             3,145.99

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              CHASEO                                                               March O1, 2022 through March 31, 2022
                                                                                Account Number:     000000792382308


     !ATM & DEBIT CARD WITHDRAWALS! (continued)
      DATE    DESCRIPTION                                                                                              AMOUNT
      03/17   Card Purchase     03/16 Evi' Wynn Las Vegas 702-8553000 NV Card 3216                                  15,600.00
      03/18   Card Purchase     03/17 Evi' Wynn Las Vegas 702-8553000 NV Card 3216                                   9,360.00
      03/21   Non-Chase ATM Withdraw 03/21 3131 Las Vegas Blvd So Las Vegas NV Card 3216                               506.99
      03/22   Card Purchase     03/21 Evi' Wynn Las Vegas 702-8553000 NV Card 3216                                   8,320.00
      03/22   Card Purchase     03/21 Evi' Wynn Las Vegas 702-8553000 NV Card 3216                                  10,400.00
      03/22   Card Purchase     03/21 Evi' Wynn Las Vegas 702-8553000 NV Card 3216                                   5,205.99
      03/23   Card Purchase     03/22 Evi' Wynn Las Vegas 702-8553000 NV Card 3216                                   9,360.00
      03/23   Card Purchase     03/22 Evi' Wynn Las Vegas 702-8553000 NV Card 3216                                   5,205.99
      03/23   Card Purchase     03/22 Evi' Wynn Las Vegas 702-8553000 NV Card 3216                                   5,205.99
      03/23   Card Purchase     03/22 Evi' Wynn Las Vegas 702-8553000 NV Card 3216                                   5,205.99
      03/25   Card Purchase     03/25 Doordash'Bluestone L Www.Doordash. CA Card 3216                                   29.76
      03/28   Card Purchase     03/26 Doordash'Bluestone L Www.Doordash. CA Card 3216                                   30.76
      03/28   Card Purchase     03/26 Doordash'Magnolia Ba Www. Doordash. CA Card 3216                                  16.13
      03/28   Non-Chase ATM Withdraw 03/25 3131 Las Vegas Blvd So Las Vegas NV Card 3216                               306.99
      03/30   Card Purchase     03/28 Evi' Wynn Las Vegas 702-8553000 NV Card 3216                                  20,800.00
      03/30   Card Purchase     03/29 Evi' Wynn Las Vegas 702-8553000 NV Card 3216                                  20,800.00
      03/30   Non-Chase ATM Withdraw 03/30 3131 Las Vegas Blvd So Las Vegas NV Card 3216                               506.99
      Total ATM & Debit Card Withdrawals                                                                         $260,006.79



      I ATM & DEBIT CARD SUMMARY I
      Sara King Card 3216
                                Total ATM Withdrawals & Debits                                                    S3,239.90
                                Total Card Purchases                                                            $256,766.89
                                Total Card Deposits & Credits                                                         $0.00
      ATM & Debit Card Totals
                                Total ATM Withdrawals & Debits                                                    S3,239.90
                                Total Card Purchases                                                            $256,766.89
                                Total Card Deposits & Credits                                                         $000

     !ELECTRONIC WITHDRAWALS!
      DATE    DESCRIPTION                                                                                              AMOUNT
      03/01   Orig CO Name:Premeirbusinessc         Orig ID:9000327993 Desc Date:030122 CO Entry                   $3,990.00
              Descr:Web Pmts Sec:Web Trace#:111924682774898 Eed:220301 Ind ID:Yp9P99
              Ind Name:King Family Lending LI
      03/01   03/01 Online Transfer To Chk ... 8982 Transaction#: 13779600109                                       5,000.00
      03/03   Zelle Payment To Sara Jpm9999Er3Fd                                                                    2,000.00
      03/03   Zelle Payment To Sara Jpm9999Eviv2                                                                      120.00
      03/03   Zelle Payment To Sara Jpm9999Exsmw                                                                      250.00
      03/03   03/03 Online Transfer To Chk ... 8982 Transaction#: 13798071487                                      50,000.00
      03/04   03/04 Online Transfer To Chk ... 3768 Transaction#: 13810161211                                     100,000.00
      03/04   03/04 Online Realtime Transfer To Total Checking 2372 Transaction#: 13810360185                      15,000.00
              Reference#: 9810360185Rx
      03/08   03/07 Online Transfer To Chk ... 8982 Transaction#: 13833058155                                        5,000.00
      03/08   03/08 Online Transfer To Chk ... 8982 Transaction#: 13833538637                                        2,000.00
      03/08   03/08 Online Transfer To Chk ... 8982 Transaction#: 13837516707                                        2,000.00
      03/09   03/09 Online Transfer To Chk ... 8982 Transaction#: 13844058985                                        3,000.00
      03/09   03/09 Online Transfer To Chk ... 8982 Transaction#: 13844071264                                          300.00
      03/09   03/09 Online Transfer To Chk ... 8982 Transaction#: 13844706335                                        2,000.00
      03/11   Zelle Payment To Mon Amour Jpm9999Pd517                                                                1,000 00

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              CHASEO                                                                March O1, 2022 through March 31, 2022
                                                                                  Account Number:    000000792382308


     !ELECTRONIC WITHDRAWALS! (continued)
      DATE    DESCRIPTION                                                                                               AMOUNT
      03/11   Zelle Payment To P Parik 13862940496                                                                    1,000 00
      03/14   03/14 Online Realtime Transfer To Total Checking 2372 Transaction#: 13879778182                        10,000.00   ---
              Reference#: 9879778182Rx                                                                                           ---
      03/14   03/14 Online Transfer To Chk ... 8982 Transaction#: 13881735150                                         5,000.00   ---
      03/15   03/15 Online Transfer To Chk ... 8982 Transaction#: 13882684360                                         1,000 00   ---
                                                                                                                                 ---
      03/15   03/15 Online International Wire Transfer Via: Bank of America, NA/0959 NC: Bank Julius                  9,750.00
              Baer And CO. Ag Zurich, Zurich 8001 Switzerland Ben: Laurent Reiss Tortola Ch Ref: Funding                         ---
              Investments Ssn: 0237822 Trn: 3022922074Es                                                                         ---
                                                                                                                                 ---
      03/15   03/15 Online Transfer To Chk ... 8982 Transaction#: 13884254410                                         1,400.00   ---
                                                                                                                                 ---
      03/15   03/15 Online Transfer To Chk ... 8982 Transaction#: 13888153589                                        10,000.00
                                                                                                                                 ---
      03/16   03/16 Online Transfer To Chk ... 8982 Transaction#: 13891900239                                         5,000.00   ---
      03/16   03/16 Online Transfer 13891901211 To Total Checking #####2372 Transaction #:                            5,000.00
              13891901211
      03/16   03/16 Online Transfer To Chk ... 8982 Transaction#: 13891998799                                       50,000.00
      03/16   03/16 Online Realtime Transfer To Total Checking 2372 Transaction#: 13896449705                       10,000.00
              Reference#: 9896449705Rx
      03/16   03/16 Online Realtime Transfer To Total Checking 2372 Transaction#: 13896463331                        10,000.00
              Reference#: 9896463331 Rx
      03/18   03/17 Online Realtime Transfer To Total Checking 2372 Transaction#: 13906227676                       25,000.00
              Reference#: 9906227676Rx
      03/21   03/21 Online Transfer To Chk ... 8982 Transaction#: 13930366748                                        5,000.00
      03/21   03/21 Online Transfer To Chk ... 8982 Transaction#: 13931998152                                       15,000.00
      03/22   03/21 Online Transfer To Chk ... 8982 Transaction#: 13934718493                                        5,000.00
      03/22   03/22 Online Transfer To Chk ... 8982 Transaction#: 13935036072                                       25,000.00
      03/23   03/23 Online International Wire Transfer Via: Bank of America, NA/0959 NC: Bank Julius                24,000.00
              Baer And CO. Ag Zurich, Zurich 8001 Switzerland Ben: Laurent Reiss Tortola Ch Ref: Funding
              Investments Ssn: 0207719 Trn: 3046832082Es
      03/24   03/24 Online International Wire Transfer Via: Bank of America, NA/0959 NC: Bank Julius                 14,100.00
              Baer And CO. Ag Zurich, Zurich 8001 Switzerland Ben: Laurent Reiss Tortola Ch Ref: Funding
              Investments Ssn: 0252789 Trn: 3109732083Es
      03/28   03/25 Online Transfer To Chk ... 8982 Transaction#: 13964968504                                         8,000.00
      03/28   03/25 Online Transfer To Chk ... 8982 Transaction#: 13964979469                                           500.00
      03/28   03/26 Online Realtime Transfer To Total Checking 2372 Transaction#: 13965424002                         3,500.00
              Reference#: 9965424002Rx
      03/28   Zelle Payment To Sara Jpm999A5V9Z0                                                                     2,000.00
      03/28   Zelle Payment To Sara Jpm999A5Vvkv                                                                        22.00
      03/28   Zelle Payment To Sara Jpm999A6Otg2                                                                       500.00
      03/28   03/28 Online Transfer To Chk ... 8982 Transaction#: 13978739719                                       75,000.00
      03/29   03/29 Online Realtime Transfer To Total Checking 2372 Transaction#: 13986582854                        8,000.00
              Reference#: 9986582854Rx
      03/29   03/29 Online Realtime Transfer To Total Checking 2372 Transaction#: 13986738662                       20,000.00
              Reference#: 9986738662Rx
      03/30   03/30 Online Realtime Transfer To Total Checking 2372 Transaction#: 13992208222                        10,000.00
              Reference#: 9992208222Rx
      03/31   03/31 Online Realtime Transfer To Total Checking 2372 Transaction#: 14003726232                         3,000.00
              Reference#: 9003726232Rx
      Total Electronic Withdrawals                                                                                $553,432.00




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              CHASEO                                                                  March O1, 2022 through March 31, 2022
                                                                                    Account Number:    000000792382308



     !OTHER WITHDRAWALS!
      DATE    DESCRIPTION                                                                                                 AMOUNT
      03/07   03/07 Withdrawal                                                                                         S8,888.88
      03/08   03/08 Withdrawal                                                                                          3,000.00
      03/15   03/15 Withdrawal                                                                                         20,000.00
      03/21   03/19 Withdrawal                                                                                          5,000.00
      03/22   03/22 Withdrawal                                                                                         15,000.00
      Total Other Withdrawals                                                                                        $51,888.88


     I FEES I
      DATE    DESCRIPTION                                                                                                 AMOUNT
      03/03    Service Charges For The Month of February                                                                  S130.00
      Total Fees                                                                                                          $130.00

     The monthly service fee of $30.00 was waived this period because you maintained a relationship balance (combined
     business deposits) of $35,000.00 or more.


     I DAILy ENDING BALANCE I
      DATE                       AMOUNT          DATE                     AMOUNT              DATE                            AMOUNT

     03/01                    $7,049 70          03/11                   2,12607             03/23                        16,605.93
     03/02                     1,137.20          03/14                  15,750.56            03/24                         2,505.93
     03/03                  206,180.23           03/15                 329,471.03            03/25                         2,476.17
     03/04                    64,08825           03/16                 229,128.86            03/28                     119,980.29
     03/07                    54,649.03          03/17                 184,376.88            03/29                        91,980.29
     03/08                    11,449.03          03/18                 150,016.88            03/30                        39,873.30
     03/09                     5,704 09          03/21                 124,509.89            03/31                        37,673.30
     03/10                       12607           03/22                  60,583.90

     ISERVICE CHARGE SUMMARY! _ _ _ _ _ _ _ _ _ _ _ _ __
      Maintenance Fee                                                $0.00 Waived by checking and relationship balances
      Excess Product Fees                                            $0.00
      Other Service Charges                                        S120.00
      Total Service Charges                                        $120.00 Will be assessed on 4/5/22

                                                                 NUMBER OF
      TRANSACTIONS FOR SERVICE FEE CALCULATION                TRANSACTIONS
      Checks Paid/ Debits                                                79
      Deposits/ Credits                                                  21
      Deposited Items                                                     0
      Total Transactions                                                100




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              CHASEO                                                                                     March O1, 2022 through March 31, 2022
                                                                                                      Account Number:       000000792382308


     ISERVICE CHARGE DETAIL I
      DESCRIPTION                                                  VOLUME         ALLOWED         CHARGED           PRICE/ UNIT                 TOTAL
      Your Product Includes·

      ACCOUNT 000000792382308                                                                                                                                ---
       Waived Monthly Service Fee
                                                                                                                                                             ---
                                                                          0                                              $30.00                  $0.00
        Transactions                                                    100                0             100              $0.00                  }0.00
                                                                                                                                                             ---
                                                                                                                                                             ---
       Subtotal                                                                                                                                  $0.00
                                                                                                                                                             ---
      Other Fees                                                                                                                                             ---
        Electronic Credits                                               21    999.999.999                 0              $0.40                 $0.00        ---
        Non-Electronic Transactions                                      79             250                0              $0.40                 $0.00        ---
        Domestic Incoming Wire Fee                                         4              2                2              $0.00                 $0.00        ---
                                                                                                                                                             ---
       Online US Dollar Intl Wire Fee                                      3              0                3             $40.00               $120.00        ---
        ATM - Non Chase Withdrawal                                       10                0              10              $2.50                 j;0.00       ---
      Total Service Charge(Will be assessed on 4/5/22)                                                                                         $120.00

      ACCOUNT 000000792382308
       Electronic Credits                                                21
        Non-Electronic Transactions                                      79
        Domestic Incoming Wire Fee                                         4
       Online US Dollar Intl Wire Fee                                      3
        ATM    Non Chase Withdrawal                                      10




      IN CASE OF ERRORS OR QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS: Call us at 1-866-564-2262 or write us at the
      address on the front of this statement (non-personal accounts contact Customer Service) immediately if you think your statement or receipt is
      incorrect or if you need more information about a transfer listed on the statement or receipt
      For personal accounts only: We must hear from you no later than 60 days after we sent you the FIRST statement on which the problem or error
      appeared. Be prepared to give us the following information:
                      Your name and account number
                      The dollar.amount of the suspected error

                               ~~1rg1:~n: :;&r ~~~~~r~fgr~~~ it~?;t} fh1~t
                      A description of th.e error or transfer you are unsure of, why you believe it is an error, _or why you need more information.
                                                                     0        1                                                2
      :~~~t~r~s~g1h1i,~~                                          ~~                ~ei~a:~o~~;et~h;;~~s ~Wthn:v~ Jsal~if~e ~~~:~~t~i~~1~~~r~:n takes
      us to complete our investigation.
      IN CASE OF ERRORS OR QUESTIONS ABOUT NON-ELECTRONIC TRANSACTIONS: Contact the bank immediately if your statement ,s
      incorrect or if you need mpre information abo.ut any non~electronic transactions (checks or deposits) on th.is statement. If any.su~h error appears,
      you must notity the bank 1n writing no later than 30 days after the statement was made available to r:,ou. For more complete details, see the
      1~~ir~~~udi~:~i~;~,u~~R~ni~~~~:}6~8!icable account agreement that governs your account. epos1t products and seivices are offered by


                                                                                                            JPMorgan Chase Bank, N.A. Member FDIC




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         CHASEO                                                     March 01, 2022 through March 31, 2022
                                                                  Account Number:    000000792382308




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              CHASEO                                                                              April 01, 2022 through April 29, 2022
              JPMorgan Chase Bank, N.A.
              PO Box 182051                                                                Account Number:         000000792382308
              Columbus, OH 43218-2051

                                                                                         CUSTOMER SERVICE INFORMATION
                                                                                        Web site:                              Chase.com
                                                                                        Service Center:                    1-800-242-7338
           00034279 DRE 703 210 12422 NNNNNNNNNNN   1 000000000 D2 0000                 Deaf and Hard of Hearing:          1-800-242-7383
           KING FAMILY LENDING LLC                                                      Para Espanol:                      1-888-622-4273
           4409 SAN JOAQUIN PLZ                                                         International Calls:               1-713-262-1679
           NEWPORT BEACH CA 92660-5975




      j CHECKING SUMMARY j Chase Performance Business Checking

                                                     INSTANCES                          AMOUNT
       Beginning Balance                                                         $37,673.30
       Deposits and Additions                                30                1,049,893.33
       ATM & Debit Card Withdrawals                          40                 -354,258.20
       Electronic Withdrawals                                55                 -697,955.31
       Other Withdrawals                                       2                  -20,400.00
       Fees                                                                             ·120.00
       Ending Balance                                       128                  $14,833.12


      Your account ending in 5690 is linked to this account for overdraft protection.


     IDEPOSITS AND ADDITIONS I
      DATE           DESCRIPTION                                                                                                          AMOUNT
      04/01          Chips Credit Via: Bank of America, N.A./0959 B/O: Reiss Laurent Mc--Montecarlo Ref:                         $149,980.00
                     Nbnf=King Family Lending LLC Newport Beach CA 92660-5975 US/Ac-0000000 07923
                     Org=/Ch0208515000666662001 Mc ·-Montecarlo Ogb=Bank Julius Baer A ND CO.Ltd.,
                     Zuric Zurich Switzerlan D 8001 Ch Obi=20.00 Fee Deducted BB l=/Chgs/USD20 Ssn:
                     0358822 Trn: 0864430091 Fe
      04/04          Real Time Transfer Recd From Aba/021000021 From: Sara J King Ref: Mms-14039163233                                    500.00
                     Info: I id: 20220404021000021 P1 Brjpm00520053412 Recd: 15: 14:55 Trn: 9039163233Rx
      04/04          Online Transfer From Mma ... 5690 Transaction#: 14037055002                                                     2,347.00
      04/05          Chips Credit Via: Bank of America, N.A./0959 B/O: Reiss Laurent Mc--Montecarlo Ref:                            94,980.00
                     Nbnf=King Family Lending LLC Newport Beach CA 92660-5975 US/Ac-0000000 07923
                     Org=/Ch0208515000666662001 Mc ·-Montecarlo Ogb=Bank Julius Baer A ND CO.Ltd.,
                     Zuric Zurich Switzerlan D 8001 Ch Obi=20.00 Fee Deducted BB l=/Chgs/USD20 Ssn:
                     0151031 Trn: 0353980095Fc
      04/06          Online Transfer From Chk ... 3768 Transaction#: 14054955645                                                         8,000.00
      04/07          Real Time Transfer Recd From Aba/021000021 From: Sara J King Ref: Mms-14060901477                                      7000
                     Info: I id: 20220407021000021 P1 Brjpm00000026084 Recd: 13:04:39 Trn: 9060901477Rx
      04/07          Online Transfer From Chk ... 8982 Transaction#: 14060893788                                                        23.00
      04/07          Online Transfer From Mma ... 5690 Transaction#: 14060907003                                                         0.33
      04/08          Chips Credit Via: Bank of America, N.A./0959 B/O: Reiss Laurent Mc--Montecarlo Ref:                            64,980.00
                     Nbnf=King Family Lending LLC Newport Beach CA 92660-5975 US/Ac-0000000 07923
                     Org=/Ch0208515000666662001 Mc ·-Montecarlo Ogb=Bank Julius Baer A ND CO.Ltd.,
                     Zuric Zurich Switzerlan D 8001 Ch Obi=20.00 Fee Deducted BB l=/Chgs/USD20 Ssn:
                     0373916 Trn: 0863990098Fc




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              CHASEO                                                             April 01. 2022 through April 29, 2022
                                                                              Account Number:     000000792382308


     IDEPOSITS AND ADDITIONS l,-(_co_nt_inu_ed_;_ _ _ _ _ _ _ _ _ _ _ _ __
      DATE       DESCRIPTION                                                                                             AMOUNT
      04/08      Real Time Transfer Recd From Aba/021000021 From: Sara J King Ref: Mms-14074008456                    4,000.00
                 Info: lid: 20220408021000021 P1 Brjpm00000074261 Recd: 20:51 :28 Trn: 9074008456Rx
      04/11      Chips Credit Via: Bank of America, NA/0959 B/O: Reiss Laurent Mc--Montecarlo Ref:                249,980.00
                 Nbnf=King Family Lending LLC Newport Beach CA 92660-5975 US/Ac-0000000 07923
                 Org=/Ch0208515000666662001 Mc --Montecarlo Ogb=Bank Julius Baer A ND CO.Ltd.,
                 Zuric Zurich Switzerlan D 8001 Ch Obi=20.00 Fee Deducted BB l=/Chgs/USD20 Ssn:
                 0343286 Trn: 0794560101 Fe
      04/11      Real Time Transfer Recd From Aba/021000021 From: Sara J King Ref: Mms-14078566948                   2,500.00
                 Info: lid: 20220409021000021P1Brjpm00020035892 Recd: 15:17:38 Trn: 9078566948Rx
      04/11      Real Time Transfer Recd From Aba/021000021 From: Sara J King Ref: Mms-14078562728                       1,500.00
                 Info: lid: 20220409021000021P1Brjpm00020035768 Recd: 15:16:52 Trn: 9078562728Rx
      04/14      Real Time Transfer Recd From Aba/021000021 From: Sara J King Ref: Mms-14107748063                   5,000.00
                 Info: lid: 20220414021000021P1Brjpm00020007758 Recd: 00:28:10 Trn: 9107748063Rx
      04/15      Real Time Transfer Recd From Aba/021000021 From: Sara J King Ref: Mms-14115734686                   5,000.00
                 Info: lid: 20220415021000021 P1 Brjpm00020000463 Recd: 00:29:36 Trn: 9115734686Rx
      04/15      Real Time Transfer Recd From Aba/021000021 From: Sara J King Ref: Mms-14116369317                       1,000 00
                 Info: lid: 20220415021000021P1Brjpm00510006276 Recd: 04:00:44 Trn: 9116369317Rx
      04/15      Real Time Transfer Recd From Aba/021000021 From: Sara J King Ref: Mms-14124745920                        500.00
                 Info: lid: 20220415021000021P1Brjpm00500053541 Recd: 17:53:50 Trn: 9124745920Rx
      04/15      Online Transfer From Chk ... 3768 Transaction#: 14116119747                                           93.00
      04/18      Zelle Payment From John Mccabe WfctoOd86Lsb                                                        2,000.00
      04/18      Zelle Payment From John Mccabe 14136937367                                                         1,600.00
      04/18      Zelle Payment From John Mccabe 14132608595                                                         1,500.00
      04/18      Zelle Payment From John Mccabe 14131686447                                                           500.00
      04/18      Zelle Payment From John Mccabe 14136813355                                                           400.00
      04/19      Chips Credit Via: Bank of America, NA/0959 B/O: Reiss Laurent Mc--Montecarlo Ref:                134,980.00
                 Nbnf=King Family Lending LLC Newport Beach CA 92660-5975 US/Ac-0000000 07923
                 Org=/Ch0208515000666662001 Mc --Montecarlo Ogb=Bank Julius Baer A ND CO.Ltd.,
                 Zuric Zurich Switzerlan D 8001 Ch Obi=20.00 Fee Deducted BB l=/Chgs/USD20 Ssn:
                 0350198 Trn: 0825920109Fc
      04/19      Real Time Transfer Recd From Aba/021000021 From: Sara J King Ref: Mms-14151678980                   5,000.00
                 Info: lid: 20220419021000021P1Brjpm00500065458 Recd: 19:48:38 Trn: 9151678980Rx
      04/19      Online Transfer From Chk ... 3768 Transaction#: 14151519273                                        17,000.00
      04/19      Online Transfer From Chk ... 8982 Transaction#: 14152382726                                        17,000.00
      04/19      Online Transfer From Chk ... 3768 Transaction#: 14152654995                                         7,500.00
      04/26      Chips Credit Via: Bank of America, NA/0959 B/O: Reiss Laurent Mc--Montecarlo Ref:                  71,980.00
                 Nbnf=King Family Lending LLC Newport Beach CA 92660-5975 US/Ac-0000000 07923
                 Org=/Ch0208515000666662001 Mc --Montecarlo Ogb=Bank Julius Baer A ND CO.Ltd.,
                 Zuric Zurich Switzerlan D 8001 Ch Obi=20.00 Fee Deducted BB l=/Chgs/USD20 Ssn:
                 0389379 Trn: 0898120116Fc
      04/27      Chips Credit Via: Bank of America, NA/0959 B/O: Reiss Laurent Mc--Montecarlo Ref:                199,980.00
                 Nbnf=King Family Lending LLC Newport Beach CA 92660-5975 US/Ac-0000000 07923
                 Org=/Ch0208515000666662001 Mc --Montecarlo Ogb=Bank Julius Baer A ND CO.Ltd.,
                 Zuric Zurich Switzerlan D 8001 Ch Obi=20.00 Fee Deducted BB l=/Chgs/USD20 Ssn:
                 0475315 Trn: 1094720117Fc
      Total Deposits and Additions                                                                            $1,049,893.33



     !ATM & DEBIT CARD WITHDRAWALS!
      DATE    DESCRIPTION                                                                                                 AMOUNT
      04/01   Card Purchase     03/30 Evi' Wynn Las Vegas 702-8553000 NV Card 3216                                $22,880.00
      04/01   Card Purchase     03/30 Evi' Wynn Las Vegas 702-8553000 NV Card 3216                                 14,560.00
      04/04   Card Purchase     04/01 Evi' Wynn Las Vegas 702-8553000 NV Card 3216                                 23,920.00
      04/04   Card Purchase     04/02 Evi' Wynn Las Vegas 702-8553000 NV Card 3216                                 20,800.00
      04/04   Card Purchase     04/02 Evi' Wynn Las Vegas 702-8553000 NV Card 3216                                  3,145.99
      04/04   Non-Chase ATM Withdraw 04/04 3131 Las Vegas Blvd So Las Vegas NV Card 3216                              506.99

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             CHASEO                                                            April 01. 2022 through April 29, 2022
                                                                            Account Number:     000000792382308


     !ATM & DEBIT CARD WITHDRAWALS! (continued)
      DATE    DESCRIPTION                                                                                              AMOUNT
      04/05   Card Purchase     04/04 Evi' Wynn Las Vegas 702-8553000 NV Card 3216                                2,104.99
      04/06   Card Purchase     04/05 Evi' Wynn Las Vegas 702-8553000 NV Card 3216                               23,920.00      ---
      04/07   Card Purchase     04/06 Door To Door Valet Cle 310-3589422 CA Card 3216                               745.45      ---
      04/07   Card Purchase     04/06 Evi' Wynn Las Vegas 702-8553000 NV Card 3216                                7,800.00      ---
                                                                                                                                ---
      04/07   Non-Chase ATM Withdraw 04/07 3131 Las Vegas Blvd So Las Vegas NV Card 3216                             86.99
                                                                                                                                ---
      04/07   Non-Chase ATM Withdraw 04/07 3131 Las Vegas Blvd So Las Vegas NV Card 3216                             86.99
                                                                                                                                ---
      04/08   Non-Chase ATM Withdraw 04/08 3131 Las Vegas Blvd So Las Vegas NV Card 3216                            506.99      ---
      04/11   Card Purchase     04/08 Evi' Wynn Las Vegas 702-8553000 NV Card 3216                               23,920.00      ---
                                                                                                                                ---
      04/11   Card Purchase     04/08 Door To Door Valet Cle 310-3589422 CA Card 3216                               393.97
      04/11   Card Purchase     04/08 Evi' Wynn Las Vegas 702-8553000 NV Card 3216                                3,670.99      ---
                                                                                                                                ---
      04/11   Non-Chase ATM Withdraw 04/08 3131 Las Vegas Blvd So Las Vegas NV Card 3216                            206.99
      04/11   Non-Chase ATM Withdraw 04/08 3131 Las Vegas Blvd So Las Vegas NV Card 3216                            106.99
      04/11   Card Purchase     04/09 Evi' Wynn Las Vegas 702-8553000 NV Card 3216                                3,970.99
      04/11   Non-Chase ATM Withdraw 04/10 3131 Las Vegas Blvd So Las Vegas NV Card 3216                            106.99
      04/11   Non-Chase ATM Withdraw 04/11 3131 Las Vegas Blvd So Las Vegas NV Card 3216                            506.99
      04/12   Card Purchase     04/11 Evi' Wynn Las Vegas 702-8553000 NV Card 3216                               22,880.00
      04/13   Card Purchase     04/11 Evi' Wynn Las Vegas 702-8553000 NV Card 3216                               22,880.00
      04/14   Card Purchase     04/13 Evi' Wynn Las Vegas 702-8553000 NV Card 3216                               23,920.00
      04/15   Non-Chase ATM Withdraw 04/15 3131 Las Vegas Blvd So Las Vegas NV Card 3216                            506.99
      04/18   Non-Chase ATM Withdraw 04/15 3131 Las Vegas Blvd So Las Vegas NV Card 3216                            506.99
      04/18   Card Purchase     04/16 Evi' Wynn Las Vegas 702-8553000 NV Card 3216                                1,586.99
      04/18   Non-Chase ATM Withdraw 04/18 3131 Las Vegas Blvd So Las Vegas NV Card 3216                            106.99
      04/19   Card Purchase     04/17 Evi' Wynn Las Vegas 702-8553000 NV Card 3216                                1,904.99
      04/20   Card Purchase     04/19 Evi' Wynn Las Vegas 702-8553000 NV Card 3216                               10,400.00
      04/21   Card Purchase     04/19 Evi' Wynn Las Vegas 702-8553000 NV Card 3216                               23,920.00
      04/22   Card Purchase     04/21 Evi' Wynn Las Vegas 702-8553000 NV Card 3216                               15,600.00
      04/25   Card Purchase     04/22 Evi' Wynn Las Vegas 702-8553000 NV Card 3216                                2,945.99
      04/25   Card Purchase     04/23 Evi' Wynn Las Vegas 702-8553000 NV Card 3216                                2,945.99
      04/25   Non-Chase ATM Withdraw 04/24 3131 Las Vegas Blvd So Las Vegas NV Card 3216                            506.99
      04/26   Non-Chase ATM Withdraw 04/26 3131 Las Vegas Blvd So Las Vegas NV Card 3216                            506.99
      04/27   Card Purchase     04/26 Evi' Wynn Las Vegas 702-8553000 NV Card 3216                               23,920.00
      04/29   Card Purchase     04/27 Evi' Wynn Las Vegas 702-8553000 NV Card 3216                               20,800.00
      04/29   Card Purchase     04/27 Evi' Wynn Las Vegas 702-8553000 NV Card 3216                               20,800.00
      04/29   Card Purchase     04/28 Evi' Wynn Las Vegas 702-8553000 NV Card 3216                                3,670.99
      Total ATM & Debit Card Withdrawals                                                                      $354,258.20



      I ATM & DEBIT CARD SUMMARY I
      Sara King Card 3216
                                Total ATM Withdrawals & Debits                                                 S4,250.87
                                Total Card Purchases                                                         $350,007.33
                                Total Card Deposits & Credits                                                      $0.00
      ATM & Debit Card Totals
                                Total ATM Withdrawals & Debits                                                 S4,250.87
                                Total Card Purchases                                                         $350,007.33
                                Total Card Deposits & Credits                                                      $0.00




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              CHASEO                                                                  April 01. 2022 through April 29, 2022
                                                                                  Account Number:      000000792382308



     !ELECTRONIC WITHDRAWALS!
      DATE    DESCRIPTION                                                                                                     AMOUNT
      04/01   04/01 Online Realtime Transfer To Total Checking 2372 Transaction#: 14013143894                         $25,000.00
              Reference#: 9013143894Rx
      04/01   04/01 Online Domestic Wire Transfer Via: Bk Amer Nyc/026009593 A/C: Sara King Newport                     50,000.00
              Beach CA 92660 US lmad: 0401B1Qgc06C015467 Trn: 3684512091Es
      04/01   04/01 Online Transfer To Chk ... 8982 Transaction#: 14017135632                                           20,000.00
      04/04   Zelle Payment To Sara Jpm999Af9Tty                                                                         5,000.00
      04/04   04/04 Online Transfer To Mma ... 5690 Transaction#: 14035122122                                            2,347.31
      04/04   Zelle Payment To Sara Jpm999Ahx9Zg                                                                           230.00
      04/05   04/05 Online Realtime Transfer To Total Checking 2372 Transaction#: 14044648402                            5,000.00
              Reference#: 9044648402Rx
      04/05   Zelle Payment To Sara Jpm999Aiqpdp                                                                         5,000.00
      04/05   04/05 Online Transfer To Chk ... 8982 Transaction#: 14044682088                                            2,000.00
      04/05   04/05 Online Domestic Wire Transfer Via: Bk Amer Nyc/026009593 A/C: Sara King Newport                     25,000.00
              Beach CA 92660 US Imad: 0405B1 Qgc05C007589 Trn: 3326452095Es
      04/05   04/05 Online Realtime Transfer To Total Checking 2372 Transaction#: 14046265615                           20,000.00
              Reference#: 9046265615Rx
      04/05   04/05 Online Domestic Wire Transfer Via: Bk Amer Nyc/026009593 A/C: Sara King Newport                      5,000.00
              Beach CA 92660 US Imad: 0405B1 Qgc08C018784 Trn: 3532722095Es
      04/05   04/05 Online Transfer To Chk ... 3768 Transaction#: 14048488980                                            8,000.00
      04/07   Zelle Payment To Sara Jpm999Akt7He                                                                           300.00
      04/07   04/07 Online Realtime Transfer To Total Checking 2372 Transaction#: 14063485639                               15.00
              Reference#: 9063485639Rx
      04/08   04/08 Online Realtime Transfer To Total Checking 2372 Transaction#: 14069010180                            5,000.00
              Reference#: 9069010180Rx
      04/08   Zelle Payment To P Parik 14070229907                                                                       2,000.00
      04/08   04/08 Online International Wire Transfer Via: Bank of America, NA/0959 A/C: Bank Julius                   10,500.00
              Baer And CO. Ag Zurich, Zurich 8001 Switzerland Ben: Laurent Reiss Tortola Ch Ref: Funding
              Investments Ssn: 0443250 Trn: 3377532098Es
      04/08   04/08 Online Domestic Wire Transfer Via: Bk Amer Nyc/026009593 A/C: Sara King Newport                     15,000.00
              Beach CA 92660 US Imad: 0408B1 Qgc03C009189 Trn: 3378802098Es
      04/08   Zelle Payment To Sara Jpm999An0Ua6                                                                         3,000.00
      04/08   04/08 Online Realtime Transfer To Total Checking 2372 Transaction#: 14072699922                            3,000.00
              Reference#: 9072699922Rx
      04/08   04/08 Online Realtime Transfer To Total Checking 2372 Transaction#: 14073895228                              1,600.00
              Reference#: 9073895228Rx
      04/11   04/11 Online Realtime Transfer To Total Checking 2372 Transaction#: 14088744841                           10,000.00
              Reference#: 90887 44841 Rx
      04/11   04/11 Online Transfer To Chk ... 8982 Transaction#: 14088751777                                           10,000.00
      04/11   04/11 Online Domestic Wire Transfer Via: Bk Amer Nyc/026009593 A/C: Sara King Newport                     25,000.00
              Beach CA 92660 US Imad: 0411 B1 Qgc01C010954 Trn: 3471752101 Es
      04/11   04/11 Online Realtime Transfer To Total Checking 2372 Transaction#: 14092750007                           15,000.00
              Reference#: 9092750007Rx
      04/12   04/12 Online Transfer 14094279976 To Total Checking #####2372 Transaction #:                              10,000.00
              14094279976
      04/12   04/12 Online Transfer To Chk ... 8982 Transaction#: 14094282729                                            5,000.00
      04/12   04/12 Online Domestic Wire Transfer Via: Bk Amer Nyc/026009593 A/C: Sara King Newport                     50,000.00
              Beach CA 92660 US Imad: 0412B1 Qgc08C001567 Trn: 3109082102Es
      04/13   04/13 Online Domestic Wire Transfer Via: Bk Amer Nyc/026009593 A/C: Sara King Newport                     25,000.00
              Beach CA 92660 US lmad: 0413B1Qgc07C009151 Trn: 3277972103Es
      04/14   Zelle Payment To Sara Jpm999Asy3Kd                                                                         5,000.00
      04/14   04/14 Online Transfer To Chk ... 8982 Transaction#: 14107752553                                            5,000.00
      04/14   04/14 Online Transfer To Chk ... 3768 Transaction#: 14107755609                                            4,793.00
      04/15   Zelle Payment To Sara Jpm999Au4O69                                                                         4,470.00
      04/15   04/15 Online Domestic Wire Transfer Via: Bk Amer Nyc/026009593 A/C: Sara King Newport                      1,000 00
              Beach CA 92660 US lmad: 0415B1Qgc03C005981 Trn: 3292382105Es


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              CHASEO                                                                   April 01. 2022 through April 29, 2022
                                                                                   Account Number:      000000792382308


     !ELECTRONIC WITHDRAWALS! (continued)
      DATE    DESCRIPTION                                                                                                      AMOUNT
      04/18   04/17 Online Realtime Transfer To Total Checking 2372 Transaction#: 14133765809                                  500.00
              Reference#: 9133765809Rx
                                                                                                                                        ---
      04/18   04/17 Online Realtime Transfer To Total Checking 2372 Transaction#: 14133772673                             2,000.00      ---
              Reference#: 9133772673Rx                                                                                                  ---
      04/19   04/19 Online Realtime Transfer To Total Checking 2372 Transaction#: 14148489638                            25,000.00      ---
              Reference#: 9148489638Rx                                                                                                  ---
      04/19   04/19 Online Transfer To Chk ... 3768 Transaction#: 14148496612                                            30,000.00      ---
      04/19   04/19 Online Domestic Wire Transfer Via: Bk Amer Nyc/026009593 NC: Sara King Newport                       25,000.00      ---
                                                                                                                                        ---
              Beach CA 92660 US Imad: 0419B1 Ogc03C008298 Trn: 3237112109Es
                                                                                                                                        ---
      04/19   04/19 Online Transfer To Chk ... 8982 Transaction#: 14149558397                                            17,000.00
                                                                                                                                        ---
      04/19   04/19 Online Realtime Transfer To Total Checking 2372 Transaction#: 14151545952                            20,000.00      ---
              Reference#: 9151545952Rx
      04/22   04/22 Online Realtime Transfer To Total Checking 2372 Transaction#: 14173055747                               1,400.00
              Reference#: 9173055747Rx
      04/25   04/24 Online Realtime Transfer To Total Checking 2372 Transaction#: 14183740277                             3,500.00
              Reference#: 9183740277Rx
      04/25   04/24 Online Domestic Wire Transfer Via: Bk Amer Nyc/026009593 NC: Sara King Newport                          1,300.00
              Beach CA 92660 US Imad: 0425B1 Ogc06C000285 Trn: 3345912112Es
      04/25   04/25 Online Realtime Transfer To Total Checking 2372 Transaction#: 14188573404                               1,000 00
              Reference#: 9188573404Rx
      04/26   04/26 Online Domestic Wire Transfer Via: Bk Amer Nyc/026009593 NC: Sara King Newport                       25,000.00
              Beach CA 92660 US Imad: 0426B1 Ogc04C005460 Trn: 3224442116Es
      04/26   04/26 Online Realtime Transfer To Total Checking 2372 Transaction#: 14198429156                            22,000.00
              Reference#: 9198429156Rx
      04/27   04/27 Online Realtime Transfer To Total Checking 2372 Transaction#: 14205840749                            25,000.00
              Reference#: 92058407 49Rx
      04/27   04/27 Online Domestic Wire Transfer Via: Bk Amer Nyc/026009593 NC: Sara King Newport                       25,000.00
              Beach CA 92660 US Imad: 0427B1 Ogc06C009559 Trn: 3379822117Es
      04/27   04/27 Online Transfer To Chk ... 3768 Transaction#: 14208685279                                             5,000.00
      04/28   04/28 Online Realtime Transfer To Total Checking 2372 Transaction#: 14212465481                            25,000.00
              Reference#: 9212465481Rx
      04/28   04/28 Online Transfer To Chk ... 8982 Transaction#: 14212875131                                            25,000.00
      04/28   04/28 Online Realtime Transfer To Total Checking 2372 Transaction#: 14212926317                            11,000 00
              Reference#: 9212926317Rx
      04/28   04/28 Online Domestic Wire Transfer Via: Bk Amer Nyc/026009593 NC: Sara King Newport                       25,000.00
              Beach CA 92660 US Imad: 0428B1 Ogc08C020134 Trn: 3265532118Es
      Total Electronic Withdrawals                                                                                    $697,955.31


     !OTHER WITHDRAWALS!
      DATE    DESCRIPTION                                                                                                      AMOUNT
      04/11   04/11 Withdrawal                                                                                          $20,000.00
      04/27   04/27 Withdrawal                                                                                              400.00
      Total Other Withdrawals                                                                                           $20,400.00


     I FEES I
      DATE    DESCRIPTION                                                                                                      AMOUNT
      04/05    Service Charges For The Month of March                                                                       S120.00
      Total Fees                                                                                                            $120.00

     The monthly service fee of $30.00 was waived this period because you maintained a relationship balance (combined
     business deposits) of $35,000.00 or more.




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             CHASEO                                                                              April 01. 2022 through April 29, 2022
                                                                                              Account Number:     000000792382308



     I DAILy ENDING BALANCE I
      DATE                            AMOUNT         DATE                         AMOUNT                DATE                              AMOUNT

     04/01                     $55,213.30            04/12                      81,593.02              04/21                          30,170.07
     04/04                         2,11001           04/13                      33,71302               04/22                          13,17007
     04/05                        24,865.02          04/14                             0.02            04/25                               971.10
     04/06                         8,945.02          04/15                            61603            04/26                          25,444.11
     04/07                              3.92         04/18                       1,915.06              04/27                       146,104.11
     04/08                        28,376.93          04/19                      64,490 07              04/28                          60,104.11
     04/11                      169,473 02           04/20                      54,090 07              04/29                          14,833.12

     I SERVICE CHARGE SUMMARY! _ _ _ _ _ _ _ _ _ _ _ _ __
      Maintenance Fee                                                        $0.00 Waived by checking and relationship balances
      Excess Product Fees                                                    $0.00
      Other Service Charges                                                S315.00
      Total Service Charges                                                $315.00 Will be assessed on 5/4/22

                                                                         NUMBER OF
      TRANSACTIONS FOR SERVICE FEE CALCULATION                        TRANSACTIONS
      Checks Paid/ Debits                                                       77
      Deposits/ Credits                                                         17
      Deposited Items                                                            0
      Total Transactions                                                        94


     ISERVICE CHARGE DETAIL I
      DESCRIPTION                                            VOLUME       ALLOWED        CHARGED          PRICE/ UNIT                 TOTAL
      Your Product Includes:

      ACCOUNT 000000792382308
        Waived Monthly Service Fee                                0                                             $30.00                   $0.00
        Transactions                                             94               0              94              $0.00                   :Ji0.00
        Subtotal                                                                                                                         $0.00
      Other Fees
        Electronic Credits                                       17     999,999,999               0              $0.40                $0.00
        Non-Electronic Transactions                              77             250               0              $0.40                $0.00
       Online Domestic Wire Fee                                  13               2              11             $25.00              $275.00
       Domestic Incoming Wire Fee                                 7               0               7              $0.00                $0.00
       Online US Dollar Intl Wire Fee                                             0                             $40.00               $40.00
        ATM - Non Chase Withdrawal                               13               0              13              $2.50                :Ji0.00
      Total Service Charge(Will be assessed on 5/4/22)                                                                              $315.00

      ACCOUNT 000000792382308
        Electronic Credits                                       17
        Non-Electronic Transactions                              77
       Online Domestic Wire Fee                                  13
       Domestic Incoming Wire Fee                                 7
       Online US Dollar Intl Wire Fee                             1
       ATM - Non Chase Withdrawal                                13




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            CHASEO                                                                                          April 01. 2022 through April 29, 2022
                                                                                                       Account Number:         000000792382308




      IN CASE OF ERRORS OR QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS: Call us at 1-866-564·2262 or write us a11he
      address on the front of this statement (non-personal accounts contact Customer Service) immediately if you think your statement or receipt is
      incorrect or if you need more information about a transfer listed on the statement or receipt
      For personal accounts only: We must hear from you no later than 60 days after we sent you the FIRST statement on which the problem or error
      appeared. Be prepared to give us the follow!ng Information:
                    Your name and account number
                   The dollar.amount of the suspected error
      We will 1~vest~1t'!5                0 O
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      accounts) to do this, we will credit your account for the amount you thmk Is in error so that you will have use ot the money during the time It takes
      us to complete our investigation.
      IN CASE OF ERRORS OR QUESTIONS ABOUT NON-ELECTRONIC TRANSACTIONS: Contact the bank immediately if your s1a1emen1 is
      incorrect or if you need mpre information abo.ut any non~electronic transactions (checks or deposits) on th.is statement. If any.sue:h error appears,
      you must notity the bank 1n writing no later than 30 days after the statement was made available to t}ou. For more complete details, see the
      1~~ir~~~udi~;~i~;~,u~~R~ni~~~:;3~~~8!icable account agreement that governs your account. epos1t products and seivices are offered by


                                                                                                             JPMorgan Chase Bank, N.A. Member FDIC




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         CHASEO                                                      April 01. 2022 through April 29, 2022
                                                                  Account Number:     000000792382308




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                            EXHIBIT “HH”
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                                 DECLARATION
                                           Case No. : 823cv00257DOCJDEx




David M Henson, certifies and declares as follows:

1. I am over the age of 18 years and not a party to this action.

2. My business address is 7610 West Washington Street, Indianapolis, Indiana 46231.

3. I am a Transactions Specialist IV and Custodian of Records for JPMorgan Chase Bank, N.A. (hereinafter referred
to as the "Bank") in the National Subpoena Processing Department located in Indianapolis, Indiana.

4. Based on my knowledge of the Bank's business records practices and procedures, the enclosed records are a true
and correct copy of the original documents kept by the Bank in the ordinary course of business.

5. Based on my knowledge of the Bank's business records practices and procedures, the records were made at or near
the time of the occurrence of the matters set forth in the records by, or from, information transmitted by a person with
knowledge of those matters.

6. It is the regular practice of the Bank to make such a record of transactions in the ordinary course of business.


I declare under penalty of perjury, under the laws of the State of California, that the foregoing is true and correct.




        August 22, 2023
Dated:______________________

                                            By:________________________________
                                              David M Henson
                                               Transactions Specialist IV
                                               JPMORGAN CHASE BANK, N.A.




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      Account Number : 00000000000815402372
        Statement and/or items                                           1
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              CHASEO                                                             December 22, 2021 through January 10, 2022
             JPMorgan Chase Bank, N.A.
             PO Box 182051                                                       Account Number:       000000815402372
             Columbus, OH 43218-2051

                                                                              CUSTOMER SERVICE INFORMATION
                                                                              Web site:                              Chase.com
                                                                              Service Center:                    1-800-935-9935
          00490360 DRE 703 219 01122 NNNNNNNNNNN   1 000000000 06 0000        Deaf and Hard of Hearing:          1-800-242-7383
          SARA J KING                                                         Para Espanol:                      1-877-312-4273
          4409 SAN JOAQUIN PLZ                                                International Calls:               1-713-262-1679
          NEWPORT BEACH CA 92660




      ICHECKING SUMMARY I Chase Total Checking
                                                                             AMOUNT
      Beginning Balance                                                        $0.00
      Deposits and Additions                                                7,913.74
      ATM & Debit Card Withdrawals                                          ·4,423.93
      Electronic Withdrawals                                                ·3,019.59
      Ending Balance                                                         $470.22



      jTRANSACTION DETAILj
      DATE        DESCRIPTION                                                                         AMOUNT                   BALANCE

                    Beginning Balance                                                                                            $0.00
      12/22       Zelle Payment From Kamran Abbasvahid Bacmzvnjetpb                                     10.00                     1000
      12/23       Deposit    1994273324                                                                700.00                    71000
      12/23       Zelle Payment To Maire Berger Jpm916954749                                          -500.00                    210.00
      12/24       Zelle Payment From Edward Bilezikchian 13309230372                                 1,500.00                  1,710.00
      12/27       ATM Cash Deposit       12/27 1470 Jamboree Rd Newport Beach CA Card                  997.00                  2,707.00
                  0934
      12/27       ATM Withdrawal        12/25 1470 Jamboree Rd Newport Beach CA Card                  -200.00                  2,507.00
                  0934
      12/28       Card Purchase        12/28 Doordash'Lotus Bistr Www.Doordash. CA Card                -26.84                  2,480.16
                  0934
      12/28       Card Purchase        12/27 Chevron 0202016 Newport Beach CA Card                     -45.74                  2,434.42
                  0934
      12/28       Zelle Payment To Maire Berger Jpm924597096                                         ·1,000.00                 1,434.42
      12/29       Zelle Payment From Edward Bilezikchian 13334128128                                  1,500.00                 2,934.42
      12/29       Card Purchase        12/29 Doordash'Mint Leaf T Www.Doordash. CA                      -44.59                 2,889.83
                  Card 0934
      12/29       Card Purchase        12/29 Doordash'Newport Win Www. Doordash. CA                   -102.78                  2,787 05
                  Card 0934
      12/29       Att        Payment 266391001Smt2H Web ID: 9864031005                                -259.59                  2,527.46
      12/29       Zelle Payment To Mom Jpm925930197                                                   -200.00                  2,327.46
      12/30       Square Inc    'Cash App T200434175530 CC □ ID: 8800429876                            800.00                  3,127.46
      12/30       Card Purchase        12/30 Afterpay 185-52896014 CA Card 0934                        -47.15                  3,080.31
      12/30       Card Purchase        12/30 Doordash'Lotus Bistr Www.Doordash. CA Card                -36.38                  3,043.93
                  0934




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              CHASEO                                                          December 22, 2021 through January 1O, 2022
                                                                              Account Number:     000000815402372



     !TRANSACTION DETAIL! (continued)
      DATE     DESCRIPTION                                                                       AMOUNT                   BALANCE
      12/30    Card Purchase       12/30 Doordash'Bacio Di LA Www.Doordash. CA                    -19.96              3,023.97
               Card 0934
      12/30    Roar Digital  Betmgm     084003995467350 Web ID: 9044048977                        -1000               3,013.97
      12/31    Card Purchase       12/31 Doordash'Newport Win Www.Doordash. CA                   -100.78              2,913.19
               Card 0934
      12/31    Card Purchase       12/31 Doordash'Mags Donuts Www.Doordash. CA                    -2804               2,885.15
               Card 0934
      12/31    Card Purchase       12/31 Doordash'Zinque (Zin Www.Doordash. CA                    -4509               2,840.06
               Card 0934
      12/31    Zelle Payment To Mom Jpm930978813                                                -1,000.00             1,840 06
      12/31    Card Purchase With Pin 12/31 Crown Ace Hardware Newport Beach CA                   -141.23             1,698.83
               Card 0934
      01/03    ATM Cash Deposit      01 /03 1470 Jamboree Rd Newport Beach CA Card                 80.00              1,778.83
               0934
      01/03    Payment Sent        01/01 Apple Cash 877-233-8552 CA Card 0934                     -50.00              1,728.83
      01/03    Card Purchase       01/01 Doordash'Hen House G Www.Doordash. CA                    -59.17              1,669.66
               Card 0934
      01/03    Card Purchase       01/01 Doordash'Handels Hom Www.Doordash. CA                    -39.87              1,629.79
               Card 0934
      01/03    Card Purchase       01/01 Ralphs Via lnstacart Ralphs.Com CA Card 0934            -283.08              1,346.71
      01/03    Card Purchase       01/02 lnstacart Httpsinstacar CA Card 0934                     -39.66              1,307.05
      01/03    Card Purchase With Pin 01 /01 Ulta #620 Newport Beach CA Card 0934                 -40.40              1,266.65
      01/03    Card Purchase With Pin 01 /01 Neiman Marcus 01 Nei Newport Beach CA               -274.75                991.90
               Card 0934
      01/03    Card Purchase       01/02 lnstacart'1102 Httpsinstacar CA Card 0934                -50.44                   941.46
      01/03    Card Purchase       01/02 Elsy.Com - Psychicdraw 718-8557955 NY Card                -6.41                   93505
               0934
      01/03    Card Purchase       01/02 Elsy.Com - Scorpiomoon 718-8557955 NY                      -7.19                  927.86
               Card 0934
      01/03    Card Purchase       01/02 Doordash'Red O Www.Doordash. CA Card                     -15.78                   91208
               0934
      01/03    Card Purchase       01/02 Doordash'Mama Os lta Www.Doordash. CA                    -28.20                   883.88
               Card 0934
      01/03    ATM Withdrawal       01 /02 1470 Jamboree Rd Newport Beach CA Card                -600.00                   283.88
               0934
      01/04    Zelle Payment From Kamran Abbasvahid Bacj9Yhfkngz                                  200.00                   483.88
      01/04    Card Purchase       01/04 Amzn Mktp US'8D62E3P Amzn.Com/Bill WA                   -104.88                   379.00
               Card 0934
      01/04    Card Purchase       01/03 Chevron 0093042 Newport Beach CA Card                    -57.26                   321.74
               0934
      01/04    Card Purchase       01/04 Doordash'Newport Win Www.Doordash. CA                    -32.43                   289.31
               Card 0934
      01/04    Card Purchase With Pin 01/04 Ulta #620 Newport Beach CA Card 0934                  -13.44                275.87
      01/05    Zelle Payment From Heidi King Wfct0D9Lp32V                                       1,200.00              1,475.87
      01/05    Zelle Payment From Ashley King Wfct0D9L397J                                        500.00              1,975.87
      01/05    Card Purchase       01/05 Tst' Billy S At The Newport Beach CA Card                -80.96              1,894.91
               0934
      01/05    Card Purchase       01/05 Alo-Yoga 132-32487531 CA Card 0934                       -51.72              1,843.19
      01/05    Card Purchase       01/05 Doordash'Newport Win Www.Doordash. CA                    -51.14              1,792.05
               Card 0934
      01/06    Card Purchase       01/05 Amzn Mktp US'Ax52R38 Amzn.Com/Bill WA                    -18.74              1,773.31
               Card 0934
      01/06    Card Purchase       01/05 Chevron 0093042 Newport Beach CA Card                    -27.89              1,745.42
               0934
      01/06    Card Purchase       01/05 Pet Oasis - Newport Newport Beach CA Card                -56.37              1,689.05
               0934

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              CHASEO                                                        December 22, 2021 through January 1O, 2022
                                                                             Account Number:   000000815402372



     !TRANSACTION DETAIL! (continued)
      DATE     DESCRIPTION                                                                     AMOUNT               BALANCE
      01/06    Card Purchase       01/06 Doordash'Lotus Bistr Www.Doordash. CA Card             -66.48          1,622.57
               0934
      01/06    Card Purchase       01/05 Exxonmobil 976160 Corona Del MA CA Card                -52.62          1,569.95
               0934
      01/06    Card Purchase       01/06 Doordash'Newport Win Www.Doordash. CA                  -98.28          1,471.67
               Card 0934
      01/06    Card Purchase       01/06 Elsy.Com - Juliescalli 718-8557955 NY Card             -10.50          1,461.17
               0934
      01/06    Card Purchase       01/06 Elsy.Com - Psychicderr 718-8557955 NY Card              -3.56          1,457.61
               0934
      01/06    Card Purchase       01/06 Elsy.Com - Phoenixinsi 718-8557955 NY Card              -808           1,449.53
               0934
      01/06    Card Purchase       01/06 Elsy.Com - Quasaranais 718-8557955 NY Card              -4.94          1,444.59
               0934
      01/06    Card Purchase       01/06 Elsy.Com - Tuztarot 718-8557955 NY Card                 -5.72          1,438.87
               0934
      01/06    Card Purchase With Pin 01/06 Chevron/Terrible Her Newport Beach CA               -24.29          1,414.58
               Card 0934
      01/07    Card Purchase       01/06 Enterprise Rent-A-CA Newport Beach CA Card            -423.26               991.32
               0934
      01/07    Card Purchase       01/06 City of Newport Beac Newport Beach CA Card              -1.90               989.42
               0934
      01/07    Card Purchase       01/07 Doordash'Flemings PR Www.Doordash. CA                  -80.88               908.54
               Card 0934
      01/07    Card Purchase       01/06 Laz Parking 140291 Newport Beach CA Card               -12.00               896.54
               0934
      01/07    Card Purchase       01/07 Doordash'Mags Donuts Www.Doordash. CA                  -44.44               852.10
               Card 0934
      01/07    Card Purchase       01/07 Doordash'Pavilions Www.Doordash. CA Card               -31.27               820.83
               0934
      01/10    Card Purchase Return 01/08 Enterprise Rent-A-CA Newport Beach CA                176.74                997.57
               Card 0934
      01/10    Zelle Payment From Kamran Abbasvahid Bacjmex5Ezf3                                250.00          1,247.57
      01/10    Card Purchase       01/08 Lyft Ride Thu 3Pm 8558659553 CA Card 0934               -9.97          1,237.60
      01/10    Card Purchase       01/08 Doordash'Newport Win Www.Doordash. CA                 -100.78          1,136.82
               Card 0934
      01/10    Card Purchase       01/08 lnstacart Httpsinstacar CA Card 0934                   -42.59          1,094.23
      01/10    Card Purchase       01/08 IL Farro Newport Beach CA Card 0934                   -116.90            977.33
      01/10    Card Purchase       01/08 Sq 'Handel's Newport Newport Beach CA Card             -18.59            958.74
               0934
      01/10    Card Purchase With Pin 01 /08 Nordstrom #333 901 N Newport Beach CA              -66.81               891.93
               Card 0934
      01/10    Card Purchase       01/09 Doordash'Pavilions Www.Doordash. CA Card               -20.20               871.73
               0934
      01/10    Card Purchase       01/09 Coinbase, Inc. 8325639309 De Card 0934                 -50.00               821.73
      01/10    Card Purchase With Pin 01/09 Chevron/Terrible Her Newport Beach CA               -48.58               773.15
               Card 0934
      01/10    Card Purchase       01/10 Doordash'Darbari Per Www.Doordash. CA                  -8602                687.13
               Card 0934
      01/10    Card Purchase       01/10 Newlife Vitamin Shop Www.Newlifevi OR Card            -11304                57409
               0934
      01/10    Coinbase.Com     Xc8Wmhz6 Xc8Wmhz6Acbb Web ID: 1455293997                        -50.00               52409
      01/10    Card Purchase With Pin 01/10 Ulta #620 Newport Beach CA Card 0934                -53.87               470.22
                 Ending Balance                                                                                     $470.22




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                                    #:552




            CHASEO                                                                                     December 22, 2021 through January 1O, 2022
                                                                                                       Account Number:       000000815402372


      A Monthly Service Fee was not charged to your Chase Total Checking account. Here are the three ways you can avoid
      this fee during any statement period.

      •   Have electronic deposits made into this account totaling $500.00 or more, such as payments from payroll
          providers or government benefit providers, by using (i) the ACH network, (ii) the Real Time Payment network,
          or (iii) third party services that facilitate payments to your debit card using the Visa or Mastercard network.
          (Your total electronic deposits this period were $800.00. Note: some deposits may be listed on your previous
          statement)

          QB, keep a balance at the beginning of each day of $1,500.00 or more in this account.
          (Your balance at the beginning of each day was S10.00)

      •   QB, keep an average beginning day balance of $5,000.00 or more in qualifying linked deposits and
          investments.
          (Your average beginning day balance of qualifying linked deposits and investments was $1,366.22)




      IN CASE OF ERRORS OR QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS: Call us at 1-866-564-2262 or write us at the
      address on the front of this statement (non•personal accounts contact Customer Service) immediately it you think your statement or receipt is
      incorrect or if you need more information about a transfer listed on the statement or receipt
      For personal accounts only: We must hear from you no later than 60 days after we sent you the FIRST statement on which the problem or error
      appeared. Be prepared to give us the following information:
                      Your name and account number
                      The dollar amount of the suspected error
               •      A description of the error or transfer you are unsure of, why you believe It is an error, or why you need more information.
      We will investigate your complai~t and will correct any error promptly .. !f ~e take more than 10 business days (or 20 business days for ne~
      accounts) to do this, we will qredIt your account for the amount you thmk Is in error so that you will have use of the money during the time It takes
      us to complete our Investigation.
      IN CASE OF ERRORS OR QUESTIONS ABOUT NON-ELECTRONIC TRANSACTIONS: Contact the bank immediately if your statement is
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      Account Rules and Regulations or other applicable account agreement that governs your account beposit products and services are offered by
                                                                                                                                                  irf
      JPMorgan Chase Bank, N.A. Member FD!C

                                                                                                             JPMorgan Chase Bank, NA Member FDIC




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  21-Aug-23

  Reference Case Number: 21Aug23-1104

  This is a substitute document representing an ATM transaction. The image you
  requested is not available.

  Posting Date: 03-Jan-22

  Sequence Number: 007090435015

  Dollar Amount: 80.00

  Account Number: 2372




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  21-Aug-23

  Reference Case Number: G21Aug23-1104

  This is a substitute document representing an Electronic Transaction. The image you
  requested is not available. (examples include: Online Payments, Phone Funds Transfer
  Deposit, Credit Due to ATM/Dep Error, Wire Transfer)

  Posting Date 03-Jan-22

  Sequence Number 007090435016

  Amount 80.00

  Account Number: 2372




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              CHASEO                                                                    January 11, 2022 through February 08, 2022
              JPMorgan Chase Bank, N.A.
              PO Box 182051                                                           Account Number:      000000815402372
              Columbus, OH 43218-2051

                                                                                   CUSTOMER SERVICE INFORMATION
                                                                                   Web site:                             Chase.com
                                                                                   Service Center:                   1-800-935-9935
          00491801 DRE 703 219 04022 NNNNNNNNNNN   1 000000000 06 0000             Deaf and Hard of Hearing:         1-800-242-7383
          SARA J KING                                                              Para Espanol:                     1-877-312-4273
          4409 SAN JOAQUIN PLZ                                                     International Calls:              1-713-262-1679
          NEWPORT BEACH CA 92660




      ICHECKING SUMMARY I Chase Total Checking
                                                                                  AMOUNT
       Beginning Balance                                                          $470.22
       Deposits and Additions                                                  306,331.52
       Checks Paid                                                              ·3,646.50
       ATM & Debit Card Withdrawals                                            -31,266.85
       Electronic Withdrawals                                                 · 105,669.59
       Other Withdrawals                                                      -154,000.00
       Fees                                                                       ·125.00
       Ending Balance                                                          $12,093.80



     !CHECKS PAID!
      CHECK NUMBER                        DATE                                 AMOUNT
                                          PAID
      6400 A                              01/18                             $3,646.50
      Total Checks Paid                                                     $3,646.50

      If you see a check description in the Transaction Detail section, it means your check has already been converted for
      electronic payment. Because of this, we're not able to return the check to you or show you an image on Chase.com.
      A An image of this check may be available for you to view on Chase.com.




      jTRANSACTION DETAILj
      DATE         DESCRIPTION                                                                            AMOUNT                   BALANCE

                     Beginning Balance                                                                                             $470.22
      01/11        Card Purchase       01/09 Stogz Los Angeles CA Card 0934                                 -50.57                  419.65
      01/11        Card Purchase       01/11 Doordash'Newport Win Www.Doordash. CA                          -78.58                  341.07
                   Card 0934
      01/11        Gemini Trust CO ACH Txfer C7004518           Web ID: 1475153145                        -100.00                   241.07
      01/11        Gemini Trust CO ACH Txfer C7004527           Web ID: 1475153145                        -100.00                   141.07
      01/11        Gemini Trust CO ACH Txfer C7016205           Web ID: 1475153145                         -25.00                   116.07
      01/12        Card Purchase       01/11 Pdfiller, Inc 855-7501663 MA Card 0934                         ·0.89                   115.18
      01/12        Card Purchase       01/11 Pdfsimpli 844-898-4076 San Juan Card 0934                      -1.45                   113.73
      01/12        Card Purchase With Pin 01/12 Ralphs #0 2555 East Newport Beach CA                       -36.55                    77.18
                   Card 0934




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              CHASEO                                                            January 11, 2022 through February 08, 2022
                                                                               Account Number:      000000815402372



     !TRANSACTION DETAIL! (continued)
      DATE     DESCRIPTION                                                                         AMOUNT                  BALANCE
      01/13    Payment Received      01 /14 Cash App'Cash Out Visa Direct CA Card                 1,970.00             2,047.18
               0934
      01/13    Etsy Inc      Deposit              PPD ID: 3204898921                                  0.01             2,047.19
      01/13    Card Purchase         01/12 Onlinevinlookupcom 855-2170787 CA Card                   -23.95             2,02324
               0934
      01/13    Card Purchase         01/12 Crown Ace Hardware Newport Beach CA Card                 -12.00             2,011.24
               0934
      01/13    Chime3 Debit     P2P      Sara King      Web ID: 2330165200                          -25.00            1,986.24
      01/13    Card Purchase         01/13 Afterpay 185-52896014 CA Card 0934                       -47.15            1,939.09
      01/14    Deposit    1994285723                                                             70,000.00           71,939 09
      01/14    Card Purchase         01/13 Amzn Mktp US'Hd3Lw9T Amzn.Com/Bill WA                    -18.93           71,920.16
               Card 0934
      01/14    Coinbase Inc.   8889087930 Yervmvcd         Web ID: 1327000623                      -100.00           71,820.16
      01/14    Coinbase Inc.   8889087930 Bn9Bglcx         Web ID: 1327000623                       -50.00           71,770.16
      01/14    Coinbase Inc.   8889087930 V5Cplsgh         Web ID: 1327000623                       -50.00           71,720.16
      01/14    Coinbase Inc.   8889087930 Zmkpltu7        Web ID: 1327000623                        -50.00           71,670.16
      01/14    Coinbase Inc. 8889087930 X8Dtmfez           Web ID: 1327000623                       -50.00           71,620.16
      01/14    Zelle Payment To Orelie! LLC Accounts Jpm955650788                                -2,000.00           69,620.16
      01/18    Card Purchase Return 01/16 Amzn Mktp US Amzn.Com/Bill WA Card                         10.76           69,630.92
               0934
      01/18    Card Purchase Return 01/14 Pdfiller, Inc 855-7501663 MA Card 0934                    0.89             69,631.81
      01/18    Deposit    1994285727                                                          230,000.00            299,631.81
      01/18    Payment Sent          01/13 Coinbase Https://Www.F CA Card 0934                   -100.00            299,531.81
      01/18    Card Purchase         01/14 Chevron 0093042 Newport Beach CA Card                   -6.00            299,525.81
               0934
      01/18    Card Purchase         01/14 Loan Post Oba Lendingwi Miami FL Card 0934              -447.00          299,078.81
      01/18    Card Purchase         01/14 Alo-Yoga 132-32487531 CA Card 0934                      -491.36          298,587.45
      01/18    Card Purchase         01/15 Alo-Yoga 132-32487531 CA Card 0934                       -5603           298,531.42
      01/18    Recurring Card Purchase 01 /15 Onlinevinlookupcom Concord CA Card 0934                -1.00          298,530.42
      01/18    Coinbase Inc.   8889087930 72Mcflzp        Web ID: 1327000623                     -1,000.00          297,530.42
      01/18    Coinbase Inc. 8889087930 Evuu3Fbq           Web ID: 1327000623                      -500.00          297,030.42
      01/18    Coinbase Inc.   8889087930 Hpt66Evu         Web ID: 1327000623                      -500.00          296,530.42
      01/18    Coinbase Inc.   8889087930 Jk28Aspr         Web ID: 1327000623                      -500.00          296,030.42
      01/18    Card Purchase         01/15 Amzn Mktp US'Gz30I9W Amzn.Com/Bill WA                   -157.35          295,873.07
               Card 0934
      01/18    Card Purchase With Pin 01/15 Chevron/Terrible Her Newport Beach CA                   -72.62          295,800.45
               Card 0934
      01/18    Card Purchase         01/15 Chevron 0093042 Newport Beach CA Card                    -51.58          295,748.87
               0934
      01/18    Card Purchase         01/15 Doordash'Bristol Far Www.Doordash. CA Card              -111.86          295,637.01
               0934
      01/18    Card Purchase         01/15 Doordash'Day & Night Www.Doordash. CA                   -347.91          295,289.10
               Card 0934
      01/18    Card Purchase         01/15 City of Santa Monica Santa Monica CA Card                 -7.50          295,281.60
               0934
      01/18    Card Purchase         01/15 Victoria Beckham Httesvictoria NY Card 0934              -80.00          295,201.60
      01/18    Card Purchase         01/15 City of Santa Monica Santa Monica CA Card                 -2.00          295,199.60
               0934
      01/18    Card Purchase         01/15 City of Santa Monica Santa Monica CA Card                 -5.50          295,194.10
               0934
      01/18    Card Purchase         01/17 Nordstrom Direct #080 800-285-5800 IA Card              -111.63          295,082.47
               0934
      01/18    Zelle Payment To Torah Jpm958432046                                               -2,000.00          293,082.47



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              CHASEO                                                            January 11, 2022 through February 08, 2022
                                                                                Account Number:     000000815402372



     !TRANSACTION DETAIL! (continued)
      DATE     DESCRIPTION                                                                         AMOUNT                BALANCE
      01/18    Payment Sent        01/15 Cash App'Torah Vyas 8774174551 CA Card                   -1,000.00        292,082.47
               0934
      01/18    Card Purchase With Pin 01 /15 Ulta #620 Newport Beach CA Card 0934                    -79.44        292,003.03
      01/18    Card Purchase With Pin 01/16 Chevron/Terrible Her Newport Beach CA                    -30.48        291,972.55
               Card 0934
      01/18    Card Purchase       01/17 Doordash'Wine Lab Www.Doordash. CA Card                   -170.11         291,802.44
               0934
      01/18    Card Purchase With Pin 01 /16 Neiman Marcus 01 Nei Newport Beach CA                 -581.84         291,220.60
               Card 0934
      01/18    Zelle Payment To Mon Amour Jpm959712736                                            -1,000.00        290,220.60
      01/18    Card Purchase       01/17 Something Navy 917-9698787 NY Card 0934                    -134.69        290,085.91
      01/18    Card Purchase       01/18 Lyft Ride Sun 8Pm 8558659553 CA Card 0934                   -45.50        290,040.41
      01/18    Card Purchase With Pin 01/17 Planet Beauty Irvine Irvine CA Card 0934                -491.02        289,549.39
      01/18    Card Purchase       01/18 lnstacart Httpsinstacar CA Card 0934                        -95.70        289,453.69
      01/18    Card Purchase       01/18 lnstacart'1102 Httpsinstacar CA Card 0934                  -196.81        289,256.88
      01/18    Check                # 6400                                                        -3,646.50        285,610.38
      01/18    Coinbase Inc. 8889087930 Pmzpejpu          Web ID: 1327000623                      -1,000.00        284,610.38
      01/18    Gemini Trust CO ACH Txfer C7075442          Web ID: 1475153145                       -100.00        284,510.38
      01/18    Gemini Trust CO ACH Txfer C7075160          Web ID: 1475153145                       -100.00        284,410.38
      01/18    Gemini Trust CO ACH Txfer C7075168          Web ID: 1475153145                        -50.00        284,360.38
      01/18    Gemini Trust CO ACH Txfer C7075173          Web ID: 1475153145                        -20.00        284,340.38
      01/18    Att         Payment 530330004Smt2Y Web ID: 9864031005                                -259.59        284,080 79
      01/18    Zelle Payment To Seeeester Jpm962098083                                            -1,500.00        282,580.79
      01/18    Payment Sent         01/18 Cash App'Cash Card 8774174551 CA Card                      -53.88        282,526.91
               0934
      01/18    01 /18 Online Domestic Wire Transfer Via: Bk Amer Nyc/026009593 A/C:               -4,000.00        278,526.91
               Sara King Newport Beach CA 92660 US Imad: 0118B1 Qgc01 C009570 Trn:
               3576902018Es
      01/18    Card Purchase With Pin 01/18 Chevron/Terrible Her Newport Beach CA                    -27.89        278,499.02
               Card 0934
      01/18    01 /18 Withdrawal                                                               -75,000.00          203,499.02
      01/18    01 /18 Withdrawal                                                               -60,000.00          143,499.02
      01/18    ATM Withdrawal         01 /18 1470 Jamboree Rd Newport Beach CA Card             -1,000.00          142,499.02
               0934
      01/18    Online Domestic Wire Fee                                                             -25.00         142,474.02
      01/19    Card Purchase         01/18 Pet Oasis - Newport Newport Beach CA Card               -13302          142,341.00
               0934
      01/19    Card Purchase         01/18 Alo-Yoga 132-32487531 CA Card 0934                      -185.34         142,155.66
      01/19    Gemini Trust CO ACH Txfer C7126438         Web ID: 1475153145                      -1,000.00        141,155.66
      01/19    Card Purchase       01/19 Afterpay 185-52896014 CA Card 0934                         -119.34        141,036.32
      01/19    Card Purchase With Pin 01 /19 10122 - Costa Mesa #10 Costa Mesa CA                   -220.90        140,815.42
               Card 0934
      01/19    Card Purchase With Pin 01/19 Chevron/Terrible Her Newport Beach CA                    -40.66        140,774.76
               Card 0934
      01/19    01 /19 Withdrawal                                                                  -9,000.00        131,774.76
      01/20    Payment Sent        01/19 Apple Cash 877-233-8552 CA Card 0934                       -100.00        131,674.76
      01/20    Card Purchase       01/18 Newport Hills Animal Newport Beach CA Card                  -68.36        131,606.40
               0934
      01/20    Card Purchase       01/19 Starbucks Store 1980 Newport Beach CA Card                   -4.45        131,601.95
               0934
      01/20    Card Purchase       01/20 Jetsuitex 800-435-9579 TX Card 0934                        -773.00        130,828.95
      01/20    Card Purchase       01/20 Spotify USA 877-7781161 NY Card 0934                         -9.99        130,818.96
      01/20    Zelle Payment To Sara Jpm965085299                                                 -1,500.00        129,318.96
      01/20    Zelle Payment To Sara Jpm965107040                                                   -500.00        128,818.96

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              CHASEO                                                           January 11, 2022 through February 08, 2022
                                                                               Account Number:     000000815402372



     !TRANSACTION DETAIL! (continued)
      DATE     DESCRIPTION                                                                        AMOUNT                BALANCE
      01/20    01 /20 Online Realtime Transfer To Perfbus Chk 2308 Transaction#:                 -5,000.00        123,818.96
               13485920830 Reference#: 9485920830Rx
      01/21    Card Purchase Return 01/21 Jetsuitex 800-435-9579 TX Card 0934                       90.00         123,908.96
      01/21    Card Purchase         01/19 Wynn Las Vegas Hotel Las Vegas NV Card                 -416.33         123,492.63
               0934
      01/21    Card Purchase         01/21 Lyft Ride Wed 8Pm 8558659553 CA Card                     -52.63        123,440.00
               0934
      01/21    Card Purchase         01/21 lnstacart Httpsinstacar CA Card 0934                   -277.69         123,162.31
      01/24    Card Purchase         01/21 Amzn Mktp US'El7Ey7Y Amzn.Com/Bill WA                   -40.51         123,121.80
               Card 0934
      01/24    Card Purchase         01/21 Lawdepot +1877509439 Httpswww.Lawd CA                    -35.00        123,086.80
               Card 0934
      01/24    Card Purchase         01/21 Ysi'Aka West Hollywood 610-3897828 PA Card               -41.20        123,045.60
               0934
      01/24    Card Purchase         01/22 Amzn Mktp US'3J1 H18A Amzn.Com/Bill WA                 -169.48         122,876.12
               Card 0934
      01/24    Card Purchase         01/22 Realcheck Paystub Www.Realcheck FL Card                  -26.97        122,849.15
               0934
      01/24    Card Purchase         01/23 Amzn Mktp US'Gz0X29J Amzn.Com/Bill WA                  -128.94         122,720.21
               Card 0934
      01/24    Card Purchase With Pin 01 /23 Containerstorecostames Costa Mesa CA                 -159.33         122,560.88
               Card 0934
      01/24    Card Purchase With Pin 01 /23 Petco 922 Costa Mesa CA Card 0934                    -283.71         122,277.17
      01/24    Card Purchase         01/24 Doordash'Handels Hom Www.Doordash. CA                   -14.53         122,262.64
               Card 0934
      01/24    Coinbase Inc. 8889087930 B2G2Dq8A            Web ID: 1327000623                 -2,500.00          119,762.64
      01/24    Coinbase Inc. 8889087930 Czn8Dwfv           Web ID: 1327000623                  -1,000.00          118,762.64
      01/24    Coinbase Inc. 8889087930 4Ln46Ln7           Web ID: 1327000623                  -1,000.00          117,762.64
      01/24    01 /24 Online Domestic Wire Transfer Via: Capital One NN065000090 NC:          -15,060.00          102,702.64
               Bprep8500 Sunset LLC Los Angeles CA 90069 US Ref:
               E304/Bnf/E304/Time/08:01 lmad: 0124B1Qgc07C003616 Trn:
               3147072024Es
      01/24    Card Purchase With Pin 01/24 Chevron/Terrible Her Newport Beach CA                   -53.97        102,648.67
               Card 0934
      01/24    Online Domestic Wire Fee                                                            -25.00         102,623.67
      01/25    Card Purchase       01/24 Alo-Yoga 132-32487531 CA Card 0934                       -289.12         102,334.55
      01/25    Card Purchase       01/24 City of Santa Monica Santa Monica CA Card                  -1.25         102,333.30
               0934
      01/25    Card Purchase       01/24 City of Santa Monica Santa Monica CA Card                   -7.50        102,325.80
               0934
      01/25    Card Purchase       01/24 Qbe Insurance 888-5602745 NY Card 0934                   -232.15         102,093.65
      01/25    Card Purchase       01/25 Poshmark 650-488-7740 CA Card 0934                       -159.86         101,933.79
      01/25    Card Purchase       01/25 Doordash'Dks Donuts Www.Doordash. CA                      -40.95         101,892.84
               Card 0934
      01/25    01/25 Online Domestic Wire Transfer Via: Capital One NN065000090 NC:              -7,530.00         94,362.84
               Bprep8500 Sunset LLC Los Angeles CA 90069 US Ref:
               E304/Bnf/E304/Time/08:02 lmad: 0125B1Qgc07C002830 Trn:
               3048392025Es
      01/25    Zelle Payment To P Parik 13522399750                                              -2,000.00         92,362.84
      01/25    Online Domestic Wire Fee                                                             -25.00         92,337.84
      01/26    Zelle Payment From Zarahi Arroyo WfctoO7Or3Zy                                      1,000.00         93,337.84
      01/26    Card Purchase       01/24 Farmers Market Parking Los Angeles CA Card                  -6.00         93,331.84
               0934
      01/26    Card Purchase       01/25 Chevron 0093042 Newport Beach CA Card                      -82.96         93,248.88
               0934



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              CHASEO                                                            January 11, 2022 through February 08, 2022
                                                                               Account Number:     000000815402372



     !TRANSACTION DETAIL! (continued)
      DATE     DESCRIPTION                                                                        AMOUNT                BALANCE
      01/26    Card Purchase         01/26 Doordash'Mint Leaf T Www.Doordash. CA                    -56.64         93,192.24
               Card 0934
      01/26    Card Purchase         01/25 Restoration Hardware Irvine CA Card 0934              -2,232.58         90,959.66
      01/26    Card Purchase         01/26 lnstacart Httpsinstacar CA Card 0934                    -229.00         90,730.66
      01/26    Card Purchase         01/26 lnstacart Httpsinstacar CA Card 0934                     -30.96         90,699.70
      01/26    Card Purchase         01/26 lnstacart Httpsinstacar CA Card 0934                     -85.25         90,614.45
      01/26    Card Purchase         01/26 Doordash'Blue Bottle Www.Doordash. CA Card               -19.54         90,594.91
               0934
      01/27    Card Purchase         01/26 Lyft Ride Tue 9Am 8558659553 CA Card 0934                -60.59         90,534.32
      01/27    Card Purchase         01/26 Pdfsimpli 844-898-4076 San Juan Card 0934                -39.95         90,494.37
      01/27    Card Purchase         01/27 Amazon.Com'Ta0D29X73 Amzn.Com/Bill WA                    -23.67         90,470.70
               Card 0934
      01/27    Card Purchase         01/27 Afterpay 185-52896014 CA Card 0934                       -47.15         90,423.55
      01/27    Card Purchase With Pin 01 /27 Dylan's Candy Bar - LA Los Angeles CA                  -25.20         90,398.35
               Card 0934
      01/27    Card Purchase With Pin 01 /27 Sheltams Farmers Markt Los Angeles CA                  -85.37         90,312.98
               Card 0934
      01/27    Card Purchase With Pin 01 /27 Containerstorelosangel Los Angeles CA                  -32.84         90,280.14
               Card 0934
      01/28    Card Purchase         01/27 Alo-Yoga Httpsaloyoga. CA Card 0934                     -79.38          90,200.76
      01/28    Card Purchase         01/27 Alo-Yoga 132-32487531 CA Card 0934                     -385.44          89,815.32
      01/28    Card Purchase         01/28 Doordash'Sunset Stri Www.Doordash. CA Card             -248.90          89,566.42
               0934
      01/28    Card Purchase         01/27 Tst' Norah Restauran West Hollywoo CA Card             -174.41          89,392.01
               0934
      01/28    01 /28 Online Domestic Wire Transfer Via: Wells Fargo NA/121000248 A/C:         -10,000.00          79,392.01
               Aba/121042882 Concord CA US Ben: Heidi King Rancho Santa Fe CA
               92067 US Ref:/Time/14:46 lmad: 0128B1Qgc05C010050 Trn:
               3450082028Es
      01/28    Zelle Payment To Sara Jpm980088582                                                -2,000.00         77,392.01
      01/28    Online Domestic Wire Fee                                                             -25.00         77,367 01
      01/31    Card Purchase         01/28 State Farm Insurance 800-956-6310 IL Card               -975.96         76,391.05
               0934
      01/31    Card Purchase         01/27 Farmers Market Parking Los Angeles CA Card                -8.00         76,383.05
               0934
      01/31    Payment Sent         01/28 Cash App'John Mccab 8774174551 CA Card                 -2,500.00         73,883.05
               0934
      01/31    Card Purchase         01/28 Neiman Marcus Rest 0 Beverly Hills CA Card               -68.18         73,814.87
               0934
      01/31    Zelle Payment To Mon Amour Jpm981986987                                           -2,000.00         71,814.87
      01/31    Card Purchase         01/30 lnstacart'1549 Httpsinstacar CA Card 0934               -492.32         71,322.55
      01/31    Recurring Card Purchase 01 /31 Adobe Acropro Trial 408-536-6000 CA Card              -14.99         71,307.56
               0934
      01/31    Zelle Payment To Sara Jpm984400828                                                -1,500.00         69,807.56
      01/31    Card Purchase         01/31 Amazon Prime'Os4Sl55 Amzn.Com/Bill WA                     -2.14         69,805.42
               Card 0934
      01/31    01 /31 Withdrawal                                                               -10,000.00          59,805.42
      02/01    Payment Sent         01/31 Apple Cash 877-233-8552 CA Card 0934                     -50.00          59,755.42
      02/01    Card Purchase         01/30 Pelican Hill Resort Newport Coast CA Card            -2,386.00          57,369.42
               0934
      02/02    Card Purchase         01/31 Pelican Hill Resort Newport Coast CA Card              -165.85          57,203.57
               0934
      02/02    Card Purchase         01/31 INN Out Burger 037 Westminster CA Card                    -7.88         57,195.69
               0934
      02/02    Recurring Card Purchase 02/01 lnyourstarsreading 844-6593879 NY Card                  -0.20         57,195.49
               0934

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                                    #:560




              CHASEO                                                          January 11, 2022 through February 08, 2022
                                                                              Account Number:     000000815402372



     !TRANSACTION DETAIL! (continued)
      DATE     DESCRIPTION                                                                       AMOUNT                BALANCE
      02/02    Zelle Payment To Sara Jpm989205559                                               -2,000.00         55,195.49
      02/02    Card Purchase       02/01 Aeple Store R124 Los Angeles CA Card 0934                -113.91         55,081.58
      02/02    Coinbase Inc. 8889087930 Kmnj7Mkd         Web ID: 1327000623                     -2,500.00         52,581.58
      02/02    Card Purchase With Pin 02/02 Evi'Pechanga Res Temecula CA Card 0934              -2,150.00         50,431.58
      02/03    Card Purchase Return 02/03 Posh mark 650-488-77 40 CA Card 0934                    159.86          50,591.44
      02/03    Card Purchase       02/02 Amzn Mktp US'Hb1 R54K Amzn.Com/Bill WA                  -121.26          50,470.18
               Card 0934
      02/03    Card Purchase       02/02 Starbucks Store 61621 Los Angeles CA Card                  -3.95         50,466.23
               0934
      02/03    Card Purchase       02/02 Chevron 00987 44 West Hollywoo CA Card                    -57.87         50,408.36
               0934
      02/03    Card Purchase       02/03 Doordash'Westwood th Www. Doordash. CA                    -7601          50,332.35
               Card 0934
      02/03    Card Purchase       02/03 Afterpay 185-52896014 CA Card 0934                      -119.34          50,213.01
      02/04    Card Purchase       02/03 Amzn Mktp US'lg7X26M Amzn.Com/Bill WA                   -221.37          49,991.64
               Card 0934
      02/04    Card Purchase       02/03 Dickssportinggoods.Com Coraopolis PA Card               -176.39          49,815.25
               0934
      02/04    Card Purchase       02/03 Amzn Mktp US'Si3Gl2S Amzn.Com/Bill WA                   -153.37          49,661.88
               Card 0934
      02/04    Card Purchase       02/03 Amzn Mktp US'2U8Uv7H Amzn.Com/Bill WA                     -11.32         49,650.56
               Card 0934
      02/04    Card Purchase       02/04 Amzn Mktp US'9P1962Z Amzn.Com/Bill WA                     -19.69         49,630.87
               Card 0934
      02/04    Card Purchase       02/03 Bensoleimani.Com 188-82164277 CA Card                   -441 09          49,189.78
               0934
      02/07    ATM Cash Deposit      02/07 1470 Jamboree Rd Newport Beach CA Card               2,800.00          51,989.78
               0934
      02/07    Zelle Payment From Kamran Abbasvahid Bacxar0Xuom5                                  300.00          52,289.78
      02/07    Card Purchase       02/05 Amzn Mktp US'Rr03W4A Amzn.Com/Bill WA                   -150.46          52,139.32
               Card 0934
      02/07    Card Purchase       02/03 Neimanmarcus.Com 888-888-4757 TX Card                   -181.78          51,957.54
               0934
      02/07    Card Purchase       02/06 Neimanmarcus.Com 888-888-4757 TX Card                   -14002           51,817.52
               0934
      02/07    Card Purchase       02/03 Neimanmarcus.Com 888-888-4757 TX Card                     -49.61         51,767.91
               0934
      02/07    Card Purchase       02/06 Neimanmarcus.Com 888-888-4757 TX Card                     -49.61         51,718.30
               0934
      02/07    Card Purchase       02/03 Neimanmarcus.Com 888-888-4757 TX Card                     -3308          51,685.22
               0934
      02/07    Payment Sent       02/04 Apple Cash 877-233-8552 CA Card 0934                      -50.00          51,635.22
      02/07    Card Purchase      02/05 Amzn Mktp US'Wn7S06Y Amzn.Com/Bill WA                    -478.55          51,156.67
               Card 0934
      02/07    Card Purchase       02/05 lnstacart Httpsinstacar CA Card 0934                    -120.99          51,035 68
      02/07    Card Purchase       02/05 Doordash'Angelini Os Www.Doordash. CA                    -67.75          50,967.93
               Card 0934
      02/07    Card Purchase       02/05 Cvs/Pharmacy #09652 West Hollywoo CA Card                 -89.74         50,878.19
               0934
      02/07    Card Purchase       02/05 Cvs/Pharmacy #09661 Los Angeles CA Card                 -104.91          50,773.28
               0934
      02/07    Card Purchase With Pin 02/05 Ikea Burbank Burbank CA Card 0934                    -725.91          50,047.37
      02/07    Card Purchase       02/05 lnstacart'1549 Httpsinstacar CA Card 0934               -421.47          49,625.90
      02/07    Card Purchase       02/07 Aeple. Com/US 800-676-2775 CA Card 0934                  -6302           49,562.88
      02/07    Card Purchase       02/06 Doordash'Sunset Stri Www. Doordash. CA Card             -233.88          49,329.00
               0934

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              CHASEO                                                                  January 11, 2022 through February 08, 2022
                                                                                      Account Number:    000000815402372



     !TRANSACTION DETAIL! (continued)
      DATE      DESCRIPTION                                                                             AMOUNT                BALANCE
      02/07     Card Purchase        02/06 lnstacart Httpsinstacar CA Card 0934                         -471.42          48,857.58
      02/07     Card Purchase        02/06 Doordash'Din Tai Fun Www.Doordash. CA                         -93.67          48,763.91      ---
                Card 0934                                                                                                               ---
      02/07     Card Purchase With Pin 02/06 Shell Service Station Los Angeles CA Card                    -75.16         48,688.75      ---
                0934                                                                                                                    ---
      02/07     Card Purchase With Pin 02/06 Shell Service Station Los Angeles CA Card                    -82.85         48,605.90      ---
                0934                                                                                                                    ---
      02/07     Card Purchase        02/07 Aeple. Com/US 800-676-2775 CA Card 0934                       -6302           48,542.88      ---
                                                                                                                                        ---
      02/07     Card Purchase        02/06 lnstacart'1102 Httpsinstacar CA Card 0934                    -142.16          48,400.72
      02/07     Card Purchase        02/07 Amazon Prime'V59Hd9O Amzn.Com/Bill WA                         -14.00          48,386.72      ---
                Card 0934                                                                                                               ---
      02/07     Zelle Payment To P Parik 13615122306                                                  -1,500.00          46,886.72
      02/07     Coinbase Inc. 8889087930 M53Rtav8           Web ID: 1327000623                       -10,000.00          36,886.72
      02/07     Coinbase Inc. 8889087930 Faq6L2T e          Web ID: 1327000623                        -5,000.00          31,886.72
      02/07     Coinbase Inc. 8889087930 Av6Hxx4X           Web ID: 1327000623                        -5,000.00          26,886.72
      02/07     Card Purchase With Pin 02/07 Evi'Pechanga Res Temecula CA Card 0934                   -2,687.50          24,199.22
      02/07     Zelle Payment To J Hawaii 13620958185                                                   -800.00          23,399.22
      02/08     Card Purchase        02/07 Amzn Mktp US'Sn43P48 Amzn.Com/Bill WA                          -9.44          23,389.78
                Card 0934
      02/08     Zelle Payment To Sara Jpm101051761                                                    -1,200.00          22,189.78
      02/08     02/08 Online Domestic Wire Transfer A/C: Kering Americas Inc. Wire                   -10,000.00          12,189.78
                Transfer Wayne NJ 07470- US Trn: 3139402039Es
      02/08     Card Purchase With Pin 02/08 Up0674 Laguna Hills CA Card 0934                             -70.98         12,118.80
      02/08     Online Domestic Wire Fee                                                                  -25.00         12,093.80
                  Ending Balance                                                                                        $12,093.80

      A Monthly Service Fee was not charged to your Chase Total Checking account Here are the three ways you can avoid
      this fee during any statement period.

          Have electronic deposits made into this account totaling $500.00 or more, such as payments from payroll
          providers or government benefit providers, by using (i) the ACH network, (ii) the Real Time Payment network,
          or (iii) third party services that facilitate payments to your debit card using the Visa or Mastercard network.
          (Your total electronic deposits this period were $1,970.01. Note: some deposits may be listed on your previous
          statement)

          QB, keep a balance at the beginning of each day of $1,500.00 or more in this account.
          (Your balance at the beginning of each day was S77.18)

      •   QB, keep an average beginning day balance of $5,000.00 or more in qualifying linked deposits and
          investments.
          (Your average beginning day balance of qualifying linked deposits and investments was $70,529.77)




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                                    #:562




            CHASEO                                                                                     January 11, 2022 through February 08, 2022
                                                                                                       Account Number:         000000815402372




      IN CASE OF ERRORS OR QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS: Call us at 1-866-564·2262 or write us a11he
      address on the front of this statement (non-personal accounts contact Customer Service) immediately if you think your statement or receipt is
      incorrect or if you need more information about a transfer listed on the statement or receipt
      For personal accounts only: We must hear from you no later than 60 days after we sent you the FIRST statement on which the problem or error
      appeared. Be prepared to give us the follow!ng Information:
                    Your name and account number
                   The dollar.amount of the suspected error
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      accounts) to do this, we will credit your account for the amount you thmk 1s in error so that you will have use ot the money during the time 1t takes
      us to complete our investigation.
      IN CASE OF ERRORS OR QUESTIONS ABOUT NON-ELECTRONIC TRANSACTIONS: Contact the bank immediately if your s1a1emen1 is
      incorrect or if you need mpre information abo.ut any non~electronic transactions (checks or deposits) on th.is statement. If any.sue:h error appears,
      you must notity the bank 1n writing no later than 30 days after the statement was made available to t}ou. For more complete details, see the
      1~~ir~~~udi~;~i~;~,u~~R~ni~~~:;3~~~8!icable account agreement that governs your account. epos1t products and seivices are offered by


                                                                                                             JPMorgan Chase Bank, N.A. Member FDIC




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       .CHASEO                                                               DEPOSIT                      SAVINGS 0
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        Sign Here(ffcash Is recslved from this deposit) -------------------i         OTHER SIDE   ►

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                                    #:564

  21-Aug-23

  Reference Case Number: 21Aug23-1104

  This is a substitute document representing a Cash In ticket. The image you requested is
  not available.

  Posting Date 14-Jan-22

  Sequence number 003170539900

  Amount 70000.00

  Account Number 2372




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                                    #:565


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                                    #:566

  21-Aug-23

  Reference Case Number: 21Aug23-1104

  This is a substitute document representing a Cash In ticket. The image you requested is
  not available.

  Posting Date 18-Jan-22

  Sequence number 002870716137

  Amount 230000.00

  Account Number 2372




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                                    #:567



     SARAJ KING·
     4409 SAN JOAQUIN PLZ                                     6400
     NEWPORT BEACH, CA 92660-5975



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                                    #:568

  21-Aug-23

  Reference Case Number: 21Aug23-1104

  This is a substitute document representing an ATM transaction. The image you
  requested is not available.

  Posting Date: 07-Feb-22

  Sequence Number: 004780443063

  Dollar Amount: 2800.00

  Account Number: 2372




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                                    #:569

  21-Aug-23

  Reference Case Number: G21Aug23-1104

  This is a substitute document representing an Electronic Transaction. The image you
  requested is not available. (examples include: Online Payments, Phone Funds Transfer
  Deposit, Credit Due to ATM/Dep Error, Wire Transfer)

  Posting Date 07-Feb-22

  Sequence Number 004780443064

  Amount 2800.00

  Account Number: 2372




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                                    #:570




              CHASEO                                                                  February 09, 2022 through March 08. 2022
              JPMorgan Chase Bank, N.A.
              PO Box 182051                                                          Account Number:      000000815402372
              Columbus, OH 43218-2051

                                                                                  CUSTOMER SERVICE INFORMATION
                                                                                  Web site:                            Chase.com
                                                                                  Service Center:                  1-800-935-9935
          00491090 DRE 703 219 06822 NNNNNNNNNNN   1 000000000 06 0000            Deaf and Hard of Hearing:        1-800-242-7383
          SARA J KING                                                             Para Espanol:                    1-877-312-4273
          4409 SAN JOAQUIN PLZ                                                    International Calls:             1-713-262-1679
          NEWPORT BEACH CA 92660




      ICHECKING SUMMARY I Chase Total Checking
                                                                                 AMOUNT
      Beginning Balance                                                       $12,093.80
      Deposits and Additions                                                  224,849.67
      ATM & Debit Card Withdrawals                                           ·114,985.03
      Electronic Withdrawals                                                 -100,793.41
      Other Withdrawals                                                       -18,000.00
      Fees                                                                       -187.50
      Ending Balance                                                           $2,977.53



      jTRANSACTION DETAILj
      DATE         DESCRIPTION                                                                           AMOUNT                  BALANCE

                     Beginning Balance                                                                                     $12,093.80
      02/09        Card Purchase          02/08 Sq 'The Hair Shop LA Los Angeles CA Card                 -448.95            11,644.85
                   0934
      02/09        Card Purchase          02/08 I nstacart Httpsinstacar CA Card 0934                    -657.53            10,987.32
      02/09        Card Purchase          02/09 Doordash'Erewhon Www.Doordash. CA Card                    -82.84            10,904.48
                   0934
      02/09        Recurring Card Purchase 02/09 Newlife Vitamin Shop Www.Newlifevi OR                   ·11304             10,791.44
                   Card 0934
      02/10        Payment Sent           02/09 Cash App'Torah Vyas 877 417 4551 CA Card               ·2,500.00                 8,291.44
                   0934
      02/10        Card Purchase          02/10 Etsy.Com - lntuitivere 718-8557955 NY Card                 -5.00                 8,286.44
                   0934
      02/10        Card Purchase          02/10 Afterpay 185-52896014 CA Card 0934                        -47.13                 8,239.31
      02/10        Card Purchase With Pin 02/10 Shell Service Station Los Angeles CA Card                 -85.00                 8,154.31
                   0934
      02/11        Real Time Transfer Recd From Aba/021000021 From: Coin base Ref:                     29,807.52            37,961.83
                   6JC7Z7 Ax Info: I id: 20220211021000021 P1 Brjpm00570017118 Recd:
                   09:50:07 Trn: 0276921042Ru
      02/11        Gemini Trust CO ACH Txfer D954327              Web ID: 1475153145                    1,145.77            39,107.60
      02/11        Card Purchase          02/10 Pdfiller, Inc 855-7501663 MA Card 0934                    -96.00            39,011.60
      02/11        Card Purchase          02/10 Nikepos US Los Angeles CA Card 0934                      ·225.25            38,786.35
      02/11        Card Purchase          02/11 Doordash'The Thai th Www.Doordash. CA                     -36.89            38,749.46
                   Card 0934
      02/11        Card Purchase With Pin 02/11 Evi'Pechanga Res Temecula CA Card 0934                 ·2,687.50            36,061 96




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              CHASEO                                                           February 09, 2022 through March 08, 2022
                                                                              Account Number:      000000815402372



     !TRANSACTION DETAIL! (continued)
      DATE     DESCRIPTION                                                                        AMOUNT                  BALANCE
      02/14    Recurring Card Purchase 02/11 Onlinevinlookupcom Concord CA Card 0934               -23.95           36,038.01
      02/14    Card Purchase        02/12 Doordash'Cvs Www.Doordash. CA Card 0934                  -19.47           36,018.54
      02/14    Card Purchase        02/12 Pet Oasis - Newport Newport Beach CA Card               -376.26           35,642.28
               0934
      02/14    Card Purchase        02/12 lnstacart Httpsinstacar CA Card 0934                    -445.00           35,197.28
      02/14    Zelle Payment To Torah Jpm 109807583                                             -2,000.00           33,197.28
      02/14    Payment Sent        02/12 Cash App'Torah Vyas 8774174551 CA Card                 -1,500.00           31,697.28
               0934
      02/14    Card Purchase        02/12 lnstacart Httpsinstacar CA Card 0934                    -742.51           30,954.77
      02/14    Card Purchase        02/13 Doordash'Sunset Stri Www. Doordash. CA Card             -160.53           30,794.24
               0934
      02/14    Card Purchase        02/12 lnstacart Httpsinstacar CA Card 0934                     -43.23           30,751.01
      02/14    Card Purchase        02/12 Amzn Mktp US'1Q1G62Z Amzn.Com/Bill WA                    -15.42           30,735.59
               Card 0934
      02/14    Card Purchase With Pin 02/13 Evi'Pechanga Res Temecula CA Card 0934              -2,687.50           28,048.09
      02/14    Card Purchase With Pin 02/13 Evi'Pechanga Res Temecula CA Card 0934              -2,687.50           25,360.59
      02/14    Card Purchase With Pin 02/13 Evi'Pechanga Res Temecula CA Card 0934              -2,150.00           23,210.59
      02/14    Card Purchase        02/13 Doordash'Bluestone L Www.Doordash. CA                    -27.66           23,182.93
               Card 0934
      02/14    Att        Payment 216015003Smt2B Web ID: 9864031005                               -225 09           22,957.84
      02/14    Zelle Payment To Sara Jpm113637944                                               -2,000.00           20,957.84
      02/15    Card Purchase        02/12 Newport Hills Animal Newport Beach CA Card              -638.00           20,319.84
               0934
      02/15    Card Purchase        02/14 Loan Post Oba Lendingwi Miami FL Card 0934              -447.00            19,872.84
      02/15    Card Purchase        02/15 Lyft Ride Sun 5Am 8558659553 CA Card 0934               -488.31            19,384.53
      02/15    02/15 Online Domestic Wire Transfer NC: Lww8 Property, LLC Phoenix AZ            -3,500.00            15,884.53
               85050-1032 US Trn: 3170902046Es
      02/15    Card Purchase With Pin 02/15 Evi'Pechanga Res Temecula CA Card 0934              -2,687.50            13,197 03
      02/15    Online Domestic Wire Fee                                                            -25.00            13,172.03
      02/15    Non-Chase ATM Fee-lnq                                                                -2.50            13,169.53
      02/16    Card Purchase        02/15 Chevron 0098744 West Hollywoo CA Card                    -89.60            13,079.93
               0934
      02/16    Payment Sent        02/15 Cash App' John Mccab 877 417 4551 CA Card                -800.00            12,279.93
               0934
      02/16    Zelle Payment To J Hawaii 13684763853                                            -1,000.00            11,279.93
      02/17    Card Purchase Return 02/16 Bensoleimani.Com 188-82164277 CA Card                   441.09             11,721.02
               0934
      02/17    Card Purchase        02/17 Amzn Mktp US'1B32O9K Amzn.Com/Bill WA                    -60.60            11,660.42
               Card 0934
      02/17    Card Purchase        02/17 Afterpay 185-52896014 CA Card 0934                      -119.34            11,541.08
      02/18    Card Purchase        02/18 The Shop At Equin 186-63326549 NY Card                  -290.18            11,250.90
               0934
      02/18    Aetna Sm Grp     Payments B2204825734928 Tel ID: 7066033492                      -7,618.32            3,632.58
      02/18    Card Purchase With Pin 02/18 Temecula Premiu Temecula CA Card 0934                  -56.52            3,576.06
      02/18    Card Purchase With Pin 02/18 Evi'Pechanga Res Temecula CA Card 0934              -2,150.00            1,426.06
      02/22    ATM Cash Deposit       02/19 105 E 17th St Costa Mesa CA Card 0934                7,000.00            8,426.06
      02/22    Real Time Transfer Recd From Aba/021000021 From: Hrh Property                    25,000.00           33,426.06
               Holdings LLC Ref: Mms-13716406681 Info: lid:
               20220221021000021 P1 Brjpm00560019980 Recd: 11 :27:54 Trn:
               9716406681Rx
      02/22    Real Time Transfer Recd From Aba/021000021 From: Hrh Property                    10,000.00           43,426.06
               Holdings LLC Ref: Mms-13703902131 Info: lid:
               20220219021000021 P1 Brjpm00580032657 Recd: 08:41 :53 Trn:
               9703902131Rx


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              CHASEO                                                           February 09, 2022 through March 08, 2022
                                                                              Account Number:      000000815402372



     !TRANSACTION DETAIL! (continued)
      DATE     DESCRIPTION                                                                        AMOUNT               BALANCE
      02/22    Real Time Transfer Recd From Aba/021000021 From: Hrh Property                     2,500.00         45,926.06
               Holdings LLC Ref: Mms-13715502146 Info: lid:
                                                                                                                                 ---
               20220221021000021 P1 Brjpm00570008079 Recd: 06:22:09 Trn:                                                         ---
               9715502146Rx                                                                                                      ---
      02/22    Card Purchase        02/18 Amz'Kissusa Orders@Kissus NY Card 0934                  -148.67         45,777.39      ---
      02/22    Card Purchase        02/19 lnstacart Httpsinstacar CA Card 0934                     -52.74         45,724.65      ---
      02/22    Card Purchase        02/20 Amzn Mktp US'Ug22S9H Amzn.Com/Bill WA                   -179.96         45,544.69      ---
               Card 0934                                                                                                         ---
      02/22    Card Purchase        02/20 Alo-Yoga 132-32487531 CA Card 0934                    -1,171.70         44,372.99      ---
                                                                                                                                 ---
      02/22    Card Purchase        02/19 Farmers Market Parking Los Angeles CA Card                -6.00         44,366.99      ---
               0934
                                                                                                                                 ---
      02/22    Recurring Card Purchase 02/20 Spotify USA 877-7781161 NY Card 0934                   -9.99         44,357.00
      02/22    Card Purchase        02/20 Amzn Mktp US'1I4Tb6J Amzn.Com/Bill WA                   -309 08         44,047.92
               Card 0934
      02/22    Card Purchase With Pin 02/20 Evi'Pechanga Res Temecula CA Card 0934              -2,687.50         41,360.42
      02/22    Card Purchase With Pin 02/20 Evi'Pechanga Res Temecula CA Card 0934              -2,687.50         38,672.92
      02/22    Card Purchase With Pin 02/20 Evi'Pechanga Res Temecula CA Card 0934              -2,687.50         35,985.42
      02/22    Card Purchase With Pin 02/20 Evi'Pechanga Res Temecula CA Card 0934              -2,687.50         33,297.92
      02/22    Card Purchase With Pin 02/20 Evi'Pechanga Res Temecula CA Card 0934              -2,687.50         30,610.42
      02/22    Card Purchase With Pin 02/21 Evi'Pechanga Res Temecula CA Card 0934              -2,687.50         27,922.92
      02/22    Zelle Payment To Sara Jpm126097799                                                 -300.00         27,622.92
      02/22    Zelle Payment To J Hawaii 13715526858                                            -1,700.00         25,922.92
      02/22    Card Purchase With Pin 02/21 Arco #42216 Costa Mesa CA Card 0934                    -98.86         25,824.06
      02/22    Card Purchase        02/21 Elsy.Com - Crownparkcr 718-8557955 NY Card                -1.50         25,822.56
               0934
      02/22    Card Purchase        02/21 Lawdepot +1877509439 Httpswww.Lawd CA                    -35.00         25,787.56
               Card 0934
      02/22    Card Purchase        02/22 lnstacart'1549 Httpsinstacar CA Card 0934               -223.23         25,564.33
      02/22    Zelle Payment To Mon Amour Jpm127997939                                            -500.00         25,064.33
      02/22    Zelle Payment To J Hawaii 13723615415                                            -1,200.00         23,864.33
      02/22    Card Purchase With Pin 02/22 Evi'Pechanga Res Temecula CA Card 0934              -2,687.50         21,176.83
      02/22    Card Purchase With Pin 02/22 Evi'Pechanga Res Temecula CA Card 0934              -2,687.50         18,489.33
      02/22    Card Purchase With Pin 02/22 Evi'Pechanga Res Temecula CA Card 0934              -2,687.50         15,801.83
      02/22    Card Purchase With Pin 02/22 Evi'Pechanga Res Temecula CA Card 0934              -2,687.50         13,114.33
      02/22    Card Purchase With Pin 02/22 Evi'Pechanga Res Temecula CA Card 0934              -1,075.00         12,03933
      02/22    Card Purchase With Pin 02/22 Evi'Pechanga Res Temecula CA Card 0934              -1,075.00         10,964.33
      02/22    02/22 Online Domestic Wire Transfer Via: Bk Amer Nyc/026009593 A/C:              -8,000.00          2,964.33
               Sara King Newport Beach CA 92660 US lmad: 0222B1Qgc03C014608 Trn:
               3683102053Es
      02/22    Online Domestic Wire Fee                                                            -25.00          2,939.33
      02/22    Non-Chase ATM Fee-lnq                                                                -2.50          2,936.83
      02/23    Real Time Transfer Recd From Aba/021000021 From: Hrh Property                    25,000.00         27,936.83
               Holdings LLC Ref: Mms-13729714608 Info: lid:
               20220223021000021 P1 Brjpm00030029264 Recd: 12:09:53 Trn:
               9729714608Rx
      02/23    Real Time Transfer Recd From Aba/021000021 From: King Family Lending              5,000.00         32,936.83
               LLC Ref: Mms-13733302288 Info: lid:
               20220223021000021 P1 Brjpm00040053418 Recd: 19:48: 11 Trn:
               9733302288Rx
      02/23    Payment Sent        02/22 Cash App' John Mccab 877 417 4551 CA Card              -1,000.00         31,936.83
               0934
      02/23    Zelle Payment To J Hawaii 13729773426                                            -1,000.00         30,936.83
      02/23    02/23 Online Domestic Wire Transfer Via: Bk Amer Nyc/026009593 A/C:              -5,000.00         25,936.83
               Sara King Newport Beach CA 92660 US lmad: 0223B1Qgc08C012453 Trn:
               3289082054Es

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                                                                               Account Number:      000000815402372



     !TRANSACTION DETAIL! (continued)
      DATE     DESCRIPTION                                                                         AMOUNT               BALANCE
      02/23    Card Purchase With Pin 02/23 Evi'Pechanga Res Temecula CA Card 0934               -2,687.50         23,249.33
      02/23    Card Purchase With Pin 02/23 Evi'Pechanga Res Temecula CA Card 0934               -1,612.50         21,636.83
      02/23    Card Purchase With Pin 02/23 Evi'Pechanga Res Temecula CA Card 0934               -1,612.50         20,024.33
      02/23    Card Purchase With Pin 02/23 Evi'Pechanga Res Temecula CA Card 0934                 -537.50         19,486.83
      02/23    Card Purchase With Pin 02/23 Evi'Pechanga Res Temecula CA Card 0934                 -537.50         18,949.33
      02/23    Card Purchase With Pin 02/23 Evi'Pechanga Res Temecula CA Card 0934                 -537.50         18,411.83
      02/23    Zelle Payment To Sara Jpm130480372                                                  -800.00         17,611.83
      02/23    Online Domestic Wire Fee                                                             -25.00         17,586.83
      02/24    JPMorgan Chase Ext Trnsfr              PPD ID: 9200502231                         10,000,00         27,586.83
      02/24    JPMorgan Chase Ext Trnsfr              PPD ID: 9200502231                         10,000.00         37,586.83
      02/24    Payment Sent        02/23 Cash App'John Mccab 8774174551 CA Card                    -800.00         36,786.83
               0934
      02/24    Card Purchase        02/23 Amzn Mktp US'1 B0Hl3D Amzn.Com/Bill WA                     -6.81         36,780.02
               Card 0934
      02/24    Card Purchase        02/23 Evi' Pechanga Resort 702-8553000 CA Card               -3,225.00         33,555.02
               0934
      02/24    Card Purchase        02/23 Evi' Pechanga Resort 702-8553000 CA Card               -3,225.00         30,330.02
               0934
      02/24    Card Purchase        02/23 Pdfsimpli 844-898-4076 San Juan Card 0934                 -39.95         30,290.07
      02/24    02/24 Online Domestic Wire Transfer Via: Bk Amer Nyc/026009593 A/C:               -5,000.00         25,290.07
               Sara King Newport Beach CA 92660 US lmad: 0224B1Qgc07C011860 Trn:
               3440172055Es
      02/24    Non-Chase ATM Withdraw 02/2411154 Hwy 76 Pala CA Card 0934                          -504.00         24,786.07
      02/24    Online Domestic Wire Fee                                                             -25.00         24,761.07
      02/24    Non-Chase ATM Fee-With                                                                -2.50         24,758.57
      02/25    Real Time Transfer Recd From Aba/021000021 From: Hrh Property                     25,000,00         49,758.57
               Holdings LLC Ref: Mms-13746840793 Info: lid:
               20220225021000021 P1 Brjpm00570054260 Recd: 18:56:51 Trn:
               97 46840793Rx
      02/25    Card Purchase        02/25 Amzn Mktp US'1 B8Y11 R Amzn.Com/Bill WA                  -139.38         49,619.19
               Card 0934
      02/25    Card Purchase With Pin 02/25 Evi'Pechanga Res Temecula CA Card 0934               -2,687.50         46,931.69
      02/25    Card Purchase With Pin 02/25 Evi'Pechanga Res Temecula CA Card 0934               -2,687.50         44,244.19
      02/25    Card Purchase With Pin 02/25 Evi'Pechanga Res Temecula CA Card 0934               -2,687.50         41,556.69
      02/25    Card Purchase With Pin 02/25 Evi'Pechanga Res Temecula CA Card 0934               -2,687.50         38,869.19
      02/25    Card Purchase With Pin 02/25 Evi'Pechanga Res Temecula CA Card 0934               -2,687.50         36,181.69
      02/25    Card Purchase With Pin 02/25 Evi'Pechanga Res Temecula CA Card 0934                 -537.50         35,644.19
      02/28    Card Purchase        02/26 Doordash'Zinque (Zin Www.Doordash. CA                    -187.86         35,456.33
               Card 0934
      02/28    Recurring Card Purchase 02/28 Adobe Acropro Subs 408-536-6000 CA                     -14.99         35,441.34
               Card 0934
      02/28    02/28 Online Domestic Wire Transfer Via: Wells Fargo NA/121000248 A/C:         -10,000.00           25,441.34
               Aba/121042882 Concord CA US Ben: Heidi King Rancho Santa Fe CA
               92067 US Ref:/Time/03:38 lmad: 0228B1Qgc04C001895 Trn:
               3074212059Es
      02/28    02/28 Online Domestic Wire Transfer A/C: Lww8 Property, LLC Phoenix AZ            -3,500.00         21,941.34
               85050-1032 US Trn: 3202522059Es
      02/28    02/28 Withdrawal                                                               -10,000.00           11,941.34
      02/28    Online Domestic Wire Fee                                                           -25.00           11,916.34
      02/28    Online Domestic Wire Fee                                                           -25.00           11,891.34
      03/01    Real Time Transfer Recd From Aba/021000021 From: King Family Lending            10,000,00           21,891.34
               LLC Ref: Mms-13780184963 Info: lid:
               20220301021000021 P1 Brjpm00040042840 Recd: 13: 11: 17 Trn:
               9780184963Rx
      03/01    Card Purchase        02/28 Nordstrom #333 Newport Beach CA Card 0934                -480.51         21,410.83

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              CHASEO                                                             February 09, 2022 through March 08, 2022
                                                                               Account Number:      000000815402372



     !TRANSACTION DETAIL! (continued)
      DATE     DESCRIPTION                                                                         AMOUNT               BALANCE
      03/01    Zelle Payment To Sara Jpm9999Cg946                                                -2,000.00         19,410.83
      03/01    Card Purchase With Pin 03/01 Evi'Pechanga Res Temecula CA Card 0934               -2,687.50         16,723.33      ---
      03/01    03/01 Online Domestic Wire Transfer Via: Bk Amer Nyc/026009593 A/C:               -5,000.00         11,723.33      ---
               Sara King Newport Beach CA 92660 US Imad: 0301 B10gc03C011961 Trn:                                                 ---
               3609052060Es                                                                                                       ---
      03/01    Online Domestic Wire Fee                                                             -25.00         11,698.33      ---
      03/02    Card Purchase With Pin 03/01 Evi'Pechanga Res Temecula CA Card 0934               -2,687.50          9,010.83      ---
                                                                                                                                  ---
      03/02    Zelle Payment To J Hawaii 13786231414                                             -2,000.00          7,010 83      ---
      03/03    Payment Received       03/03 Coinbase Visa Direct CA Card 0934                       955.29          7,966.12      ---
      03/03    Card Purchase        03/03 Amzn Mktp US'1W7Ua9E Amzn.Com/Bill WA                     -80.44          7,885.68      ---
               Card 0934                                                                                                          ---
      03/03    Zelle Payment To Sara Jpm9999Ep2C8                                                -2,000.00          5,885.68
      03/03    Non-Chase ATM Withdraw 03/03 3730 Las Vegas Blvd S Las Vegas NV                     -508.99          5,376.69
               Card 0934
      03/03    Card Purchase        03/03 Aria - Elements Las Vegas NV Card 0934                    -47.22          5,329.47
      03/03    Payment Sent         03/03 Cash App'Sara King' 8774174551 CA Card                   -200.00          5,129.47
               0934
      03/03    Payment Sent         03/03 Cash App'Sara King' 8774174551 CA Card                   -100.00          5,029.47
               0934
      03/03    Payment Sent         03/03 Cash App'Sara King' 8774174551 CA Card                   -250.00          4,779.47
               0934
      03/03    Payment Sent         03/03 Cash App'Sara King' 8774174551 CA Card                   -100.00          4,679.47
               0934
      03/03    03/03 Online Realtime Transfer To Perfbus Chk 2308 Transaction#:                    -250.00          4,429.47
               13797027902 Reference#: 9797027902Rx
      03/03    03/03 Online Realtime Transfer To Perfbus Chk 2308 Transaction#:                    -200.00          4,229.47
               13797144408 Reference#: 9797144408Rx
      03/03    Non-Chase ATM Fee-With                                                                -2.50          4,226.97
      03/04    Real Time Transfer Recd From Aba/021000021 From: King Reuben, A                   25,000,00         29,226.97
               Professional Corporation Ref: Mms-13810165811 Info: lid:
               20220304021000021 P1 Brjpm00050056953 Recd: 16:03:36 Trn:
               9810165811Rx
      03/04    Real Time Transfer Recd From Aba/021000021 From: King Family Lending              15,000.00         44,226.97
               LLC Ref: Mms-13810360185 Info: lid:
               20220304021000021 P1 Brjpm00030043638 Recd: 16:24:28 Trn:
               9810360185Rx
      03/04    JPMorgan Chase Ext Trnsfr               PPD ID: 9200502231                         3,000.00         47,226.97
      03/04    Card Purchase         03/03 Evi' Aria Resort And 702-8553000 NV Card              -2,629.99         44,596.98
               0934
      03/04    Card Purchase         03/03 Evi' Aria Resort And 702-8553000 NV Card              -1,586.99         43,009.99
               0934
      03/04    Zelle Payment To Sara Jpm9999Ghgxa                                                -1,000.00         42,009.99
      03/04    Card Purchase         03/04 lnstacart'1102 Httesinstacar CA Card 0934               -349.30         41,660.69
      03/04    Card Purchase         03/04 lnstacart Httpsinstacar CA Card 0934                    -140.99         41,519.70
      03/07    Real Time Transfer Recd From Aba/021000021 From: King Reuben, A                   20,000,00         61,519.70
               Professional Corporation Ref: Mms-13827463126 Info: lid:
               20220307021000021 P1 Brjpm00560027523 Recd: 09:51 :25 Trn:
               9827 463126 Rx
      03/07    Card Purchase         03/05 Fleur Du Mal LA 142-42385302 NY Card 0934             -2,468.14         59,051.56
      03/07    Card Purchase         03/05 lnstacart'1969 Httpsinstacar CA Card 0934               -333.17         58,718.39
      03/07    Card Purchase         03/05 Doordash'Sunset Stri Www. Doordash. CA Card             -112.67         58,605.72
               0934
      03/07    Card Purchase         03/05 Doordash'Fortune Hou Www.Doordash. CA                    -52.51         58,553.21
               Card 0934
      03/07    Card Purchase         03/05 Amazon Prime'1W0Wt5H Amzn.Com/Bill WA                    -14.00         58,539.21
               Card 0934


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              CHASEO                                                                   February 09, 2022 through March 08, 2022
                                                                                     Account Number:     000000815402372



     !TRANSACTION DETAIL! (continued)
      DATE      DESCRIPTION                                                                             AMOUNT                BALANCE
      03/07     Card Purchase      03/05 Afterpay 185-52896014 CA Card 0934                             -119.33          58,419.88
      03/07     Card Purchase      03/05 Sq 'The Hair Shop LA Los Angeles CA Card                       -318.62          58,101.26
                0934
      03/07     Payment Sent       03/05 Cash App' John Mccab 877 417 4551 CA Card                     -1,000.00         57,101.26
                0934
      03/07     Card Purchase      03/06 Jetsuitex 800-435-9579 TX Card 0934                             -289.00         56,812.26
      03/07     Card Purchase      03/05 Jetblue    27921869 Salt Lake Cty UT Card                     -1,498.61         55,313.65
                0934
      03/07     Card Purchase      03/06 Etsy.Com - Glamshoeslo 718-8557955 NY Card                     -371.28          54,942.37
                0934
      03/07     Card Purchase      03/07 lnstacart'1176 Httpsinstacar CA Card 0934                        -4407          54,898.30
      03/07     Card Purchase      03/07 Amazon Prime'1Z6KY9C Amzn.Com/Bill WA                            -14.00         54,884.30
                Card 0934
      03/07     Coinbase Inc. 8889087930 H5Sxm4Fp          Web ID: 1327000623                          -5,000.00         49,884.30
      03/07     Coinbase Inc. 8889087930 Jcfyttyp      Web ID: 1327000623                              -5,000.00         44,884.30
      03/07     Coinbase Inc. 8889087930 Qu7Ngfz7         Web ID: 1327000623                           -5,000.00         39,884.30
      03/07     Coinbase Inc. 8889087930 5Xck26Sv         Web ID: 1327000623                           -3,000.00         36,884.30
      03/07     Coinbase Inc. 8889087930 Qkfwpren        Web ID: 1327000623                            -2,500.00         34,384.30
      03/07     Coinbase Inc. 8889087930 Sq6P58Ru         Web ID: 1327000623                           -2,500.00         31,884.30
      03/07     Coinbase Inc. 8889087930 5Mrgnjax        Web ID: 1327000623                            -2,500.00         29,384.30
      03/07     Coinbase Inc. 8889087930 Ltm6Czgw         Web ID: 1327000623                           -2,500.00         26,884.30
      03/07     Coinbase Inc. 8889087930 7H2A379N         Web ID 1327000623                            -2,500.00         24,384.30
      03/07     Coinbase Inc. 8889087930 A8Zn6Jfk        Web ID: 1327000623                            -2,500.00         21,884.30
      03/07     Coinbase Inc. 8889087930 H8Ob4Swy          Web ID: 1327000623                          -2,000.00         19,884.30
      03/07     Non-Chase ATM Withdraw 03/07 3131 Las Vegas Blvd So Las Vegas NV                         -506.99         19,377.31
                Card 0934
      03/07     Non-Chase ATM Fee-With                                                                     -2.50         19,374.81
      03/08     Card Purchase      03/08 Lytt 'Ride Sun 3Pm Lyft. Com CA Card 0934                        -77.28         19,297.53
      03/08     Card Purchase      03/06 Evi' Aria Resort And 702-8553000 NV Card                      -8,320.00         10,977.53
                0934
      03/08     03/08 Withdrawal                                                                       -8,000.00          2,977.53
                  Ending Balance                                                                                         $2,977.53

      A Monthly Service Fee was not charged to your Chase Total Checking account Here are the three ways you can avoid
      this fee during any statement period.

      •   Have electronic deposits made into this account totaling $500.00 or more, such as payments from payroll
          providers or government benefit providers, by using (i) the ACH network, (ii) the Real Time Payment network,
          or (iii) third party services that facilitate payments to your debit card using the Visa or Mastercard network,
          (Your total electronic deposits this period were $217,408.58. Note: some deposits may be listed on your previous
          statement)

      •   QB, keep a balance at the beginning of each day of $1,500.00 or more in this account.
          (Your balance at the beginning of each day was S1 ,426.06)

          .QB, keep an average beginning day balance of $5,000.00 or more in qualifying linked deposits and
          investments.
          (Your average beginning day balance of qualifying linked deposits and investments was $19,030.50)




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            CHASEO                                                                                      February 09, 2022 through March 08, 2022
                                                                                                       Account Number:        000000815402372




      IN CASE OF ERRORS OR QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS: Call us at 1-866-564·2262 or write us at the
      address on the front of this statement (non-personal accounts contact Customer Service) immediately if you think your statement or receipt is
      incorrect or if you need more information about a transfer listed on the statement or receipt
      For personal accounts only: We must hear from you no later than 60 days after we sent you the FIRST statement on which the problem or error
      appeared. Be prepared to give us the follow!ng Information:
                    Your name and account number
                   The dollar.amount of the suspected error
      We will 1~vest~1t'!5                0 O
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      accounts) to do this, we will credit your account for the amount you thmk Is in error so that you will have use ot the money during the time It takes
      us to complete our investigation.
      IN CASE OF ERRORS OR QUESTIONS ABOUT NON-ELECTRONIC TRANSACTIONS: Contact the bank immediately if your statement is
      incorrect or if you need mpre information abo.ut any non~electronic transactions (checks or deposits) on th.is statement. If any.sue:h error appears,
      you must notity the bank 1n writing no later than 30 days after the statement was made available to t}ou. For more complete details, see the
      1~~ir~~~udi~;~i~;~,u~~R~ni~~~:;3~~~8!icable account agreement that governs your account. epos1t products and seivices are offered by


                                                                                                             JPMorgan Chase Bank, NA Member FDIC




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         CHASEO                                                    February 09, 2022 through March 08, 2022
                                                                  Account Number:    000000815402372




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  21-Aug-23

  Reference Case Number: 21Aug23-1104

  This is a substitute document representing an ATM transaction. The image you
  requested is not available.

  Posting Date: 22-Feb-22

  Sequence Number: 007370855421

  Dollar Amount: 7000.00

  Account Number: 2372




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  21-Aug-23

  Reference Case Number: G21Aug23-1104

  This is a substitute document representing an Electronic Transaction. The image you
  requested is not available. (examples include: Online Payments, Phone Funds Transfer
  Deposit, Credit Due to ATM/Dep Error, Wire Transfer)

  Posting Date 22-Feb-22

  Sequence Number 007370855422

  Amount 7000.00

  Account Number: 2372




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              CHASEO                                                                     March 09, 2022 through April 08, 2022
             JPMorgan Chase Bank, N.A.
             PO Box 182051                                                            Account Number:       000000815402372
             Columbus, OH 43218-2051

                                                                                    CUSTOMER SERVICE INFORMATION
                                                                                   Web site:                           Chase.com
                                                                                   Service Center:                 1-800-935-9935
           00486828 DRE 703 219 09922 NNNNNNNNNNN   1 000000000 06 0000            Deaf and Hard of Hearing:       1-800-242-7383
           SARA J KING                                                             Para Espanol:                   1-877-312-4273
           4409 SAN JOAQUIN PLZ                                                    International Calls:            1-713-262-1679
           NEWPORT BEACH CA 92660-5975




      We're making a change to the Non-Chase ATM Transaction Fee
      On June 12, 2022, we're increasing the Non-Chase ATM Transaction Fee' from S2.50 to $3. This fee applies when you use
      a Non-Chase ATM for Domestic Withdrawals, Domestic & International Balance Inquiries, or Domestic & International
      Balance Transfers. The International Withdrawal Fee for ATMs outside the U.S., Puerto Rico and the U.S. Virgin Islands
      remains $5 per withdrawal. As a reminder, you won't pay a fee for using Chase ATMs and you may get these fees waived
      depending on the type of account(s) you have.
                 We'll continue to waive this fee on the following types of accounts: Chase Sapphire 8 M Checking, Chase Private
                 Client CheckingsM, Chase Premier Savings8 M, Chase Plus SavingssM, Chase Private Client Savings8M and
                 Chase Premier Plus CheckingsM with Military Banking Enhanced Benefits.
                 We'll continue to waive the first four Non-Chase ATM transaction fees for each statement period for Chase
                 Premier Plus Checking and Chase Premier CheckingSM accounts.

      If you'd like to see the full Fee Schedule on the Additional Banking Services and Fees document, please go
      to chase.com/disclosures or visit a branch.

      Please call the number on this statement if you have any questions. We accept operator relay calls.

      'Fees from the ATM owner/networks may still apply


      ICHECKING SUMMARY I Chase Total Checking
                                                                                  AMOUNT
       Beginning Balance                                                        $2,977.53
       Deposits and Additions                                                  323,491.97
       ATM & Debit Card Withdrawals                                           -116,730.42
       Electronic Withdrawals                                                 -174,462.75
       Other Withdrawals                                                       -29,000.00
       Fees                                                                       -170.00
       Ending Balance                                                           $6,106.33



      jTRANSACTION DETAILj
      DATE        DESCRIPTION                                                                            AMOUNT               BALANCE

                    Beginning Balance                                                                                       $2,977.53
      03/09       Deposit   1995474771                                                                  8,500.00            11,477.53
      03/09       Zelle Payment From Ashley King Wfct0Qb3Vvmf                                           2,000.00            13,477.53
      03/09       Payment Received     03/09 Cash App'Cash Out Visa Direct CA Card                      1,965.00            15,442.53
                  0934



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                                                                              Account Number:      000000815402372



     !TRANSACTION DETAIL! (continued)
      DATE     DESCRIPTION                                                                        AMOUNT              BALANCE
      03/09    Zelle Payment From Sara King Back6Jjpunhg                                         1,200.00           16,642.53
      03/09    Zelle Payment From John Mccabe Wfct0Qb354T4                                        500.00            17,142.53
      03/09    Card Purchase        03/07 Evi' Wynn Las Vegas 702-8553000 NV Card               -2,104.99           15,037.54
               0934
      03/09    Recurring Card Purchase 03/09 Newlife Vitamin Shop Www.Newlifevi OR                -11304            14,924.50
               Card 0934
      03/09    Non-Chase ATM Withdraw 03/09 3730 Las Vegas Blvd S Las Vegas NV                    -508.99           14,415.51
               Card 0934
      03/09    03/09 Online Realtime Transfer To Perfbus Chk 2308 Transaction#:                 -2,000.00           12,415.51
               13841329220 Reference#: 9841329220Rx
      03/09    03/09 Online Realtime Transfer To Perfbus Chk 2308 Transaction#:                 -3,000.00             9,415.51
               13844052854 Reference#: 9844052854Rx
      03/09    03/09 Online Realtime Transfer To Perfbus Chk 2308 Transaction#:                 -3,000.00             6,415.51
               13844238867 Reference#: 9844238867Rx
      03/09    03/09 Online Realtime Transfer To Perfbus Chk 2308 Transaction#:                 -2,000.00             4,415.51
               13844700106 Reference#: 9844700106Rx
      03/09    Card Purchase With Pin 03/09 Evi'Wynn Las Veg Las Vegas NV Card 0934             -1,044.95             3,370.56
      03/09    Non-Chase ATM Fee-With                                                               -2.50             3,368 06
      03/10    Zelle Payment From Express Limo Services Inc 13846987579                          1,000.00             4,368.06
      03/10    Card Purchase        03/09 Delta Air 00623034348 Delta.Com CA Card                 -458.60             3,909.46
               0934
      03/10    Card Purchase        03/09 The Drug Store Las Vegas NV Card 0934                   -131.12             3,778.34
      03/10    Card Purchase        03/09 Tst' Cipriani - Las Veg Las Vegas NV Card                -64.19             3,714.15
               0934
      03/10    Card Purchase With Pin 03/09 Hudson St1374 Las Vegas NV Card 0934                   -47.33             3,666.82
      03/10    Card Purchase        03/10 California Pizza Las Las Vegas NV Card 0934               -9.31             3,657.51
      03/10    Non-Chase ATM Withdraw 03/09 5757 Wayne Newton Blvd Las Vegas NV                   -503.00             3,154.51
               Card 0934
      03/10    Non-Chase ATM Fee-With                                                               -2.50            3,15201
      03/11    Real Time Transfer Recd From Aba/021000021 From: Coinbase Ref:                   15,441.13           18,593.14
               K5Rudg59 Info: lid: 20220311021000021P1Brjpm00570061850 Recd:
               19:27:58 Trn: 0553151070Ru
      03/11    Card Purchase        03/09 Evi' Wynn Las Vegas 702-8553000 NV Card               -1,065.99           17,527.15
               0934
      03/11    Card Purchase        03/10 Lyft 'Ride Thu 6Am Lyft.Com CA Card 0934                -219.82           17,307.33
      03/11    Card Purchase        03/11 Lyft 'Ride Thu 5Pm Lyft.Com CA Card 0934                 -81.68           17,225.65
      03/11    Card Purchase        03/10 Jetblue    27921875 Salt Lake Cty UT Card               -998.60           16,227.05
               0934
      03/11    Card Purchase        03/11 Doordash'Crepes By L Www.Doordash. CA                    -58.52           16,168.53
               Card 0934
      03/11    Card Purchase With Pin 03/11 7-Eleven Jamaica NY Card 0934                           -5.32           16,163.21
      03/11    Zelle Payment To Seeeester Jpm9999Pcyha                                          -2,000.00           14,163.21
      03/11    03/11 Online Realtime Transfer To Perfbus Chk 2308 Transaction#:                 -4,000.00           10,163.21
               13862875633 Reference#: 9862875633Rx
      03/14    Real Time Transfer Recd From Aba/021000021 From: Coinbase Ref:                   17,565.74           27,728.95
               Huzdns6V Info: lid: 20220314021000021 P1 Brjpm00580075876 Recd:
               19:03:36 Trn: 0486851073Rw
      03/14    Real Time Transfer Recd From Aba/021000021 From: King Family Lending             10,000.00           37,728.95
               LLC Ref: Mms-13879778182 Info: lid:
               20220314021000021 P1 Brjpm00560039643 Recd: 16:01 :26 Trn:
               9879778182Rx
      03/14    Recurring Card Purchase 03/11 Onlinevinlookupcom Concord CA Card 0934               -23.95           37,705.00
      03/14    Card Purchase        03/11 Jfk Wfan Jamaica NY Card 0934                            -54.44           37,650.56
      03/14    Card Purchase        03/11 Ee New York Spor Jamaica NY Card 0934                    -27.86           37,622.70
      03/14    Card Purchase        03/12 Doordash'Sunset Stri Www. Doordash. CA Card             -169.88           37,452.82
               0934

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                                                                                Account Number:      000000815402372



     !TRANSACTION DETAIL! (continued)
      DATE     DESCRIPTION                                                                          AMOUNT              BALANCE
      03/14    Card Purchase       03/12 Doordash'Full House Www. Doordash. CA Card                  -47.30           37,405.52
               0934                                                                                                               ---
      03/14    Card Purchase       03/12 Doordash'The Thai th Www. Doordash. CA                      -25.95           37,379.57   ---
               Card 0934                                                                                                          ---
      03/14    Payment Sent        03/13 Apple Cash 877-233-8552 CA Card 0934                       -100.00           37,279.57   ---
      03/14    Card Purchase       03/12 Restoration Hardware Ontario CA Card 0934                -1,088.17           36,191.40   ---
                                                                                                                                  ---
      03/14    Card Purchase       03/12 lnstacart Httpsinstacar CA Card 0934                       -522.24           35,669.16
                                                                                                                                  ---
      03/14    Card Purchase       03/13 Doordash'Vincenti Www.Doordash. CA Card                    -110.10           35,559 06
               0934                                                                                                               ---
                                                                                                                                  ---
      03/14    Card Purchase         03/13 Doordash'Cvs Www.Doordash. CA Card 0934                   -52.30           35,506.76   ---
      03/14    Card Purchase         03/13 Amzn Mktp US'1Z5F607 Amzn.Com/Bill WA                      -7.99           35,498.77   ---
               Card 0934
      03/14    Card Purchase         03/13 Amzn Mktp US'1Z4VA37 Amzn.Com/Bill WA                     -62.86           35,435.91
               Card 0934
      03/14    Card Purchase         03/13 Amzn Mktp US'1Z7844K Amzn.Com/Bill WA                     -17.13           35,418.78
               Card 0934
      03/14    Card Purchase         03/14 Amzn Mktp US'1Z7Tq6I Amzn.Com/Bill WA                    -129.76           35,289.02
               Card 0934
      03/14    Card Purchase         03/13 Doordash'Peets Goffe Www. Doordash. CA                    -1708            35,271.94
               Card 0934
      03/14    Card Purchase         03/13 Restoration Hardware Ontario CA Card 0934              -1,962.45           33,309.49
      03/14    Card Purchase         03/14 Doordash'Magnolia Ba Www. Doordash. CA                    -13.99           33,295.50
               Card 0934
      03/14    Card Purchase         03/14 Amzn Mktp US'1Z22Q4Z Amzn.Com/Bill WA                     -48.52           33,246.98
               Card 0934
      03/14    03/13 Online Realtime Transfer To Perfbus Chk 2308 Transaction#:                   -2,500.00           30,746.98
               13873427827 Reference#: 9873427827Rx
      03/14    03/13 Online Realtime Transfer To Perfbus Chk 2308 Transaction#:                   -2,000.00           28,746.98
               13874077171 Reference#: 9874077171Rx
      03/14    Zelle Payment To Mon Amour Jpm9999Sj55X                                            -2,000.00           26,746.98
      03/14    03/14 Online Realtime Transfer To Perfbus Chk 2308 Transaction#:                   -5,000.00           21,746.98
               13881388953 Reference#: 9881388953Rx
      03/14    Card Purchase With Pin 03/14 7-Eleven Los Angeles CA Card 0934                        -33.76           21,713.22
      03/14    Card Purchase With Pin 03/14 7-Eleven North Hollywo CA Card 0934                      -44.78           21,668.44
      03/14    03/14 Withdrawal                                                                -10,000.00             11,668.44
      03/15    Card Purchase         03/14 Amzn Mktp US'1Z9Dm0Y Amzn.Com/Bill WA                  -193.33             11,475.11
               Card 0934
      03/15    Card Purchase         03/14 Amzn Mktp US'1Z2G56Q Amzn.Com/Bill WA                     -68.36           11,406.75
               Card 0934
      03/15    Card Purchase         03/14 Loan Post Oba Lendingwi Miami FL Card 0934               -447.00           10,959.75
      03/15    03/15 Online Realtime Transfer To Perfbus Chk 2308 Transaction#:                   -5,000.00            5,959.75
               13883692723 Reference#: 9883692723Rx
      03/15    Zelle Payment To Mon Amour Jpm9999T0Nfq                                            -1,000.00            4,959.75
      03/16    Real Time Transfer Recd From Aba/021000021 From: King Reuben, A                    10,000.00           14,959.75
               Professional Corporation Ref: Mms-13896431884 Info: lid:
               20220316021000021 P1 Brjpm00580048785 Recd: 17:06:44 Trn:
               9896431884Rx
      03/16    Real Time Transfer Recd From Aba/021000021 From: King Family Lending               10,000.00           24,959.75
               LLC Ref: Mms-13896449705 Info: lid:
               20220316021000021 P1 Brjpm00580048907 Recd: 17:10:05 Trn:
               9896449705Rx
      03/16    Real Time Transfer Recd From Aba/021000021 From: King Family Lending               10,000.00           34,959.75
               LLC Ref: Mms-13896463331 Info: lid:
               20220316021000021 P1 Brjpm00580044458 Recd: 17:11 :22 Trn:
               9896463331Rx
      03/16    Card Purchase         03/15 Evi' Wynn Las Vegas 702-8553000 NV Card                -2,629.99           32,329.76
               0934

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                                                                                Account Number:      000000815402372



     !TRANSACTION DETAIL! (continued)
      DATE     DESCRIPTION                                                                          AMOUNT              BALANCE
      03/17    Real Time Transfer Recd From Aba/021000021 From: King Reuben, A                    10,000.00           42,329.76
               Professional Corporation Ref: Mms-13905614937 Info: lid:
               20220317021000021 P 1Brjpm00580077835 Recd: 21 :39: 22 T rn:
               9905614937 Rx
      03/17    JPMorgan Chase Ext Trnsfr               PPD ID 9200502231                           5,000.00           47,329.76
      03/17    Card Purchase         03/16 Evi' Wynn Las Vegas 702-8553000 NV Card                -2,629.99           44,699.77
               0934
      03/17    Card Purchase         03/16 Evi' Wynn Las Vegas 702-8553000 NV Card             -10,400.00             34,299.77
               0934
      03/18    Real Time Transfer Recd From Aba/021000021 From: King Family Lending               25,000.00           59,299.77
               LLC Ref: Mms-13906227676 Info: lid:
               20220317021000021 P1 Brjpm00040074318 Recd: 23:42:01 Trn:
               9906227676Rx
      03/18    Card Purchase         03/17 Amzn Mktp US'1N0H31G Amzn.Com/Bill WA                     -42.99           59,256.78
               Card 0934
      03/18    Card Purchase         03/18 Jetsuitex 800-435-9579 TX Card 0934                      -284.00           58,972.78
      03/18    Card Purchase         03/18 Jetsuitex 800-435-9579 TX Card 0934                      -289.00           58,683.78
      03/18    Card Purchase         03/18 Doordash'Vincenti Www.Doordash. CA Card                   -72.25           58,611.53
               0934
      03/18    03/18 Online Domestic Wire Transfer Via: Capital One NA/065000090 NC:              -8,000.00           50,611.53
               Bprep8500 Sunset LLC Los Angeles CA 90069 US Ref:
               E304/Bnf/E304/Time/08:02 lmad: 0318B1Qgc08C003474 Trn:
               3058212077Es
      03/18    Online Domestic Wire Fee                                                              -25.00           50,586.53
      03/21    Card Purchase         03/19 Doordash'Terners Liq Www.Doordash. CA                    -248.29           50,338.24
               Card 0934
      03/21    Card Purchase         03/19 Doordash'Tacos Neza Www. Doordash. CA                     -13.35           50,324.89
               Card 0934
      03/21    Zelle Payment To Mon Arnour Jprn9999Xrnhjh                                           -500.00           49,824.89
      03/21    Card Purchase         03/19 Doordash'Met Him At Www. Doordash. CA Card                -31.67           49,793.22
               0934
      03/21    Card Purchase         03/19 Starbucks Store 61621 Los Angeles CA Card                 -21.99           49,771.23
               0934
      03/21    Card Purchase         03/19 lnstacart'1102 Httpsinstacar CA Card 0934                -212.58           49,558.65
      03/21    Card Purchase         03/19 lnstacart Httpsinstacar CA Card 0934                      -98.99           49,459.66
      03/21    Card Purchase         03/20 lnstacart Httpsinstacar CA Card 0934                      -46.64           49,413.02
      03/21    Card Purchase         03/20 Doordash'Cvs Www.Doordash. CA Card 0934                   -5305            49,359.97
      03/21    Recurring Card Purchase 03/20 Spotify USA 877-7781161 NY Card 0934                     -9.99           49,349.98
      03/21    Card Purchase         03/20 Ralphs Via lnstacart Ralphs.Com CA Card 0934             -431.23           48,918.75
      03/21    Card Purchase         03/21 Jetsuitex 800-435-9579 TX Card 0934                      -289.00           48,629.75
      03/21    Non-Chase ATM Withdraw 03/21 3131 Las Vegas Blvd So Las Vegas NV                     -506.99           48,122.76
               Card 0934
      03/21    03/21 Withdrawal                                                                -10,000.00             38,122.76
      03/21    Non-Chase ATM Fee-With                                                               -2.50             38,120.26
      03/22    Card Purchase         03/21 Evi' Wynn Las Vegas 702-8553000 NV Card             -10,400.00             27,720.26
               0934
      03/22    Card Purchase         03/21 Evi' Wynn Las Vegas 702-8553000 NV Card                -3,145.99           24,574.27
               0934
      03/22    Card Purchase         03/22 Jetsuitex 800-435-9579 TX Card 0934                      -379.00           24,195.27
      03/22    Card Purchase         03/21 Lawdepot +1877509439 Httpswww.Lawd CA                     -35.00           24,160.27
               Card 0934
      03/22    03/21 Online Realtime Transfer To Perfbus Chk 2308 Transaction#:                   -5,000.00           19,160.27
               13934714649 Reference#: 9934714649Rx
      03/22    Att         Payment 009825003Smt2L Web ID: 9864031005                                -292.75           18,867.52
      03/22    Zelle Payment To J Hawaii 13938373739                                                -500.00           18,367.52
      03/22    03/22 Withdrawal                                                                   -9,000.00            9,367.52

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              CHASEO                                                                 March 09, 2022 through April 08, 2022
                                                                                  Account Number:      000000815402372



     !TRANSACTION DETAIL! (continued)
      DATE     DESCRIPTION                                                                            AMOUNT              BALANCE
      03/23    ATM Cash Deposit       03/23 1470 Jamboree Rd Newport Beach CA Card                   8,100.00           17,467.52
               0934                                                                                                                 ---
      03/23    ATM Cash Deposit       03/23 1470 Jamboree Rd Newport Beach CA Card                   6,700.00           24,167.52   ---
               0934                                                                                                                 ---
      03/23    Card Purchase         03/22 Evi' Wynn Las Vegas 702-8553000 NV Card                  -5,205.99           18,961.53   ---
               0934                                                                                                                 ---
      03/23    03/23 Online Realtime Transfer To Perfbus Chk 2308 Transaction#:                     -5,000.00           13,961.53   ---
               13945930528 Reference#: 9945930528Rx                                                                                 ---
      03/24    Card Purchase         03/23 Pdfsimpli 844-898-4076 San Juan Card 0934                   -39.95           13,921.58   ---
      03/24    Card Purchase         03/24 Doordash'Sunset Stri Www. Doordash. CA Card                -151.81           13,769.77   ---
               0934                                                                                                                 ---
                                                                                                                                    ---
      03/24    Card Purchase         03/24 Jetsuitex 800-435-9579 TX Card 0934                      -1,456.00           12,313.77
      03/24    Card Purchase         03/24 Dd Doordash Pavilions 855-973-1040 CA Card                  -59.60           12,254.17
               0934
      03/24    Card Purchase         03/24 Dd Doordash Zinquzin- 855-973-1040 CA Card                  -4908            12,205.09
               0934
      03/24    Card Purchase         03/24 Amzn Mktp US'1645J0A Amzn.Com/Bill WA                       -27.97           12,177.12
               Card 0934
      03/24    Card Purchase         03/24 Amzn Mktp US'165887T Amzn.Com/Bill WA                       -19.83           12,157.29
               Card 0934
      03/25    Card Purchase         03/24 Amzn Mktp US'161P09E Amzn.Com/Bill WA                       -38.48           12,118.81
               Card 0934
      03/25    Card Purchase         03/24 Ralphs Via Instacart Ralphs. Com CA Card 0934              -192.82           11,925.99
      03/25    Card Purchase         03/24 Holly MA Via lnstaca Www.lnstagram CA Card                 -361.55           11,564.44
               0934
      03/28    Real Time Transfer Recd From Aba/021000021 From: King Reuben, A                      25,000.00           36,564.44
               Professional Corporation Ref: Mms-13978751716 Info: lid:
               20220328021000021 P1 Brjpm00000020007 Recd: 12: 12:25 Trn:
               9978751716Rx
      03/28    Real Time Transfer Recd From Aba/021000021 From: King Reuben, A                      15,000.00           51,564.44
               Professional Corporation Ref: Mms-13978840834 Info: lid:
               20220328021000021 P1 Brjpm00500024309 Recd: 14:45:03 Trn:
               9978840834Rx
      03/28    Real Time Transfer Recd From Aba/021000021 From: King Family Lending                  3,500.00           55,064.44
               LLC Ref: Mms-13965424002 Info: lid:
               20220326021000021 P1 Brjpm00520003299 Recd: 02:42:23 Trn:
               9965424002Rx
      03/28    Payment Received        03/26 Cash App'Cash Out Visa Direct CA Card                   2,456.25           57,520.69
               0934
      03/28    Payment Received        03/26 Cash App'Cash Out Visa Direct CA Card                   1,965.00           59,485.69
               0934
      03/28    Payment Received        03/26 Cash App'Cash Out Visa Direct CA Card                    982.50            60,468.19
               0934
      03/28    Card Purchase         03/24 City of B H Parking Beverly Hills CA Card 0934               -4.00           60,464.19
      03/28    Card Purchase         03/26 Amzn Mktp US'1N5Pe12 Amzn.Com/Bill WA                       -18.73           60,445.46
               Card 0934
      03/28    03/25 Online Realtime Transfer To Perfbus Chk 2308 Transaction#:                     -5,000.00           55,445.46
               13964918485 Reference#: 9964918485Rx
      03/28    Card Purchase         03/25 Evi' Wynn Las Vegas 702-8553000 NV Card                  -2,629.99           52,815.47
               0934
      03/28    03/26 Online Realtime Transfer To Perfbus Chk 2308 Transaction#:                     -3,000.00           49,815.47
               13965288027 Reference#: 9965288027Rx
      03/28    03/26 Online Realtime Transfer To Perfbus Chk 2308 Transaction#:                     -2,500.00           47,315.47
               13965420835 Reference#: 9965420835Rx
      03/28    Zelle Payment To Sara Jpm999A5V6DX                                                     -100.00           47,215.47
      03/28    Zelle Payment To Sara Jpm999A5VA6X                                                   -4,200.00           43,015.47
      03/28    Zelle Payment To Sara Jpm999A6Om9V                                                     -700.00           42,315.47

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                                                                              Account Number:      000000815402372



     !TRANSACTION DETAIL! (continued)
      DATE     DESCRIPTION                                                                        AMOUNT              BALANCE
      03/28    03/26 Online Realtime Transfer To Perfbus Chk 2308 Transaction#:                   -500.00           41,815.47
               13969973953 Reference#: 9969973953Rx
      03/28    Non-Chase ATM Withdraw 03/26 3131 Las Vegas Blvd So Las Vegas NV                   -506.99           41,308.48
               Card 0934
      03/28    Non-Chase ATM Withdraw 03/26 3131 Las Vegas Blvd So Las Vegas NV                   -506.99           40,801.49
               Card 0934
      03/28    Card Purchase        03/26 Evi' Wynn Las Vegas 702-8553000 NV Card               -1,286.99           39,514.50
               0934
      03/28    Zelle Payment To Sara Jpm999A6Zsa2                                             -1,300.00             38,214.50
      03/28    03/28 Online Domestic Wire Transfer Via: Bk Amer Nyc/026009593 NC:            -20,000.00             18,214.50
               Wlv LLC Las Vegas NV 89109 US Ref: S King Imad: 0328B1 Qgc01 C008247
               Trn: 3482772087Es
      03/28    Online Domestic Wire Fee                                                            -25.00           18,189.50
      03/28    Non-Chase ATM Fee-With                                                               -2.50           18,187.00
      03/28    Non-Chase ATM Fee-With                                                               -2.50           18,184.50
      03/29    Real Time Transfer Recd From Aba/021000021 From: King Family Lending             20,000.00           38,184.50
               LLC Ref: Mms-13986738662 Info: lid:
               20220329021000021 P1 Brjpm00520042159 Recd: 15:35:19 Trn:
               9986738662Rx
      03/29    Real Time Transfer Recd From Aba/021000021 From: King Family Lending              8,000.00           46,184.50
               LLC Ref: Mms-13986582854 Info: lid:
               20220329021000021 P1 Brjpm00000044829 Recd: 15: 10:20 Trn:
               9986582854Rx
      03/29    Real Time Transfer Recd From Aba/021000021 From: King Reuben, A                   2,000.00           48,184.50
               Professional Corporation Ref: Mms-13986586842 Info: lid:
               20220329021000021 P1 Brjpm00060033359 Recd: 15: 10:55 Trn:
               9986586842 Rx
      03/29    03/29 Online Domestic Wire Transfer Via: Bk Amer Nyc/026009593 NC:            -15,000.00             33,184.50
               Sara King Newport Beach CA 92660 US lmad: 0329B1Qgc07C012406 Trn:
               3292872088Es
      03/29    03/29 Online Domestic Wire Transfer Via: Bk Amer Nyc/026009593 NC:            -10,000.00             23,184.50
               Sara King Newport Beach CA 92660 US lmad: 0329B1Qgc01C008457 Trn:
               3428622088Es
      03/29    Zelle Payment To Rose Gordon 13987883072                                         -1,800.00           21,384.50
      03/29    Online Domestic Wire Fee                                                            -25.00           21,359.50
      03/29    Online Domestic Wire Fee                                                            -25.00           21,334.50
      03/30    Real Time Transfer Recd From Aba/021000021 From: King Family Lending             10,000.00           31,334.50
               LLC Ref: Mms-13992208222 Info: lid:
               20220330021000021 P1Brjpm00060029100 Recd: 12: 18:33 Trn:
               9992208222 Rx
      03/30    Card Purchase         03/29 Apple.Com/Bill 866-712-7753 CA Card 0934              -11.99             31,322.51
      03/30    Card Purchase         03/29 Evi' Wynn Las Vegas 702-8553000 NV Card           -12,480.00             18,842.51
               0934
      03/30    03/30 Online Domestic Wire Transfer Via: Wells Fargo NN121000248 NC:          -10,000.00               8,842.51
               Aba/121042882 Concord CA US Ben: Heidi King Rancho Santa Fe CA
               92067 US Ref:/Time/12:27 lmad: 0330B1Qgc05C009070 Trn:
               3290582089Es
      03/30    Zelle Payment To Sara Jpm999Aarak7                                               -5,000.00             3,842.51
      03/30    Non-Chase ATM Withdraw 03/30 3131 Las Vegas Blvd So Las Vegas NV                   -506.99             3,335.52
               Card 0934
      03/30    Online Domestic Wire Fee                                                            -25.00             3,310.52
      03/30    Non-Chase ATM Fee-With                                                               -2.50             3,308.02
      03/31    Real Time Transfer Recd From Aba/021000021 From: King Family Lending              3,000.00             6,308 02
               LLC Ref: Mms-14003726232 Info: lid:
               20220331021000021P1Brjpm00520078451 Recd: 18:19:34 Trn:
               9003726232Rx
      03/31    Recurring Card Purchase 03/31 Adobe Acropro Subs 408-536-6000 CA                    -14.99             6,293.03
               Card 0934

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              CHASEO                                                             March 09, 2022 through April 08, 2022
                                                                              Account Number:      000000815402372



     !TRANSACTION DETAIL! (continued)
      DATE     DESCRIPTION                                                                        AMOUNT              BALANCE
      03/31    Card Purchase         03/30 Apple.Com/Bill 866-712-7753 CA Card 0934                 -4.99           6,288.04
      04/01    Real Time Transfer Recd From Aba/021000021 From: King Family Lending             25,000.00          31,288.04       ---
               LLC Ref: Mms-14013143894 Info: lid:                                                                                 ---
               20220401021000021 P1 Brjpm00060042879 Recd: 11 :41 :15 Trn:                                                         ---
               9013143894Rx                                                                                                        ---
      04/01    Real Time Transfer Recd From Aba/021000021 From: King Reuben, A                  20,000.00          51,288.04       ---
               Professional Corporation Ref: Mms-14017146127 Info: lid:                                                            ---
               20220401021000021 P1Brjpm00510040982 Recd: 16:45:52 Trn:                                                            ---
               9017146127Rx
                                                                                                                                   ---
      04/01    Card Purchase         03/31 Apple.Com/Bill 866-712-7753 CA Card 0934                -57.99          51,230.05       ---
      04/01    Card Purchase         03/31 Evi' Wynn Las Vegas 702-8553000 NV Card              -2,629.99          48,600 06       ---
               0934                                                                                                                ---
      04/01    Card Purchase         04/01 Jetsuitex 800-435-9579 TX Card 0934                    -739.00          47,861 06
      04/04    Payment Received        04/04 Cash App'Cash Out Visa Direct CA Card                 936.35          48,797.41
               0934
      04/04    Card Purchase         03/31 Alaska Air 02721334697 Seattle WA Card                 -298.60          48,498.81
               0934
      04/04    Card Purchase         03/31 Alaska Air 02721334697 Seattle WA Card                 -298.60          48,200.21
               0934
      04/04    Card Purchase         03/31 Alaska Air 02721334697 Seattle WA Card                 -298.60          47,901.61
               0934
      04/04    Card Purchase         03/31 Alaska Air 02721334697 Seattle WA Card                 -298.60          47,603.01
               0934
      04/04    Card Purchase         03/31 Alaska Air 02721334697 Seattle WA Card                 -298.60          47,304.41
               0934
      04/04    Card Purchase         04/01 Evi' Wynn Las Vegas 702-8553000 NV Card           -14,560.00            32,744.41
               0934
      04/04    Card Purchase         04/02 Evi' Wynn Las Vegas 702-8553000 NV Card           -14,560.00             18,184.41
               0934
      04/04    Zelle Payment To Sara Jpm999Af9S46                                             -5,000.00             13,184.41
      04/04    Card Purchase         04/03 Evi' Wynn Las Vegas 702-8553000 NV Card           -11,440.00              1,744.41
               0934
      04/04    Card Purchase         04/04 Apple.Com/Bill 866-712-7753 CA Card 0934                -39.99            1,704.42
      04/04    Non-Chase ATM Withdraw 04/04 3131 Las Vegas Blvd So Las Vegas NV                   -506.99            1,197.43
               Card 0934
      04/04    04/04 Online Realtime Transfer To Perfbus Chk 2308 Transaction#:                   -500.00                 697.43
               14039163233 Reference#: 9039163233Rx
      04/04    Zelle Payment To Sara Jpm999Ahxcrm                                                 -600.00              97.43
      04/04    Non-Chase ATM Fee-With                                                               -2.50              94.93
      04/05    Real Time Transfer Recd From Aba/021000021 From: King Family Lending             20,000.00          20,094.93
               LLC Ref: Mms-14046265615 Info: lid:
               20220405021000021 P1 Brjpm00500037200 Recd: 13:35:37 Trn:
               9046265615 Rx
      04/05    Real Time Transfer Recd From Aba/021000021 From: King Family Lending              5,000.00          25,094.93
               LLC Ref: Mms-14044648402 Info: lid:
               20220405021000021 P1 Brjpm00020026578 Recd: 10:12:07 Trn:
               9044648402 Rx
      04/05    Zelle Payment To Sara Jpm999Aiqrcf                                             -5,000.00            20,094.93
      04/05    04/05 Online Domestic Wire Transfer Via: Bk Amer Nyc/026009593 A/C:           -20,000.00                94.93
               Sara King Newport Beach CA 92660 US lmad: 0405B1Qgc03C008274 Trn:
               3377542095Es
      04/05    Online Domestic Wire Fee                                                            -25.00                  69.93
      04/07    Real Time Transfer Recd From Aba/021000021 From: King Family Lending                 15.00                  84.93
               LLC Ref: Mms-14063485639 Info: lid:
               20220407021000021 P1 Brjpm00000059391 Recd: 19:22:45 Trn:
               9063485639Rx
      04/07    Payment Received      04/07 Cash App'Cash Out Visa Direct CA Card                 1,965.00            2,049.93
               0934

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              CHASEO                                                                 March 09, 2022 through April 08, 2022
                                                                                  Account Number:     000000815402372



     !TRANSACTION DETAIL! (continued)
      DATE      DESCRIPTION                                                                          AMOUNT               BALANCE
      04/07     Zelle Payment From Express Limo Services Inc 14062426145                            1,500.00              3,549.93
      04/07     Zelle Payment From Express Limo Services Inc 14062514348                            1,100.00              4,649.93
      04/07     Recurring Card Purchase 04/06 Apple.Com/Bill 866-712-7753 CA Card 0934                 -4.99              4,644.94
      04/07     Card Purchase        04/06 Apple.Com/Bill 866-712-7753 CA Card 0934                   -29.99              4,614.95
      04/07     Card Purchase        04/07 Apple.Com/Bill 866-712-7753 CA Card 0934                    -2.99              4,611.96
      04/07     Card Purchase        04/07 Amazon Prime'1 H6Eb0H Amzn.Com/Bill WA                     -16.15              4,595.81
                Card 0934
      04/07     Zelle Payment To Sara Jpm999Akt7Sj                                                  -1,900.00             2,695.81
      04/07     Recurring Card Purchase 04/07 Apple.Com/Bill 866-712-7753 CA Card 0934                  -9.99             2,685.82
      04/07     04/07 Online Realtime Transfer To Perfbus Chk 2308 Transaction#:                       -70.00             2,615.82
                14060901477 Reference#: 9060901477Rx
      04/07     Non-Chase ATM Withdraw 04/07 3131 Las Vegas Blvd So Las Vegas NV                     -106.99              2,508.83
                Card 0934
      04/07     Non-Chase ATM Fee-With                                                                  -2.50             2,506.33
      04/08     Real Time Transfer Recd From Aba/021000021 From: King Family Lending                5,000.00              7,506.33
                LLC Ref: Mms-14069010180 Info: lid:
                20220408021000021 P1 Brjpm00020021452 Recd: 11 :08:30 Trn:
                9069010180Rx
      04/08     Real Time Transfer Recd From Aba/021000021 From: King Family Lending                3,000.00            10,506.33
                LLC Ref: Mms-14072699922 Info: lid:
                20220408021000021 P1 Brjpm00520062836 Recd: 17:54:24 Trn:
                9072699922Rx
      04/08     Real Time Transfer Recd From Aba/021000021 From: King Family Lending                1,600.00            12,106.33
                LLC Ref: Mms-14073895228 Info: lid:
                20220408021000021 P1 Brjpm00000078392 Recd: 20:34: 15 Trn:
                9073895228Rx
      04/08     Zelle Payment From Sara King Bacpvkseuudw                                            3,500.00           15,606.33
      04/08     Zelle Payment To P Parik 14070219465                                                -2,000.00           13,606.33
      04/08     Zelle Payment To Sara Jpm999An0X8M                                                  -3,500.00           10,106.33
      04/08     04/08 Online Realtime Transfer To Perfbus Chk 2308 Transaction#:                    -4,000.00            6,106.33
                14074008456 Reference#: 907 4008456Rx
                  Ending Balance                                                                                        $6,106.33

      A Monthly Service Fee was not charged to your Chase Total Checking account. Here are the three ways you can avoid
      this fee during any statement period.

      •   Have electronic deposits made into this account totaling $500.00 or more, such as payments from payroll
          providers or government benefit providers, by using (i) the ACH network, (ii) the Real Time Payment network,
          or (iii) third party services that facilitate payments to your debit card using the Visa or Mastercard network.
          (Your total electronic deposits this period were $309,391.97. Note: some deposits may be listed on your previous
          statement)

      •   QB, keep a balance at the beginning of each day of $1,500.00 or more in this account.
          (Your balance at the beginning of each day was S69.93)

          QB, keep an average beginning day balance of $5,000.00 or more in qualifying linked deposits and
          investments.
          (Your average beginning day balance of qualifying linked deposits and investments was $18,669.15)




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            CHASEO                                                                                         March 09, 2022 through April 08, 2022
                                                                                                       Account Number:         000000815402372




      IN CASE OF ERRORS OR QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS: Call us at 1-866-564·2262 or write us a11he
      address on the front of this statement (non-personal accounts contact Customer Service) immediately if you think your statement or receipt is
      incorrect or if you need more information about a transfer listed on the statement or receipt
      For personal accounts only: We must hear from you no later than 60 days after we sent you the FIRST statement on which the problem or error
      appeared. Be prepared to give us the follow!ng Information:
                    Your name and account number
                   The dollar.amount of the suspected error
      We will 1~vest~1t'!5                0 O
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      accounts) to do this, we will credit your account for the amount you thmk 1s in error so that you will have use ot the money during the time 1t takes
      us to complete our investigation.
      IN CASE OF ERRORS OR QUESTIONS ABOUT NON-ELECTRONIC TRANSACTIONS: Contact the bank immediately if your s1a1emen1 is
      incorrect or if you need mpre information abo.ut any non~electronic transactions (checks or deposits) on th.is statement. If any.sue:h error appears,
      you must notity the bank 1n writing no later than 30 days after the statement was made available to t}ou. For more complete details, see the
      1~~ir~~~udi~;~i~;~,u~~R~ni~~~:;3~~~8!icable account agreement that governs your account. epos1t products and seivices are offered by


                                                                                                             JPMorgan Chase Bank, N.A. Member FDIC




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         CHASEO                                                      March 09, 2022 through April 08, 2022
                                                                  Account Number:     000000815402372




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                                    #:590


                                                                                                                       CHECKING     0
          CHASEO                                                              DEPOSIT                                   SAVINGS     0
                                                                                                                    CHASE LIQUID    0
          Today's Date                .., r7
         Q?- {) 1L - vV ?--.....
                                                                                                                          R/T 500001020

            ustomsr Name (Please Pnnt)                                                           CASH
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   ,,m        SC{YCA                        ki-1,                                                CHECK
                                                                                                                ►

   0      Sign Here (If cash is receillOd from this deposit) --- - -- - - - - --- - - - - - -~
          X                                                                                  ,
   en
   ...
   -     N1306Q.-CH {Aev 07112)   10138756 07121

                                          1' Start your account number here
                                                                                             '
                                                                                                 SUBTOTAL


                                                                                             ' CASH BACK
                                                                                             L►
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                                                                                                        TOTAL   $




       JPMorqonChoseBonk 030903 202012 960660038348




                                                                          SB1478499-F1                                                    42
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                                    #:591

  21-Aug-23

  Reference Case Number: 21Aug23-1104

  This is a substitute document representing a Cash In ticket. The image you requested is
  not available.

  Posting Date 09-Mar-22

  Sequence number 008870658839

  Amount 8500.00

  Account Number 2372




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                                    #:592

  21-Aug-23

  Reference Case Number: 21Aug23-1104

  This is a substitute document representing an ATM transaction. The image you
  requested is not available.

  Posting Date: 23-Mar-22

  Sequence Number: 004090487769

  Dollar Amount: 8100.00

  Account Number: 2372




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                                    #:593

  21-Aug-23

  Reference Case Number: G21Aug23-1104

  This is a substitute document representing an Electronic Transaction. The image you
  requested is not available. (examples include: Online Payments, Phone Funds Transfer
  Deposit, Credit Due to ATM/Dep Error, Wire Transfer)

  Posting Date 23-Mar-22

  Sequence Number 004090487770

  Amount 8100.00

  Account Number: 2372




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                                    #:594

  21-Aug-23

  Reference Case Number: 21Aug23-1104

  This is a substitute document representing an ATM transaction. The image you
  requested is not available.

  Posting Date: 23-Mar-22

  Sequence Number: 004090495182

  Dollar Amount: 6700.00

  Account Number: 2372




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                                    #:595

  21-Aug-23

  Reference Case Number: G21Aug23-1104

  This is a substitute document representing an Electronic Transaction. The image you
  requested is not available. (examples include: Online Payments, Phone Funds Transfer
  Deposit, Credit Due to ATM/Dep Error, Wire Transfer)

  Posting Date 23-Mar-22

  Sequence Number 004090495183

  Amount 6700.00

  Account Number: 2372




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              CHASEO                                                                     April 09, 2022 through May 09, 2022
              JPMorgan Chase Bank, N.A.
              PO Box 182051                                                        Account Number:       000000815402372
              Columbus, OH 43218-2051

                                                                                CUSTOMER SERVICE INFORMATION
                                                                                Web site:                             Chase.com
                                                                                Service Center:                   1-800-935-9935
          00485712 DRE 703 219 13022 NNNNNNNNNNN   1 000000000 06 0000          Deaf and Hard of Hearing:         1-800-242-7383
          SARA J KING                                                           Para Espanol:                     1-877-312-4273
          4409 SAN JOAQUIN PLZ                                                  International Calls:              1-713-262-1679
          NEWPORT BEACH CA 92660-5975




      ICHECKING SUMMARY I Chase Total Checking
                                                                               AMOUNT
      Beginning Balance                                                      $6,106.33
      Deposits and Additions                                               246,900.00
      ATM & Debit Card Withdrawals                                          -56,532.76
      Electronic Withdrawals                                               -196,062 71
      Fees                                                                     -372.50
      Ending Balance                                                           $38.36



      jTRANSACTION DETAILj
      DATE         DESCRIPTION                                                                          AMOUNT                  BALANCE

                     Beginning Balance                                                                                     $6,106.33
      04/11        Real Time Transfer Recd From Aba/021000021 From: King Family Lending              15,000.00             21,106.33
                   LLC Ref: Mms-14092750007 Info: I id:
                   20220411021000021 P1 Brjpm00000066481 Recd: 20:24:57 Trn:
                   9092750007Rx
      04/11        Real Time Transfer Recd From Aba/021000021 From: King Family Lending              10,000.00             31,106.33
                   LLC Ref: Mms-14088744841 Info: lid:
                   20220411021000021 P1 Brjpm00060016435 Recd: 10:52: 18 Trn:
                   90887 44841Rx
      04/11        Deposit    1083339815                                                              4,000.00             35,106.33
      04/11        Zelle Payment From King Reuben, A Professional Corporation 14088753443             5,000.00             40,106.33
      04/11        Recurring Card Purchase 04/09 Apple.Com/Bill 866-712-7753 CA Card 0934                 ·2.99            40,103.34
      04/11        Card Purchase        04/08 Evi' Wynn Las Vegas 702-8553000 NV Card                 ·2,629.99            37,473.35
                   0934
      04/11        Recurring Card Purchase 04/09 Newlife Vitamin Shop Www.Newlifevi OR                  ·11304             37,360.31
                   Card 0934
      04/11        Non-Chase ATM Withdraw 04/09 3131 Las Vegas Blvd So Las Vegas NV                     -406.99            36,953.32
                   Card 0934
      04/11        04/09 Online Realtime Transfer To Pertbus Chk 2308 Transaction#:                   ·1,500.00            35,453.32
                   14078562728 Reference#: 9078562728Rx
      04/11        04/09 Online Realtime Transfer To Pertbus Chk 2308 Transaction#:                   ·2,500.00            32,953.32
                   14078566948 Reference#: 9078566948Rx
      04/11        Card Purchase        04/11 Apple.Com/Bill 866-712-7753 CA Card 0934                    ·6.99            32,946.33
      04/11        Non-Chase ATM Withdraw 04/11 3131 Las Vegas Blvd So Las Vegas NV                     -506.99            32,439.34
                   Card 0934
      04/11        Zelle Payment To Bf Jpm999Apz7B0                                                   ·1,500.00            30,939.34



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              CHASEO                                                              April 09, 2022 through May 09, 2022
                                                                               Account Number:      000000815402372



     !TRANSACTION DETAIL! (continued)
      DATE     DESCRIPTION                                                                         AMOUNT                   BALANCE
      04/11    04/11 Online Domestic Wire Transfer Via: Capital One NN065000090 NC:              -7,500.00            23,439.34
               Bprep8500 Sunset LLC Los Angeles CA 90069 US Ref:
               E304/Bnf/E304/Time/12:40 lmad: 0411B1Ogc01C009174 Trn:
               3384932101Es
      04/11    Online Domestic Wire Fee                                                          -25.00               23,414.34
      04/11    Non-Chase ATM Fee-With                                                             -2.50               23,411.84
      04/11    Non-Chase ATM Fee-With                                                             -2.50               23,409.34
      04/12    Recurring Card Purchase 04/11 Onlinevinlookupcom Concord CA Card 0934             -23.95               23,385.39
      04/13    JPMorgan Chase Ext Trnsfr              PPD ID: 9200502231                      10,000.00               33,385.39
      04/13    Card Purchase        04/11 Evi' Wynn Las Vegas 702-8553000 NV Card            -14,560.00               18,825.39
               0934
      04/13    Recurring Card Purchase 04/12 Apple.Com/Bill 866-712-7753 CA Card 0934               -11.99             18,813.40
      04/13    Att        Payment 552096003Smt2H Web ID: 9864031005                                -262.71             18,550.69
      04/13    Recurring Card Purchase 04/13 Apple.Com/Bill 866-712-7753 CA Card 0934                 -4.99            18,545.70
      04/13    Recurring Card Purchase 04/13 Apple.Com/Bill 866-712-7753 CA Card 0934                 -2.99            18,542.71
      04/14    04/14 Online Realtime Transfer To Perfbus Chk 2308 Transaction#:                  -5,000.00             13,542.71
               14107748063 Reference#: 91077 48063Rx
      04/14    04/14 Online Domestic Wire Transfer Via: Bk Amer Nyc/026009593 NC:            -11,000.00                 2,542.71
               Sara King Newport Beach CA 92660 US lmad: 0414B1Qgc06C013925 Trn:
               3398462104Es
      04/14    Online Domestic Wire Fee                                                             -25.00              2,517.71
      04/15    Zelle Payment From Express Limo Services Inc 14115711031                           5,000.00              7,517.71
      04/15    Zelle Payment From Paramaz Bilezikchyan WfctoOd5Vyp8                               3,500.00             11,017 71
      04/15    Zelle Payment From Laura Mamani Wfc10Qd5W4R7                                       1,500.00             12,517.71
      04/15    Zelle Payment From Sara King Bacmlityzmle                                            500.00             13,017.71
      04/15    Card Purchase        04/14 Loan Post Oba Lendingwi Miami FL Card 0934               -447.00             12,570.71
      04/15    04/15 Online Realtime Transfer To Perfbus Chk 2308 Transaction#:                  -5,000.00              7,570.71
               14115734686 Reference#: 9115734686Rx
      04/15    04/15 Online Realtime Transfer To Perfbus Chk 2308 Transaction#:                  -1,000.00              6,570.71
               14116369317 Reference#: 9116369317Rx
      04/15    Non-Chase ATM Withdraw 04/15 3131 Las Vegas Blvd So Las Vegas NV                   -506.99               6,063.72
               Card 0934
      04/15    04/15 Online Domestic Wire Transfer Via: Bk Amer Nyc/026009593 NC:                -1,300.00              4,763.72
               Sara King Newport Beach CA 92660 US lmad: 0415B1Qgc07C007964 Trn:
               3289422105Es
      04/15    04/15 Online Realtime Transfer To Perfbus Chk 2308 Transaction#:                   -500.00               4,263.72
               14124745920 Reference#: 9124745920Rx
      04/15    Online Domestic Wire Fee                                                            -25.00               4,238.72
      04/15    Non-Chase ATM Fee-With                                                               -2.50               4,236.22
      04/18    Real Time Transfer Recd From Aba/021000021 From: King Family Lending              2,000.00               6,236.22
               LLC Ref: Mms-14133772673 Info: lid:
               20220417021000021 P1 Brjpm00510007886 Recd: 00:18:25 Trn:
               9133772673Rx
      04/18    Real Time Transfer Recd From Aba/021000021 From: King Family Lending                500.00               6,736.22
               LLC Ref: Mms-14133765809 Info: lid:
               20220417021000021 P1 Brjpm00510007719 Recd: 00:15:45 Trn:
               9133765809Rx
      04/18    Zelle Payment From Express Limo Services Inc 14141652062                           1,000.00              7,736.22
      04/18    Card Purchase        04/14 Evi' Wynn Las Vegas 702-8553000 NV Card                -2,945.99              4,790.23
               0934
      04/18    Card Purchase        04/17 Encore Theater 702-770-2540 NV Card 0934                  -8803               4,702.20
      04/18    Card Purchase        04/17 The Drug Store Las Vegas NV Card 0934                     -59.61              4,642.59
      04/18    Card Purchase        04/16 Evi' Wynn Las Vegas 702-8553000 NV Card                -2,429.99              2,212.60
               0934
      04/18    Recurring Card Purchase 04/18 Apple.Com/Bill 866-712-7753 CA Card 0934                -6.99              2,205.61


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              CHASEO                                                              April 09, 2022 through May 09, 2022
                                                                              Account Number:      000000815402372



     !TRANSACTION DETAIL! (continued)
      DATE     DESCRIPTION                                                                        AMOUNT               BALANCE
      04/18    Card Purchase With Pin 04/18 Resorts World LA Resor Las Vegas NV Card              -524.95          1,680.66
               0934
      04/18    Non-Chase ATM Withdraw 04/18 3131 Las Vegas Blvd So Las Vegas NV                    -46.99          1,633.67
               Card 0934
      04/18    Non-Chase ATM Fee-With                                                               -2.50          1,631.17
      04/19    Real Time Transfer Recd From Aba/021000021 From: King Family Lending             25,000.00         26,631.17
               LLC Ref: Mms-14148489638 Info: lid:
               20220419021000021 P1 Brjpm00060014210 Recd: 11 :53:26 Trn:
               9148489638Rx
      04/19    Real Time Transfer Recd From Aba/021000021 From: King Family Lending             20,000.00         46,631.17
               LLC Ref: Mms-14151545952 Info: lid:
               20220419021000021 P1 Brjpm00000067946 Recd: 19:26:41 Trn:
               9151545952Rx
      04/19    Card Purchase        04/18 Resorts World Las Vegas Las Vegas NV Card               -432.99         46,198.18
               0934
      04/19    04/19 Online Domestic Wire Transfer Via: Bk Amer Nyc/026009593 A/C:           -25,000.00           21,198.18
               Sara King Newport Beach CA 92660 US lmad: 0419B1Qgc02C007623 Trn:
               3246072109Es
      04/19    04/19 Online Realtime Transfer To Perfbus Chk 2308 Transaction#:                 -5,000.00         16,198.18
               14151678980 Reference#: 9151678980Rx
      04/19    Online Domestic Wire Fee                                                            -25.00         16,173.18
      04/20    Zelle Payment To Bf Jpm999B015Fn                                                 -2,000.00         14,173.18
      04/20    Recurring Card Purchase 04/20 Spotify USA 877-7781161 NY Card 0934                   -9.99         14,163.19
      04/20    Recurring Card Purchase 04/20 Apple.Com/Bill 866-712-7753 CA Card 0934               -2.99         14,160.20
      04/20    04/20 Online Domestic Wire Transfer Via: Wells Fargo NA/121000248 A/C:           -3,000.00         11,160.20
               Aba/121042882 Concord CA US Ben: Heidi King Rancho Santa Fe CA
               92067 US Ref:/Time/12:49 lmad: 0420B10gc08C010215 Trn:
               3251602110Es
      04/20    Online Domestic Wire Fee                                                            -25.00         11,135.20
      04/21    Card Purchase        04/19 Evi' Wynn Las Vegas 702-8553000 NV Card               -2,629.99          8,505.21
               0934
      04/21    Recurring Card Purchase 04/20 Apple.Com/Bill 866-712-7753 CA Card 0934               -4.99          8,500.22
      04/21    Card Purchase        04/20 Pdfsimpli 844-898-4076 San Juan Card 0934                -39.95          8,460.27
      04/22    Real Time Transfer Recd From Aba/021000021 From: King Family Lending              1,400.00          9,860.27
               LLC Ref: Mms-14173055747 Info: lid:
               20220422021000021 P1 Brjpm00060045853 Recd: 13:40: 10 Trn:
               9173055747Rx
      04/22    Deposit    1159944156                                                             5,000.00         14,860.27
      04/22    Card Purchase        04/21 lnstacart Httpsinstacar CA Card 0934                    -215.67         14,644.60
      04/22    Recurring Card Purchase 04/21 Apple.Com/Bill 866-712-7753 CA Card 0934              -14.99         14,629.61
      04/22    Non-Chase ATM Withdraw 04/21 3131 Las Vegas Blvd So Las Vegas NV                   -506.99         14,122.62
               Card 0934
      04/22    04/22 Online Domestic Wire Transfer Via: Bk Amer Nyc/026009593 A/C:              -4,500.00          9,622.62
               Sara King Newport Beach CA 92660 US lmad: 0422B1Qgc02C008187 Trn:
               3315062112Es
      04/22    04/22 Online Domestic Wire Transfer Via: Bk Amer Nyc/026009593 A/C:              -1,500.00          8,122.62
               Sara King Newport Beach CA 92660 US lmad: 0422B1Qgc07C010742 Trn:
               3350972112Es
      04/22    Online Domestic Wire Fee                                                            -25.00          8,097.62
      04/22    Online Domestic Wire Fee                                                            -25.00          8,072.62
      04/22    Non-Chase ATM Fee-With                                                               -2.50          8,070.12
      04/25    Real Time Transfer Recd From Aba/021000021 From: King Family Lending              3,500.00         11,570.12
               LLC Ref: Mms-14183740277 Info: lid:
               20220424021000021 P1 Brjpm00510001597 Recd: 04:56:57 Trn:
               9183740277Rx




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              CHASEO                                                              April 09, 2022 through May 09, 2022
                                                                              Account Number:      000000815402372



     !TRANSACTION DETAIL! (continued)
      DATE     DESCRIPTION                                                                        AMOUNT               BALANCE
      04/25    Real Time Transfer Recd From Aba/021000021 From: King Family Lending              1,000.00         12,570.12
               LLC Ref: Mms-14188573404 Info: lid:
               20220425021000021 P1 Brjpm00500004043 Recd: 00:44:47 Trn:
               9188573404Rx
      04/25    Recurring Card Purchase 04/22 Lawdepot.Com 877-509-4398 De Card                     -35.00         12,535.12
               0934
      04/25    Card Purchase        04/22 Evi' Wynn Las Vegas 702-8553000 NV Card               -2,945.99          9,589.13
               0934
      04/25    Card Purchase        04/23 Apple.Com/Bill 866-712-7753 CA Card 0934                  -6.49          9,582.64
      04/25    Zelle Payment To Bf Jpm999B4Obtm                                                 -2,000.00          7,582.64
      04/25    Card Purchase        04/24 Evi' Wynn Las Vegas 702-8553000 NV Card               -2,945.99          4,636.65
               0934
      04/25    Zelle Payment To Bf Jpm999B5Hepk                                                 -2,000.00          2,636.65
      04/25    Non-Chase ATM Withdraw 04/24 3131 Las Vegas Blvd So Las Vegas NV                   -506.99          2,129.66
               Card 0934
      04/25    Recurring Card Purchase 04/25 Apple.Com/Bill 866-712-7753 CA Card 0934               -6.99          2,122.67
      04/25    Non-Chase ATM Fee-With                                                               -2.50          2,120.17
      04/26    Real Time Transfer Recd From Aba/021000021 From: King Family Lending             22,000,00         24,120.17
               LLC Ref: Mms-14198429156 Info: lid:
               20220426021000021P1Brjpm00510031236 Recd: 13:19:50 Trn:
               9198429156Rx
      04/26    Card Purchase        04/24 Evi' Wynn Las Vegas 702-8553000 NV Card               -2,104.99         22,015.18
               0934
      04/26    04/26 Online Domestic Wire Transfer Via: Bk Amer Nyc/026009593 A/C:           -20,000.00            2,015.18
               Sara King Newport Beach CA 92660 US lmad: 0426B1Qgc07C010942 Trn:
               3332762116Es
      04/26    Zelle Payment To Bf Jpm999B7Mu6C                                                 -2,000.00             15.18
      04/26    Online Domestic Wire Fee                                                            -25.00             -9.82
      04/27    Real Time Transfer Recd From Aba/021000021 From: King Family Lending             25,000.00         24,990.18
               LLC Ref: Mms-14205840749 Info: lid:
               20220427021000021 P1 Brjpm00020033554 Recd: 14:06:41 Trn:
               9205840749Rx
      04/27    Recurring Card Purchase 04/27 Apple.Com/Bill 866-712-7753 CA Card 0934             -4.99           24,985.19
      04/27    Recurring Card Purchase 04/27 Apple.Com/Bill 866-712-7753 CA Card 0934             -2.99           24,982.20
      04/27    04/27 Online Domestic Wire Transfer Via: Bk Amer Nyc/026009593 A/C:           -23,000.00            1,982.20
               Sara King Newport Beach CA 92660 US lmad: 0427B1Qgc08C023809 Trn:
               3385012117Es
      04/27    Online Domestic Wire Fee                                                            -25.00          1,957.20
      04/28    Real Time Transfer Recd From Aba/021000021 From: King Family Lending             25,000.00         26,957.20
               LLC Ref: Mms-14212465481 Info: lid:
               20220428021000021 P1 Brjpm00000017216 Recd: 10:30:10 Trn:
               9212465481Rx
      04/28    Real Time Transfer Recd From Aba/021000021 From: King Family Lending             11,000.00         37,957.20
               LLC Ref: Mms-14212926317 Info: lid:
               20220428021000021 P1 Brjpm00020034446 Recd: 11 :32:44 Trn:
               9212926317Rx
      04/28    Real Time Transfer Recd From Aba/021000021 From: Hrh Property                     5,000,00         42,957.20
               Holdings LLC Ref: Mms-14212888744 Info: lid:
               20220428021000021 P1 Brjpm00020032034 Recd: 11 :27:43 Trn:
               9212888744Rx
      04/28    Real Time Transfer Recd From Aba/021000021 From: Hrh Property                     5,000.00         47,957.20
               Holdings LLC Ref: Mms-14216956550 Info: lid:
               20220428021000021 P1 Brjpm00520070043 Recd: 21: 18:51 Trn:
               9216956550Rx
      04/28    04/28 Online Domestic Wire Transfer Via: Bk Amer Nyc/026009593 A/C:              -5,000.00         42,957.20
               Sara King Newport Beach CA 92660 US Imad: 0428B10gc05C007525 Trn:
               3009962115Es



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              CHASEO                                                                April 09, 2022 through May 09, 2022
                                                                                Account Number:      000000815402372



     !TRANSACTION DETAIL! (continued)
      DATE     DESCRIPTION                                                                          AMOUNT               BALANCE
      04/28    04/28 Online Domestic Wire Transfer Via: Bk Amer Nyc/026009593 A/C:             -12,000.00           30,957.20
               Sara King Newport Beach CA 92660 US lmad: 0428B1Qgc06C010203 Trn:
               3269162118Es                                                                                                        ---
      04/28    04/28 Online Domestic Wire Transfer Via: Wells Fargo NA/121000248 A/C:          -10,000.00           20,957.20      ---
               Aba/121042882 Concord CA US Ben: Heidi King Rancho Santa Fe CA                                                      ---
               92067 US Ref:/Time/11 :40 Imad: 0428B1 Qgc08C020499 Trn:                                                            ---
               3272132118Es                                                                                                        ---
      04/28    Zelle Payment To Bf Jpm999Ba06T2                                                   -1,300.00         19,657.20      ---
      04/28    Non-Chase ATM Withdraw 04/28 3131 Las Vegas Blvd So Las Vegas NV                     -506.99         19,150.21      ---
               Card 0934                                                                                                           ---
                                                                                                                                   ---
      04/28    Online Domestic Wire Fee                                                            -25.00           19,125.21      ---
      04/28    Online Domestic Wire Fee                                                            -25.00           19,100.21      ---
      04/28    Online Domestic Wire Fee                                                            -25.00           19,075.21
      04/28    Non-Chase ATM Fee-With                                                               -2.50           19,072.71
      04/29    Recurring Card Purchase 04/28 Apple.Com/Bill 866-712-7753 CA Card 0934              -11.99           19,060.72
      04/29    Card Purchase        04/28 Evi' Wynn Las Vegas 702-8553000 NV Card              -14,560.00            4,500.72
               0934
      04/29    Zelle Payment To Bf Jpm999Ba9459                                                     -700.00          3,800.72
      05/02    Recurring Card Purchase 04/30 Adobe Acropro Subs 408-536-6000 CA                      -14.99          3,785.73
               Card 0934
      05/02    Card Purchase        04/30 lnstacart Httpsinstacar CA Card 0934                      -113.14          3,672.59
      05/02    Recurring Card Purchase 05/02 Apple.Com/Bill 866-712-7753 CA Card 0934                 -6.99          3,665.60
      05/02    Zelle Payment To Bf Jpm999Bg748N                                                   -2,000.00          1,665.60
      05/02    Non-Chase ATM Withdraw 05/02 3131 Las Vegas Blvd So Las Vegas NV                     -506.99          1,158.61
               Card 0934
      05/02    Non-Chase ATM Fee-With                                                                 -2.50          1,156.11
      05/03    Card Purchase        05/03 Amzn Mktp US'1345686 Amzn.Com/Bill WA                     -146.24          1,009 87
               Card 0934
      05/03    Zelle Payment To Bf Jpm999Bh3Nny                                                   -1,000.00                 9.87
      05/04    Card Purchase        05/04 Amzn Mktp US'1Q5Re12 Amzn.Com/Bill WA                      -24.89               -1502
               Card 0934
      05/05    Real Time Transfer Recd From Aba/021000021 From: King Family Lending               25,000.00         24,984.98
               LLC Ref: Mms-14271729515 Info: lid:
               20220505021000021 P1Brjpm00560013485 Recd: 06: 50: 20 T rn:
               9271729515Rx
      05/05    Real Time Transfer Recd From Aba/021000021 From: Hrh Property                      15,000.00         39,984.98
               Holdings LLC Ref: Mms-14274829919 Info: lid:
               20220505021000021 P1Brjpm00000036381 Recd: 13: 53: 28 T rn:
               9274829919Rx
      05/05    Recurring Card Purchase 05/04 Apple.Com/Bill 866-712-7753 CA Card 0934               -4.99           39,979.99
      05/05    Recurring Card Purchase 05/04 Aeele.Com/Bill 866-712-7753 CA Card 0934               -2.99           39,977.00
      05/05    05/05 Online Domestic Wire Transfer Via: Bk Amer Nyc/026009593 A/C:             -24,000.00           15,977.00
               Sara King Newport Beach CA 92660 US lmad: 0505B1Qgc06C001320 Trn:
               3135912125Es
      05/05    Zelle Payment To Bf Jpm999Bjikrg                                                   -2,000.00         13,977.00
      05/05    05/05 Online Domestic Wire Transfer Via: Bk Amer Nyc/026009593 A/C:                -1,000.00         12,977.00
               Sara King Newport Beach CA 92660 US lmad: 0505B1Qgc08C023452 Trn:
               3382702125Es
      05/05    Online Domestic Wire Fee                                                              -25.00         12,952.00
      05/05    Online Domestic Wire Fee                                                              -25.00         12,927.00
      05/06    Card Purchase        05/05 Evi' Wynn Las Vegas 702-8553000 NV Card                 -2,629.99         10,297 01
               0934
      05/06    Zelle Payment To Danny Weis Jpm999Blbeis                                           -1,500.00          8,797 01
      05/09    Card Purchase        05/07 Amazon Prime'1 L8722Z Amzn.Com/Bill WA                     -16.15          8,780.86
               Card 0934
      05/09    Zelle Payment To Bf Jpm999Bltxes                                                     -500.00          8,280.86

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              CHASEO                                                                                      April 09, 2022 through May 09, 2022
                                                                                                     Account Number:       000000815402372



     !TRANSACTION DETAIL! (continued)
      DATE        DESCRIPTION                                                                                             AMOUNT                BALANCE
      05/09       Recurring Card Purchase 05/07 Apple.Com/Bill 866-712-7753 CA Card 0934                                    -9.99             8,270.87
      05/09       Zelle Payment To Bf Jpm999Bmz63R                                                                      -2,000.00             6,270.87
      05/09       Zelle Payment To Bf Jpm999Bnelab                                                                      -2,000.00             4,270.87
      05/09       05/08 Online Realtime Transfer To Perfbus Chk 2308 Transaction#:                                      -4,000.00               270.87
                  14296589324 Reference#: 9296589324Rx
      05/09       Recurring Card Purchase 05/09 Apple.Com/Bill 866-712-7753 CA Card 0934                                    -2.99                267.88
      05/09       Recurring Card Purchase 05/09 Apple.Com/Bill 866-712-7753 CA Card 0934                                    -6.99                260.89
      05/09       Recurring Card Purchase 05/09 Newlife Vitamin Shop Www.Newlifevi OR                                     -11304                 147.85
                  Card 0934
      05/09       Non-Chase ATM Withdraw 05/09 3131 Las Vegas Blvd So Las Vegas NV                                        -106.99                 40.86
                  Card 0934
      05/09       Non-Chase ATM Fee-With                                                                                     -2.50                38.36
                      Ending Balance                                                                                                             $38.36

      A Monthly Service Fee was not charged to your Chase Total Checking account. Here are the three ways you can avoid
      this fee during any statement period.

          Have electronic deposits made into this account totaling $500.00 or more, such as payments from payroll
          providers or government benefit providers, by using (i) the ACH network, (ii) the Real Time Payment network,
          or (iii) third party services that facilitate payments to your debit card using the Visa or Mastercard network.
          (Your total electronic deposits this period were $257,980.00. Note: some deposits may be listed on your previous
          statement)

      •   QB, keep a balance at the beginning of each day of $1,500.00 or more in this account.
          (Your balance at the beginning of each day was -$15.02)

      •   QB, keep an average beginning day balance of $5,000.00 or more in qualifying linked deposits and
          investments.
          (Your average beginning day balance of qualifying linked deposits and investments was $7,596.91)




      IN CASE OF ERRORS OR QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS: Call us at 1-866-564-2262 or write us at the
      address on the front of this statement (non-personal accounts contact Customer Service) immediately it you think your statement or receipt is
      incorrect or if you need more information about a transfer listed on the statement or receipt
      For personal accounts only: We must hear from you no later than 60 days after we sent you the FIRST statement on which the problem or error
      appeared. Be prepared to give us the following information:
                      Your name and account number
                      The dollar amount of the suspected error
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                      A description of the error transfer you are unsure of, why you believe it is an error. _or why you need mor~ information.
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      IN CASE OF ERRORS OR QUESTIONS ABOUT NON-ELECTRONIC TRANSACTIONS: Contact the bank immediately if your statement is
      incorrect   ·                ·        ·          any non-electronic transactions (checks or deposits) on this statement. If any such error appears,
      you must                           no later th?n 30 days after the statement was made available to '"6ou. f:or more complete d_etails, see the
      J~~iri~n    Chase                em~~:l~rsiicable account agreement that governs your account epos1t products and services are offered by


                                                                                                            JPMorgan Chase Bank, N.A. Member FDIC




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  21-Aug-23

  Reference Case Number: 21Aug23-1104

  This is a substitute document representing a Cash In ticket. The image you requested is
  not available.

  Posting Date 11-Apr-22

  Sequence number 009590271379

  Amount 4000.00

  Account Number 2372




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  21-Aug-23

  Reference Case Number: 21Aug23-1104

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  Posting Date 22-Apr-22

  Sequence number 001070655004

  Amount 5000.00

  Account Number 2372




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